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   1                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
   2                        EASTERN DIVISION AT CLEVELAND

   3    -------------------------------X
         IN RE:                        :         Case No. 1:17-md-2804
   4                                   :
         NATIONAL PRESCRIPTION         :
   5     OPIATE LITIGATION             :
                                       :         VOLUME 28
   6     CASE TRACK THREE              :         JURY TRIAL
                                       :         (Pages 7042 - 7336)
   7                                   :
                                       :
   8                                   :
                                       :
   9                                   :         November 15, 2021
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  12                     TRANSCRIPT OF JURY TRIAL PROCEEDINGS

  13

  14                HELD BEFORE THE HONORABLE DAN AARON POLSTER

  15

  16                     SENIOR UNITED STATES DISTRICT JUDGE

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  19

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08:40:03    1                             (In court at 8:40 a.m.)

08:40:03    2                        COURTROOM DEPUTY:      All rise.

08:40:09    3                        THE COURT:    All right.     Good morning.

08:40:11    4       Everyone can be seated.

08:40:12    5              First, I want to make sure that the exhibits have been

08:40:16    6       finalized.

08:40:17    7              Robert, you've been given what you need, and it's

08:40:20    8       finalized?

08:40:22    9                        COURTROOM DEPUTY:      Not yet.    They're getting

08:40:25   10       them now.

08:40:26   11                        THE COURT:    Well. . .

08:40:32   12              What's the status of the exhibits, please?           I want to

08:40:36   13       make sure that's been --

08:40:38   14                        MS. FUMERTON:     So, Your Honor, this is

08:40:39   15       Tara Fumerton for Walmart.

08:40:40   16              I believe, at least -- I have a thumb drive that I'm

08:40:43   17       actually currently handing -- that I can hand to Mr. Pitts.

08:40:47   18                        THE COURT:    All right.     Is that -- everyone

08:40:48   19       has reviewed that thumb drive and it's fully accurate, is

08:40:52   20       that right, from the plaintiffs' standpoint?

08:40:54   21                        MS. FUMERTON:     These are the --

08:40:54   22                        THE COURT:    Please, from the plaintiffs'

08:40:56   23       standpoint, is that right?

08:41:02   24                        MS. FITZPATRICK:     Good morning, Your Honor.

08:41:04   25       Laura Fitzpatrick.
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08:41:05    1              We have reviewed what is on the defendants' flash

08:41:08    2       drive and it looks correct.        The plaintiffs would like to

08:41:10    3       check one more things on ours, just given some of the

08:41:13    4       redactions that CVS counsel has asked for just to triple

08:41:16    5       check, and then we'll provide the flash drive as soon as

08:41:19    6       that's done.

08:41:20    7                        THE COURT:    There are two flash drives?        I'm

08:41:22    8       confused.

08:41:22    9                        MS. FUMERTON:     Yes, Your Honor.

08:41:24   10                        COURTROOM DEPUTY:      One from each side.

08:41:25   11                        THE COURT:    All right.     Has the defendants

08:41:26   12       examined the plaintiffs' flash drive?

08:41:30   13                        MR. SWANSON:     Yes, Your Honor, we have.

08:41:31   14                        THE COURT:    All right.     That's -- all right.

08:41:32   15              The other defendants have, Walmart's and Walgreens

08:41:36   16       have examined the plaintiffs' flash drive?

08:41:39   17                        MR. SWANSON:     Yes, Your Honor, for Walgreens.

08:41:41   18                        MS. FUMERTON:     Yes, Your Honor, for Walmart.

08:41:43   19                        THE COURT:    All right.     Now, the defendants

08:41:44   20       have three flash drives or one?

08:41:47   21                        MS. FUMERTON:     One, Your Honor.

08:41:48   22                        THE COURT:    All right.     And the plaintiffs

08:41:49   23       have to examine one more thing; is that right?

08:41:52   24                        MS. FITZPATRICK:     Yes, Your Honor.      Only on

08:41:54   25       our flash drive.     We just want to triple check three of the
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08:41:58    1       documents.

08:41:58    2                        THE COURT:    You examined the defendants flash

08:42:00    3       drive, and is it fully accurate?

08:42:02    4                        MS. FITZPATRICK:     We -- Your Honor, yes.

08:42:03    5                        THE COURT:    All right.     Then make sure that

08:42:05    6       both flash drives are given to Mr. Pitts.

08:42:08    7              All right.    What are the issues on the slides?

08:42:13    8                        MS. SWIFT:    Your Honor, Kate Swift for

08:42:14    9       Walgreens.

08:42:15   10              We have one issue to raise with respect to the

08:42:17   11       plaintiffs' slides.      There are a number of slides that

08:42:20   12       include on the face of the slides juror questions, which we

08:42:24   13       believe is improper.      It's pandering, Your Honor.

08:42:29   14                        MR. WEINBERGER:     Your Honor, these -- there's

08:42:30   15       no effort to pander.      These are -- these were --

08:42:33   16                        THE COURT:    Well --

08:42:34   17                        MR. WEINBERGER:     These were questions that

08:42:36   18       were on the ELMO that were part -- that are part of the

08:42:40   19       record.

08:42:40   20                        THE COURT:    Well, wait a minute.       The

08:42:41   21       questions are not part of the record, Mr. Weinberger.

08:42:44   22                        MR. WEINBERGER:     Well, they were --

08:42:45   23                        THE COURT:    Well, they're not.      So the

08:42:47   24       questions are not part of the record.          The jurors --

08:42:49   25                        MR. WEINBERGER:     Well, they were part of the
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08:42:50    1       transcript, Your Honor.

08:42:51    2                        THE COURT:    The jurors were told to disregard

08:42:53    3       all questions.

08:42:54    4              Are you playing -- I mean, are you playing an answer?

08:42:57    5       I don't understand.      What is the purpose of putting a --

08:43:01    6       what is the purpose of putting any question on a slide?

08:43:05    7                        MR. LANIER:    Your Honor, the purpose for

08:43:07    8       putting the question on the slide is so that the jury can

08:43:10    9       see what they've already seen in court because they were all

08:43:12   10       placed on an overhead in court.

08:43:14   11                        THE COURT:    That's -- the question's not

08:43:16   12       evidence, all right.

08:43:18   13                        MR. LANIER:    No, Your Honor, but --

08:43:19   14                        THE COURT:    What is the purpose of a question

08:43:20   15       being on a slide?

08:43:21   16                        MR. LANIER:    The purpose of the question is so

08:43:22   17       that I can remind the jury that these were the issues and

08:43:26   18       the questions that were addressed within the framework of

08:43:29   19       the various witnesses and remind them what the testimony was

08:43:31   20       in regards to each of those questions.

08:43:34   21                        MS. SWIFT:    Your Honor, the questions do not

08:43:36   22       remind the jurors of what the testimony was.

08:43:37   23                        THE COURT:    Well --

08:43:41   24                        MR. LANIER:    It's something that they've

08:43:42   25       already seen.
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08:43:43    1                        THE COURT:    No.    All right.    I will only

08:43:44    2       permit a question to be placed in -- on the screen,

08:43:51    3       whatever, if it is immediately followed by an answer that

08:43:55    4       was admissible.

08:43:56    5                        MR. LANIER:    Okay.

08:43:56    6                        THE COURT:    Then I'll permit that.       But I'm

08:43:58    7       not going to permit a naked question --

08:44:00    8                        MR. LANIER:    Okay.

08:44:01    9                        THE COURT:    -- whether it's a lawyer's --

08:44:01   10                        MR. WEINBERGER:      It's not as if we're going to

08:44:03   11       give the answers.

08:44:04   12                        THE COURT:    I made it clear.      Whether --

08:44:06   13       whether it's a lawyer question or a juror question, they're

08:44:09   14       not evidence.     So if it's immediately followed by an

08:44:13   15       answer --

08:44:14   16                        MR. LANIER:    That makes sense, Your Honor.

08:44:15   17                        THE COURT:    -- I'll permit it.

08:44:16   18                        MR. LANIER:    We'll either do that or we'll

08:44:19   19       take them out.

08:44:20   20              That's fair.

08:44:20   21                        THE COURT:    All right.

08:44:21   22              Is that acceptable?

08:44:22   23                        MS. SWIFT:    Yes.   Thanks very much,

08:44:23   24       Your Honor.

08:44:24   25                        THE COURT:    All right.     So that's number --
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08:44:26    1   that was Walgreens' issue.

08:44:38    2          Were there any other defense issues?

08:44:40    3                    MS. FUMERTON:     Your Honor, Tara Fumerton for

08:44:42    4   Walmart.

08:44:43    5          We have two slides that we continue to have an issue

08:44:45    6   with plaintiffs.

08:44:45    7                    THE COURT:    Well, let me see the slides,

08:44:48    8   please.

08:45:29    9                    MS. FUMERTON:     So, Your Honor, there's one

08:45:30   10   issue that goes across two slides, and then one of the

08:45:32   11   slides has another issue.       So the first issue is this being

08:45:35   12   unaware of cases stating legal requirements.

08:45:38   13          First of all, it's not accurate as to what the

08:45:40   14   testimony was where both witnesses did have some familiarity

08:45:45   15   with the underlying cases.        But as far as what the actual

08:45:48   16   legal requirements are, we think it's inappropriate to sort

08:45:51   17   of be, again, using these cases as suggesting what the legal

08:45:54   18   requirements are.      So we object to that.

08:45:57   19                    THE COURT:    Well, there's a -- it's on a slide

08:46:01   20   with Ms. Hiland, unaware of cases stating legal

08:46:04   21   requirements, and with Nelson, unaware of Holiday case with

08:46:07   22   its legal requirements.

08:46:10   23                    MS. FUMERTON:     Yes, Your Honor.     So that's the

08:46:13   24   same issue with both of those slides.

08:46:20   25                    MR. LANIER:     Your Honor, I think one of the
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08:46:21    1   arguments that's being made by the defendants is that these

08:46:24    2   cases are not legal requirements.          That's not the judge --

08:46:28    3   that's not the witness's decision, that's not the jury's

08:46:31    4   decision, that's your decision.         But assuming that --

08:46:34    5                    THE COURT:    Well, I'm not advising the jury on

08:46:36    6   anything like this.

08:46:38    7                    MR. LANIER:     Agreed.

08:46:38    8                    THE COURT:    That's not something for them

08:46:40    9   to -- so that's not correct, Mr. Lanier.          I'm not telling

08:46:42   10   the jury --

08:46:45   11                    MR. WEINBERGER:     But, Your Honor, so with

08:46:47   12   respect to Ms. Hiland.

08:46:48   13                    THE COURT:    The legal requirements there

08:46:50   14   were --

08:46:50   15                    MR. WEINBERGER:     With respect to Ms. Hiland,

08:46:52   16   she was asked about the East Main case, for example, and

08:46:55   17   whether she knew about it.        And the case, as published in

08:46:58   18   the Federal Register as Demetra Ashley said is notice to the

08:47:03   19   defendants about certain standards that they have to apply

08:47:07   20   with respect to the CSA.

08:47:09   21          The East Main case a 2010 case that talked about red

08:47:13   22   flags, and she was asked about that and was not aware of it.

08:47:16   23          Similarly, Nelson was asked about the Holiday case --

08:47:20   24   obviously, it's been discussed a lot in this courtroom --

08:47:23   25   and he was not aware of those requirements.           So it's the
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08:47:27    1   standards published by the case as a result of enforcement

08:47:31    2   actions brought by the DEA, and these slides are a

08:47:38    3   reflection of, you know, witnesses who were involved in

08:47:41    4   regulatory compliance being unaware of them.

08:47:44    5                    MS. FUMERTON:      Well, and again, I disagree

08:47:46    6   with his characterization.

08:47:47    7                    THE COURT:    All right.      I'm going to allow --

08:47:48    8   you can come back and say anything you want, Ms. Fumerton,

08:47:53    9   in your argument, that, you know, they weren't required to

08:47:56   10   do anything, the case didn't apply to Walmart, you know,

08:47:59   11   whatever -- you can say whatever you want.           This is what

08:48:02   12   these witnesses said.       Okay?

08:48:03   13                    MS. FUMERTON:      Respectfully, Your Honor, it's

08:48:06   14   not what the witnesses said.        The witnesses said that, in

08:48:08   15   fact, Mr. Nelson had received it.           There's two documents

08:48:10   16   they had admitted where there were legal -- the Holiday case

08:48:16   17   was, in fact, sent to Mr. Nelson and that's why they were

08:48:18   18   questioning him about it.

08:48:19   19                    THE COURT:    All right.      I believe he said he

08:48:21   20   was unaware of really -- not familiar with the case and not

08:48:25   21   aware what, if anything, it said or whatever.           What, if any,

08:48:32   22   guidance he was supposed to take from it.           He was generally

08:48:34   23   not knowledgeable about it.         Okay?

08:48:36   24                    MS. FUMERTON:      Well, again, I disagree.

08:48:37   25                    MR. WEINBERGER:      Well, then you can argue
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08:48:39    1   that.

08:48:39    2                      THE COURT:    Then argue it, that it doesn't

08:48:41    3   matter.    Okay?

08:48:41    4                      MS. FUMERTON:    But I also think it's

08:48:44    5   inconsistent with, again, when we are now saying what the

08:48:46    6   legal requirements are.         Now with a question you're going to

08:48:48    7   essentially having Mr. Lanier arguing that these cases

08:48:50    8   somehow have certain legal requirements and legal --

08:48:57    9   essentially effect with respect to these issues in this

08:48:59   10   case, and it's inappropriate for Mr. Lanier to be

08:49:01   11   instructing the jury as to what is the law.           That's

08:49:04   12   something this Court should do.

08:49:05   13                      THE COURT:    All right.   I've got a problem

08:49:06   14   with legal requirements.         Just cross out legal requirements.

08:49:06   15   All right?

08:49:12   16                      MR. LANIER:    How about if I -- who's unaware

08:49:13   17   of the Holiday case.      Nelson was generally unaware of the

08:49:16   18   Holiday case.      All right?    And Ms. Hiland was generally

08:49:20   19   unaware of cases.      I mean, she may have heard it, but she

08:49:23   20   was unaware of what they said or any import from it.             So you

08:49:28   21   can -- so it's the legal requirements, because it's not

08:49:34   22   clear that the case imposed any legal requirement on anyone

08:49:36   23   in this case.      All right?    It was not directed there.       So

08:49:40   24   just cross out legal requirements.

08:49:42   25                      MS. FUMERTON:    Thank you, Your Honor.
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08:49:42    1            And then just one last thing on the Mr. Nelson slide.

08:49:46    2   The last bullet point said, "Emphasize sales over complying

08:49:50    3   with the 2011 MOA requirements."          The MOA came in for a

08:49:54    4   limited purpose with respect to notice.          It also does not

08:49:56    5   actually have any sort of requirements relating to what --

08:50:02    6   they're purporting as -- these analyzing the argument --

08:50:03    7                    THE COURT:    Well, this is argument.       You can

08:50:05    8   respond to the -- you know, you can respond any way you

08:50:10    9   want.    I'm not going to change that.

08:50:12   10                    MS. FUMERTON:      Thank you, Your Honor.

08:50:14   11                    MR. LANIER:     So, Your Honor, to make sure I've

08:50:16   12   done this in a way that is right by your ruling, what I did

08:50:21   13   on Mr. Nelson is I -- or, yeah, let me make sure I've got it

08:50:28   14   right.

08:50:28   15                    THE COURT:    Just say unaware of Holiday case.

08:50:30   16                    MR. LANIER:     Yeah, I put unaware of the

08:50:32   17   Holiday case for Mr. Nelson, and for Ms. Hiland, instead of

08:50:36   18   just unaware of cases, what I did for her is said unaware of

08:50:44   19   the -- oh, crud.      Here it is.    "Unaware of cases stating

08:50:51   20   standards."

08:50:53   21            Can I do that?

08:50:54   22                    MS. FUMERTON:      No.   Your Honor, I think that's

08:50:56   23   the same objection we would have.

08:50:57   24                    MR. LANIER:     Well, it's not legal

08:50:59   25   requirements.     These are certainly at least standards.
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08:51:01    1                    MS. FUMERTON:     Well, standard --

08:51:02    2                    THE COURT:    Well, the problem is, unaware of

08:51:04    3   cases doesn't -- I don't know --

08:51:06    4                    MR. LANIER:     That doesn't mean anything.

08:51:07    5                    THE COURT:    -- if it means anything.       Put a --

08:51:09    6   you know, put the name of the case, the one that involved

08:51:11    7   Walmart.    All right?

08:51:13    8                    MS. FUMERTON:     Well, that's part of the

08:51:14    9   problem, Your Honor, is none of these involved Walmart.

08:51:17   10                    MR. LANIER:     Well, they all apply to Walmart

08:51:20   11   in the sense that these are --

08:51:22   12                    THE COURT:    Well, put she's unaware of

08:51:24   13   Holiday.    Okay?   Unaware of the Holiday case.

08:51:25   14                    MS. FUMERTON:     She actually testified -- and

08:51:26   15   Mr. Lanier has this testimony in front of him, but the --

08:51:28   16   she actually testified she was aware of Holiday and read it.

08:51:31   17   Specifically, I think Mr. Weinberger was talking about the

08:51:33   18   East Main case.

08:51:35   19                    MR. LANIER:     East Main and others.

08:51:36   20                    MS. FUMERTON:     If he wants to put she's

08:51:38   21   unaware of East Main, I think that's fine.

08:51:40   22                    THE COURT:    All right.     Put unaware of East

08:51:42   23   Main case.

08:51:42   24                    MR. LANIER:     All right.    Or I could -- yeah.

08:51:46   25   I think it wasn't just East Main case, it was others as
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08:51:49    1   well.

08:51:49    2           How about, "Unaware of DEA notice cases"?

08:51:51    3                    MS. FUMERTON:     No, Your Honor.

08:51:52    4                    THE COURT:    I don't know what that means.

08:51:53    5                    MR. LANIER:     Okay.

08:51:53    6                    THE COURT:    All right?     If you want to refer

08:51:55    7   to a -- she was unaware of the East Main case.           If there was

08:51:58    8   another specific case you asked her about --

08:52:00    9                    MR. LANIER:     Then I'll just say it in

08:52:02   10   argument.    I'll make the change on the slide.         Because I

08:52:04   11   said, I assume you've read the East Main Ohio Pharmacy case?

08:52:08   12           She said, I'm not sure.

08:52:09   13           Are you familiar with the Town Wood Pharmacy case?

08:52:11   14           I don't know that I'm familiar with that.

08:52:12   15           You know, it was -- those were the questions.          But

08:52:15   16   I'll just say, "Unaware of East Main case," and then I'll

08:52:19   17   mention the others, but I won't have it on the slide.

08:52:22   18                    THE COURT:    All right.     Okay.   Were there any

08:52:28   19   other objections to the plaintiffs' slides?

08:52:33   20                    MR. HYNES:    Your Honor, CVS and the plaintiffs

08:52:36   21   worked out our objections, so there's nothing to raise with

08:52:39   22   you.

08:52:39   23                    THE COURT:    All right.     Fine.

08:52:41   24           And I take it there weren't any objections from the

08:52:43   25   plaintiffs' side to any of the defendants' slides?
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08:52:46    1                    MR. LANIER:     Oh, there were, Your Honor, but,

08:52:48    2   I mean, my view of the world is, this is fair argument, and

08:52:51    3   so --

08:52:51    4                    THE COURT:    Okay.

08:52:52    5                    MR. LANIER:     -- I'm not going to make the

08:52:54    6   objections to theirs that they make to mine because I think

08:52:57    7   that that's -- you know, I mean, look, they'll do a slide

08:53:01    8   like this (indicating), what plaintiffs needed to prove, and

08:53:04    9   they're going to recast the law.         Okay?    I mean, that's

08:53:08   10   their argument.     I think that it's a legal argument that

08:53:12   11   they're making, and they're putting themselves in the

08:53:14   12   position of saying what the law is, but my view is, if I'm a

08:53:17   13   lawyer, I ought to be able to handle it, so I'll just --

08:53:20   14                    THE COURT:    Fine.     Right.   If you think

08:53:22   15   they're misstating the instructions, then you can respond

08:53:26   16   to.   If I think they are, I won't let them say that.

08:53:29   17                    MR. LANIER:     Okay.   That's good enough for me,

08:53:31   18   Your Honor.     Thank you.

08:53:31   19                    THE COURT:    So both sides better be careful if

08:53:34   20   you're saying what the -- you know, what specifically the

08:53:36   21   plaintiffs have to prove, that it's tied to the

08:53:38   22   instructions, because if not, I'll -- I'll have to

08:53:42   23   interrupt.

08:53:42   24                    MR. LANIER:     I'm more than happy with that

08:53:45   25   understanding, and I will bide my time and my tongue.
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08:53:53    1                    THE COURT:    I mean, the whole point of my

08:53:55    2   providing the instructions in advance and reading them is so

08:53:58    3   that everyone knows that.

08:53:59    4                    MR. LANIER:     Um-hmm.

08:54:04    5                    THE COURT:    So, again, it's my intention to

08:54:06    6   read the final instructions, pages 1 through 27, and then

08:54:11    7   stop, and then we'll have Mr. Lanier's opening -- closing.

08:55:03    8                    SPECIAL MASTER COHEN:      Just a reminder,

08:55:04    9   please, everybody silence your phones and devices.

08:55:11   10                    THE COURT:    So I guess we have one empty chair

08:55:13   11   for Mr. Handly and one for Professor McGovern just in honor

08:55:20   12   of both of their contributions to the MDL, and it's very

08:55:28   13   appropriate.

08:57:40   14                     (Brief pause in proceedings).

08:58:45   15                    THE COURT:    Okay.    You can bring in the jury.

09:02:44   16                     (Brief pause in proceedings.)

09:06:35   17                     (Jury returned to courtroom.)

09:07:10   18                            CHARGE TO THE JURY

09:07:10   19                    THE COURT:    Okay.    Please be seated, ladies

09:07:12   20   and gentlemen.

09:07:16   21          All right.     Good morning, ladies and gentlemen.         I

09:07:18   22   hope you all had a good weekend.

09:07:22   23          I'm going to begin this morning by reading most of my

09:07:29   24   final instructions, Pages 1 to 27.         I have given each of you

09:07:36   25   a copy.    If you wish to follow along while I read, you may,
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09:07:40    1   but, of course, you don't have to.         Each of you will have a

09:07:42    2   copy of the final instructions for using -- for use in your

09:07:51    3   deliberations.

09:07:51    4           Members of the jury, you have heard all of the

09:07:53    5   evidence, and it's now time for me to instruct you about the

09:07:55    6   law that you must follow in deciding this case.

09:07:58    7           I will start by explaining your duties and the general

09:08:01    8   rules that apply in every civil case.

09:08:03    9           Then I will explain the elements or parts of the

09:08:08   10   claims that the plaintiffs assert against the defendants.

09:08:11   11   As I have explained before, there are two plaintiffs in this

09:08:14   12   case:    Lake County, Ohio, and Trumbull County, Ohio.

09:08:20   13   Further, there are three defendants in this case:            Walgreens

09:08:23   14   Company; CVS Pharmacy, Inc., and Walmart Inc.

09:08:30   15           After I explain the elements of the claims that the

09:08:32   16   two plaintiffs assert against the three defendants, the

09:08:35   17   lawyers will present their closing arguments.

09:08:36   18           Following closing arguments, I will explain the rules

09:08:40   19   that you must follow during your deliberations in the jury

09:08:43   20   room and the interrogatories and verdicts that you may

09:08:46   21   return.

09:08:47   22           Please listen very carefully to everything that I say.

09:08:55   23           It is your duty as jurors to follow the law as stated

09:08:58   24   in the instructions of the Court and to apply the rules of

09:09:00   25   law so given to the facts as you find them from the evidence
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09:09:03    1   in the case.

09:09:04    2          You have two main duties as jurors:          The first one is

09:09:08    3   to decide what the facts are from the evidence that you saw

09:09:12    4   and heard here in court.       Deciding what the facts are is

09:09:16    5   your job, not mine, and nothing I have said or done during

09:09:19    6   this trial was meant to influence your decision about the

09:09:23    7   facts in any way.

09:09:24    8          Your second duty is to take the law that I give you,

09:09:28    9   apply it to the facts, and decide if each plaintiff has

09:09:32   10   proven by a preponderance of the evidence that each

09:09:36   11   defendant is liable.      It is my job to instruct you about the

09:09:39   12   law, and you are bound by the oath you took at the beginning

09:09:43   13   of the trial to follow the instructions that I give you,

09:09:46   14   even if you personally disagree with them.           This includes

09:09:50   15   the instructions that I gave you during the trial and these

09:09:53   16   instructions.     All the instructions are important, and you

09:09:56   17   should consider them together as a whole.

09:09:58   18          The lawyers will talk about the law during their

09:10:03   19   arguments.    But if what they say is different from what I

09:10:05   20   say, you must follow what I say.         What I say about the law

09:10:09   21   controls.

09:10:09   22          Perform these duties fairly.        Do not let any bias,

09:10:14   23   sympathy, or prejudice that you may feel toward one side or

09:10:18   24   the other influence your decision in any way.

09:10:20   25          All parties are equal in the eyes of the law.
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                                         Charge to the Jury

09:10:24    1   Corporations stand on equal footing, and size is not to be

09:10:28    2   considered.     Both the parties and the public expect that you

09:10:31    3   will carefully and impartially consider all of the evidence

09:10:34    4   in the case, follow the law as stated by the Court, and

09:10:38    5   reach a just decision regardless of the consequences.

09:10:41    6          In a civil action like this one, plaintiffs are

09:10:48    7   required to prove all the elements of their claim by a

09:10:50    8   preponderance of the evidence.        This duty is known as the

09:10:55    9   burden of proof.      To establish something by the

09:11:00   10   preponderance of the evidence, or by a preponderance of the

09:11:02   11   evidence, means to prove that something is more likely true

09:11:05   12   than not true.

09:11:05   13          A preponderance of the evidence is the greater weight

09:11:08   14   of the evidence; that is, evidence that you believe because

09:11:12   15   it outweighs or overbalances in your mind the evidence

09:11:15   16   opposed to it.     A preponderance means evidence that is more

09:11:19   17   probable, more persuasive, more likely, or of greater

09:11:23   18   probative value.      Remember, it is the quality of the

09:11:26   19   evidence that must be weighed, not the quantity of evidence.

09:11:29   20          This standard does not require proof to an absolute

09:11:34   21   certainty, since proof to an absolute certainty is seldom

09:11:39   22   possible in any case.

09:11:40   23          You may also have heard of the term "proof beyond a

09:11:44   24   reasonable doubt."      That is a stricter standard of proof

09:11:46   25   that applies in criminal cases only.          It does not apply in
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09:11:49    1   civil cases like this one.        You should, therefore, put it

09:11:52    2   out of your minds.

09:11:53    3           In determining whether any fact in issue has been

09:11:57    4   proved by a preponderance of the evidence you may, unless

09:12:00    5   otherwise instructed, consider the testimony of all

09:12:03    6   witnesses, regardless of who may have called them, and all

09:12:07    7   exhibits received in evidence, regardless of who may have

09:12:10    8   produced them.

09:12:11    9           If the weight of the evidence is equally balanced, or

09:12:15   10   if you are unable to determine which side of an issue has

09:12:17   11   the preponderance, then the party who has the burden of

09:12:21   12   proof has not established that issue by a preponderance of

09:12:24   13   the evidence.

09:12:25   14           You must make your decision based only on the evidence

09:12:30   15   that you saw and heard here in court.          Do not let rumors,

09:12:34   16   suspicions, or anything else that you may have even or heard

09:12:39   17   outside of court influence your decision in any way.

09:12:41   18           Evidence is all the testimony received from the

09:12:45   19   witnesses including depositions, the exhibits admitted

09:12:48   20   during the trial, the stipulations that the lawyers agreed

09:12:50   21   to, and any facts which the Court requires you to accept as

09:12:54   22   true.

09:12:54   23           Nothing else is evidence.       The lawyers' statements and

09:12:58   24   arguments are not evidence.        If you remember the facts

09:13:01   25   differently from the way the attorneys have stated them, you
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09:13:04    1   should base your decision on what you remember.            The

09:13:07    2   lawyers' questions and objections are not evidence.              My

09:13:10    3   legal rulings are not evidence, and my comments and

09:13:15    4   questions are not evidence.

09:13:15    5           During the trial I may have not let you hear the

09:13:18    6   answers to some of the questions that the lawyers asked.

09:13:21    7   And I may have ordered you to disregard things you saw or

09:13:24    8   heard, or I struck things from the record.           You must

09:13:28    9   completely ignore all these things.         Do not even think about

09:13:32   10   them.    Do not speculate about what a witness might have

09:13:35   11   said.    You may not draw any inference from an unanswered

09:13:39   12   question, nor may you consider testimony which has been

09:13:42   13   stricken in reaching your decision.         Make your decision

09:13:45   14   based only on the evidence, as I have defined it here and

09:13:48   15   nothing else.

09:13:51   16           You should use your common sense in weighing the

09:13:53   17   evidence.    Consider it in light of your everyday experience

09:13:57   18   with people and events and give it whatever weight you

09:14:00   19   believe it deserves.      If your experience tells you that

09:14:03   20   certain evidence reasonably leads to a conclusion, you are

09:14:06   21   free to reach that conclusion.

09:14:10   22           Now, some of you may have heard the terms "direct

09:14:13   23   evidence" and "circumstantial evidence."

09:14:15   24           Direct evidence is evidence like the testimony of an

09:14:17   25   eyewitness that, if you believe it, directly proves a fact.
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09:14:21    1   If a witness testifies that he saw it raining outside, and

09:14:25    2   you believe him, that would be direct evidence that it was

09:14:27    3   raining.

09:14:28    4          Circumstantial evidence is a chain of circumstances

09:14:30    5   that indirectly proves a fact.        If someone walks into the

09:14:34    6   courtroom wearing a raincoat covered with drops of water and

09:14:37    7   carrying a wet umbrella, that would be circumstantial

09:14:41    8   evidence from which you could conclude that it was raining.

09:14:44    9          It is your job to decide how much weight to give the

09:14:48   10   direct and circumstantial evidence.         The law makes no

09:14:51   11   distinction between the weight that you should give to

09:14:54   12   either one; the law does not say that one is better evidence

09:14:57   13   than the other.     You should consider all the evidence, both

09:15:00   14   direct and circumstantial, and give it whatever weight you

09:15:03   15   believe it deserves.

09:15:04   16          The law permits you to draw reasonable inferences from

09:15:10   17   the evidence that has been presented.          Inferences are

09:15:12   18   deductions or conclusions, which reason and common sense

09:15:14   19   lead the jury to draw from facts which have been established

09:15:18   20   by the evidence in the case.

09:15:20   21          In other words, while you should consider only the

09:15:23   22   evidence in the case, you are not limited solely to what you

09:15:26   23   see and hear as the witnesses testify.          You are permitted to

09:15:30   24   draw from facts which you have -- which you find have been

09:15:34   25   proved reasonable inferences that you feel are justified in
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09:15:39    1   light of your common experience.

09:15:40    2          Another part of your job as jurors is to decide how

09:15:46    3   credible, or believable, each witness was.           This is your

09:15:49    4   job, not mine.     It is up to you to decide if a witness's

09:15:55    5   testimony was believable and how much weight you think it

09:15:57    6   deserves.    You are free to believe everything that a witness

09:16:00    7   said, or only part of it, or none of it at all.            But you

09:16:03    8   should act reasonably and carefully in making these

09:16:05    9   decisions.

09:16:05   10          Let me suggest some things for you to consider in

09:16:11   11   evaluating each witness's testimony.

09:16:12   12          First, ask yourself if the witness was able to clearly

09:16:19   13   see or hear the events.       Sometimes even an honest witness

09:16:22   14   may not have been able to see or hear what was happening and

09:16:25   15   may make a mistake.

09:16:26   16          Ask yourself how good the witness's memory seemed to

09:16:29   17   be.   Did the witness seem able to accurately remember what

09:16:32   18   happened?

09:16:33   19          Ask yourself if there was anything else that may have

09:16:36   20   interfered with the witness's ability to perceive or

09:16:38   21   remember the events.

09:16:39   22          Ask yourself how the witness acted while testifying.

09:16:44   23   Did the witness appear honest?        Or did the witness appear to

09:16:47   24   be lying?

09:16:47   25          Ask yourself if the witness had any relationship to
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09:16:51    1   plaintiffs or defendants or anything to gain or lose from

09:16:54    2   the case that might influence the witness's testimony.

09:16:58    3            Ask yourself if the witness had any bias, prejudice,

09:17:01    4   or reason for testifying, that might cause the witness to

09:17:05    5   lie or to slant the testimony in favor of one side or the

09:17:08    6   other.

09:17:08    7            Ask yourself if the witness testified inconsistently

09:17:13    8   while on the witness stand, if the witness said or did

09:17:16    9   something, or failed to say or do something at any other

09:17:20   10   time that is inconsistent with what the witness said while

09:17:26   11   testifying.

09:17:26   12            If you believe that the witness was inconsistent, ask

09:17:29   13   yourself if this makes the witness's testimony less

09:17:31   14   believable.     Sometimes it may; other times it may not.

09:17:35   15   Consider whether the inconsistency was about something

09:17:39   16   important, or about some unimportant detail.

09:17:41   17            Ask yourself if it seemed like an innocent mistake or

09:17:45   18   if it seemed deliberate.

09:17:46   19            Ask yourself how believable the witness's testimony

09:17:49   20   was in light of all the other evidence.          Was the witness's

09:17:52   21   testimony supported or contradicted by other evidence that

09:17:56   22   you found believable?       If you believe that a witness's

09:17:59   23   testimony was contradicted by other evidence, remember that

09:18:02   24   people sometimes forget things.         Even two honest people who

09:18:06   25   witness the same event may not describe it exactly the same
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09:18:09    1   way.

09:18:10    2          These are only some of the things that you may

09:18:12    3   consider in deciding how believable each witness was.             You

09:18:16    4   may also consider other things that you think shed some

09:18:19    5   light on the witness's believability.          Use your common sense

09:18:22    6   and your everyday experience in dealing with other people,

09:18:26    7   and then decide what testimony you believe and how much

09:18:30    8   weight you think it deserves.

09:18:31    9          Opinion testimony.

09:18:34   10          You've heard the testimony of numerous individuals,

09:18:38   11   sometimes referred to as expert witnesses, who offered their

09:18:42   12   professional opinions about the matters at issue in this

09:18:44   13   lawsuit.    You do not have to accept their opinions.          In

09:18:48   14   deciding how much weight to give each opinion, you should

09:18:51   15   consider the witness's qualifications and how they reached

09:18:55   16   their conclusions.

09:18:56   17          Also, consider the other factors discussed in these

09:19:00   18   instructions for weighing the credibility of witnesses.

09:19:03   19          If you decide that the opinion of an expert witness is

09:19:07   20   not based upon sufficient education and experience, or if

09:19:11   21   you conclude that the reasons given in support of the

09:19:13   22   opinion are not sound, or if you feel that an expert

09:19:16   23   witness's opinion is outweighed by other evidence, you may

09:19:20   24   disregard the opinion entirely.

09:19:21   25          Remember that you alone decide how much of a witness's
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09:19:25    1   testimony to believe, and how much weight it deserves.

09:19:27    2          One more thing about witnesses.         Sometimes jurors

09:19:33    3   wonder if the number of witnesses who testified makes any

09:19:36    4   difference.     Do not make any decisions based only on the

09:19:39    5   number of witnesses who testified.         What is more important

09:19:41    6   is how believable the witnesses were and how much weight you

09:19:45    7   think their testimony deserves.         Concentrate on that, not

09:19:48    8   the numbers.

09:19:49    9          Certain charts and summaries have been shown to you in

09:19:54   10   order to help explain the facts disclosed by books, records,

09:19:58   11   and other documents that are in evidence in this case.

09:20:01   12          However, these charts or summaries are not, in and of

09:20:05   13   themselves, evidence or proof of the facts.           If the charts

09:20:07   14   or summaries do not correctly reflect facts or figures shown

09:20:11   15   by the evidence in the case, you should disregard them.

09:20:13   16          There is one more general subject that I want to talk

09:20:20   17   take you about before I begin explaining the elements of the

09:20:22   18   claims.    The lawyers for both sides objected to some of the

09:20:25   19   things that were said or done during the trial.            Do not hold

09:20:27   20   that against either side.       The lawyers have a duty to object

09:20:32   21   whenever they think that something is not permitted by the

09:20:34   22   Rules of Evidence.      Those rules are designed to make sure

09:20:37   23   that both sides receive a fair trial.

09:20:39   24          And do not interpret my rulings on their objections as

09:20:42   25   any indication of how I think I --- of how I think the case
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09:20:49    1   should be decided.      My rulings were based on the Rules of

09:20:54    2   Evidence, not on how I feel about the case.           Remember that

09:20:56    3   your decision must be based only on the evidence that you

09:20:59    4   saw and heard here in court.

09:21:01    5           That concludes the part of my instructions explaining

09:21:08    6   your duties and the general rules that apply in every civil

09:21:10    7   case.    In a moment, I will explain the elements of

09:21:13    8   plaintiffs' claims.      But before I do that, I want to mention

09:21:16    9   the following:

09:21:18   10           Each of the defendants are corporations.          Corporations

09:21:22   11   can be held liable for their acts or omissions, just as you

09:21:25   12   or I can.    As corporations, they can act, or fail to act,

09:21:29   13   only through their officers and employees.           The conduct of

09:21:33   14   an officer or employee acting within the scope of his or her

09:21:37   15   employment should be treated as the conduct of the

09:21:40   16   corporation.

09:21:41   17           During my summary of the plaintiffs' claims, I will

09:21:45   18   often use the word "person" or "persons."           Please bear in

09:21:48   19   mind that for all of these claims, corporations are

09:21:50   20   considered persons.      Each person, including each

09:21:53   21   corporation, is considered a separate person under the law

09:21:58   22   whose liability must be separately determined.

09:22:00   23           I will now instruct you on the elements of plaintiffs'

09:22:07   24   public nuisance claims.

09:22:07   25           Each plaintiff alleges that each defendant dispensed
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09:22:12    1   opioid products in a manner that endangered public health or

09:22:16    2   safety, thereby creating a public nuisance.           Specifically,

09:22:19    3   each plaintiff claims that each defendant substantially

09:22:22    4   contributed to an oversupply of legal prescription opioids

09:22:27    5   and to diversion of those opioids into the illicit market

09:22:31    6   outside of appropriate medical channels, thereby endangering

09:22:36    7   public health or safety.

09:22:36    8            Let me define for you the legal term "public

09:22:41    9   nuisance."    A public nuisance is an unreasonable inference

09:22:45   10   with a right held by the public in common that is ongoing

09:22:48   11   today.    A public nuisance includes an unreasonable

09:22:56   12   interference with public health or public safety.

09:22:58   13            A right common to the general public is a right or an

09:23:00   14   interest that belongs to the community at large.            It is a

09:23:02   15   right that is collective in nature.         A public right is

09:23:05   16   different from an individual right that everyone has, like

09:23:08   17   the right not to be assaulted or defrauded.

09:23:11   18            For a defendant to be held liable for creating a

09:23:15   19   public nuisance, a plaintiff must show, by the greater

09:23:17   20   weight of the evidence, that the defendant did one or both

09:23:20   21   of the following two things:

09:23:22   22            First, the defendant engaged in intentional conduct

09:23:26   23   that caused a significant and ongoing interference with a

09:23:30   24   public right to health or safety;

09:23:32   25            Or two, the defendant engaged in unlawful conduct that
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                                                                                      7072
                                         Charge to the Jury

09:23:36    1   caused a significant and ongoing interference with a public

09:23:40    2   right to health or safety.

09:23:42    3          Please remember that you are being asked to determine

09:23:45    4   only whether one or more of the defendants created a public

09:23:50    5   nuisance.    You are not being asked to determine whether

09:23:52    6   there should be a remedy for this claim, or what that remedy

09:23:59    7   should be.    If you find that one or more of the defendants

09:24:01    8   created a public nuisance, the Court will determine the

09:24:03    9   remedy.

09:24:07   10          Now, let me define some of the terms I just used.               One

09:24:10   11   of those terms is "intentional conduct."

09:24:13   12          Intentional conduct occurs when a person acts with the

09:24:17   13   purpose to produce a specific result.          A person intends an

09:24:21   14   act when that act is done purposely, not accidently.             The

09:24:26   15   intent with which a person acts is known only to that

09:24:29   16   person.

09:24:30   17          There are two ways to prove a person's intentional

09:24:33   18   conduct.    One, when a person expresses their intent to

09:24:36   19   others.    Or two, when a person somehow indicates their

09:24:39   20   intent by their conduct.

09:24:40   21          For you to find that a person engaged in intentional

09:24:44   22   conduct, it is enough that the person intended to act and

09:24:47   23   knew, or was substantially certain, that the circumstances

09:24:51   24   resulting from that act would interfere with public health

09:24:54   25   or public safety.      It is not necessary for you to find that
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                                                                                      7073
                                         Charge to the Jury

09:24:58    1   the person intended to cause a public nuisance.

09:25:00    2          If a person learns that circumstances resulting from

09:25:05    3   their conduct interfere with public health or public safety,

09:25:09    4   and the person continues that conduct, then the subsequent

09:25:13    5   conduct is intentional.

09:25:16    6          Settlement agreements.

09:25:18    7          You have heard testimony about settlements that

09:25:21    8   certain defendants entered into with the DEA, the Drug

09:25:26    9   Enforcement Administration.        This settlement evidence has

09:25:28   10   been admitted for a limited purpose.          You may consider these

09:25:32   11   settlements only to the extent you believe they bear on what

09:25:36   12   notice or knowledge the defendant received as a result of

09:25:39   13   the settlements, or to the extent you believe they bear on

09:25:43   14   the defendants' intent.       You may not infer liability or draw

09:25:46   15   any conclusions about a defendant's potential liability in

09:25:50   16   this case based upon the fact that it entered into those

09:25:54   17   settlements.

09:25:55   18          Employee conversations.

09:25:58   19          You have heard testimony from one or more of the

09:26:01   20   defendants' employees about conversations they testified

09:26:05   21   they had with officials from State Boards of Pharmacy.             This

09:26:10   22   evidence has been admitted for a limited purpose.            You may

09:26:13   23   consider their recollections of those conversations as

09:26:18   24   evidence of the defendants' own knowledge or intent.             You

09:26:21   25   may not consider the testimony as evidence of any official
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09:26:24    1   policy of any Board of Pharmacy.

09:26:26    2          Now, let me define the term "unlawful conduct."

09:26:33    3          Unlawful conduct can occur either by acting in a

09:26:37    4   certain way that is prohibited by law, or by failing to act

09:26:41    5   in a certain way that is required by law.           Specifically,

09:26:45    6   unlawful conduct occurs when a person engages in conduct

09:26:49    7   that is prohibited by a statute, ordinance, or regulation

09:26:53    8   that controls safety.       And unlawful conduct also occurs when

09:26:57    9   a statute, ordinance, or regulation that controls safety

09:27:01   10   requires a person to engage in certain conduct, but the

09:27:05   11   person fails to do so.

09:27:07   12          The person does not need to know their conduct is

09:27:10   13   unlawful for an unlawful act to occur.

09:27:12   14          A law controls safety if it imposes specific legal

09:27:17   15   requirements for the protection of the health, safety, or

09:27:20   16   welfare of others.      The Federal and Ohio Controlled

09:27:25   17   Substances Acts and their accompanying regulations are laws

09:27:27   18   that control safety.

09:27:28   19          Conduct that is fully authorized by a statute,

09:27:32   20   ordinance, or regulation cannot create a public nuisance

09:27:36   21   because it is lawful conduct.        But if a person's conduct

09:27:39   22   does not comply with what is authorized by law, then that

09:27:42   23   conduct may be unlawful conduct.

09:27:44   24          Plaintiffs contend each defendant's conduct with

09:27:48   25   respect to their dispensing of controlled substances did not
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09:27:53    1   comply with the Federal and Ohio Controlled Substances Acts

09:27:57    2   and their accompanying regulations.         Prescription opioids

09:28:01    3   are controlled substances within the meaning of Federal and

09:28:04    4   Ohio law and regulations.

09:28:05    5          The Federal and Ohio Controlled Substances Acts and

09:28:10    6   their accompanying regulations do not require strict or

09:28:13    7   perfect compliance.      Only substantial compliance is

09:28:16    8   required.    In other words, not every act that is in

09:28:20    9   violation of the law can be a public nuisance.           Only

09:28:23   10   unlawful conduct that causes a significant interference with

09:28:27   11   a public right to health or safety can be a public nuisance.

09:28:34   12          Under both Federal and Ohio laws and regulations,

09:28:38   13   entities that are authorized to dispense controlled

09:28:40   14   substances are required to provide effective controls and

09:28:43   15   procedures to guard against theft and diversion.

09:28:46   16          A prescription for a controlled substance must be

09:28:49   17   issued for a legitimate medical purpose by a doctor, or

09:28:53   18   other registered prescriber, acting in the usual course of

09:28:57   19   his or her professional practice.         The Federal and Ohio

09:29:02   20   Controlled Substances Acts and their accompanying

09:29:05   21   regulations also provide that the pharmacist who fills the

09:29:09   22   prescription has a corresponding responsibility for proper

09:29:14   23   dispensing of controlled substances for a legitimate medical

09:29:16   24   purpose.    The corresponding responsibility for proper

09:29:20   25   dispensing of valid prescription extends to the pharmacy
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                                                                                      7076
                                         Charge to the Jury

09:29:24    1   itself.

09:29:25    2            A violation of the corresponding responsibility occurs

09:29:29    3   when a person knowingly fills or allows to be filled an

09:29:33    4   illegitimate prescription.        In this context, knowingly

09:29:38    5   includes when a person acts with deliberate ignorance or

09:29:43    6   willful blindness to information in their possession.

09:29:46    7            Public nuisance-causation.

09:29:51    8            Under either of the two ways of proving public

09:29:55    9   nuisance; that is, showing intentional conduct or unlawful

09:29:58   10   conduct, a plaintiff must prove by the greater weight of the

09:30:02   11   evidence that a defendant's conduct caused an interference

09:30:05   12   with a right to public health or safety that is ongoing

09:30:08   13   today.    Let me explain something about causation.

09:30:11   14            You may find a defendant liable only if you conclude

09:30:16   15   the defendant was a proximate cause of a public nuisance.              A

09:30:21   16   public nuisance may be proximately caused by a defendant's

09:30:24   17   act or failure to act.       A defendant's conduct proximately

09:30:28   18   caused a public nuisance if the circumstances that

09:30:32   19   constitute the nuisance are the natural and foreseeable

09:30:36   20   result of that conduct.

09:30:37   21            There may be more than one proximate cause of a public

09:30:40   22   nuisance, but causes that are merely incidental are not

09:30:43   23   proximate causes.      To be a proximate cause, the acts or

09:30:46   24   omissions of a defendant must be a substantial factor in

09:30:51   25   producing circumstances that unreasonably interfere with a
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                                                                                      7077
                                         Charge to the Jury

09:30:57    1   public right to health or safety.

09:30:59    2          An individual defendant's conduct need not be

09:31:01    3   independently capable, all by itself, of causing the public

09:31:04    4   nuisance.    There may be multiple causes of a public

09:31:07    5   nuisance.    The fact that some other cause or causes combined

09:31:11    6   with the defendant's conduct in creating the public nuisance

09:31:14    7   does not relieve that defendant from liability if the

09:31:17    8   plaintiff can prove that the conduct the defendant engaged

09:31:20    9   in was a substantial factor in creating the public nuisance.

09:31:25   10          A defendant's conduct is substantial if a reasonable

09:31:28   11   person would regard that conduct as the cause, or one of the

09:31:32   12   material, meaningful, or considerable causes, of the

09:31:36   13   nuisance.    If you find that the conduct of any defendant

09:31:39   14   proximately caused a public nuisance, it is not a defense to

09:31:43   15   liability that some other entity may also be to blame.

09:31:47   16          In addition, the plaintiff must show by the greater

09:31:53   17   weight of the evidence that the conduct a defendant engaged

09:31:55   18   in could reasonably be expected to cause an interference

09:31:59   19   with public health or safety.        A defendant does not,

09:32:01   20   however, need to foresee that their conduct would lead to

09:32:04   21   the specific nuisance that occurred.

09:32:06   22          I have instructed you that a public nuisance is an

09:32:11   23   unreasonable interference with a right held by the public in

09:32:14   24   common, and I have used the phrase, significant interference

09:32:16   25   with a public right to health or safety.          Let me define the
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09:32:21    1   terms "significant" and "unreasonable."

09:32:22    2          An interference with a public right may range from a

09:32:27    3   petty annoyance to serious harm.         An interference with a

09:32:31    4   public right is not significant or unreasonable if it causes

09:32:35    5   only a relatively slight amount of inconvenience.

09:32:38    6          An interference with a public right is significant or

09:32:41    7   unreasonable if it causes greater harm than the public

09:32:45    8   should be required to bear, considering all the

09:32:47    9   circumstances.     When you consider whether an interference

09:32:51   10   with a public right is significant or unreasonable, some of

09:32:55   11   the factors you may consider include the nature, extent, and

09:32:59   12   duration of the interference, and the social value of the

09:33:03   13   defendant's conduct.

09:33:07   14          When rendering your verdict on the plaintiffs' claims

09:33:10   15   of public nuisance, you must consider each claim against

09:33:13   16   each defendant separately.        In other words, you must

09:33:16   17   independently decide each separate plaintiff's claim against

09:33:20   18   each separate defendant.

09:33:22   19          Thus, if you find that a particular plaintiff has

09:33:24   20   proved its public nuisance claim by the greater weight of

09:33:27   21   the evidence against a particular defendant, then your

09:33:30   22   verdict must be for that plaintiff and against that

09:33:33   23   defendant.

09:33:33   24          Similarly, if you find that a particular plaintiff has

09:33:37   25   failed to prove its public nuisance claim by the greater
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                                         Charge to the Jury

09:33:40    1   weight of the evidence against a particular defendant, then

09:33:44    2   your verdict must be against that plaintiff and for that

09:33:47    3   defendant.

09:33:47    4          To repeat:     You must independently decide each

09:33:51    5   separate plaintiff's claim against each separate defendant

09:33:55    6   and render your verdict accordingly.          Just because you find

09:33:58    7   in favor of one plaintiff or one defendant does not mean you

09:34:01    8   must find in favor of any other plaintiff or any other

09:34:05    9   defendant.

09:34:05   10          The verdict forms will guide you through this process.

09:34:08   11          So those of you who were following along, if you just

09:34:12   12   put aside your instructions now, and we will have the final

09:34:17   13   arguments of counsel.

09:34:20   14          The way this works, because the plaintiff has the

09:34:23   15   burden of proof, the plaintiff will go first, and the rules

09:34:26   16   permit the plaintiff to reserve a small amount of time for

09:34:30   17   rebuttal.

09:34:31   18          So Mr. Lanier will proceed, and I anticipate his

09:34:35   19   arguments will take the balance of the morning.            He will

09:34:39   20   take a mid-morning break at a convenient time.           And then

09:34:43   21   after lunch, we will have, in turn, the final arguments of

09:34:47   22   each of the three defendants.

09:34:49   23          So, Mr. Lanier, you may proceed, please.

09:35:15   24                    MR. LANIER:     I think my mic is on, Your Honor.

09:35:21   25          No, it's not.
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                                                                                      7080
                                    Closing Argument - Lanier

09:35:22    1            Mr. Pitts, you got the magic.      Thank you.

09:35:22    2                    CLOSING ARGUMENT BY PLAINTIFFS

09:35:38    3                    MR. LANIER:     All right.    Your Honor, may it

09:35:39    4   please this Court, counsel, clients, ladies and gentlemen of

09:35:48    5   the jury, I feel like I've kind of gotten to know y'all a

09:35:52    6   little bit.     Not because we've had a chance to visit, but

09:35:55    7   because I see what you wear, I see the masks, I watch you

09:36:01    8   walk in, I watch you walk out, I know when some are

09:36:03    9   celebrating birthdays -- by the way, Pete Weinberger is 71

09:36:09   10   today.    Side note.

09:36:11   11            I know when some of you are celebrating birthdays.           I

09:36:14   12   know when you're ready for a break.         I've gotten to know you

09:36:18   13   some, and I'm sure you've gotten to know me some.            You've

09:36:22   14   gotten used to my accent, I hope.         My vocabulary is probably

09:36:27   15   a little different than a lot of folks around here.            But

09:36:31   16   I've taken a lot of solace in getting to try this case to

09:36:43   17   you.

09:36:43   18            The judge picked so many people because he expected --

09:36:46   19   and, frankly, I think all of us expected -- to lose people

09:36:50   20   in the process of this.       This is a long trial.      And there's

09:36:53   21   a lot that can come to you in your plate, whether it's

09:36:57   22   school or whether it's whatever job you've got or whatever

09:37:00   23   you're doing.     And the rules require us to keep at least 6

09:37:06   24   people.    So the judge had us loaded where we could lose 8

09:37:10   25   people and still keep a verdict.         And yet, here you are.
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                                                                                      7081
                                    Closing Argument - Lanier

09:37:17    1   And we've got you here because you're so blasted interested

09:37:24    2   in this, and that's so apparent to us.          And I hope it does

09:37:32    3   not escape your awareness that what you're about is a very

09:37:40    4   important case.     It's part of a larger picture where we're

09:37:44    5   trying to figure out who's responsible and to what degree

09:37:49    6   for the opioid epidemic that plagues not just Northeastern

09:37:58    7   Ohio, but, frankly, plagues most places within the country.

09:38:03    8           And within the framework of that, His Honor has carved

09:38:05    9   out this case to give us a chance to focus on what

09:38:10   10   ultimately now are these three chain pharmacies.            Because

09:38:14   11   they claim to take no responsibility:          none, zero, zip.     And

09:38:22   12   yet we think they play a significant role in this as that

09:38:27   13   last line of defense, and so we've come forward to try this

09:38:33   14   case.

09:38:33   15           I've been honored to be asked to lead this trial.

09:38:35   16   I've been so ably assisted.        I mean, y'all know what Pete's

09:38:40   17   done, and you know I'm going to brag on my daughter for what

09:38:43   18   she's done.     But I want to tell you Maria Fleming,

09:38:46   19   Ms. Fleming has taken care of all of the exhibits in this

09:38:49   20   case and making sure that we've got them, that they've been

09:38:52   21   admitted into evidence, that we've got our objections.             Her

09:38:55   22   job.    Frank Gallucci's job, just incredible what he's done

09:39:00   23   working on this.      And so I come to you with a host of people

09:39:05   24   out there that have worked so hard on this case for years

09:39:09   25   now.
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                                                                                      7082
                                    Closing Argument - Lanier

09:39:12    1          But what you're about is something of supreme

09:39:16    2   importance.     Even before this trial you'd never heard of the

09:39:20    3   Holiday, I suspect.      Holiday was a seminal case.        It came

09:39:25    4   out of Florida.     It was against CVS.       Two of their

09:39:30    5   pharmacies down there had some major problems.           And that

09:39:36    6   case was one that was published in the Federal Register so

09:39:41    7   that everybody would be on notice about what it said.             And

09:39:46    8   what it said was profound.        You'll have a redacted version

09:39:52    9   back there that you can look at and read yourself.

09:39:55   10          But what you're about here is not only every bit as

09:40:01   11   important as the Holiday case.        What you're about here is

09:40:05   12   something that's even more important.          Because you're going

09:40:07   13   to make decisions, and those decisions will be reported.

09:40:15   14   And the reporting of those decisions will set up the

09:40:18   15   standards by which these chain pharmacies and independent

09:40:21   16   pharmacies must act.

09:40:25   17          You are actually sitting in the seat now as finders of

09:40:29   18   fact to determine what the facts are that answer these

09:40:34   19   questions to determine what is permissible in our society

09:40:39   20   within the framework of the law and what is not.            That's an

09:40:45   21   awesome, awesome responsibility, but it's an awesome,

09:40:51   22   awesome opportunity.      And that's. . . that's what's driven

09:41:00   23   our team.    Because we've shouldered that opportunity and

09:41:07   24   responsibility up till now, but today I hand it off.

09:41:09   25          I was talking to my wife this morning as we were
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                                                                                      7083
                                    Closing Argument - Lanier

09:41:12    1   getting ready to come over here, and I said, you know,

09:41:15    2   Becky, this is like, you know, it's one of those football

09:41:22    3   games -- I'm not talking Browns.         We don't talk about that

09:41:25    4   today, but it's one of those football games where -- and by

09:41:30    5   the way, I'd like to go on the record and say I am not a

09:41:34    6   Dallas Cowboy fan.      If there is any doubt, just because I'm

09:41:37    7   from Texas, I like it when they lose, and I'd just like to

09:41:39    8   make that clear.      You may hate me.     I am a Kansas City fan,

09:41:45    9   but I am not a Dallas Cowboy fan.

09:41:47   10           But regardless, there comes a point where in

09:41:51   11   someplace, the quarterback hands off the ball, someone else

09:41:54   12   starts running with it, or he throws the ball, and at that

09:41:58   13   point all he can kind of do is watch.

09:42:04   14           Well, today, I get to hand this to y'all, and I'm

09:42:10   15   done.    Y'all get to figure out what's okay and what's not.

09:42:15   16   Y'all get to decide.      Y'all get to form maybe the most

09:42:21   17   seminal case in pharmaceutical history, in pharmacy history,

09:42:26   18   dealing with the Controlled Substances Act.           That's you.

09:42:30   19           And so what we're about here today is something that's

09:42:33   20   real important.     I've put together a PowerPoint presentation

09:42:37   21   here.    It -- some of these slides you've seen before, but

09:42:40   22   this is just sort of the national crisis.           And this has

09:42:47   23   national ramifications.       It's not the kind of thing where

09:42:51   24   people will say years down the road, oh, that only pertained

09:42:54   25   to those three pharmacies in Northeastern Ohio in Lake and
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                                                                                      7084
                                    Closing Argument - Lanier

09:42:58    1   Trumbull County.      No, this will have ramifications all

09:43:01    2   around the United States of America.

09:43:03    3           And, so, as you examine it, and you examine this

09:43:06    4   opioid crisis, which His Honor has just done a Yeoman's job

09:43:11    5   over the years of trying to administer this massive beast of

09:43:16    6   litigation.     Hand-selected to do so, I might add.         And what

09:43:24    7   we've learned and what you've gotten a glimpse of as they've

09:43:28    8   talked about the different parties that have been sued

09:43:30    9   before and what's happened to this and what's happened to

09:43:32   10   that is as we try to sort through this very complicated

09:43:36   11   beast to determine who needs to be at the table to assess

09:43:40   12   their share of responsibility.        And that's what we're here

09:43:46   13   to try to find out.

09:43:47   14           And so I suggested to you in opening that this is a

09:43:50   15   bit like a connect-the-dots picture, and if you don't

09:43:56   16   connect all of the dots, you don't get the right picture.

09:44:00   17   We can't describe the opioid mess and leave out some of the

09:44:04   18   dots.    I said -- and I think it was heard wrong, it

09:44:13   19   certainly was misrepresented to you -- I said that a

09:44:18   20   pharmacist is not a gumball machine, that they have more

09:44:24   21   responsibility than simply taking your money and giving you

09:44:27   22   your pills.     They have more responsibility than simply

09:44:31   23   looking at your prescription and determining did you forge

09:44:35   24   it.   They have more responsibility than simply calling the

09:44:38   25   doctor and saying, are you sure.         They go to school for
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                                                                                      7085
                                    Closing Argument - Lanier

09:44:44    1   years and years and take all of these things.           They have to

09:44:47    2   take a test to get a license.        The test, I might add, that

09:44:53    3   for decades was overseen by the National Boards of Pharmacy,

09:45:00    4   Carmen Catizone.      But when you start looking at all of the

09:45:05    5   different parties responsible, then you begin to see more

09:45:09    6   fully what the true picture is, and that's the zebra in my

09:45:12    7   illustration.

09:45:13    8          So the question becomes, CVS pharmacy, are they part

09:45:17    9   of the problem?

09:45:20   10          The question becomes, Walgreens, are they part of the

09:45:25   11   problem?

09:45:26   12          Walmart, are they a part of the problem?

09:45:29   13          Now, the pharmacies, they don't mind telling you that

09:45:32   14   pharmacies can be a part of the problem.          Because they'll

09:45:36   15   point the finger at Franklin, and they'll point the finger

09:45:40   16   at Overholt's.     They'll tell you pharmacies have

09:45:44   17   responsibilities.      They'll tell you they can be part of the

09:45:46   18   problem.    They're just saying, not me.        And that's what you

09:45:52   19   get to sit here and decide.        And the judge says you do that

09:45:57   20   by the preponderance of the evidence.          That means the

09:46:00   21   greater weight of credible evidence.          That means that I've

09:46:05   22   got to show that it's more likely than not that they were

09:46:14   23   the contributing part of the problem, that they have to be

09:46:18   24   under the law.

09:46:19   25          So I've got to show that.
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                                    Closing Argument - Lanier

09:46:21    1          Now, I think we've done it not just by the greater

09:46:24    2   weight of credible evidence.        I think we've done it

09:46:27    3   tremendously.     And I'm going to march through that with you.

09:46:33    4   But if you get back in that jury room and you start hashing

09:46:37    5   this out with each other and someone says, you know, I'm not

09:46:41    6   sure that that's totally proven, you can remind the other

09:46:47    7   jurors that they can have 49 percent doubt and still vote

09:46:50    8   for the counties in this case.        I mean, this is a

09:46:57    9   preponderance of the evidence, and the judge gives a really

09:47:00   10   clear instruction on that.

09:47:01   11          So you're not going to be totally surprised, but,

09:47:04   12   yeah, I've got a road map for closing argument.            I'm sorry.

09:47:07   13          I'll pass it out.

09:47:11   14          Juan, could I please have the ELMO.

09:47:18   15          Juan, it looks like it has frozen our photograph.            Do

09:47:22   16   we have an ability to unfreeze it?

09:47:31   17          And if not, I'll just stand up and hold it.           I get to

09:47:34   18   stand close to the jury, but if you can figure out how to

09:47:37   19   make that work, that would be wonderful.

09:47:43   20          Ah.   Juan Wilson.     Write it down.     He's going to be

09:47:48   21   famous.

09:47:49   22          So here is your -- a little bit bigger -- your closing

09:47:55   23   argument road map.

09:47:58   24          I've got three stops along the way.          I want to talk

09:48:01   25   about a recap of the trial.        And somewhere in there we'll
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                                                                                      7087
                                    Closing Argument - Lanier

09:48:06    1   have our morning break.       And then I want to talk about the

09:48:10    2   judge's questions and instructions that have been shown to

09:48:13    3   you.

09:48:14    4            Now, don't die over this, but the judge has given each

09:48:19    5   side 3 hours today to argue.        So the way mine is divided up,

09:48:24    6   I've got 2 and a half hours.        I hope to finish by the lunch

09:48:27    7   break.    And then once I'm done, each of the defendants have

09:48:32    8   up to 3 hours when you add it all together.           So they don't

09:48:36    9   get 3 hours apiece.      But that's my road map.       I don't know

09:48:39   10   what order they'll go in, and I don't know how much.             But

09:48:42   11   we'll detour from what I'm doing for you to hear from CVS,

09:48:46   12   Walmart, and Walgreens.       And then we'll come back to me, and

09:48:48   13   I'll save 30 minutes at the end of the day to recap a grand

09:48:53   14   finale, if you will, having heard their arguments, I get a

09:48:59   15   chance to respond.      And that's the way the rules are set up.

09:49:03   16            So in opening I told you that we were --

09:49:06   17            Juan, why don't we go back to the PowerPoint, please.

09:49:11   18            In opening I told you that we were binge watching --

09:49:13   19   and that was the theme -- you've been binge watching

09:49:16   20   opioids.    This is a chance for you to get your popcorn, if

09:49:19   21   you eat it this early in the morning, sit back, because

09:49:21   22   we're going to finish binge watching in closing argument the

09:49:24   23   opioid trial as I review the evidence, and we're going to do

09:49:26   24   it with those three stops, the recap, the questions, and

09:49:29   25   then the finale at the end.        But we'll start with the recap.
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                                                                                      7088
                                    Closing Argument - Lanier

09:49:32    1          So if I was going to recap opioid epidemic episode 1

09:49:35    2   recap, where would I start?        Do you realize how many

09:49:38    3   witnesses you've heard?       I've been working on this case for

09:49:42    4   what seems to be a lifetime, and I couldn't remember all the

09:49:46    5   witnesses you've heard.       I don't -- I admire that you're

09:49:51    6   taking notes.     Did you know some judges do not let jurors

09:49:54    7   take notes?

09:49:55    8          I can't understand how they could ever do this,

09:49:57    9   Your Honor, but I thank you that you've given them that

09:49:59   10   chance.

09:49:59   11          Because he is driving for you to be in the best

09:50:04   12   position you can to make a fair and just decision.            That's

09:50:09   13   why he's made the rulings he's made.          Sometimes I have been

09:50:12   14   so frustrated with him and his rulings, I'm sure the other

09:50:15   15   side has as well, but he's just calling those balls and

09:50:19   16   strikes.    He doesn't care about anything except trying to

09:50:21   17   get to what's right.      And that's why we're here right now.

09:50:24   18          So instead of just doing this hodgepodge, I thought I

09:50:27   19   would just walk through the witnesses basically in the order

09:50:29   20   in which they came.      I have taken out the Giant Eagle

09:50:33   21   witnesses.    I'm not allowed to tell you why Giant Eagle is

09:50:37   22   not a part of this case anymore, it shouldn't be an issue,

09:50:40   23   but they're not.

09:50:41   24          I've also taken out the dispense -- the distribution

09:50:45   25   part of this case.      Frankly, we were running out of time to
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                                    Closing Argument - Lanier

09:50:50    1   try and put it all together, and so we decided that we would

09:50:53    2   just look and focus in on the dispensing.           And that's what

09:50:57    3   we're doing at this point.        So one or two witnesses will be

09:51:01    4   missing in my recap here because of that.

09:51:03    5          But the first witness I put on the stand was

09:51:06    6   Tom Davis.    He was vice president of pharmacy services for

09:51:09    7   CVS.   CVS is now seated right over there (indicating) at

09:51:14    8   that back table.      And he talked, and he said a few things.

09:51:18    9   I don't think his testimony was as full as I would have

09:51:21   10   liked it to have been because he was very limited in what he

09:51:25   11   knew, even though he was a vice president of pharmacy

09:51:29   12   services.

09:51:30   13          Now, he did admit that opioid abuse and addiction is a

09:51:34   14   devastating issue.      I did get that from him.

09:51:36   15          He also -- got some documents, and you're not going to

09:51:41   16   be stunned to find out I have some documents to show you as

09:51:44   17   we go along.     You'll also hear from him that he was the one

09:51:50   18   who had Michelle Travassos and Nicole Harrington worked for

09:51:56   19   him.   So you heard from both of them.         He was their boss.

09:51:58   20          But he wasn't really tuned in beyond that.           He knew

09:52:02   21   about CVS's multiple settlements.         We had testimony from him

09:52:06   22   that he knew about CVS selling prescription data to IMS.

09:52:14   23   They would take the prescription data and sell it to another

09:52:19   24   service company.      And so we had that kind of testimony from

09:52:26   25   him.
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                                                                                      7090
                                    Closing Argument - Lanier

09:52:26    1          But after he finished the stand, we went from him to

09:52:30    2   Anna Lembke.     Dr. Lembke.    She's one of the most impressive

09:52:35    3   people I've ever had the honor of putting on the stand.             I

09:52:38    4   started trying cases -- I got out of law school in 1984.             So

09:52:42    5   I've been doing this for 37 years.         I've been fortunate

09:52:49    6   enough to try cases from California to New Jersey and all

09:52:55    7   points in between.      She's one of the best witnesses I've

09:52:59    8   ever had a chance to put on.        So impressive.

09:53:04    9          I mean, she is someone who explained addiction, but I

09:53:09   10   do hope, you know, if you get a chance sometime -- all

09:53:13   11   right, look.     It's not like the most riveting reading, but

09:53:17   12   it's actually really captivating.         But she's like the one

09:53:22   13   that all of the podcasts turn to, the news turns to,

09:53:27   14   academia turns to, because this is her deal.           She's a

09:53:32   15   specialist in this.      She actually -- it's not an ivory tower

09:53:38   16   specialist.     She treats people on a regular weekly basis as

09:53:43   17   well as writes, researches, and lectures, and teaches,

09:53:49   18   trains the next generation of doctors.

09:53:51   19          And she explained opioid addiction to you.           She

09:53:53   20   explained this pleasure/pain balance.          She explained how

09:53:57   21   humans are designed to seek pleasure and avoid pain, but the

09:54:01   22   problem is something happens.        I'll tell you -- let me do it

09:54:05   23   this way.    Let me pull up some of the ELMO notes that we had

09:54:08   24   with her and look at what she had to say.

09:54:10   25          Mr. Wilson, can we go back to the iTiVo, please?
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                                                                                      7091
                                    Closing Argument - Lanier

09:54:17    1   Thank you.

09:54:18    2          When I put her on the stand, she had this really great

09:54:22    3   ability to explain addiction.        And so she -- you'll recall

09:54:30    4   these notes, I expect.       She explained that dopamine is the

09:54:37    5   most important neurotransmitter.         I mean, she had the

09:54:42    6   science down, how it activates in our brain to reward and

09:54:47    7   motivate, and it's got this loop.         She explained how the

09:54:51    8   brain works hard to keep things level.          And so when all of a

09:54:55    9   sudden you're in pain, your brain's yelling for pleasure.

09:55:03   10   But you give it the pleasure with the opioids, and then it's

09:55:05   11   yelling for pain because it wants to equalize, and talked

09:55:05   12   about how the brain starts adapting, neuroadaptation she

09:55:11   13   called it.

09:55:12   14          She talked about how one of the -- let's see.           I've

09:55:16   15   got to scoot this over a little bit and make more room.

09:55:18   16          Thank you, Pete.

09:55:19   17          Opinion 10 of hers, that an increased supply of

09:55:25   18   prescription opioids contributed substantially to more

09:55:29   19   individuals, including newborns, becoming dependent on

09:55:35   20   opioids, increasing their risk for opioid-related morbidity

09:55:40   21   and mortality.     The dependence effect.

09:55:43   22          She talked about how -- that's in addition to

09:55:46   23   addiction, that dependence is not addiction, but it's an

09:55:47   24   adaptation with withdrawal.

09:55:49   25          And I thought it was so very important how she
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                                                                                      7092
                                    Closing Argument - Lanier

09:55:52    1   explained all of this, because in the process, do you

09:55:54    2   remember what she did about side effects of opioid

09:55:57    3   dependence and addiction?

09:56:00    4          Depression.     Not thinking as clearly.       Increased pain.

09:56:08    5          Think back about the pharmacists who talked about, you

09:56:11    6   know, we had Ms. Stossel who talked about that one fellow

09:56:16    7   who is just getting mountains and mountains of

09:56:18    8   prescriptions, and she said, well, yeah, but I could tell he

09:56:21    9   was in pain.

09:56:21   10          And I asked her, do you know if maybe that was

09:56:23   11   withdrawal as opposed to he needs more opioids?            Well, she

09:56:31   12   didn't know.

09:56:31   13          This was the fellow who was getting his prescriptions

09:56:35   14   from a doctor who, yeah, he says he's a rehabilitation

09:56:40   15   doctor, but the first thing he lists is he's a hormone

09:56:43   16   doctor.    And yet hormonal imbalance is yet another trait,

09:56:48   17   side effect, of opioid dependence and addiction.

09:56:52   18          And so she talked about all of this.          She explained

09:56:54   19   how important it is, and she explained, most importantly in

09:56:57   20   our case here, that the increased supply of prescription

09:57:02   21   opioids contributed substantially to more individuals

09:57:07   22   becoming addicted to opioids and transitioning from

09:57:10   23   prescription opioids to illicit sources.

09:57:13   24          You start out on prescription opioids.          They're easy

09:57:18   25   to access.    You can get them from the medicine cabinet.           You
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                                                                                      7093
                                    Closing Argument - Lanier

09:57:21    1   can get them from a friend.        You can get them from any

09:57:24    2   oversupply where they're still out there and not being used.

09:57:27    3   And you take them, and you get addicted, and you can buy

09:57:30    4   more on the street until, all of a sudden, the sources start

09:57:34    5   drying up.    And then the price becomes so high, it's cheaper

09:57:38    6   to buy heroin, or it's cheaper to buy street fentanyl, or

09:57:42    7   it's cheaper to buy some other street opiate because you've

09:57:46    8   got to get the opiate satisfaction.

09:57:47    9          And that's what it is.       And it's a biological problem.

09:57:50   10          She gave us this chart about how all patterns of

09:57:53   11   prescription opioid use lead to heroin, whether it's medical

09:57:58   12   use or non-medical use.

09:58:01   13          And this isn't what she made up.         This is something

09:58:04   14   she grabbed from the Journal of Addiction Medicine, and she

09:58:07   15   cited it accordingly.       But she left no question.       She said

09:58:12   16   there's no doubt a cause and effect relationship exists

09:58:14   17   between the oversupply of prescription opioids and the

09:58:17   18   opioid epidemic.      And she said that in the last several

09:58:20   19   years it was more illegal drugs because the acts have moved

09:58:29   20   to those drugs.     But we have that.

09:58:31   21          And she not only testified to those things, even as an

09:58:32   22   early witness, she testified to the cause being, in part,

09:58:39   23   the actions of the chain pharmacy defendants in this case.

09:58:45   24          She expressed Opinion Number 2:         When a supply -- when

09:58:48   25   supply of an addictive drug is increased -- in other words,
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                                                                                      7094
                                    Closing Argument - Lanier

09:58:51    1   there's more of it -- more people become addicted to and

09:58:55    2   suffer the harms of that drug.        Her example was alcohol and

09:58:59    3   prohibition.

09:59:00    4            Prescription opioids are as addictive as heroin, and

09:59:03    5   the defendants' conduct in promoting increased supply --

09:59:09    6   they were the spigot, they were the regulators, they were

09:59:12    7   the ones who were the last line of defense -- increased

09:59:15    8   supply of widespread access to prescription opioids has

09:59:19    9   resulted in an epidemic of opioid addiction and overdose

09:59:22   10   deaths.

09:59:23   11            She used this chart (indicating).       She showed you from

09:59:28   12   the CDC how you could parallel the increases in opioid sales

09:59:32   13   with opioid deaths and substance abuse treatment.

09:59:38   14            And you can look at the chart and you can see, it's

09:59:41   15   exactly what she said.       As the sales increased, the deaths

09:59:46   16   increased and the need for treatment increased.            It just

09:59:49   17   walks right through.

09:59:50   18            And are doctors to blame for this?       Oh, without a

09:59:54   19   doubt.    A lot of doctors.     99 percent.     Whatever the stat

09:59:59   20   may be.    I don't know if 99 percent means someone did an

10:00:02   21   actual study or if it just -- that's just your way of

10:00:05   22   saying, like, most of them.        99 percent.    I don't know.

10:00:11   23            But regardless, we know that those doctors were

10:00:14   24   influenced by Purdue Pharma and other manufacturers.             But we

10:00:21   25   also know that there were some doctors who just didn't seem
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                                    Closing Argument - Lanier

10:00:24    1   to care.    And there were doctors in these counties who just

10:00:30    2   didn't seem to care.      And there were doctors in Florida who

10:00:35    3   just didn't seem to care.       And one of the Walgreens -- I

10:00:41    4   believe it's Walgreens.       We'll look at the prescription --

10:00:42    5   but one of the defendants, one of the prescriptions that we

10:00:45    6   looked at was a person saying, you know, I'm tired of

10:00:48    7   filling these drugs for this person who's going to the pain

10:00:50    8   doctor in Florida, as if there aren't good doctors around

10:00:56    9   here.    But they keep filling them anyway.

10:00:59   10           And, so, these doctors, yeah, they shouldn't be

10:01:03   11   writing all these prescriptions, but the pharmacies have a

10:01:05   12   role in it too.     Please understand, not one of these three

10:01:11   13   pharmacies are charitable foundations.          They are all for

10:01:21   14   profit companies.      No problem with that.      I'm an American.

10:01:26   15   I'm a believer in capitalism.        But they are all for profit.

10:01:34   16   They make money off every pill they sell.           And if they don't

10:01:39   17   want to do the work right to sell these pills, then let the

10:01:45   18   pharmacies that will do the work right get the business.

10:01:53   19           They don't have to sell C-II drugs.

10:01:56   20           And their idea of, well, we want to make sure that

10:01:59   21   patients are getting their medicine.          Well, patients can get

10:02:02   22   their medicines at pharmacies that do it right.            They don't

10:02:06   23   have to sell the drugs, they choose to sell the drugs.

10:02:13   24   They're not doing it pro bono.        Oh, we want to make sure you

10:02:14   25   get your medicine.      Here, we'll just you give you this at
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                                                                                      7096
                                    Closing Argument - Lanier

10:02:18    1   cost.    No, they're making money off every pill they sell.

10:02:22    2   They don't make money off a refusal to fill.

10:02:24    3           And so you see the sales.       You see the deaths.      And we

10:02:28    4   had it from Dr. Lembke who said, yes, there are certain

10:02:32    5   things that doctors know.       But there are certain things that

10:02:35    6   the pharmacists know that the doctors can't.

10:02:38    7           The pharmacists can have the physical impression of

10:02:41    8   whether the person's showing up drunk or not, whether the

10:02:44    9   person's showing up in withdrawal or not.

10:02:50   10           They have their own data.       They have a chance to look

10:02:53   11   through OARRS.     They have a chance to look through other

10:02:55   12   things.    They can look at the travel distance.         They can

10:02:58   13   look at the doctors that have been filling these

10:03:01   14   prescriptions.     They can get prescription histories.          They

10:03:04   15   can know if there's a pattern of prescribing.           They can see

10:03:07   16   when someone shows up with two prescriptions, one from one

10:03:10   17   doctor and one from another.

10:03:13   18           Those are unique things that the pharmacists know that

10:03:16   19   give them responsibility as well, and that's why ultimately

10:03:21   20   Dr. Lembke gave Opinion 14, that many parties bear

10:03:25   21   responsibility for the misrepresentation of safety and

10:03:29   22   efficacy, and the ubiquitous, the everywhere distribution of

10:03:34   23   prescription opioids, the unchecked dispensing of

10:03:37   24   prescription opioids, which resulted in the ongoing

10:03:44   25   epidemic.    To the extent other factors contributed, those
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                                    Closing Argument - Lanier

10:03:47    1   were exploited to increase of harm.

10:03:49    2            So you've got --

10:03:52    3            Juan, if we go back to the PowerPoint, please.

10:03:54    4            We've got Dr. Lembke, and she testified accordingly.

10:03:58    5   She testified about how heroin is -- is there a problem with

10:04:05    6   heroin apart from prescription opioids?          Was there a problem

10:04:08    7   with heroin before prescription opioids?          Yes.   I suspect

10:04:12    8   there were.

10:04:13    9            I remember when I was -- all right.        Some of you are

10:04:16   10   my age.    Some of y'all are too young and y'all are going to

10:04:22   11   laugh and say what on earth's he talking about.            But I can

10:04:24   12   remember when I was a kid there was a real popular group

10:04:27   13   called Three Dog Night, sang Joy to the World, Jeremiah Was

10:04:32   14   a Bullfrog, and all that stuff.         Chug Negroln, lead singer,

10:04:37   15   heroin, just destroyed the group and destroyed his career

10:04:39   16   for years at least.      That's not because of prescription

10:04:43   17   opioids.    People can go straight to heroin, and they can

10:04:45   18   just get caught in it and messed up in it.

10:04:48   19            We're not fussing that.

10:04:51   20            But we're also cognizant of the fact that people can

10:04:56   21   get started on prescription opioids, and the studies

10:04:59   22   indicate that a preponderance -- most of the people on

10:05:04   23   heroin that are dying got prescription opioids in their

10:05:06   24   start.    It's a complicated web, but opioids have a role

10:05:13   25   here.    She explained the same to be true with fentanyl.
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                                                                                      7098
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10:05:15    1          So Dr. Lembke comes and explains the critical roles of

10:05:21    2   the pharmacies and how these pill bottles and this

10:05:25    3   oversupply.     You know, when someone goes to the dentist and

10:05:27    4   they should get 3 days, and the dentist writes them from

10:05:31    5   9 days or 10 days.      Well, what happens to the other 6 days

10:05:34    6   they sit in the pill cabinet?

10:05:38    7          And the thing about it is, is we're not talking here

10:05:41    8   about an oil change to your car.         We're talking about

10:05:46    9   something that has the ability to take your life.            We're

10:05:52   10   talking about something that has the ability to grab you by

10:05:56   11   the throat and change your brain chemistry.           It can take a

10:06:02   12   cucumber and turn it into a pickle.         And once you do that,

10:06:06   13   you're stuck with that pickle.        I have yet to see anybody

10:06:09   14   who can turn a pickle back into a cucumber.           And that's what

10:06:15   15   Dr. Lembke was explaining.        It alters your brain chemistry.

10:06:20   16   This is serious stuff.       And if anybody ought to know it,

10:06:23   17   it's the people who go to school for 5-plus years to learn

10:06:26   18   how these drugs work in the human body.

10:06:31   19          Doctors take a drug course or two, but that's all

10:06:34   20   these folks are learning is the drugs, what they do, and

10:06:38   21   what the law is around them.

10:06:42   22          So after Dr. Lembke, we brought in Carmen Catizone.

10:06:48   23   He described himself as a pharmacist from the South Side of

10:06:53   24   Chicago, I think.      First one in his family to go to college.

10:06:59   25          Do you remember when I was getting ready for him, I
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                                                                                      7099
                                    Closing Argument - Lanier

10:07:07    1   got to meet with him a little bit the night before.            And I

10:07:10    2   wanted to be able to tell you guys things about where he

10:07:13    3   lives and what his family's like.         Oh, no.    Because of the

10:07:19    4   death threats that he told you about from the stand, where

10:07:22    5   he has been used as a witness by the government to deal with

10:07:30    6   drug situations, he doesn't disclose that information so

10:07:35    7   readily.

10:07:37    8            But he was willing to come here.       He was willing to --

10:07:41    9   we retained him as an expert.        We hired him.     We paid him a

10:07:47   10   fair hourly wage to do the work.         But we had grabbed him

10:07:51   11   because he's the best we could find.

10:07:55   12            I mean, they could go get Dr. Wailes from California

10:07:59   13   and pay him 14, 1,395 an hour, when he's just a pain doctor

10:08:06   14   to come in and say Carmen doesn't know what he's talking

10:08:09   15   about.    But Carmen Catizone's the guy, for decades, the head

10:08:14   16   of the National Association of Boards of Pharmacy.            That

10:08:16   17   means the Ohio Board of Pharmacy, the Texas Board of

10:08:18   18   Pharmacy, the Michigan Board of Pharmacy, the New York Board

10:08:23   19   of Pharmacy, all of them together.         This is the guy.

10:08:25   20            This is the guy who testified about pharmacy standard

10:08:29   21   of care regarding red flags and documentation.           Because

10:08:33   22   that's ultimately what's involved here.          The -- I've had a

10:08:39   23   chance to look at the slides of the defense.           They've had a

10:08:43   24   chance to look at my slides.        I don't know what they're

10:08:47   25   going to say with those slides, but I'm going to surmise.              I
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                                                                                      7100
                                    Closing Argument - Lanier

10:08:51    1   suspect they're going to tell you there's no legal

10:08:54    2   requirement to document.

10:08:58    3          Well, what does the law have to say about this stuff?

10:09:01    4   You're going to hear about it, but I want to show you just

10:09:05    5   one of the principal parts of the law.          And this part of the

10:09:09    6   law comes from the Code of Federal Regulations.            This is

10:09:13    7   what it says.

10:09:14    8          It says specifically, all applicants, all

10:09:33    9   registrants -- these are companies that register to sell and

10:09:38   10   market in C-IIs -- shall provide effective controls and

10:09:46   11   procedures to guard against theft and diversion of

10:09:50   12   controlled substances.

10:09:52   13          Now, what is an effective control, an effective

10:10:00   14   procedure?    The law doesn't specify in that statute, that

10:10:05   15   regulation exactly what it is.        And they could ask, ask

10:10:10   16   Joe Rannazzisi, DEA man, does the law say that you -- is

10:10:14   17   there a regulation that says you must document?            He'll

10:10:22   18   answer honestly, no.

10:10:23   19          It was a regulation that says you must provide

10:10:25   20   effective controls and procedures.         And the DEA doesn't tell

10:10:31   21   you what that is.      Now, you find out from reading cases like

10:10:34   22   Holiday.    You find out from reading cases like East Main.

10:10:39   23   You'll find out from reading cases like Lake and Trumbull

10:10:45   24   because that's the decision that's being made.

10:10:48   25          We know that the State Board requires you to follow
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                                                                                      7101
                                    Closing Argument - Lanier

10:10:52    1   standard of care, and we know that standard of care says you

10:10:56    2   document.    We know that the companies' policies that they

10:11:02    3   have put in place supposedly to meet this regulation say

10:11:05    4   document.    They say it's imperative to document.

10:11:13    5            But Carmen Catizone -- if we go back to the

10:11:17    6   PowerPoint, please -- Carmen Catizone testified about those

10:11:20    7   pharmacy standards of care and about the flags and the

10:11:23    8   documentation.     He said one thing that's clear.         It's a

10:11:27    9   no-brainer.     You must resolve red flags before you dispense

10:11:33   10   the drug.

10:11:35   11            Now, there's a host of red flags.       Some people have

10:11:39   12   identified 25, 26, 27 red flags.         We just culled it down to

10:11:45   13   16 or 17 that were easy to zoom in on based upon the

10:11:51   14   prescription data itself.       You know, a red flag of someone

10:11:54   15   showing up tanked when they're getting their drugs.            You

10:11:57   16   can't tell when that was there or not, you know.            Or three

10:12:00   17   people showing up in the same car.         That's not going to be

10:12:03   18   something we could go identify, even though those may be red

10:12:07   19   flags.

10:12:07   20            But Carmen Catizone said, that's a no-brainer.          You

10:12:10   21   got to resolve red flags before dispensing.           That's the

10:12:13   22   requirement.     That's the standard of care.        That's what

10:12:16   23   Holiday said.     That's what East Main said.        That's what a

10:12:20   24   number of cases have said.        That's just part of it.

10:12:24   25            And not only must you do that, but you must document
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                                                                                      7102
                                    Closing Argument - Lanier

10:12:28    1   that resolution as well.       That's part of the Ohio Board of

10:12:34    2   Pharmacy regulations.       That's part of the policy, the

10:12:38    3   standard of care, I should say.         It's part of the standard

10:12:40    4   of care, not the regulation.        The regulation is you follow

10:12:43    5   the standard of care.       But it -- in essence, that's what it

10:12:49    6   is.

10:12:49    7            So you've got to document red flag resolution.          Any

10:12:54    8   companies know this.      They'll put witnesses on the stand

10:12:57    9   that say we don't do it.       But at the same time, they're

10:13:03   10   faced with their policies that say you're supposed do it

10:13:08   11   because those are the policies that live up to the law.

10:13:12   12            He looked at 1,800 to 2,000 actual prescriptions from

10:13:20   13   the counties, and that's 1,800 to 2,000 depending upon the

10:13:26   14   defendant.    Walmart only produced 1,800, but CVS, 2,000,

10:13:30   15   Walgreens, 2,000, over a 10-year time span, they were

10:13:33   16   totally randomly selected.        Nobody had their finger on the

10:13:36   17   scale.    Nobody was cherry picking.       Totally random selection

10:13:41   18   overseen by His Honor, overseen by the parties.            And then he

10:13:47   19   looked at them.     He studied each one individually, and he

10:13:50   20   saw that they fell short.       And he testified to that with

10:13:55   21   you.

10:13:55   22            If we go to the ELMO, please, Juan, to the iTiVo.

10:14:02   23            He was -- it's interesting to me.       Look at his

10:14:16   24   opinions for a moment.       See if this reminds you of what

10:14:19   25   happened those maybe days ago.        He started out talking about
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                                                                                      7103
                                    Closing Argument - Lanier

10:14:21    1   the legal framework.      He explained --

10:14:23    2          Okay, Juan -- it did it again, so I'm going to turn

10:14:28    3   it -- I'm going to do what I saw you do.          You turned it off

10:14:31    4   and then you turned it on.

10:14:34    5          Look at that.     That's kind of scary.

10:14:40    6          See if these remind you of his testimony.

10:14:43    7          Opinion 1:     The practice of pharmacy is governed by

10:14:48    8   with well defined laws and regulations both at the national

10:14:52    9   and statewide levels.

10:14:54   10          He called it the most regulated profession.

10:14:56   11          He talked about how states require security systems

10:14:59   12   and backup systems and recordkeeping.

10:15:04   13          Pharmacy standard of care.        That means the standard

10:15:07   14   that any reasonable pharmacy is going to institute.

10:15:12   15          The DURs and other restrictions.         And he talked about

10:15:16   16   all of that.

10:15:17   17          And then he gave this third opinion.          He said that the

10:15:19   18   Federal -- which is the Controlled Substances Act -- and the

10:15:23   19   Ohio -- it's controlled substance laws and regulations that

10:15:26   20   require each defendant to maintain effective controls for a

10:15:33   21   closed system of distribution and dispensing that guards

10:15:37   22   against diversions.

10:15:38   23          That's just what the law is that I read you.           That's

10:15:41   24   what the law says they've got to do.

10:15:43   25          Now, what does that mean?
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                                                                                      7104
                                    Closing Argument - Lanier

10:15:45    1          He testified that in terms of documentation, it's a

10:15:49    2   requirement of documentation.        He said the law gives this

10:15:54    3   broad statement that you must comply with all good practices

10:15:59    4   or practices of standards.

10:16:02    5          Now, if that's the law, a broad statement, then the

10:16:06    6   question is simply on whether or not someone's violated the

10:16:10    7   law, the question is simply, did they comply with all good

10:16:14    8   practices or practices of standards, which is what he was in

10:16:16    9   a position to testify to.

10:16:19   10          And he said that cases, Holiday, East Main, these

10:16:27   11   other cases, are decisions and conclusions and findings that

10:16:31   12   should be binding on others.        That's his view as a

10:16:35   13   pharmacist.

10:16:38   14          He said this was critical.        He said documentation is

10:16:45   15   critical because another pharmacist might need it.            He said

10:16:49   16   documentation is critical because when inspection shows red

10:16:54   17   flags resolved, then there's no diversion.           And so you've

10:16:56   18   got it there.     You've got proof.      But if there is theft or

10:17:03   19   diversion, people identify it and it will send a message.

10:17:05   20          I don't understand how this trial evolved into one

10:17:08   21   where they kept asking witnesses, are you required to

10:17:11   22   document?    Is there a specific regulation that says

10:17:13   23   document?    The regulation says do the standard of care.           Do

10:17:19   24   what you need to do.      But they don't iron out, use this

10:17:23   25   computer program, use this algorithm, use this -- no.
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                                                                                      7105
                                    Closing Argument - Lanier

10:17:29    1          The law was written in 1970.        The regulations are in

10:17:35    2   place to explain that law and the requirements of it.             But

10:17:42    3   documentation, they know it's required.          Their own records

10:17:46    4   say it's required.      Their own policies say it's required.

10:17:49    5   Their own pharmacists say, yeah, we were taught that in

10:17:53    6   school, that you have to do it.         And yet, somehow lawyers

10:17:56    7   can turn it into something where, well, there might be a

10:18:01    8   little crack or a crevice here because the regulation

10:18:03    9   doesn't specifically say document.         It just says do the

10:18:06   10   standard of care, and let's -- standard of care is document.

10:18:11   11   Well, let's don't talk about that.

10:18:12   12          Did defendants comply with the obligations?           He looked

10:18:16   13   at the red flags.      He said the warning sign requires

10:18:20   14   additional review.      And you must resolve it before

10:18:23   15   dispensing, and that's a critical responsibility.            And so he

10:18:27   16   laid that out, and he laid it out in plain language.             And he

10:18:31   17   explained that legal framework.

10:18:33   18          And thank you, Maria.

10:18:35   19          And then he went beyond that, and he talked about the

10:18:38   20   corporate responsibility.       Don't just blame the pharmacists.

10:18:43   21   We're not in here.      Look, they put three pharmacists on the

10:18:46   22   stand at the end -- well, two.        One of them has just been

10:18:50   23   promoted to a supervisor or whatever.          But Mr. Cook,

10:18:55   24   Ms. Militello, and Ms. Stossel.         And y'all got to know me

10:18:59   25   during this trial.      You got to know me pretty well.        You got
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                                                                                      7106
                                    Closing Argument - Lanier

10:19:11    1   to see me cross-examine a lot of people.          And I think you

10:19:13    2   can probably tell by my approach -- and I'm sorry, it's

10:19:21    3   transparent, I'm -- my wife always laugh that I've got no

10:19:25    4   chance of ever lying to her because she says you're reading

10:19:30    5   like a book.

10:19:30    6          But you would have seen me.        There are some other

10:19:34    7   witnesses that I did not view favorably, and I was probably

10:19:43    8   harsher to them in my cross-examination at times.            But those

10:19:49    9   three pharmacists, they're nice people.          I don't have any

10:19:52   10   distaste for them.      I appreciate what they're doing.         You

10:19:55   11   know, they got families, they live in the community.             I'm

10:20:00   12   not dumping on them.      But I will tell you this:        You can

10:20:03   13   hear them and hear what they're doing and see where the

10:20:07   14   company has failed.      You can see where the company has let

10:20:11   15   them down without adequate training, with inadequate

10:20:15   16   policies, with inadequate tools.

10:20:18   17          You know, I've got here a toolbox, and I've yet to

10:20:26   18   find out how Juan and Jessie got this past security.

10:20:30   19          Your Honor, I'm not sure.

10:20:32   20          But they're both marines, so they can do just about

10:20:36   21   anything there is.      That's what I've learned, but. . .

10:20:42   22   that's a hammer (indicating).        That's really, really useful

10:20:46   23   if you want to drive a nail, or if you want to pull the nail

10:20:50   24   out because it's a claw hammer.         Really good.    I do not

10:20:56   25   recommend using this, however, to change a light bulb.             Just
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                                                                                      7107
                                    Closing Argument - Lanier

10:20:59    1   not the right tool.

10:21:01    2          You know, if you want to get a screw, if you take the

10:21:05    3   screw and use a hammer on it, not only is it going to

10:21:08    4   probably bend the screw until it's like a mega screw, but

10:21:12    5   because of those grooves it's just going to gut into that

10:21:14    6   and the screw is useless.       If you're going to put in a screw

10:21:17    7   and drive a screw, you're going to need a screwdriver.             A

10:21:20    8   different tool for a different job at a different time.

10:21:26    9          All of these tools, whether you look -- I got a tape

10:21:30   10   measure.    I can tell you the distance --

10:21:32   11          Excuse me, Your Honor.       And doggone it, this was

10:21:37   12   Mr. Weinberger's birthday gift.

10:21:40   13          The distance between me and my daughter right now, I

10:21:43   14   can tell you, is about 78 inches.         Really useful.     But this

10:21:49   15   is not going to help me drive a nail.

10:21:54   16          I mean, I tried to forward this part.          I didn't have a

10:22:01   17   hammer.    It really doesn't work.

10:22:02   18          The pharmacies are responsible for giving the tools

10:22:07   19   and the training to these pharmacists.

10:22:09   20          The pharmacies are the ones that have that legal

10:22:12   21   obligation there.      And that's why you've got this type of

10:22:19   22   testimony from Mr. Catizone.

10:22:24   23          Question:     Does a chain pharmacy corporation through

10:22:29   24   the control it exerts over its agent pharmacies,

10:22:35   25   pharmacists, and pharmacy employees, techs, et cetera, hold
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                                                                                      7108
                                    Closing Argument - Lanier

10:22:41    1   responsibility for ensuring all dispensing of controlled

10:22:45    2   substances is carried out in accordance with the applicable

10:22:48    3   laws and lesions?

10:22:49    4          His answer was a profound yes, and he gave two

10:22:55    5   reasons:    The pharmacy is the registrant.         That's what the

10:22:58    6   law was talking about is the registrant's responsibility.

10:23:02    7   The pharmacy is the registrant, and the pharmacy is the

10:23:05    8   permit holder.

10:23:07    9          And so he went further, and he talked about how

10:23:10   10   corporate oversight, the corporation is who sets the

10:23:15   11   policies, they decide the number of staffing, they decide

10:23:18   12   when someone can take a break, they decide how much they're

10:23:22   13   going to pay, they decide the information system, they

10:23:26   14   decide the wait time policies and how quickly people are

10:23:29   15   supposed to get their prescriptions.          They monitor the

10:23:33   16   pharmacists to verify compliance.

10:23:37   17          Remember the CVS?      They even did a follow-up check to

10:23:42   18   see if people were complying.        Didn't have good results on

10:23:45   19   it either.    But that's all the corporate oversight.          That's

10:23:49   20   the issue here.

10:23:51   21          I don't ever want this to become a case that's written

10:23:54   22   up in the books as Lake and Trumbull, and the decision is

10:23:58   23   that Pharmacist Number 1 or Pharmacist Number 2 made a

10:24:03   24   mistake.    No, that's not what we're about.

10:24:06   25          And we're not about perfection either.          The judge has
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                                                                                      7109
                                    Closing Argument - Lanier

10:24:09    1   that in the charge.      Look, you're not going to call them all

10:24:13    2   right.    A pharmacist isn't going to call them all right.            I

10:24:16    3   don't care --

10:24:16    4            I'm dating myself again, Your Honor.

10:24:18    5            The Amazing Kreskin.     Yeah.   I mean, it can be someone

10:24:21    6   who can read minds, and they're still going to mess up

10:24:25    7   occasionally.     That's not what we're here about.         We're here

10:24:29    8   about national policies that are in place where, bless her

10:24:32    9   heart, Ms. Stossel has to say, I've got a choice between

10:24:35   10   documenting or visiting with the patient about their care.

10:24:42   11            I'm like, well, why can't you do both?

10:24:45   12            Time.

10:24:46   13            Well, who sets the staff?      Who sets the metric of how

10:24:51   14   quickly you got to fill?       Who decides?

10:24:54   15            Well, Mark, or Mr. Lanier, we're a busy store.

10:24:59   16            Okay.   Well, maybe we can afford two pharmacists then

10:25:01   17   during those busy hours so that you can do your job right.

10:25:04   18            But that's not my complaint against her.         That's my

10:25:09   19   complaint against the corporation.         That's my complaint

10:25:11   20   against the oversight, because, as Mr. Catizone said, this

10:25:14   21   is top-down compliance.

10:25:16   22            You know, the corporation uses the data.         They know

10:25:20   23   the medicines that have been bought.          They know the

10:25:22   24   medicines that have been dispensed.         They've got track of

10:25:25   25   doctors.    They've got track of all of that.         They've got the
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                                                                                      7110
                                    Closing Argument - Lanier

10:25:28    1   policy that says do it in a certain time or not.            And that's

10:25:35    2   why corporate responsibility is so important here.

10:25:39    3            Mr. Catizone continued.     Corporate oversight includes

10:25:43    4   established practices of pharmacies that should incorporate

10:25:47    5   top-down compliance programs.        This is because the company's

10:25:51    6   got all of the pharmacy's info.         The aggregate data.      They

10:25:58    7   can identify trends.      They can say, this is a store.

10:26:00    8            Look, I asked the witnesses, did you know if your

10:26:03    9   store was listed as a top 20 store, or an over 20 supply

10:26:07   10   store?    Didn't even know.

10:26:12   11            The corporations have knowledge.       And they're the ones

10:26:15   12   who need to be giving that data to the pharmacists.

10:26:20   13            So the question becomes, Mr. Catizone, under your

10:26:26   14   practice, can a pharmacy absolve itself of its

10:26:29   15   responsibilities under the Controlled Substance Act by

10:26:33   16   placing unilateral responsibility on the pharmacist

10:26:35   17   dispensing the prescription?

10:26:37   18            Answer:   No.

10:26:40   19            Is a corporate chain pharmacy responsibile for its

10:26:44   20   operations including individual pharmacies?

10:26:46   21            Yes.

10:26:48   22            And its employees, they've got to supply the tools.

10:26:54   23            So within the framework of that, another question that

10:26:57   24   the judge is going to have that he just read to you on the

10:27:01   25   charge -- and we'll look at it a little bit more later on,
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                                                                                      7111
                                    Closing Argument - Lanier

10:27:03    1   but it's a question of knowledge.         Because the law says that

10:27:07    2   this has to be a knowing violation.         And what does that

10:27:10    3   mean?    And the law says you can't willfully close your eyes

10:27:15    4   to it.    But these are knowing violations.         I mean, the

10:27:21    5   companies knew.     The companies, without a doubt, as Carmen

10:27:26    6   Catizone said, I would expect each defendant became aware

10:27:30    7   and remains aware of these requirements.

10:27:31    8            Understand, not everybody gets to sell opioids.          You

10:27:36    9   have to register.      You have to acknowledge yourself into

10:27:40   10   that system, and if you're doing that, you know that the

10:27:44   11   system requires you do things because you're opting into it.

10:27:48   12   You're saying, I want to be one of the people who does that

10:27:51   13   so I can make money off of it.

10:27:54   14            So, you know, this is something that the companies

10:27:58   15   clearly know.

10:27:59   16            This is something, you know, that -- these DEA

10:28:04   17   actions -- look, I really don't like getting speeding

10:28:11   18   tickets.    And I, when I was a younger man, got more than I

10:28:18   19   do now.    I used to be quite the aggressive driver.

10:28:26   20   Confession.

10:28:31   21            But I didn't get like a ticket every day.         I didn't

10:28:35   22   get a ticket every time I sped.         In fact, I dare say, I'd

10:28:41   23   get one about every 6 months at my height.           I, like -- after

10:28:47   24   you get about three of those and your insurance comes in,

10:28:50   25   you sort of start driving differently.          But I can remember
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                                    Closing Argument - Lanier

10:28:54    1   getting 3 in a year and a half period one time.            But I

10:29:03    2   promise you I was speeding a lot more than that.

10:29:05    3          The DEA doesn't have the person power.          The DEA

10:29:07    4   doesn't have the resources.        The State Board of Ohio doesn't

10:29:12    5   have the persons, power, and resources.          The Lake County

10:29:17    6   Narcotic Task Force doesn't have it to go in and to do a

10:29:21    7   tear-it-up, tear-it-apart inspection on every pharmacy in

10:29:25    8   this country.

10:29:29    9          So they get tips, and they figure out where there's a

10:29:32   10   problem that they get alerted to, and they set up their

10:29:35   11   radar gun in there and they check it out.           And that's what

10:29:40   12   these cases are.      And I mean, the Ohio -- the Ohio East Main

10:29:46   13   case is an important case because it's Ohio.           The Florida

10:29:48   14   Holiday case is an important case because it's a Florida,

10:29:52   15   and we know that people were going down there from Ohio and

10:29:55   16   coming back with drugs and going down there.           I -- we know

10:29:59   17   all of that.

10:30:01   18          But the real reason those cases are important is

10:30:05   19   because they put everybody on notice.          They caught CVS down

10:30:14   20   there where they had the tip and went after them.            They

10:30:17   21   caught Walgreens.      They caught Walmart.

10:30:21   22          And you say, well, those aren't these stores in this

10:30:24   23   county.    No, but it's the company.       And I argue it's the

10:30:29   24   company's policies or failure to enforce policies.            And

10:30:38   25   that's why it becomes important.
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10:30:40    1          I've used 55 minutes so far.

10:30:43    2          You know, the sad part is, Your Honor, I know you gave

10:30:46    3   us 3 hours because we begged and pleaded.           I could take

10:30:49    4   about 3 days if you'd let me, but I won't ask that.

10:30:52    5                    THE COURT:    No.   No.

10:30:53    6                    MR. LANIER:     Okay.

10:30:55    7          You know, and then Carmen Catizone, before I leave

10:30:59    8   him, let me just tell you, look at this, Opinion 7:            Each

10:31:02    9   defendant failed to timely implement and apply necessary

10:31:07   10   controlled substance diversion policies across its pharmacy

10:31:09   11   stores.

10:31:10   12          They did.     In these counties.

10:31:13   13          And he did that, and he reviewed their actions.             He

10:31:17   14   reviewed their prescriptions.        He looked at how long it took

10:31:19   15   them to make changes in their policies.

10:31:22   16          Do you y'all remember --

10:31:24   17          Juan, you got my sifters.

10:31:26   18          Y'all remember in opening, one of the examples I used,

10:31:31   19   and I won't get the flower back out, Your Honor, but one of

10:31:35   20   the examples that I used was the idea that initially the

10:31:40   21   holes were so big that their screening process was letting

10:31:45   22   through almost all the prescriptions.          And then the DEA

10:31:47   23   would slap them down or slap down someone else, and they'd

10:31:50   24   said, oh, my heavens, we're in trouble, and they'd get

10:31:54   25   something with smaller holes.        But it still wasn't adequate.
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10:31:59    1            And you saw this in the trial.       Oh, well, how about

10:32:03    2   that.    You saw this in the trial.       In fact, in the trial

10:32:06    3   what they'll do is they'll now take their current screen,

10:32:12    4   really, really fine mesh, and they'll use that current

10:32:16    5   screen and say, look, we've got the best screen in the

10:32:19    6   world.

10:32:20    7            And you've just got to say, yeah, guys, but it's a

10:32:23    8   little bit late.      You know, where was your screen in 2000 to

10:32:28    9   2010 when this crisis was really hitting its zenith at that

10:32:32   10   point, when people were getting addicted, when the babies

10:32:35   11   were being born?

10:32:36   12            Now, understand, this is a snowball problem.         This is

10:32:41   13   a problem that starts small and gets big.           Because as one of

10:32:45   14   your juror questions asked, the question was something along

10:32:48   15   the lines of, if someone was in an age group, in the 40 to

10:32:52   16   55, and then 10 years later wouldn't they still, a lot of

10:32:55   17   them, be in that age group with still problems?            And I was,

10:32:59   18   like, yeah, that's exactly right.

10:33:01   19            Because, you know, you get the babies that were born

10:33:05   20   to busted families or troubled families or absent families

10:33:09   21   and put into the foster system, and those babies are going

10:33:13   22   to be affected for the rest of their life.           They're going to

10:33:16   23   be affected in the community.        And it's going to snowball in

10:33:19   24   the community.     You get the babies that are born with the

10:33:20   25   addiction problem, and it affects their mental development,
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10:33:23    1   according to Dr. Lembke and others.         And they're not going

10:33:26    2   to do so well in school.       They're not going to do so well at

10:33:29    3   work.    And they're going to have trouble being a

10:33:31    4   contributing part of the community instead of a drain on the

10:33:34    5   community.

10:33:34    6           All of these are deep-rooted problems that happen when

10:33:38    7   the screens are big, and these companies should have been

10:33:44    8   the companies that were -- look, this common sense business

10:33:51    9   for a moment.

10:33:56   10           If I'm a pharmacy, mom and pop, small chain, whatever,

10:34:04   11   big chain, but let's stay mom and pop, or a small chain.             If

10:34:08   12   I'm a pharmacy and I'm going to do it right, it's going to

10:34:14   13   take longer than 15 minutes a prescription.           I'm going to

10:34:21   14   have to upset some of my customers because I'm going to have

10:34:24   15   to turn some of them away.        I'm going to have to tell some

10:34:27   16   of them, I'm sorry, I can't fill this prescription till

10:34:29   17   tomorrow because we can't get your doctor on the phone.             I'm

10:34:32   18   going to have to invest in a computer system that gives me

10:34:34   19   OARRS as soon as it comes up and not years later when it's

10:34:38   20   made mandatory.

10:34:39   21           If I'm going do it right, it's going to take time,

10:34:43   22   energy, money, and resources.        How am I going to compete

10:34:47   23   against the Walgreens, the Walmarts, and the CVS that can

10:34:55   24   pop up anywhere?

10:34:56   25           How am I going to compete if they're allowed to cut
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10:34:59    1   corners?

10:35:00    2            How am I going to compete if they don't have to have a

10:35:03    3   pharmacist to do it right?

10:35:04    4            How am I going to compete if they're using big screens

10:35:07    5   while I'm using a fine screen?

10:35:10    6            And I've got choices.     I can either quit practicing,

10:35:14    7   close my shop, or I can start taking the same shortcuts and

10:35:20    8   the same filters, or I guess I could sell to them.            But

10:35:30    9   that's the economics that are involved in this case.             That's

10:35:33   10   the common sense economics.

10:35:35   11            These companies should be the leaders.        They should be

10:35:38   12   the leaders out there.       They should be the ones in the year

10:35:41   13   2000 that say, hey, this ain't happening to us.            We've got

10:35:46   14   the screen and it's a tight screen.         And we shouldn't have

10:35:48   15   to hear them say, come into court, with this idea of, oh,

10:35:53   16   look, we had screens back in 1998 -- Walgreens will tell you

10:35:59   17   that in their closing -- well, yeah, but they were pretty

10:36:04   18   big holes on those screens.        Or else why would you have

10:36:08   19   changed it?      The fact that you had to change it time and

10:36:16   20   time and time again is because your screens are too big and

10:36:21   21   holes.

10:36:21   22            Okay.   Rachel is going to give me a note in a minute

10:36:24   23   that says I'm really blowing it on time so I got to keep

10:36:27   24   going.

10:36:27   25            Once controlled substances diversion policies were
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10:36:30    1   developed, each defendant then failed to monitor and enforce

10:36:34    2   the policies across their stores.

10:36:38    3          We had pharmacists who came in who had never even

10:36:41    4   heard of some of the cases.        They didn't even know what was

10:36:45    5   going on.    They hadn't been trained in it.

10:36:50    6          We had pharmacists coming in who thought

10:36:55    7   documentation, where it says it's imperative to document,

10:36:57    8   they thought that meant it was a suggestion.           They don't

10:37:01    9   understand the policy was, imperative means you must.

10:37:05   10          But people's lives are important.         This is serious

10:37:10   11   stuff, and that's why when Carmen Catizone said each

10:37:15   12   defendant's local stores filled thousands of prescription

10:37:18   13   presenting red flags without evidence of resolving those,

10:37:21   14   that's a big deal.      That's a huge deal.

10:37:23   15          Look at some of what he said.

10:37:26   16          The red flags, you've got those.         I'm going to skip

10:37:29   17   those in the interest of time because I want you to see some

10:37:31   18   of the actual prescriptions.

10:37:41   19          He got to each defendant's pharmacies in Lake and

10:37:45   20   Trumbull County filled thousands of prescriptions

10:37:46   21   representing red flags without evidence of resolving them.

10:37:49   22          We went through the funnel with him.

10:37:50   23          The funnel was -- all the funnel was was an

10:37:53   24   explanation of how he got to those prescriptions he looked

10:37:56   25   at.   And the funnel has become this huge discussion point
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10:38:00    1   because of the statistics of how many were bad and how many

10:38:05    2   weren't bad, and all the rest.        And Ms. Swift put up her

10:38:09    3   modified funnel where she argues that just 25 percent of the

10:38:12    4   prescriptions were bad or something like that.           I don't

10:38:15    5   care.    If 1 out of 5 isn't done right, that's massive.

10:38:22    6           I still think Carmen had it right.        I think his

10:38:25    7   numbers were right.      I think the 90 percent is right, but

10:38:28    8   you can take it at 20 percent.        We still have problems.

10:38:32    9           Like this.    Look at this.     This is an actual CVS note.

10:38:36   10   Credit card on file.      Use to pay.     Patient told me, person,

10:38:41   11   person, person, or like, like initials, doesn't live in

10:38:44   12   Florida, just travels there to see this for pain medicine.

10:38:49   13           How many people from Lake and Trumbull go, oh, I just

10:38:54   14   got to go to Florida, I got to go see a pain doctor to get

10:38:57   15   my opiate prescription?

10:38:59   16           I told them that they need to see a local pain

10:39:02   17   management for all pain medications next time.           This will be

10:39:06   18   our last time filling oxy 15, 30 milligrams for this person

10:39:10   19   from Dr. Hamies.

10:39:13   20           Well, why are you filling it this time?         And how many

10:39:16   21   times have you been filling?        But this is just typical and

10:39:23   22   it's not properly documented.

10:39:24   23           950 of the prescriptions contained no information

10:39:27   24   across all of these fields.        That's out of 2,000 for CVS.

10:39:30   25           Of these 950 prescriptions with nothing in the
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10:39:35    1   relevant note fields, 686 also had nothing documented on the

10:39:38    2   hard copy.    34 percent of the sample.

10:39:44    3          Question:     Is dispensing of red flag prescriptions

10:39:47    4   without conducting adequate investigation or due diligence

10:39:50    5   likely to lead to diversion?

10:39:52    6          Yes.    That's cause.    That's causation.      It's also

10:39:57    7   proximate cause.      It tells you that it's foreseeable.         It

10:40:01    8   tells you that they knew it.

10:40:02    9          Walgreens.     508 days of oxycodone?

10:40:16   10          Where -- does it not strike you as bizarre that

10:40:20   11   Walgreens has got prescriptions like this in their 508 days,

10:40:24   12   and then they put on the stand, or the defense puts on the

10:40:28   13   stand, Mr. Hill, ex-DEA fellow.         By the way, nice guy.

10:40:34   14   Another one that I wasn't taking issue with.           I think he got

10:40:37   15   offended when I suggested that he shouldn't be paying that

10:40:40   16   service.    He ought to be able to bill the money himself

10:40:44   17   because he's -- brings a level of expertise, and he's got

10:40:49   18   something to say and I thought that was important.

10:40:52   19          But he, we get him on a live lecture that we play

10:40:56   20   where he says, if someone has a prescription for 6 months of

10:41:03   21   opioids, that person's an addict.

10:41:11   22          DEA guy knows it.      The expert they hire will say it,

10:41:14   23   and yet they're sitting on prescriptions of 508 days of oxy.

10:41:22   24   365 days in a year, unless it's leap year, 366 that year.

10:41:26   25   This is over a year and a half.
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10:41:28    1          And then Walgreens relevant note fields, 1,237 were

10:41:33    2   blank across all comment fields, 61 percent of the samples.

10:41:37    3   Of the ones that were hard copies, 940, 47 percent blank.

10:41:43    4          And so, you know, well, they say you should look back

10:41:48    5   in the older notes fields.        Those are the ones that

10:41:51    6   disappear.

10:41:54    7          You've got the same problem.        I don't mean to let CVS

10:41:57    8   and Walmart off on this.       You can recall what all he said.

10:42:02    9          Your Honor, I know you wanted to take a break about

10:42:04   10   now, so I'm going to pause at this moment, and I will resume

10:42:09   11   when you're ready for me to.

10:42:12   12                    THE COURT:    Okay.    Thank you, Mr. Lanier.

10:42:13   13          Ladies and gentlemen, we'll take our mid-morning

10:42:16   14   break, 15 minutes, and then pick up with the balance of

10:42:19   15   Mr. Lanier's closing.

10:42:20   16          Thank you.

10:42:21   17             (Jury excused from courtroom at 10:42 a.m.)

10:42:52   18                    MR. DELINSKY:     Your Honor, may I be heard for

10:42:55   19   a moment when it's appropriate?

10:42:56   20                    THE COURT:    All right.     Close the backdoor,

10:42:57   21   please.

10:42:58   22          Everyone can be seated.

10:43:07   23          Yes, Mr. Delinsky.

10:43:08   24                    MR. DELINSKY:     Your Honor, I'm loathed to ever

10:43:10   25   interrupt counsel in closing argument.          We did not interrupt
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10:43:14    1   in opening argument.      We didn't interpose objections, but

10:43:19    2   that hour crossed the line in several respects, and I feel

10:43:24    3   compelled to set forth my objections and in certain spots to

10:43:27    4   request curative instructions.

10:43:30    5            First, Your Honor, Mr. Lanier said that it is the job

10:43:33    6   of this jury to decide what is permissible for pharmacy

10:43:38    7   practice and what is not.

10:43:39    8            He called this the most seminal case in pharmacy

10:43:42    9   history under the Controlled Substances Act, and he told the

10:43:46   10   jury that it was up to them to set the standard for the

10:43:49   11   future.    And that is not at all what this case is about.

10:43:52   12            This case is about the elements of public nuisance.

10:43:55   13   It's not about setting new standards under the Controlled

10:43:59   14   Substances Act.     It's far from that, and I think we need a

10:44:01   15   curative instruction on that.        That's first.

10:44:05   16                    MR. LANIER:     Can I answer that one first?

10:44:06   17                    THE COURT:    Well, let's stay with that.           All

10:44:08   18   right.

10:44:08   19                    MR. LANIER:     All right.    Your Honor, I have to

10:44:11   20   prove under public nuisance that this was illegal or

10:44:14   21   intentional, and so those are the issues that are involved

10:44:18   22   here.    And this is a huge, important case for that very

10:44:21   23   reason.    I don't think what I said was wrong at all.           I

10:44:25   24   think that what I said is dead-on accurate.

10:44:28   25                    MR. DELINSKY:     But there's a difference --
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10:44:29    1                    THE COURT:     All right.    I think it's argument,

10:44:31    2   Mr. Delinsky.

10:44:32    3                    MR. DELINSKY:     Okay.

10:44:32    4                    THE COURT:     The issue in this case is what

10:44:36    5   if -- what is the obligation of a pharmacy under the

10:44:39    6   Controlled Substances Act --

10:44:40    7                    MR. DELINSKY:     But, Your Honor.

10:44:41    8                    THE COURT:     -- and did these pharmacies comply

10:44:44    9   with their obligation to have effective controls and

10:44:47   10   systems.    That's what the case is about, so. . .

10:44:49   11                    MR. DELINSKY:     Your Honor, next --

10:44:51   12                    MR. STOFFELMAYR:     Excuse me, Mr. Delinsky.

10:44:52   13            Judge, just -- just on that, I want to reiterate, we

10:44:55   14   heard your ruling.      I'm not asking you to reconsider at this

10:44:57   15   point.    But I do want to make you aware that I do expect we

10:45:02   16   will have to file a motion for a mistrial to preserve the

10:45:04   17   record because to ask the jurors to consider --

10:45:05   18                    THE COURT:     Fine, file a motion.

10:45:06   19                    MR. STOFFELMAYR:     To ask the jurors to

10:45:07   20   consider the impact of their decision beyond this case is

10:45:10   21   facially improper under every standard, I believe.

10:45:12   22                    THE COURT:     Well, I -- that part of it is a

10:45:15   23   problem, all right?      I --

10:45:17   24                    MR. STOFFELMAYR:     And there's no instruction

10:45:18   25   that undoes that harm.
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10:45:20    1                    MR. MAJORAS:     Walmart joins that, Your Honor.

10:45:22    2   This is --

10:45:22    3                    THE COURT:    What do you want me to say?        All

10:45:24    4   right?    I mean, I will say again, they're not to decide

10:45:27    5   future cases; they're to decide this case, whether the

10:45:31    6   plaintiff has proved its case, these two counties against

10:45:35    7   these defendants.      That is it.    So I'll -- I will

10:45:41    8   reemphasize that.

10:45:43    9                    MR. STOFFELMAYR:     But respectfully,

10:45:44   10   Your Honor, that couldn't possibly undue the harm.

10:45:47   11                    MR. DELINSKY:     CVS concurs.

10:45:49   12                    MR. MAJORAS:     Walmart agrees.

10:45:50   13                    THE COURT:    All right.     Overruled.

10:45:52   14                    MR. WEINBERGER:     Your Honor, just to --

10:45:53   15                    THE COURT:    But, Mr. Lanier, I am cautioning

10:45:57   16   you, you've got to stay within bounds, and that was right on

10:46:01   17   the edge.

10:46:01   18                    MR. LANIER:     Yes, Your Honor.     I will be very

10:46:02   19   careful, and I will not --

10:46:03   20                    THE COURT:    And I will jump in.      The next time

10:46:05   21   I'll jump in myself.

10:46:06   22                    MR. LANIER:     I will not get near that edge

10:46:07   23   again, Your Honor.

10:46:08   24                    THE COURT:    Well, I will.     And I'm going to

10:46:09   25   have to tell the jury that -- figure out some way to tell
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10:46:13    1   them that this is -- the only thing they're to decide in

10:46:18    2   this case is whether the two counties have proven this

10:46:21    3   particular case, public nuisance in these counties against

10:46:24    4   these defendants.

10:46:26    5                    MR. LANIER:     And I'll make that abundantly

10:46:29    6   clear as well, Your Honor, so they hear it from my lips.

10:46:32    7                    MR. DELINSKY:     Your Honor, the next issue was

10:46:33    8   the bolstering of Professor Lembke.

10:46:36    9          It is not appropriate for Mr. Lanier to get up and say

10:46:38   10   I've been trying cases for a long time.

10:46:40   11                    THE COURT:    You should have objected there.         I

10:46:43   12   would have sustained it.

10:46:43   13          I agree, Mr. Lanier.

10:46:44   14                    MR. LANIER:     Okay, Your Honor.

10:46:45   15                    THE COURT:    You went -- I mean, obviously you

10:46:47   16   hired her and brought her in.        Okay.    We know that.    The

10:46:50   17   same way the defendants hired their experts and brought them

10:46:53   18   in.   But I don't think it's appropriate for either counsel

10:46:56   19   to essentially give testimonials for their experts.

10:46:59   20                    MR. LANIER:     Okay.

10:47:00   21                    THE COURT:    All right?     So --

10:47:02   22                    MR. LANIER:     I will not do it again,

10:47:03   23   Your Honor.

10:47:04   24                    MR. DELINSKY:     All right.    And, Your Honor,

10:47:05   25   moving on, I'd just like to preserve two objections that I
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10:47:09    1   believe Your Honor's overruled, but I want to make it

10:47:11    2   abundantly clear.

10:47:12    3            Number one, Mr. Lanier made an argument that the

10:47:14    4   pharmacies had the choice not to sell these prescription

10:47:19    5   drugs.

10:47:19    6            I believe Your Honor determined in its -- in its

10:47:23    7   deciding evidentiary issues early on, decided that it would

10:47:28    8   not prohibit that kind of argument.         But we believe it's

10:47:31    9   improper --

10:47:31   10                    THE COURT:    All right.     Fine.

10:47:32   11                    MR. DELINSKY:     -- to suggest that a

10:47:33   12   pharmacist -- a pharmacy has the option of not carrying

10:47:37   13   legal medicine, and that has --

10:47:39   14                    THE COURT:    I don't think he said that.        I

10:47:40   15   mean --

10:47:40   16                    MR. DELINSKY:     That's exactly what he said,

10:47:41   17   Your Honor.

10:47:41   18                    THE COURT:    -- obviously you don't have to

10:47:42   19   have a controlled substances license, but any pharmacy's got

10:47:46   20   to have one.     So I don't think he suggested that.

10:47:48   21                    MR. DELINSKY:     He did, Your Honor.      He said

10:47:50   22   that the pharmacies have the option of not carrying these

10:47:54   23   drugs and choosing not to carry these drugs and they do it

10:47:57   24   for profit.     That's exactly what he said.

10:47:59   25                    THE COURT:    Well, it's technically true, but
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10:48:01    1   any pharmacy -- you can put out -- you can say in your

10:48:03    2   argument any pharmacy that does that would be out of

10:48:06    3   business.    And you're right.      So why don't you -- you can

10:48:09    4   get up and say that in your argument, Mr. Delinsky.

10:48:12    5                    MR. DELINSKY:     My second objection that I'd

10:48:14    6   like to preserve, Your Honor, goes to the effective controls

10:48:17    7   against theft and diversion regulation.

10:48:18    8          Your Honor knows we disagree with Your Honor's

10:48:21    9   interpretation of that regulation.         But to now read into

10:48:25   10   that regulation, which clearly on its face requires --

10:48:27   11   applies to security requirements.

10:48:29   12                    THE COURT:    Well, I think it's beyond that.

10:48:32   13   So, fine.    You can -- you can -- you want to get up and make

10:48:34   14   that argument, you can.       You can say it only -- that that

10:48:37   15   regulation does nothing more than deal with safety and

10:48:43   16   security and theft, you can say that.

10:48:45   17                    MR. WEINBERGER:     Your Honor, and that --

10:48:47   18   Mr. Delinsky's argument entirely contradicts the testimony

10:48:52   19   of Demetra Ashley, who was the head of diversion control

10:48:57   20   after Joe Rannazzisi.       She specifically -- I asked her about

10:49:01   21   this --

10:49:01   22                    THE COURT:    We don't have -- we're not arguing

10:49:03   23   the case here.     If Mr. Delinsky wants to make that argument,

10:49:05   24   he can.

10:49:05   25                    MR. DELINSKY:     And, lastly, Your Honor -- and
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10:49:06    1   I understand my objection to be preserved -- there were a

10:49:10    2   few spots here, but I just want to single out one.

10:49:13    3           Mr. Lanier argued that DEA doesn't have the resources.

10:49:17    4                    THE COURT:    Well, that's a fact.

10:49:18    5                    MR. DELINSKY:     No.   But, Your Honor, it's not

10:49:19    6   a fact in evidence.

10:49:19    7                    THE COURT:    I think it is.

10:49:21    8                    MR. DELINSKY:     That was not asked of

10:49:23    9   Joe Rannazzisi.     It was not asked of Mr. --

10:49:24   10                    THE COURT:    I think there was testimony of

10:49:26   11   many of the DEA witnesses as to what they do or don't do,

10:49:31   12   so --

10:49:31   13                    MR. DELINSKY:     But, Your Honor, there was no

10:49:33   14   testimony about resources.        The fact of the matter is that

10:49:35   15   DEA learned -- or leverages millions and millions and

10:49:39   16   millions of dollars from the registrations of these

10:49:42   17   pharmacies and every pharmacy that registers for it.             They

10:49:45   18   have ample resources.       There's been no testimony on any of

10:49:48   19   this.

10:49:48   20           We need to keep these arguments to what's in the

10:49:50   21   record.    That was too far.      That was not an inference.       That

10:49:54   22   was not a fair inference from any evidence in the record.

10:49:56   23   We have --

10:49:57   24                    THE COURT:    Well, I think it's a fact.        Okay?

10:49:59   25   But -- and I think there was -- I think there was testimony
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10:50:01    1   about it.    But, remember, I said it's fair game to attack

10:50:06    2   the federal government.       There's a very wide strike zone.

10:50:09    3   So you want to attack the federal government, you can too.

10:50:12    4   It's fair -- it's fair game.

10:50:15    5                    MR. MAJORAS:     Your Honor, John Majoras.

10:50:17    6           Just two quick points.      One on the issue about merely

10:50:21    7   by operating a business selling opioids, that's directly

10:50:25    8   counter to what the plaintiffs argued in Motion in Limine

10:50:27    9   Number 5 argument where they said, as a preliminary matter,

10:50:30   10   plaintiffs do not intend to argue that the pharmacy

10:50:33   11   defendants are liable based merely on the fact that they

10:50:36   12   distributed opioids.

10:50:37   13           It's Docket Number 3464, Page 15.

10:50:40   14                    THE COURT:    Well, all right.      Mr. Lanier, you

10:50:41   15   better correct that.      All right?     If you -- I mean --

10:50:44   16                    MR. LANIER:     I don't -- first of all, I need

10:50:46   17   to look at the Motion in Limine because if it reads the way

10:50:51   18   Mr. Majoras, it dealt with distribution, and I need to check

10:50:53   19   that.    But, obviously, I'm talking dispensing here, not

10:50:56   20   distribution.

10:50:56   21                    THE COURT:    Well, if you --

10:50:57   22                    MR. LANIER:     But I'll check.

10:50:58   23                    THE COURT:    Well, if you in any -- I think you

10:51:01   24   were right on the edge of suggesting they did something

10:51:03   25   wrong by carrying them and dispensing --
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10:51:07    1                    MR. LANIER:     Again, no, no, no.     They didn't.

10:51:10    2   They didn't at all.      What I was trying to --

10:51:11    3                    THE COURT:    And I think you've got to make

10:51:12    4   that clear.

10:51:12    5                    MR. LANIER:     I'll make that clear, yeah,

10:51:14    6   because that's not my point.        I don't think they do anything

10:51:15    7   wrong by that.     It's a question of whether they do it

10:51:16    8   properly.

10:51:16    9                    THE COURT:    Well, you were very -- you were

10:51:17   10   right on the edge there.

10:51:18   11                    MR. LANIER:     I'll clarify that, Your Honor.

10:51:18   12                    MR. MAJORAS:     And, Your Honor, my final point,

10:51:21   13   this is along the lines of bolstering the expert witness.

10:51:27   14   Discussions about whether I liked a witness or not to

10:51:30   15   cross-examine them harder or less than somebody I didn't

10:51:33   16   like, that's clearly inappropriate.         -

10:51:34   17                    MR. LANIER:     Your Honor, I understand your

10:51:35   18   ruling on that.

10:51:36   19                    THE COURT:    That was a problem -- Mr. Lanier,

10:51:38   20   that was a problem too.

10:51:39   21                    MR. LANIER:     Yeah, and understanding that in

10:51:40   22   this court, I won't do it.        It was --

10:51:41   23                    THE COURT:    Whether you like a witness, if you

10:51:43   24   think they -- they deserve some strong cross-examination,

10:51:47   25   you make them.     It has nothing to do whether you personally
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10:51:50    1   like the witness.

10:51:51    2                    MR. LANIER:     Okay.   I'll be careful about that

10:51:53    3   as well.    This is -- I apologize.       I -- Your Honor, it was

10:51:58    4   the same type of thing that was done in opening by

10:52:02    5   Ms. Sullivan, at least, but -- and in a lot of courts,

10:52:04    6   that's not a problem.       But if that's a problem here, I

10:52:06    7   don't -- I will stay totally away from that, and I won't do

10:52:09    8   that again.

10:52:09    9                    THE COURT:    All right.

10:52:10   10                    MR. LANIER:     Thank you.

10:52:13   11                    THE COURT:    Okay.     Anything else?

10:52:16   12          Okay.

10:52:17   13         (Recess was taken from 10:52 a.m. till 11:07 a.m.)

11:07:20   14                    COURTROOM DEPUTY:       All rise.

11:08:09   15                     (Jury returned to courtroom.)

11:10:41   16                    THE COURT:    All right.     Please be seated,

11:10:43   17   ladies and gentlemen.

11:10:44   18          Before -- before Mr. Lanier proceeds, I want to remind

11:10:50   19   you that your job as jurors is to decide the issues

11:10:52   20   presented in this case only.        It is not to decide anything

11:10:57   21   about any future case or any other case in the country.

11:11:01   22          You will decide only whether each plaintiff,

11:11:05   23   Lake County and Trumbull County, has proved its case against

11:11:10   24   each of the three defendants.

11:11:11   25          Thank you.
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11:11:11    1                    MR. LANIER:     Thank you, Your Honor.

11:11:12    2           And that's exactly right.       You'll -- in fact, the

11:11:14    3   judge has tailored his questions to exactly what you'll

11:11:18    4   find.    And you'll read those.      He read you his instructions,

11:11:22    5   but ultimately he'll also give you --

11:11:24    6           I think it's four, Your Honor.

11:11:26    7           -- but he's got a set of questions that he'll ask you,

11:11:29    8   and that narrows down the focus on what this whole case is

11:11:33    9   about in front of you today.

11:11:35   10           And so I was marching through the recap of the trial.

11:11:37   11   I had made it through Carmen Catizone, and I had gotten to

11:11:40   12   the point where we looked at our first DEA witness, and that

11:11:43   13   was Joe Rannazzisi.

11:11:44   14           Now, Joe Rannazzisi is someone we called as a fact

11:11:48   15   witness to testify about the facts relative to the DEA when

11:11:51   16   he was the head of diversion control.

11:11:56   17           He was an interesting gentleman.        He testified that he

11:11:58   18   was not only at times a DEA agent and then ultimately the

11:12:02   19   director, but -- of the -- that diversion control unit, but

11:12:08   20   also a pharmacist and also a lawyer.          So he brought a unique

11:12:11   21   set of background skills to his job.          And we used him to

11:12:16   22   explain the legal system.       Legal system, and the

11:12:21   23   requirements that are registrants, the people who register

11:12:23   24   to do this -- to sell these drugs or work in these drugs.

11:12:28   25           And so within the area of that, he explained those
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11:12:31    1   legal requirements, and we can look briefly at his notes and

11:12:35    2   get an idea of what he had to say.

11:12:40    3          Mr. Wilson, we will -- let's see. . .

11:12:46    4          All right.     There we go.

11:12:47    5          You'll recall his experience.        It was pretty full.        He

11:12:52    6   had a lot of DEA experience.        We walked through all of that.

11:12:57    7   We explained all of that.

11:12:58    8          But then I started asking him about the corporation's

11:13:04    9   responsibility, in a sense as the head of the octopus with

11:13:07   10   all of the different stores that could report under that.

11:13:11   11          And then we asked him specifically about what he

11:13:14   12   understood the obligations to be for dispensers, for

11:13:19   13   pharmacies.     He talked about red flags.       He explained that

11:13:23   14   if there are red flags, you must resolve each one.            It might

11:13:27   15   start with a phone call to the doctor, but you could also

11:13:29   16   use your -- you also used your professional judgment.             If

11:13:33   17   there was a potential problem with the prescription of

11:13:35   18   distance, dosing, traveling in pairs, same people, and so

11:13:39   19   many more, then those red flags needed to be resolved.             And

11:13:42   20   he explained that.

11:13:43   21          He explained documentation, that there must be

11:13:48   22   documentation somewhere.       It was expected at the DEA.        Could

11:13:52   23   be in the patient profile, but somebody might come back and

11:13:55   24   need that documentation later.

11:13:56   25          He explained the knowing requirement, very much using
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11:14:00    1   language akin to what His Honor has already read to you this

11:14:04    2   morning.    Knowing or having reason to know, he said, has

11:14:07    3   been clear since 1990, and you can't turn a blind eye.

11:14:11    4          He talked about the percentage testing, if it's

11:14:17    5   80 percent non-controlled to 20 percent controlled or less.

11:14:20    6   And we know in this case that it's less for these pharmacies

11:14:23    7   because they're doing a whole lot of non-controlled business

11:14:27    8   as well.    And he says that the DEA looked at the

11:14:30    9   percentages, but that wasn't the end-all.           That's not a

11:14:33   10   get-out-of-jail free card, you know, or Monopoly, go to --

11:14:37   11   advance token to wherever.        It's not an automatic move.

11:14:41   12   It's just one of the things looked at.

11:14:44   13          Corresponding responsibility he talked about when

11:14:47   14   presented with prescription, that some of them are going to

11:14:50   15   have red flags, and the pharmacist must resolve those red

11:14:53   16   flags before dispensing.

11:14:54   17          And then lastly, he talked about the pharmacy and the

11:14:59   18   pharmacist.     And he talked about how the pharmacy is the

11:15:02   19   registrant and is responsible.        The pharmacist conducts the

11:15:05   20   business of the pharmacy.       And so the pharmacy supplies the

11:15:13   21   drugs, the computers, the reference materials.           And the

11:15:15   22   pharmacist is responsible to practice, and the pharmacy is

11:15:18   23   responsible for what the pharmacist does.

11:15:21   24          So we got that from Joe Rannazzisi.          He came in and he

11:15:25   25   testified, and he made it real clear about these various
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11:15:29    1   issues.

11:15:29    2          Juan, if we go back, please.

11:15:31    3          He also was the gentleman who actually issued show

11:15:35    4   cause orders.     I mean, he put them out under his signature.

11:15:39    5   He oversaw legal investigations that you've heard about in

11:15:43    6   this case, and he was emphatic that the pharmacies are

11:15:47    7   responsible for the actions of the pharmacists.            Can't turn

11:15:50    8   a blind eye to red flags.       Must resolve the red flags before

11:15:54    9   you distribute, et cetera.        And then used this line, that

11:15:58   10   the pharmacies are the last line of defense, the last line

11:16:03   11   of defense before these prescriptions go out and go forth.

11:16:09   12          And so within the framework of that we had his

11:16:11   13   testimony, and then we followed it with a Walgreens pharmacy

11:16:15   14   supervisor from Trumbull County, Brian Joyce.

11:16:18   15          Now, Mr. Joyce is one that was done, his examination

11:16:23   16   was done by Mr. Weinberger.        And Mr. Weinberger asked him

11:16:28   17   some pretty clear questions.        In the process though, let's

11:16:32   18   remember who he was.      He was someone who testified that

11:16:36   19   every pharmacist in Ohio knows about the epidemic.            He also

11:16:41   20   admitted that an oversupply of pills can lead to diversion.

11:16:46   21          See, that's one of these questions is, do they know or

11:16:49   22   have reason to know?      Is it foreseeable for causation?         And

11:16:53   23   he certainly gives us that as to Walgreens, at least.             But

11:16:58   24   he speaks of it in a way that should put everybody on

11:17:02   25   notice.
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11:17:02    1          He says, I never saw the need to review dispensing

11:17:05    2   reports.    So he didn't actually look intensely at the

11:17:10    3   reports of the people he was supervising for Walgreens.

11:17:15    4   Instead, what he says is, yeah, you know, we were

11:17:19    5   dispensing, and Dr. Veres, okay, every pharmacist in

11:17:24    6   Trumbull knew of Dr. Veres for decades.          And, yet, they're

11:17:29    7   doing what they're doing.

11:17:31    8          And he would say, well, I was okay because I was doing

11:17:34    9   a walkthroughs.     And my walkthroughs were adequate.         And his

11:17:39   10   walkthroughs were interesting.        It was the first time that

11:17:44   11   we -- Mr. Weinberger and I were cognizant of the idea that

11:17:50   12   he had on his computer notes from the walkthroughs that he

11:17:56   13   was routinely doing at all the pharmacies to check to make

11:17:58   14   sure that the pharmacists were doing their jobs right.

11:18:00   15          And so we got those computer notes in the middle of

11:18:02   16   trial, and you got a chance to see them.          They were

11:18:04   17   basically four notes, one in January 18th of 2019,

11:18:13   18   January 4th of 2019, the 15th and 16th, and July 30th.             And

11:18:23   19   none of them, none of them talked about how the pharmacists

11:18:31   20   were fulfilling their obligations, whether they were doing a

11:18:34   21   good job for a bad job.

11:18:36   22          So we were left with him.        And he answered a number of

11:18:40   23   questions that Mr. Weinberger put to him about -- let's look

11:18:51   24   at a couple of these.       The Target Drug Good Faith Dispensing

11:18:54   25   checklist.    Now, this was the checklist, you'll recall,
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11:18:57    1   Amy Stossel, the pharmacist for Walgreens at the end, didn't

11:19:00    2   even know really how to fill out.         She thought everything

11:19:03    3   was supposed to be checked no.        And then she thought it was

11:19:07    4   supposed to be half yes, half no.         And then when it was

11:19:10    5   pointed out to her they should all be yes, which is rather

11:19:15    6   provocative in itself.

11:19:16    7          But he testified that the Target Drug Good Faith

11:19:22    8   Dispensing checklist was Walgreens' method of documenting

11:19:24    9   the resolution of the red flags, which makes it really

11:19:27   10   interesting that the pharmacist they picked to come in here

11:19:31   11   doesn't know how to do it.

11:19:37   12          He says, if a Target Drug Good Faith Dispensing

11:19:40   13   checklist was not completed for an oxycodone prescription,

11:19:43   14   the policy was violated.       And yet we had a box of refusals

11:19:47   15   to fill.    We had a chance to try to see -- and at least a

11:19:50   16   couple of the examples we pulled out didn't have the Target

11:19:53   17   Drug Good Faith Dispensing, as I pointed out.

11:19:57   18          The Target Drug Good Faith Dispensing checklist was

11:20:00   19   not used to resolve red flags for hydrocodone.

11:20:08   20          The most prescribed opiate wasn't even listed by name.

11:20:13   21   It would have to come under the other category on their

11:20:16   22   Target Drug Good Faith Dispensing checklist.

11:20:19   23          And these were things he agreed to.          He agreed it

11:20:23   24   would be unlawful to fill a prescription that triggered a

11:20:26   25   red flag without requesting and reviewing an OARRS report.
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11:20:32    1           That's certainly been the law in Ohio under certain

11:20:35    2   conditions since 2011.

11:20:38    3           Let's keep moving on.      That was our first real taste

11:20:48    4   of the perspective that was brought by Brian Joyce.            And

11:20:53    5   we'll get to more of this in a moment.

11:20:55    6           But if we go back to the PowerPoint, at this point we

11:21:01    7   called Dr. McCann, Craig McCann, to the stand.

11:21:06    8           Now, Dr. McCann is the numbers' guy.         And they took

11:21:08    9   that massive set of ARCOS data, that massive database that

11:21:13   10   the DEA keeps, and plugged it into massive computers to

11:21:15   11   figure out and ultimately set up a database that anybody

11:21:18   12   could use to access this information, assuming you had the

11:21:21   13   right to access it.

11:21:22   14           And so within the framework of that, he's the data

11:21:25   15   expert that all the other data experts relied on.            They

11:21:30   16   didn't like the way he did the computations on the red

11:21:34   17   flags, but in terms of how many pills were being put out,

11:21:39   18   everybody goes to his data.        And he gave the number of pills

11:21:43   19   per person, per defendant in these counties per store per

11:21:47   20   year.    And you'll have that document back there.          It's one

11:21:55   21   that you will have seen, you'll remember.           It's a pretty

11:21:58   22   easy document to look at.

11:21:59   23           Here is the Walmart example.       Walmart.    He's got the

11:22:04   24   first page of dispensing of eight prescription opioids, and

11:22:10   25   it talks about how many average dosage units per capita were
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11:22:16    1   dispensed by Walmart within that time frame.           And then he

11:22:20    2   breaks it out and he talks about how Walmart, in this

11:22:25    3   example, dispensed oxycodone and hydrocodone by year.

11:22:30    4          And in Lake and Trumbull Counties, if you add them

11:22:33    5   together, or if you break them apart, you'll see it started

11:22:36    6   out at 1.26 per year in 2006.        It peaked in 2014 -- no, 2015

11:22:43    7   at -- no, 2016, at 3.22 pills per person.           Every man, woman,

11:22:52    8   child, infant, everybody, getting those pills just from

11:23:01    9   Walmart stores alone.

11:23:03   10          He didn't only give you Walmart figures, he also gave

11:23:06   11   you figures for the other defendants as well.           And so you

11:23:09   12   can look at those other defendants, and you can see the CVS

11:23:11   13   numbers and the Walgreens numbers, for example.

11:23:14   14          CVS, you've got the same basic layout of the front

11:23:23   15   sheet, as you'll look at it in the exhibits, but then you've

11:23:26   16   got it by year.     CVS peaked in 2013 -- no, 2012 at 8.66

11:23:35   17   tablets, pills, per person, per year.          Just from those

11:23:40   18   stores.    It's not counting all the other pharmacies that are

11:23:42   19   putting out drugs.      And so you've got that, and you've got

11:23:46   20   it broken out into Lake County and Trumbull County.

11:23:50   21          In Lake County you've got that year, 10.92 dosage

11:23:55   22   units per person in Lake County.

11:23:57   23          And then you've got 6.18 in Trumbull County.

11:24:03   24          So you've got that.      You can also look at it broken

11:24:06   25   out by stores so you can see which stores were really
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11:24:10    1   putting out the numbers, and that becomes relevant later on.

11:24:15    2           So all of these pills were being put out there by CVS,

11:24:18    3   they're being put out there by Walmart, and they're being

11:24:21    4   put out by Walgreens as well.        And so we gave you proof of

11:24:25    5   the Walgreens numbers.       And the Walgreens numbers are very

11:24:30    6   much aligned with the others.

11:24:32    7           You will see they peaked in 2011 at 10.23 pills per

11:24:37    8   person.    They were much heavier in Trumbull County where

11:24:43    9   they were 10.87 that year, and 2014, they were 10.92.             2015,

11:24:52   10   they hit 13 pills per person in Trumbull County.

11:24:57   11           No one challenges the math on this.         It's the math.

11:25:01   12   It's 2 plus 2 is 4.      That's how much they were selling.

11:25:06   13           And their argument is, yeah, but compare us to others.

11:25:12   14   Okay?    Well, I don't know -- you know, I -- Rachel is one of

11:25:18   15   my five kids, one of our five kids -- sorry, Becky -- and it

11:25:23   16   was never a good excuse to say, well, I may be misbehaving,

11:25:29   17   but someone else did too.       I'm not focusing on anybody else

11:25:32   18   right now.    I'm focusing on these three pharmacies that

11:25:36   19   won't admit they did anything wrong.          That's who I'm

11:25:38   20   focusing on.     I'm not worried about the others.

11:25:41   21           And so these three pharmacies, they can't escape their

11:25:46   22   behavior by saying, okay, well, but we spread ours out among

11:25:50   23   11 stores, and if you don't add all of our stores together,

11:25:54   24   we don't look like we put out as many as some of the other

11:25:58   25   stores did.     No, that doesn't work.
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11:26:02    1            And so we get that explanation from Dr. McCann.          He

11:26:05    2   not only did that, but he also then explained the

11:26:07    3   ramifications of Carmen Catizone's findings on red flags.

11:26:12    4            So you've got his findings on red flags where the best

11:26:16    5   he could say about documentation is what he said for

11:26:20    6   Walmart.    I think for Walmart he said that 90 percent or so

11:26:22    7   had some level of documentation, but he found the

11:26:25    8   documentation inadequate.       And then he looked at the others

11:26:28    9   and he found the others much worse in terms of where they

11:26:32   10   were just missing data, just totally missing.           And then what

11:26:36   11   Dr. McCann did is he said based mathematically on that

11:26:41   12   representative sample, you can make a determination that

11:26:44   13   this is a problem that spanned those 10 years, that it's a

11:26:48   14   fair and legitimate thing to say that in a random sampling,

11:26:53   15   we didn't just happen to get something that would not make

11:26:58   16   sense.

11:26:58   17            So within the framework of that, we then put

11:27:00   18   Brad Nelson on the stand.       Now, Brad Nelson was interesting.

11:27:03   19   He first testified by a deposition that I took, and we

11:27:07   20   played the deposition.       And later on His Honor allowed us to

11:27:09   21   call him by video hookup, and he was at his law -- lawyer's

11:27:13   22   office in Dallas, Texas.

11:27:16   23            And he used to work for Walmart.       He was a former

11:27:19   24   senior manager of controlled substance and regulatory

11:27:21   25   affairs.    He's the one whose job application said, when he
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11:27:26    1   was applying to get that position, it said that the job

11:27:28    2   would be one to drive compliance.        And yet if you look at

11:27:33    3   his experience, he didn't really have any compliance

11:27:36    4   experience in terms of driving compliance to meet

11:27:40    5   regulations.

11:27:41    6          He was unaware of the Holiday case.         One of the

11:27:44    7   seminal cases.     He's the one who sent out that e-mail that

11:27:51    8   said, in essence -- I've synopsized it here -- emphasized

11:27:57    9   sales over complying with the 2011 MOA.         Walmart had entered

11:28:02   10   into a memorandum of understanding with the DEA that said,

11:28:04   11   we will do A, B, C, D, E, F, G, for the next X years.            And

11:28:10   12   when it was almost up, the stores were asking, or at least

11:28:13   13   one store had the question of do we need to be doing this,

11:28:16   14   and he's the one who sent the e-mail out that said the MOA's

11:28:21   15   almost up.    Right now your energy and your efforts are

11:28:27   16   better spent, in essence, driving sales.         And so we got that

11:28:30   17   from him.    He came back and testified live later, but that

11:28:35   18   testimony is absolutely devastating for Walmart.

11:28:39   19          The idea -- if you'll recall his testimony -- if we

11:28:44   20   can go over here for a moment.        This is the timeline that we

11:28:48   21   did with him.    He put his timeline up -- or I put this

11:28:53   22   timeline up through him, and we talked about how he took his

11:28:57   23   job.   But we talked about how Holiday was written up in the

11:29:01   24   Federal Register in 2012.       And we talked about how they had

11:29:07   25   the no blanket refusals to fill but how in 2013, there was a
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11:29:11    1   concern that was being expressed by others that Walmart was

11:29:15    2   becoming a funnel in certain parts of the country for bad

11:29:19    3   prescriptions that were being filled there.

11:29:22    4           You know, he continued to do this work until he

11:29:30    5   finally was reassigned or quit.        But he was just absolutely

11:29:37    6   not qualified do the work by any stretch of the imagination.

11:29:43    7   And, frankly, he's the one who kept cut and pasting all of

11:29:46    8   his comments about what needed to be done or what didn't

11:29:49    9   need to be done.     And so we had his testimony next.

11:29:53   10           Juan, if we go back, please.      Thank you.

11:29:55   11           He also testified that when the registered pharmacists

11:30:00   12   expressed their fears and concerns about filling certain

11:30:03   13   prescriptions, he would just cut and paste that language

11:30:05   14   that said, oh, we're not allowed to do a blanket refusal to

11:30:09   15   fill.

11:30:11   16           We really pressed him on that.       Finally we found one

11:30:14   17   of their witnesses who said that she talked to two or three

11:30:16   18   or four Boards of Pharmacy, and nobody ever documented it,

11:30:19   19   but they said that you can't do a blanket refusal to fill.

11:30:24   20           I said, okay, well, has it ever been written down?

11:30:27   21           No.

11:30:27   22           And then y'all just started doing it?

11:30:30   23           Yes.

11:30:30   24           Did you ever talk to anybody in Ohio?

11:30:32   25           No.
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11:30:33    1            And then we find in trial that there was an issue up

11:30:37    2   in Wisconsin or Michigan -- Wisconsin, but even that issue

11:30:43    3   wasn't a blanket refusal to fill for a doctor, it was for an

11:30:46    4   entire clinic.     And there were some overlying facts that

11:30:51    5   were unknown to anybody to talk about in that.

11:30:53    6            So we have this from him.     And he's the one who kept

11:30:56    7   the fill on even when Walmart was labeled a funnel for

11:31:01    8   C-IIs.

11:31:01    9            We then turned county specific to Trumbull County, and

11:31:05   10   we put Captain Tony Villaneuva on the stand.          Now,

11:31:10   11   Captain Villanueva was a sheriff's captain, or is a

11:31:15   12   sheriff's captain.     He was former commander of the opioid

11:31:18   13   task force.    And when he took the stand, he talked about the

11:31:18   14   effect of the epidemic in Trumbull County on courts, on

11:31:22   15   children, on crime, and on the community.

11:31:27   16            Because one of the things the judge has us -- we're

11:31:29   17   required to prove is that there is an epidemic that has

11:31:33   18   caused a public nuisance in each of these counties.

11:31:37   19            And so he talked also about some of his investigation

11:31:40   20   work.    And he talked about how he investigated using OARRS.

11:31:45   21   And he would find prescriptions that had been filled for

11:31:48   22   people who were specifically diverters by all three of the

11:31:54   23   pharmacies that were here.

11:31:55   24            Now, I say that.   I believe on that particular

11:31:58   25   prescription we were looking at, Walmart dispensed one of
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11:32:02    1   the trinity drugs and not an actual opiate, if I'm

11:32:05    2   remembering it correctly.       But it's still there in OARRS

11:32:08    3   because it would be in there.

11:32:09    4          We then went to Walgreens senior director of

11:32:14    5   divisional, vice president for pharmacy compliance,

11:32:19    6   Natasha Polster.     She is the erase the notes lady.

11:32:21    7          She's the one who thought that the opioid epidemic

11:32:24    8   crisis problem really started in 2011, and yet has no

11:32:30    9   trouble saying delete the notes fields if the need is there.

11:32:35   10   Need being, not something simply malicious, but just, hey,

11:32:38   11   we need more room in the notes fields and there's a certain

11:32:42   12   number of characters.      That need.

11:32:44   13          She's the one who testified about that refusal to fill

11:32:48   14   box, but hadn't really looked into it.         And when I pulled

11:32:52   15   out some of the refusals to fill and showed the

11:32:56   16   inadequacies, she was kind of like, well, I didn't really

11:32:59   17   look at the box.     It was just put here.

11:33:02   18          She's also the one who put some changes in.           She

11:33:06   19   changed the size of the screens, but it was all slow motion

11:33:11   20   changes.    Takes years to change.      You know, a good example

11:33:18   21   of that is what she had to say -- in the interest of time,

11:33:26   22   I'll keep going.     If I have time, I'll do it in rebuttal,

11:33:29   23   but I want to get to the next witness.

11:33:31   24          The next witness was Caleb Alexander.         Caleb

11:33:35   25   Alexander.    Now, he's a doctor, he's a medical doctor.           But
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11:33:37    1   he's also, in addition to a medical doctor who sees

11:33:40    2   patients, he's a pharmacoepidemiologist at Johns Hopkins.

11:33:45    3          So here he is.     He specializes in doing

11:33:52    4   pharmacoepidemiology.      I mean, this is his niche.       He deals

11:33:54    5   with patients who have opioid issues.         He prescribes opioids

11:33:58    6   on a limited basis.      He knows when to use them and when not

11:34:02    7   to.

11:34:02    8          He's got a massive CV with over 300 articles.           He's

11:34:07    9   been relied on by the government.        He's been relied on by

11:34:11   10   academia.    We brought him to you.      We set him before you.

11:34:15   11   And he confirmed the epidemic in the counties and confirmed

11:34:19   12   that it was caused by an oversupply of fills.

11:34:23   13          We've got to prove causation.        We've got to prove that

11:34:27   14   these three pharmacies were causative to substantial aspect

11:34:34   15   of -- or damage within this nuisance.         And so he's one of

11:34:40   16   our witnesses who did it.       Then he laid it out there and

11:34:43   17   explained that when you have an oversupply of pills, this is

11:34:47   18   what's going to happen.

11:34:49   19          Now, he's not the only one.       I'll come back and look

11:34:52   20   at some of these PowerPoint slides in a little bit when we

11:34:55   21   get to the charge -- or to the judge's instructions, but I

11:34:57   22   want to go to Dr. Kerry Keyes first.

11:35:02   23          Dr. Kerry Keyes is the epidemiologist at Columbia who

11:35:07   24   wrote the textbook on epidemiology used by so many schools

11:35:11   25   when they teach it.      She had been dealing with the opioid
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11:35:14    1   tragedy for over two decades, or right at two decades, since

11:35:18    2   the early 2000s.     She actually did it as a volunteer in

11:35:22    3   another occupation as she went to school to get her Ph.D. in

11:35:25    4   epidemiology so that she could address these types of

11:35:29    5   issues.

11:35:29    6          And she's the one who explained the three phases of

11:35:32    7   the epidemic.    They're written up in other places.         You can

11:35:35    8   find them in PowerPoints and articles and things, but she

11:35:38    9   explained them to us here in the courtroom.          And then she

11:35:40   10   also gave the national numbers and the local numbers so that

11:35:45   11   y'all would have those numbers in front of you to look at

11:35:48   12   and assess.

11:35:49   13          I'll deal with her PowerPoint slides in a little bit,

11:35:54   14   but I want you to remember that she explained why the

11:35:56   15   epidemic is sourced to the oversupply of prescription pills

11:36:00   16   and not the general misery of the community.

11:36:03   17          You may have been thinking, that may have even just

11:36:06   18   flown by you when she said that.        Like, why does that

11:36:09   19   matter?    The reason it matters is I knew they were going to

11:36:11   20   call Miller, Dr. Miller.      He was the Chicago economist.

11:36:18   21                   MR. WEINBERGER:      Murphy.

11:36:19   22                   MR. LANIER:     Murphy.   I've heard it both ways.

11:36:22   23          They were going to call Murphy the economist from

11:36:26   24   Chicago.

11:36:26   25          Thank you, birthday boy.
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11:36:29    1          And they were going to bring him in, and he was going

11:36:31    2   to say, oh, don't blame the oversupply of opioids.           Just say

11:36:35    3   the community is miserable.       Just say it's, you know, if it

11:36:41    4   wasn't opioids, they'd be doing something else.           It's just

11:36:43    5   the status of the community.

11:36:46    6          And so I asked her that.       And I had her explain ahead

11:36:49    7   of time why that's not true.       And she put up this chart, and

11:36:53    8   she compared it to the United States and showed how the

11:36:57    9   rates of opioid overdose deaths, sales and treatments from

11:37:01   10   1999 to 2010, all follow the same path.         It's not just in

11:37:09   11   Northeast Ohio.     It's not just misery there.

11:37:16   12          Then we put on the stand Brad Nelson.         And this was

11:37:18   13   the -- our chance to put him on live.         So he came back for a

11:37:23   14   second time.

11:37:24   15          He's the guy who did the registered pharmacist cut and

11:37:27   16   paste answers, who kept the fill on even when they were

11:37:31   17   labeled a funnel.     I've covered his testimony.        I won't

11:37:33   18   rehash it.

11:37:34   19          After him, we put on Michelle Travassos.          Now, she was

11:37:39   20   a deposition.    And you guys were paying great attention

11:37:42   21   during that deposition.      But I hope you remember the fact

11:37:45   22   that she knew of the DEA's enforcement action.           She knew, as

11:37:51   23   a CVS professional services manager, about that enforcement

11:37:55   24   action in Florida.     She was the one who helped -- and was

11:38:00   25   involved in the WaVe 2.0.       WaVe 2.0 was going to be their
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11:38:07    1   computer system to help identify red flags, and initially

11:38:11    2   they had, like, 27 red flags and it would label -- and it

11:38:14    3   would flash them and they -- you know, you listen to the

11:38:16    4   testimony, and you just walk away thinking, all that flashed

11:38:20    5   way too many red flags for them, so they scaled it down to

11:38:22    6   three red flags that their computer will identify.           And it's

11:38:29    7   still not in place all over, still not working fully.            But

11:38:29    8   she talked about that.

11:38:33    9           She agreed that diverted opioids are a public health

11:38:37   10   risk.   So again, we've got CVS agreeing to this.          I think

11:38:40   11   all of the defendants without any question have all agreed

11:38:42   12   that it's a public health risk.

11:38:44   13           She knew about Dr. Veres and Dr. Torres, who in one

11:38:50   14   store alone were supplying 70 to 80 percent -- this is one

11:38:53   15   of our county stores -- 70 to 80 percent of the store's

11:38:59   16   prescriptions for hydro.

11:39:05   17           She talked about the RX Connect program, which was to

11:39:10   18   provide realtime assistance for red flags, but it was paused

11:39:14   19   in 2013 for reasons she didn't know.

11:39:18   20           She talked about the algorithm that would ID stores

11:39:20   21   with risky dispensing habits in Trumbull, the stores that

11:39:26   22   were filling too many prescriptions for Torres and Veres but

11:39:30   23   had no knowledge of anything that was done.

11:39:33   24           Then we looked specifically at Trumbull County in some

11:39:36   25   greater detail.     We put April Caraway on the stand to
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11:39:41    1   testify.    She's the executive director of the Trumbull

11:39:44    2   County Mental Health & Recovery Board.         She testified that

11:39:46    3   2017 was the worst year ever with 135 overdose deaths.

11:39:52    4   1,250 overdoses, and she said this year's on track to be

11:39:57    5   worse.

11:39:58    6            And this becomes important because one of the judge's

11:40:00    7   instructions is a question of whether or not there's still a

11:40:03    8   nuisance today.     And there's no question but that there is.

11:40:05    9            She fights this epidemic daily.      She does it with

11:40:09   10   education.    She does it with treatment.       She does it with

11:40:13   11   drop boxes, Deterra bags, counseling.

11:40:16   12            Remember, she was asked even -- by y'all, one of you

11:40:19   13   asked her, is this the kind of thing where you have to be a

11:40:21   14   member of the -- or a citizen, a resident of the county to

11:40:25   15   benefit from some of the treatment options?

11:40:27   16            She said absolutely not.     We don't turn anybody away.

11:40:31   17   And they're trying desperately to try and help this problem

11:40:35   18   everywhere they can.

11:40:36   19            So we had her testimony here.

11:40:38   20            In addition to that, we had Kim Fraser come in from

11:40:42   21   Lake County.    Ms. Fraser is sitting here today.         She's the

11:40:45   22   executive director for the Lake County ADAMHS Board, and

11:40:47   23   she's worked as a licensed professional counselor for over

11:40:50   24   30 years in Lake County.

11:40:51   25            Thank you for all the good that you've done.        We
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11:40:53    1   appreciate it, Ms. Fraser.

11:40:54    2           But she also testified about the effect that the

11:40:58    3   opioid epidemic's had on the EMS, on fire, Children's

11:41:02    4   Services, county health department, local businesses and

11:41:04    5   more.

11:41:05    6           She's talked about the baby issues where there are

11:41:08    7   over a hundred grandparents that have become primary

11:41:11    8   caregivers and they're having to teach them how to do that.

11:41:16    9           We've got 8 grandkids, and we are really good for a

11:41:21   10   day or two.    It gets -- we got too old to do that parenting

11:41:28   11   thing all over again.      But you've got over a hundred

11:41:31   12   grandparents that have had to step in.         And there's --

11:41:34   13   that's a community harm.

11:41:37   14           So at that point in time, we rested and the defense

11:41:40   15   started putting on their case.        And who did they call?

11:41:42   16           They called Theresa Toigo.      And this was a deposition

11:41:48   17   that they played.     She was an associate director of the drug

11:41:51   18   and safety operations at the FDA.        And I'm still a bit

11:41:53   19   puzzled.    The FDA doesn't oversee chain pharmacies.          They

11:41:57   20   don't over say chain pharmacists.        She didn't have any

11:42:00   21   opinions on the responsibilities or the actions of

11:42:02   22   pharmacies.    And the FDA itself is limited in what they can

11:42:05   23   do once a drug is approved.       So she's not in a position to

11:42:08   24   really offer much except that the FDA approved these drugs.

11:42:11   25           And then they called George Pavlich.        Now, I tried to
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11:42:16    1   find a better picture of dear Mr. Pavlich.          But because he

11:42:19    2   was appearing by video, the judge does not allow us to do

11:42:22    3   screenshots, so I couldn't get a picture of him like that

11:42:25    4   (indicating).    So I just went on the internet, and frankly,

11:42:28    5   having listened to him testify, I don't think he'd be

11:42:31    6   bothered too much by that picture.        So I'm throwing it up

11:42:34    7   there so you'll remember who he was.         But he hasn't been

11:42:37    8   hands-on in a decade.      He's a long-time retired fellow.

11:42:40    9            And he basically testified that the Ohio Board of

11:42:43   10   Pharmacy, when he was one of their investigators, they had

11:42:46   11   limited resources, they did limited reviews, and they got

11:42:50   12   limited insight.     And that's just the bottom line.

11:42:54   13            He did affirm that there are some bad doctors.         And he

11:42:57   14   didn't know about the particular filings of any of the

11:43:01   15   pharmacies.    He was kind of unknown on that kind of stuff.

11:43:06   16   But, even within the framework of that, he was able to say

11:43:11   17   that -- he's the one who did the Overholt's Pharmacy.            But

11:43:19   18   he did it off of a tip.      Even though he says that he would

11:43:24   19   be inspecting these pharmacies routinely, he never picked up

11:43:27   20   on Overholt's until he got a tip.        So his routine

11:43:30   21   inspections never picked up on a problem pharmacy.           And that

11:43:34   22   tells you the level of the limited review that they were

11:43:37   23   doing.

11:43:37   24            And then the defendants called, from the pain clinic

11:43:41   25   doctor in California, Dr. Robert Wailes.         This is a guy
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11:43:45    1   who's charging almost $1,400 an hour.         He's the fellow that

11:43:51    2   was set up by a witness service that specializes in jury

11:43:56    3   persuasion and things like that.        And he comes out here, and

11:44:00    4   he basically spends almost a day trying to convince you that

11:44:06    5   everybody ought to be writing opioid prescriptions, and even

11:44:08    6   the trinity, because it's so important, and he does it

11:44:13    7   routinely, and you just got to make sure that your patients

11:44:16    8   are okay.

11:44:19    9          He was the one who was asked by one of you, did -- how

11:44:24   10   many of your patients have been addicted or dead?

11:44:28   11          And his replay was, in essence, I don't know.

11:44:32   12          And this -- this guy, this is the fellow who, on

11:44:36   13   cross-examination, I pointed out that his CV seems to be

11:44:40   14   inaccurate, that he swore under oath in his deposition that

11:44:44   15   he'd written an article when he hadn't written it, he was an

11:44:48   16   investigator.    That his CV says that he's board-certified by

11:44:51   17   an entity that doesn't even exist anymore, but he doesn't

11:44:54   18   list it as a former board certification.         This guy's just a

11:44:58   19   pain clinic doctor who writes a bunch of opioid

11:45:01   20   prescriptions, and he's coming in here trying to defend what

11:45:04   21   he's doing there.

11:45:07   22          And, you know, he tried to testify about red flags,

11:45:11   23   but he didn't understand red flags.         He didn't understand

11:45:13   24   the duties of a pharmacist or a pharmacy.          Well, you just

11:45:19   25   end up with, he's got a high percentage opiate pain center
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11:45:25    1   with addicts, he admits, addicts, and others, regularly

11:45:29    2   getting opioids.     That was their counter to Dr. Lembke.

11:45:32    3           And I said to him -- you know, he kept saying I'm not

11:45:34    4   an ivory tower doctor, as if Dr. Lembke is an ivory tower

11:45:40    5   doctor.   She sees patients routinely.        She he's clinic days

11:45:45    6   multiple days a week.

11:45:46    7           He says, but I'm spending all my time treating

11:45:48    8   patients, that's why I don't write articles.

11:45:51    9           I was like, well, wait a minute.       They're talking

11:45:53   10   about your golf game at the opioid manufacturers, you got

11:45:57   11   time for that.     And you got time to be the delegate for the

11:46:00   12   pain clinic people.      And you got time to attend all these

11:46:03   13   meetings.    And you got time for -- you know, you're telling

11:46:06   14   us that your time with the California Medical Association is

11:46:08   15   going to take 20 percent, 30 percent of your time.           You have

11:46:12   16   time.   You just choose not to.

11:46:14   17           Oh, yeah, maybe.

11:46:15   18           And then, we had the DEA section chief of reporting,

11:46:19   19   Stacey Harper-Avilla, and she talked about how the DEA

11:46:25   20   controls quotas for opioid manufacturing.          There's no fuss

11:46:28   21   about that.    We said the same with Joe Rannazzisi, that the

11:46:32   22   DEA considered abuse and diversion.         No fuss about that.

11:46:34   23           You may decide, the defendants may point out, that the

11:46:37   24   DEA's got some responsibility for the opioid crisis because

11:46:41   25   they approved too high a quota.        Now, they may have.      I
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11:46:45    1   don't know.    But that does not excuse whether or not the

11:46:49    2   pharmacies -- you can't just point the finger at everybody

11:46:52    3   else.   You have to address your own conduct.

11:46:55    4           And so with Walmart, that was done when Susan Hiland

11:47:00    5   came to testify as the senior director, safety organization

11:47:03    6   of pharmacies.     Now, she's the one who testified that

11:47:07    7   they -- Walmart only made these changes to their POMs, their

11:47:13    8   pharmacy operation manual, after they entered into an

11:47:18    9   agreement with the DEA.      We're in phase 2 of the epidemic.

11:47:23   10   And not only that, then it still took them two years to do.

11:47:28   11           I asked her about cases from, like, the phase 1 of the

11:47:31   12   epidemic.    What about the East Main case?        She wasn't even

11:47:35   13   aware of it and all that it had to say about this and what

11:47:39   14   the company should be doing.

11:47:41   15           I asked her on the -- what about the Ohio blanket

11:47:44   16   refusal to fill, you know, position, and what are the Ohio

11:47:49   17   policies?    She didn't know.     She didn't have a clue.       Never

11:47:52   18   checked into that.

11:47:54   19           She came and she testified not knowing that their

11:47:58   20   company, Walmart, did not allow their pharmacists to access

11:48:02   21   OARRS for years.     They only allowed them to access it once

11:48:07   22   it became mandatory.      When Ohio changed and made it

11:48:12   23   mandatory, that's when all of a sudden Walmart changed their

11:48:17   24   policies.    But they were still having problems with their

11:48:20   25   system as of 2018.     They -- you know, they never specified
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11:48:26    1   rules on the trinity combos and how they treat those until

11:48:30    2   post-2015.

11:48:35    3          And so we get Walmart's -- you know, this is all with

11:48:38    4   a legal obligation on this stuff to prevent diversion, to

11:48:43    5   have systems in place.

11:48:43    6          We have the Ohio Board of Pharmacy fellow, Trey

11:48:48    7   Edwards, and he came -- and he doesn't have the beard now

11:48:50    8   and so you might remember him unbearded -- but he was a

11:48:55    9   former agent with the Lake County Narcotics agency whose

11:48:59   10   wife is a pharmacist, and he came and he testified.            And he

11:49:04   11   said that the investigations they would do of these

11:49:06   12   pharmacies were years apart, and they were just a quick

11:49:10   13   snapshot of what was going on.

11:49:13   14          Don't let the pharmacies tell you we got a clean bill

11:49:17   15   of health so we were doing everything fine.          This is not

11:49:20   16   something where he never reviewed their corporate policies.

11:49:22   17   He never reviewed the volumes they were dispensing.            He

11:49:27   18   never reviews their refusals to fill.         So he gave you a very

11:49:30   19   limited snapshot of what it was.

11:49:31   20          And then we went to the vice president at Charles

11:49:35   21   River Associates.     Now, Charles River Associates is where

11:49:39   22   they got a number of their experts.

11:49:40   23          But Brunner is the guy who relied on Craig McCann for

11:49:44   24   his data.    He didn't understand how prescriptions worked

11:49:49   25   with red flags.     Just wasn't his niche.      He was brand new to
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11:49:52    1   opioid litigation when -- opioid issues when he came into

11:49:56    2   opioid litigation.     Millions of dollars later, he comes to

11:50:00    3   testify, but really he doesn't have anything to add to the

11:50:03    4   equation.

11:50:04    5          We had CVS Nicci Harrington take the stand, Nicole

11:50:10    6   Harrington.    Now, she was someone who was a senior director,

11:50:15    7   or is a senior director of pharmacy services.          Her area

11:50:18    8   should be exactly what we're dealing with in this case, and

11:50:22    9   yet she was unaware of cases other than Holiday and East

11:50:28   10   Main, even though she was a pharmacist during the

11:50:31   11   Medicine Shoppe days of 2008 and some of these other cases.

11:50:35   12          She knows about Holiday, heavens, she ought to because

11:50:40   13   she got her job because of that case.         There was such a

11:50:42   14   problem within CVS, they created a new job for her to try to

11:50:46   15   fix this.

11:50:48   16          CVS, the corporate, agreed to settlement terms in the

11:50:52   17   Holiday case, and the corporation agreed to the settlement

11:50:56   18   terms for the entire corporation throughout the United

11:50:59   19   States.

11:51:00   20          And she became a new job within CVS to deal with these

11:51:06   21   problems at that point in time, but even as she talked about

11:51:11   22   what they'd been doing is they had changed their screen

11:51:14   23   sizes over the years, she had to agree that the actions

11:51:16   24   could have been taken years earlier.         That screen could have

11:51:19   25   been smaller during phase 1 or phase 2.
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11:51:22    1          She said that she was unaware that between 2006 and

11:51:26    2   2009 CVS dispensed over 10 million pills into these two

11:51:30    3   counties, over 10 million pills in that 4-year stretch.            She

11:51:38    4   wasn't aware of it.      Didn't know about it.

11:51:41    5          You know, she knew about the 2014 listing of red flags

11:51:45    6   but agreed it could have been done earlier.          She couldn't

11:51:48    7   give us a reason it couldn't, I should say.

11:51:51    8          She's the one who had the PowerPoint in 2015 that says

11:51:54    9   we were naive to think we were doing all we could.           And when

11:52:00   10   I probed her on this, her reaction was, well, when I said we

11:52:03   11   were naive to think we were doing all we could -- you'll get

11:52:06   12   this exhibit back there -- she meant -- she said, I meant

11:52:10   13   the community.     Even though this is a PowerPoint not for the

11:52:15   14   community, this is a PowerPoint about the community and the

11:52:20   15   responsibility of the companies in their communities.

11:52:24   16          So you look at it, and this is the one where she said,

11:52:30   17   when I started to really understand the tremendous growth of

11:52:34   18   the misuse of prescription drugs, I realized I may have been

11:52:36   19   naive to believe we were doing everything we could to reduce

11:52:39   20   the growth of this tragic problem.

11:52:43   21          This is her tragic problem, how many popping pills are

11:52:47   22   hurting people, how many it's killing.         This is her

11:52:49   23   PowerPoint.    And she says, well, when I said we, I meant the

11:52:52   24   community.    But you look at her we's in here, and all too

11:52:58   25   often her we's are CVS.
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11:53:02    1           Let's join together and really make a difference.

11:53:04    2   Where do we start?     This is we.     This is her CVS

11:53:12    3   presentation.    This is a presentation that's not to the

11:53:14    4   community; this is a presentation that talks about DEA

11:53:18    5   regulations that require a controlled substance prescription

11:53:22    6   be issued for legitimate medical purposes.          This is one that

11:53:26    7   says pharmacists fail to satisfy this legal requirement when

11:53:28    8   they knew or should have known a prescription wasn't used

11:53:32    9   for a legitimate medical purposes.        Pharmacists cannot be

11:53:37   10   willfully blind.

11:53:44   11           This is about pharmacy.      This is about CVS, the we

11:53:47   12   here.   This is about what CVS is doing, their new red flag

11:53:51   13   approaches that should have been done years and years

11:53:54   14   earlier.

11:53:55   15           So -- thank you.

11:53:57   16           So as we go through here, then they put on

11:54:04   17   Kevin Murphy.    This is the fellow that is from Chicago.

11:54:06   18   This is the fellow who has no real opioid experience, other

11:54:09   19   than the $2 million his group received for their litigation

11:54:12   20   work.   He's an economist.      And he's the one who said

11:54:17   21   prescription opioids weren't the problem, it was the misery

11:54:20   22   in Northeastern Ohio.

11:54:26   23           That was offensive to a number of my clients and

11:54:29   24   others, I think, as I pointed out in cross-examination of

11:54:32   25   him.
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11:54:37    1            And then after that we had Dr. William Choi.        That is

11:54:40    2   a data analyst hired by CVS to look at their prescriptions.

11:54:43    3   He works for a group that's charged amounts unknown to him

11:54:53    4   in the Purdue bankruptcy, in addition to over 2 and a half

11:54:55    5   million that was charged in this litigation.

11:54:57    6            And he testified about red flags without reading any

11:54:59    7   of the cases on them, with no opiate experience, not reading

11:55:08    8   the defendants' policies, and that's -- this is who they

11:55:11    9   bring in to counter Carmen Catizone, who's Mr. National

11:55:16   10   Board of Pharmacy.

11:55:19   11            And not ending there, they then brought Walmart hired

11:55:22   12   a statistician, Mark Glickman.        Fascinating guy.     He knows

11:55:27   13   chess.    He knows the Beatles.     Knows magic.     But he doesn't

11:55:31   14   know opioids.    And I don't understand why he was brought in

11:55:39   15   here as their selection to testify.

11:55:41   16            But he's the one who put charts up where they avoided

11:55:45   17   dosage units in favor of MMEs because it makes the

11:55:49   18   defendants look better.

11:55:51   19            By the way, when they get up here and start using

11:55:53   20   charts any time they put up a chart, hold them accountable.

11:55:56   21   See if their charts say MMEs or dosage units.          Hold them

11:56:01   22   accountable.

11:56:03   23            He's the one who said -- you know, they had the pie

11:56:06   24   chart with just a small sliver being Walmart, and the

11:56:13   25   implication, I fear, was that Walmart was not significant.
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11:56:16    1   And so I said to him, let's put on a pie chart, Lake and

11:56:22    2   Trumbull Counties, to the population of the United States.

11:56:25    3   And they're even smaller sliver, but you don't want to say

11:56:29    4   they're not significant.

11:56:29    5            And that's when he said, well, I don't say what's

11:56:32    6   significant and what isn't.

11:56:35    7            Then Robert Hill was called as a DEA witness, an

11:56:40    8   ex-DEA witness.     He was the executive assistant to Joe Rann

11:56:46    9   [sic].

11:56:46   10            Now, when he came, we had the letter where the DEA --

11:56:51   11   or the Department of Justice said that the DEA expressly

11:56:54   12   doesn't endorse his opinions nor do they reflect the

11:56:56   13   opinions of the DEA.      That's pretty strong.

11:57:03   14            But this is the fellow who said that they shouldn't be

11:57:05   15   on opioids longer than 6 months.

11:57:08   16            This is the fellow who was told by the law firm that

11:57:11   17   the DEA was contacted and would be present for his

11:57:13   18   testimony, but they weren't here.        And there was never any

11:57:16   19   document that showed that they rescinded what they had

11:57:18   20   written to that law firm, that they had not granted

11:57:21   21   authorization for him to come testify.

11:57:27   22            He did still agree that Holiday is the law.

11:57:30   23            And then we got to the pharmacists at the end of the

11:57:35   24   trial, and CVS put their pharmacist on, Kenneth Cook.            He

11:57:38   25   believes that the pharmacists he supervised in Lake County
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11:57:41    1   performed to a good level.       And actually, that was kind of

11:57:44    2   when I pushed him on it even further.         My initial question

11:57:47    3   to him wasn't so limited.

11:57:51    4            You'll recall the note, perhaps, that I had with him.

11:57:58    5   I said, would you agree with me that there are good

11:58:01    6   pharmacists and not so good pharmacists?

11:58:05    7            He said, I don't agree.

11:58:07    8            And that's when I showed him the memo that he had

11:58:10    9   written up about the missing drugs, the missing narcotics.

11:58:22   10   And we talked about those.

11:58:23   11            And he said, I don't know if they were stolen, I don't

11:58:25   12   know if they were just missing, I don't know if they were

11:58:28   13   misdispensed.    We could never figure out what happened.          The

11:58:31   14   inventory just wasn't right.

11:58:33   15            I said, well, it's kind of hard to say that those

11:58:37   16   pharmacists are doing their job right, then, don't you

11:58:40   17   think?

11:58:40   18            But then as I continued to press him, I pressed him on

11:58:43   19   the opioid epidemic, and he said he hadn't seen one.            He's

11:58:45   20   heard that there may be a problem, but he said, thankfully

11:58:49   21   it hadn't affected any of his family or friends.

11:58:54   22            As I continued to ask him, he on his own, used the

11:58:59   23   term, I freaked out over the losses of the opioids in the

11:59:04   24   stores.    That's a -- that's an issue.

11:59:08   25            He's also the fellow who knew about Dr. Demangone's --
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11:59:12    1   I'm trying to say his name right -- Demangone's reputation.

11:59:17    2   But knows that he, at least up to 2014 or '15, was still

11:59:21    3   filling his prescriptions.

11:59:23    4          Now, maybe what he wants us to understand is that once

11:59:26    5   he learned about his reputation, he quit filling them.            I

11:59:30    6   don't know.    But the stores sure didn't.

11:59:33    7          We did insert in here the deposition of

11:59:37    8   Demetra Ashley, DEA head of diversion control in Chicago.

11:59:39    9   She took Joe Rann's place.       She said that pharmacies are

11:59:44   10   required to provide effective controls and policies against

11:59:48   11   diversion.    That's the law.

11:59:49   12          She said that the DEA advised pharmacies, but the way

11:59:52   13   they do it is by posting their case decisions, so you could

11:59:57   14   read by Holiday, you could read about Medicine Shoppe, you

12:00:01   15   could read about East Main, because it's there.

12:00:04   16          She also said pharmacies are the last line of defense

12:00:07   17   and that this epidemic has been raging since -- or occurring

12:00:11   18   since the early 2000s.

12:00:14   19          We had two last pharmacists.       Walmart called

12:00:18   20   Lori Militello to the stand.       Now, she's the one who, when I

12:00:24   21   challenged her on all the different patients that she's seen

12:00:27   22   and got her to admit, she doesn't know all of those

12:00:29   23   patients.    She can't do it all by just knowing who walks in

12:00:32   24   the door.    She wasn't even aware of how many trinity

12:00:35   25   prescriptions she had filled.
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12:00:36    1          And she testified that she talked to other pharmacists

12:00:38    2   to get information, but when I probed her with it with her

12:00:42    3   deposition, what she had said under oath a few months ago,

12:00:44    4   she admitted that she basically only spoke with other

12:00:46    5   pharmacists about transfers of prescriptions.

12:00:53    6          And she also, bless her heart, wasn't aware of the

12:00:56    7   opioid problem, prescription problem, until the last several

12:00:59    8   years, even though she is been practicing pharmacy for a

12:01:04    9   long, long time.

12:01:04   10          She didn't know about Walmart's multiple year delay in

12:01:07   11   providing OARRS to its pharmacists.

12:01:09   12          She was unable to satisfactorily address how she was

12:01:15   13   dispensing trinity cocktails to a hormone doctor patient,

12:01:21   14   patient of a hormone doctor.       Now, yeah, his doctor title

12:01:24   15   also says rehab, so maybe that was it.         She didn't have it.

12:01:30   16          We did get Deborah Mack played.        She's the Walmart

12:01:38   17   senior director of compliance practices.         And she's the one

12:01:40   18   who testified by a deposition, then, that blanket refusals

12:01:44   19   to fill policies were based on limited undocumented

12:01:47   20   conversations with a handful of Boards of Pharmacies, but

12:01:47   21   not Ohio's.

12:01:48   22          And the judge has a special instruction in there, that

12:01:51   23   you're not to assume the truth of those matters as to what

12:01:54   24   those policies may or may not have been in those states, but

12:01:58   25   you can assume that that might have been information that
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12:02:00    1   went towards the formulation of a policy by Walmart.

12:02:05    2            But she clearly had no testimony about Ohio, even

12:02:10    3   within that framework.

12:02:11    4            And then our last witness of the trial was Walgreens'

12:02:15    5   local pharmacist, Amy Stossel.        And she recognized that

12:02:19    6   Walgreens was seen as a funnel, or at least I quizzed her on

12:02:23    7   it, a funnel for Dr. Demangone.        But she was very

12:02:27    8   comfortable with her dispensing of Dr. Demangone.

12:02:31    9            She was the one who said red flags aren't always red

12:02:37   10   flags.

12:02:37   11            She was the one who said -- admitted that she had

12:02:41   12   filled questionable prescriptions.        She was the one who

12:02:46   13   talked about that one fellow whose fentanyl patch came off,

12:02:49   14   who was one of the ones that Carmen Catizone pointed out was

12:02:53   15   just inundated with opiates.

12:02:57   16            And she said, well, you know, he came in hurting.

12:03:00   17            And I asked her, can you distinguish pain from

12:03:02   18   withdrawal symptoms?

12:03:03   19            She said, well, no.

12:03:05   20            She's worked for Walgreens for years and was unaware

12:03:08   21   of their DEA settlements?       Walgreens can settle with the

12:03:14   22   DEA, settlements that require them to do -- or settlements

12:03:18   23   that prompt them to put in new policies that require them to

12:03:21   24   train, that require them to have these policies in place,

12:03:24   25   and she doesn't even know about it?
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12:03:31    1            And she claims to have known about red flags since the

12:03:34    2   mid 1990s.

12:03:35    3            Okay.   So that was it.

12:03:38    4            Oh, by the way, I would be remiss if I didn't tell you

12:03:42    5   she has also removed information from the notes fields, and

12:03:45    6   she's the one who didn't know how to fill out a Target Drug

12:03:48    7   Good Faith Dispensing -- that's the wrong initials -- should

12:03:51    8   be Target Drug Good Faith Dispensing checklist.           And did

12:03:56    9   admit that anybody filling a trinity is not doing it by

12:03:59   10   accident because you can see it.        You can see it in the

12:04:01   11   OARRS.

12:04:03   12            As for her documentation problems, she thought

12:04:05   13   imperative was a suggestion.

12:04:07   14            So with that, let's spend a little bit of time before

12:04:10   15   lunch looking at the instructions that the judge has for

12:04:14   16   you.   And in that regard, I want to not only put the

12:04:16   17   instructions down, but I want to talk to you about some of

12:04:19   18   the language and look at a couple of pieces of evidence that

12:04:22   19   may seem particularly relevant.

12:04:23   20            So the judge's instructions, he's already read them to

12:04:26   21   you, but you've got a copy.        There are a couple of things I

12:04:28   22   want to make sure that you're attentive to as you go back

12:04:33   23   there, recognizing that y'all are going to dialogue and get

12:04:42   24   debate, who remembers what, how, where, when, why, and

12:04:44   25   how -- what it should mean.        And so y'all go back there, but
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12:04:47    1   as you do, one of the first instructions that you'll see is

12:04:50    2   on Page 4 is this preponderance of the evidence, burden of

12:04:52    3   proof.

12:04:55    4            And this is the one that says I've got the obligation

12:04:57    5   to show something's more likely true than not.           Just that

12:05:00    6   greater weight.     Doesn't require proof to an absolute

12:05:06    7   certainly.    It doesn't require even proof beyond reasonable

12:05:09    8   doubt.    You can have a reasonable doubt.

12:05:11    9            And so I want you to go back there recognizing this,

12:05:15   10   not because I don't think we've proven this sufficiently.              I

12:05:22   11   think we've proven this to great conviction.          And I hope you

12:05:25   12   do too.    But there's a chance someone back in the room with

12:05:28   13   you may not see it the way you do, and so you're going to

12:05:31   14   need to be in a position to say, time out now.           This is

12:05:34   15   what's more likely than not.       That's the question.       That's

12:05:40   16   the burden.    And so I wanted to underscore that with you.

12:05:43   17            I also wanted to underscore with you a couple of other

12:05:46   18   things.    On Page 9 you're asked about the credibility of

12:05:50   19   witnesses.

12:05:54   20            I tried really hard to put on really strong witnesses

12:05:57   21   for you.    You know, these aren't my employees, though,

12:06:05   22   certainly some of them we reimbursed them for their time,

12:06:10   23   and I don't mean to detract from that at all.          And,

12:06:12   24   obviously, I think these companied need to put their

12:06:14   25   employees on the stand.      They've got it -- you've got to
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12:06:17    1   hear from them.     But you do recognize that they are

12:06:19    2   employees, and this is a major case, and their bosses are

12:06:24    3   paying attention, you would hope.

12:06:31    4          So all of that is stuff you take into account, but it

12:06:34    5   specifically becomes important on expert testimony.            And

12:06:36    6   this is on Page 11 of the judge's instructions.           That you

12:06:40    7   don't have to accept the opinions of an expert.           If you

12:06:42    8   decide that the opinion is not based on sufficient education

12:06:45    9   and experience, you can disregard the opinion entirely.

12:06:48   10          Now, I hope you recall, I tried really hard with these

12:06:53   11   experts to give you their CVs, their resumes.          And

12:07:03   12   they're -- they're voluminous.        You know, Anna Lembke's

12:07:06   13   resume goes on for pages and pages and pages with all that

12:07:12   14   she's done.    Not just Anna Lembke.      Even Carmen Catizone

12:07:16   15   goes on for pages and pages and pages of all that he's done.

12:07:19   16          If you look at these witnesses, you look at Dr. Keyes,

12:07:23   17   the woman who wrote the book, and it just goes on for pages

12:07:26   18   and pages and pages.      These are people who --

12:07:32   19   Caleb Alexander, the Johns Hopkins guy, I mean, it's -- we

12:07:35   20   brought you some of the best in the world in these subjects.

12:07:39   21   And if you compare them to people like Dr. Wailes

12:07:45   22   (indicating), whose CV bleeds over just barely -- actually,

12:07:53   23   it goes all the way to the end of the third page.

12:07:57   24          Now, this is the CV that is claiming board

12:08:02   25   certification with an entity that no longer exists, that
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12:08:05    1   lists -- you know, it just -- there's a difference.            And

12:08:12    2   it's not just him.     There are others.

12:08:15    3          You know, this is -- this is -- even William Choi,

12:08:18    4   look at what you had for him.       You know, look, not just even

12:08:24    5   the ones with the bigger resumes, like Murphy, look for

12:08:29    6   their work that had anything to do with this subject matter,

12:08:31    7   and it's, like, missing.      So that's what you've got on

12:08:34    8   expert opinion testimony.

12:08:36    9          In addition to that, there are a few other

12:08:38   10   instructions I want to draw your attention to.

12:08:40   11          Thank you.

12:08:40   12          One is corporate defendants on Page 16.

12:08:44   13          The conduct of an officer or employee acting within

12:08:48   14   the scope of his or her employment should be treated as the

12:08:52   15   conduct of the corporation.

12:08:54   16          So when we see conduct of employees, if it doesn't

12:08:59   17   measure up, if it's not adequate, that is imputed to the

12:09:03   18   organization for which they work.        And that's something you

12:09:07   19   should be taking into account.

12:09:09   20          Now, as we get to the actual law itself, it starts on

12:09:14   21   Page 17, where the judge talks about public nuisance law,

12:09:20   22   and in his introductory comments there are a couple of

12:09:23   23   things I'd like to draw your attention to.

12:09:24   24          First of all, he talks about how a public nuisance

12:09:28   25   includes an unreasonable interference with public health or
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12:09:32    1   public safety.

12:09:34    2          I can't think that anybody's going to dispute whether

12:09:37    3   or not there's a public nuisance in these counties.            There

12:09:42    4   clearly has been.     The evidence isn't, oh, more likely than

12:09:47    5   not, it's overwhelming.      Whether Pharmacist Cook has seen it

12:09:51    6   or not, it's overwhelming.

12:09:55    7          So, then, I've got to show, in accordance with this,

12:09:59    8   two things.    I've got to show either one of two things.

12:10:03    9   I've got to show either one or two.         I have got to show that

12:10:07   10   either the defendant engaged in intentional conduct that

12:10:11   11   caused a significant and ongoing interference with this

12:10:17   12   public right, or that they engaged in unlawful conduct with

12:10:23   13   the same result.

12:10:25   14          I think we've done both.       The intentional element is

12:10:28   15   certainly met.     They weren't accidently dispensing opiates.

12:10:32   16   They knew what they were doing.        The pharmacists claimed to

12:10:35   17   have been trained.     The companies claimed to be supplying

12:10:39   18   adequate policies and procedures.        There was clearly

12:10:43   19   knowledge of what was going on in place.

12:10:46   20          The conduct, poor, inadequate, or superb, was

12:10:55   21   intentional conduct each step along the way.          Nobody was

12:10:58   22   ever accidently doing anything at all here.          This isn't

12:11:01   23   where someone accidently dumped a bunch of lead into the

12:11:04   24   water supply without realizing that the lead in the paint

12:11:08   25   that they dumped in or something like that.          This was
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12:11:10    1   conduct that was understood and known from the beginning.

12:11:15    2   But it's also unlawful conduct.        And it only has to be one

12:11:18    3   or the other.

12:11:19    4          So if you're back there and you're saying, you know, I

12:11:21    5   think it was intentional because of this, that, and the

12:11:23    6   other, and someone says, no, I don't really see that,

12:11:27    7   remember, it can be unlawful instead.

12:11:29    8          The law -- now, does the law say you must document?

12:11:34    9   Well, no, and yes.     The law says you've got to follow

12:11:38   10   standard of care.     The law says you've got to do what is

12:11:43   11   reasonably to be done to prevent diversion.          And the

12:11:47   12   testimony after testimony after testimony, including the

12:11:50   13   defendants' policies at each of the three defendants says,

12:11:52   14   you must document.     It's imperative.      It must be done.     As

12:12:01   15   one of the witnesses said --

12:12:03   16          Who was our enforcement guy who said if it's not

12:12:06   17   documented, it's not done?

12:12:08   18                   MR. WEINBERGER:      Edwards.

12:12:09   19                   MR. LANIER:     Edwards.    Trey Edwards.      Called

12:12:12   20   by the defendants.     If it's not documented, didn't happen.

12:12:15   21   And that's just the way it is.

12:12:17   22          Now, you're not being asked to determine whether there

12:12:22   23   should be a remedy for this claim.         This may be the only

12:12:27   24   civil case you ever get called on where nobody's asking you

12:12:31   25   for money.    That's all in the Court's hands, what's got to
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                                    Closing Argument - Lanier

12:12:35    1   be done, what remedy there may be or may not be.           That's not

12:12:40    2   your question.

12:12:42    3           And I want to be really clear when I said that this is

12:12:44    4   a case that I believe has national ramifications, that's not

12:12:47    5   your concern either.      In answering the judge's questions,

12:12:52    6   your concern is these two counties and the actions of these

12:12:56    7   defendants as it has affected these two counties.           What

12:13:00    8   happens after that is not your concern.         All you've got do

12:13:05    9   is focus on that.     And that's what the judge is telling you

12:13:10   10   here.

12:13:11   11           Then the judge goes into great -- I don't want to

12:13:14   12   throw them at you -- on Page 19 where he talks a little bit

12:13:16   13   more about intentional conduct.        And he says this is conduct

12:13:20   14   done purposefully, not accidently.

12:13:23   15           Well, that's clearly what we've got here.

12:13:25   16           This is conduct where it says, it's not necessary for

12:13:27   17   you to find that the person intended to cause a public

12:13:30   18   nuisance.

12:13:33   19           You know, this is -- this is intent that they've got

12:13:37   20   to have intent.     They can't be doing this accidently.         And

12:13:40   21   the intent has to be one that's intentional conduct, that

12:13:45   22   they acted and knew or was substantially certain that

12:13:48   23   circumstances might interfere or would interfere.           It says

12:13:52   24   not might, would.

12:13:53   25           But I think all of their witnesses have said that.
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12:13:56    1   They all know that diversion can interfere and can be a

12:13:59    2   problem.    They all know they have corresponding

12:14:02    3   responsibility.     They all know if they don't have the

12:14:05    4   policies in place, that they're not where they need to be.

12:14:11    5   And that's always been intentional with all of them.            It's

12:14:14    6   never been an accident.

12:14:15    7            Number 20, Page 20, talks about the settlement

12:14:21    8   agreements.

12:14:22    9            You know, we were allowed to bring settlement

12:14:25   10   agreements, some settlement agreements to you and show them

12:14:28   11   to you.    There were provisions that we're not allowed to

12:14:32   12   tell you about in those agreements.         Rightfully so.     Because

12:14:35   13   the agreements themselves are not proof that something wrong

12:14:38   14   was done by these defendants in these counties.           But what

12:14:43   15   they are is notice to the defendants of what's going on in

12:14:49   16   their pharmacies.     And it's also relevant to us to see how

12:14:54   17   they've affected national policy because some of the

12:14:58   18   settlement agreements we were allowed to show you where it

12:15:00   19   required some changes by these defendants on a national

12:15:03   20   basis.    That's in a memorandum of understanding with

12:15:09   21   Walmart.    That's the agreement that CVS had out of the

12:15:11   22   Holiday case.    That's the agreement that Walgreens had.

12:15:16   23   Required changes.

12:15:17   24            Employee conversations, Number 21.       This is the one I

12:15:21   25   talked to you about on that Boards of Pharmacy.
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12:15:25    1            You've heard testimony from one or more of the

12:15:27    2   defendant employees about conversations with state boards of

12:15:30    3   pharmacies.    This evidence was admitted for a limited

12:15:32    4   purpose.    It's evidence of the defendants' knowledge or

12:15:35    5   intent, but not evidence of the official policy of any Board

12:15:42    6   of Pharmacy.    This idea that you couldn't do a blanket

12:15:44    7   refusal to fill, you don't have evidence of that being the

12:15:48    8   official policy of any state board, period.

12:15:51    9            Page 22 talks about the unlawful conduct.        Remember,

12:15:55   10   there are two different ways we can prove this:           One is

12:15:59   11   intentional, the other is unlawful.

12:16:01   12            Unlawful conduct, the judge said, can occur either by

12:16:05   13   acting in a certain way prohibited by law, or failing to act

12:16:09   14   in a certain way required by law.

12:16:12   15            Now, the law requires them to put processes into place

12:16:15   16   to stop diversion.     We contend that they didn't, especially

12:16:21   17   in a timely manner.

12:16:25   18            The judge said unlawful conduct occurs when a person

12:16:29   19   engages in a conduct prohibited by a statute, an ordinance,

12:16:33   20   a regulation that controls safety.        And we've given you

12:16:36   21   those.    We've given you the Controlled Substance Act and tis

12:16:41   22   requirements.    We've given you the regulations that were

12:16:42   23   formulated under that, and we've given you the

12:16:45   24   interpretation and application of those through various

12:16:47   25   cases that have been unfolded over time.
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12:16:49    1          The person does not need to know their conduct is

12:16:54    2   unlawful for an unlawful act to occur.

12:16:56    3          That's in layman's parlance -- I say layman's.           We

12:17:00    4   learned it in law school.       Ignorance is no excuse, I think

12:17:07    5   is the way we learned it.       But I went to law school in

12:17:09    6   Texas, Texas Tech, in Lubbock, Texas, the Hub of the Plains.

12:17:14    7   You've probably heard of it.

12:17:14    8          The person does not need to know their conduct is

12:17:18    9   unlawful.

12:17:18   10          A law controls safety if it imposes specific legal

12:17:22   11   requirements for the protection of the health, safety, and

12:17:25   12   welfare of others.

12:17:27   13          That's what we've here.      That's -- this is -- this

12:17:30   14   is -- this is exactly what we have here.

12:17:33   15          And if a person's conduct does not comply with what's

12:17:36   16   authorized by law, that conduct may be unlawful conduct.

12:17:42   17          The judge adds this:      The Federal and Ohio Controlled

12:17:46   18   Substances Act and their accompanying regulations do not

12:17:48   19   require strict or perfect compliance.         This is what I was

12:17:52   20   saying to you earlier.      Pharmacists aren't going to call it

12:17:55   21   right every time.     And I'm not here nitpicking on one or

12:17:59   22   another.    But substantial requirement -- compliance is

12:18:06   23   required.

12:18:07   24          Only unlawful conduct that causes a significant

12:18:09   25   interference with a public right to health or safety can be
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                                    Closing Argument - Lanier

12:18:12    1   a public nuisance.

12:18:13    2          So we've got to ask what is significant.          All right?

12:18:19    3   I mean, I think if one life is lost, it's significant.             I

12:18:23    4   think if one family's destroyed, it's significant.           But

12:18:27    5   we're not dealing with one family.        We're not dealing with

12:18:30    6   one life.    We're dealing with over 10 million pills.          We're

12:18:34    7   dealing with something much beyond that, and the

12:18:37    8   significance I don't think should be an issue.

12:18:39    9          Unlawful -- this conduct is further given by the judge

12:18:43   10   on Page 23 where he talks about entities that are authorized

12:18:47   11   to dispense controlled substances are required to provide

12:18:51   12   effective controls and procedures to guard against theft and

12:18:55   13   diversion.    That's the law.     And the judge explains it.

12:19:02   14          And he also adds that the pharmacists who fills

12:19:05   15   prescriptions has that corresponding responsibility to make

12:19:08   16   sure it's a legitimate medical purpose, and that that proper

12:19:13   17   dispensing extends to the pharmacy itself.          It's not simply

12:19:18   18   the pharmacist.     It extends to the pharmacy.

12:19:23   19          So, final point here, it's got to be knowingly, but

12:19:29   20   knowingly includes when a person acts with deliberate

12:19:32   21   ignorance or willful blindness to information in their

12:19:36   22   possession.    And they were certainly aware that these drugs

12:19:40   23   were highly addictive.      That's what it means to be a

12:19:43   24   Schedule II drug.     They certainly were aware of the dangers.

12:19:46   25   They certainly were aware of the potential problems, and
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12:19:49    1   they were aware of the risk of diversion.          So they can't be

12:19:54    2   willfully blind to any of that.

12:19:55    3            Now, the last couple of instruction pages that I want

12:19:57    4   to talk to you about --

12:19:58    5            And there are just a couple more, and then I'll sit

12:20:00    6   down, Your Honor.

12:20:01    7            -- is Page 24, causation.     Because the defendant's

12:20:06    8   conduct must have caused this interference, and the judge

12:20:09    9   says, let me explain something about causation.           There's

12:20:11   10   this legal word, proximate cause of a public nuisance.

12:20:15   11            Our youngest daughter, Sara, is in her first year of

12:20:18   12   law school right now.      She's taking torts, and one of the

12:20:21   13   things you learn in torts, you spend weeks on proximate

12:20:24   14   cause.    Y'all are getting it here and you didn't have to pay

12:20:28   15   tuition.    The judge has just given you a classic education

12:20:33   16   in proximate cause.

12:20:35   17            Here it is:   A defendant's conduct proximately caused

12:20:38   18   a public nuisance if the circumstances that constitute the

12:20:41   19   nuisance are the natural and foreseeable result of the

12:20:45   20   conduct.

12:20:46   21            In other words, it is natural and foreseeable if

12:20:50   22   there's going to be diversion that it's going to lead to

12:20:56   23   addiction and problems.      If there's going to be an

12:20:59   24   oversupply that can lead to diversion.         There's not anybody

12:21:04   25   who really challenged that.       Everybody -- witnesses for all
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                                    Closing Argument - Lanier

12:21:06    1   three defendants have admitted that they know that diversion

12:21:10    2   can lead to these problems, and that they are supposed to

12:21:16    3   safeguard against diversion.       Heavens, that's why we have

12:21:19    4   the Controlled Substances Act in the first place is because

12:21:20    5   this is foreseeable.

12:21:22    6          Now, here's the important.       There may be more than one

12:21:25    7   proximate cause of a public nuisance.         This goes back to,

12:21:30    8   you know, you flood the county with drugs or you flood your

12:21:33    9   house with water.     You can't say which bucket of water it

12:21:36   10   was that did the damage.      It's a bunch of them.       You know,

12:21:40   11   this was my analogy.      You've seen the same suit on me for

12:21:43   12   the last three weeks because I outgrew the other one that I

12:21:46   13   had to wear.    But it wasn't one cookie that did it.          I think

12:21:50   14   it was the lasagna.      I think it was the bread.       I think it

12:21:53   15   was the stack of cookies.       There is a place here that makes

12:21:56   16   a chocolate chip cookie that is to die for, or to diet for,

12:22:03   17   as the case may be.

12:22:04   18          To be a proximate cause, the acts or omissions -- and

12:22:07   19   the reason I say that is, look, I don't mind -- I blame the

12:22:10   20   doctors, I blame drug cartels, I blame the DEA, I blame the

12:22:15   21   FDA, I blame the Ohio Board of Pharmacy.         I blame a lot of

12:22:19   22   different people.     I certainly blame the manufacturers.         I

12:22:24   23   have no trouble and my witnesses have no trouble saying

12:22:27   24   there's a host of people to blame.        The question is, does it

12:22:32   25   include these chain pharmacies that you have in the
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12:22:35    1   courtroom?    And that's what you're being asked here.

12:22:38    2           Are they a part of the cause?

12:22:43    3           An individual defendant's conduct doesn't have to be

12:22:46    4   independently capable, all by itself, of causing the public

12:22:50    5   nuisance.    There may be multiple causes of a public

12:22:55    6   nuisance.    It just needs to be a substantial factor, and

12:22:59    7   it's substantial if a reasonable person would regard it as

12:23:02    8   the cause or one of the material, meaningful, or

12:23:05    9   considerable causes, which I think certainly is the case

12:23:09   10   here.

12:23:09   11           And so as you get back there, if anybody fusses over

12:23:13   12   some of this with you as you look at the issues, just go

12:23:17   13   back to the language of the judge's charge.          This is -- this

12:23:22   14   is -- this is it.     This is your touchstone.       This is it.

12:23:28   15           A defendant doesn't have to foresee their conduct

12:23:31   16   would lead to the specific nuisance that occurred, it just

12:23:34   17   needs to be foreseeable.

12:23:35   18           And so within the framework of that, last two pages.

12:23:40   19   26.   Public nuisance.

12:23:42   20           Is an interference with a public right.        It's not --

12:23:47   21   oh, this is, when it's significant.

12:23:50   22           An interference with a public right may range from a

12:23:52   23   petty annoyance to a serious harm.

12:24:00   24           You got your neighbor who is not mowing his or her

12:24:04   25   grass, and it's growing up kind of tall, and it's messing up
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12:24:08    1   your hayfever.     The odds are you're not going do that well

12:24:13    2   on a public nuisance case.       Okay?   This is not that kind of

12:24:18    3   a petty situation.     This is one where lives are changed,

12:24:22    4   families are altered, communities are devastated.           This is

12:24:26    5   serious.

12:24:26    6          An interference with a public right is not significant

12:24:29    7   or unreasonable if it causes only a relatively slight amount

12:24:32    8   of inconvenience.

12:24:34    9          An interference with a public right is significant or

12:24:38   10   unreasonable if it causes greater harm than the public

12:24:40   11   should be required to bear, considering all the

12:24:43   12   circumstances.

12:24:45   13          And that we have here.

12:24:46   14          So then the judge gives you your conclusion and tells

12:24:51   15   you what you will assign and what you will find, and I think

12:24:56   16   at some point at the end of the day he will give you the

12:24:58   17   questions that you will answer, and if need be, we'll talk

12:25:01   18   about those in my rebuttal.       But for now you have done the

12:25:06   19   road map, and we've done two of the stops.          We've done the

12:25:09   20   recap, we've done the judge's instructions.          My road map

12:25:12   21   detours from my closing for you to hear from CVS, Walmart,

12:25:15   22   and Walgreens after lunch, and then I'll give the finale at

12:25:19   23   the end of the day and y'all get the case.

12:25:21   24          So thank you, Your Honor, for letting me go this long.

12:25:24   25          Thank y'all for being so patient.
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                                                                                     7180


12:25:26    1                   THE COURT:     All right.    Thank you, Mr. Lanier.

12:25:29    2          And thanks, ladies and gentlemen, for extending

12:25:32    3   things, but I didn't want to break up the balance of the

12:25:37    4   closing.

12:25:38    5          So we will recess till 1:30.

12:25:40    6          Usual admonitions apply.       Do not discuss this case.

12:25:44    7   Do not encounter anything in the media.         And we will have

12:25:48    8   the closing arguments of Walgreens, Walmart, and CVS this

12:25:53    9   afternoon in whatever order they prefer, and then the last

12:25:57   10   few minutes of Mr. Lanier's closing.

12:25:59   11          So have a good lunch, and see you at 1:30.

12:26:03   12                    (Jury excused from courtroom.)

12:26:03   13         (Recess was taken from 12:26 p.m. till 1:29 p.m.)

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12:26:03    1                            AFTERNOON SESSION

01:29:36    2                    (In open court at 1:29 p.m.)

01:29:36    3                   COURTROOM DEPUTY:      All rise.

01:29:45    4                   MR. MAJORAS:     Your Honor, before we begin, I

01:29:46    5   have one issue.     John Majoras.

01:29:48    6                   THE COURT:     Okay.

01:29:48    7                   MR. MAJORAS:     We had talked about a potential

01:29:50    8   curative instruction related to the bolstering of expert

01:29:53    9   witnesses.    You had not given that.       I don't know whether

01:29:55   10   you ruled against that.      If not, I do have a proposal that I

01:29:59   11   can hand up.

01:29:59   12                   THE COURT:     All right.    What are you

01:30:01   13   suggesting?

01:30:05   14                   MR. MAJORAS:     I will hand this to you at the

01:30:06   15   other side.    Ms. Fumerton will do it.

01:30:14   16          And I'll read it into the record.        "It is up to you,

01:30:16   17   the jury, to decide the credibility of the witnesses you

01:30:20   18   have observed at trial.      Counsel views of their own

01:30:23   19   witnesses, paid or unpaid, or of the other side's witnesses

01:30:26   20   are not evidence and are irrelevant.         You should not

01:30:28   21   consider them in any way when rendering your verdict or

01:30:31   22   making your own determination regarding a witness'

01:30:34   23   credibility."

01:30:52   24                   THE COURT:     Well. . .

01:30:53   25          Well, this is what I'm going to say.         I'm going to
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                                                                                     7182


01:31:04    1   just say, "It is up to you, the jury, to decide the

01:31:07    2   credibility of the witnesses you have observed at trial.

01:31:10    3   Counsel's views of their own witnesses, paid or unpaid, or

01:31:15    4   of the other side's witnesses, are not evidence."

01:31:18    5          And I'll end it at that.

01:31:25    6                   MR. MAJORAS:     Thank you, Your Honor.

01:31:25    7                   THE COURT:     Because, you know, the rest is --

01:31:30    8   I think is surplusage.      I think we already -- I already have

01:31:34    9   a general instruction that counsel's questions and comments

01:31:37   10   aren't evidence, but I think in light of what was said, I

01:31:40   11   will -- I'll just read the first part.

01:31:42   12          Okay.   We can bring in the jury, please.

01:32:22   13                   And the reason is the jury may consider what

01:32:25   14   counsel say.    They're free to consider it.        They're free to

01:32:29   15   reject.   So my point is that their views are not evidence.

01:32:32   16   Counsel's views are not evidence.

01:32:38   17                     (Brief pause in proceedings.)

01:33:06   18              (Jury returned to courtroom at 1:33 p.m.)

01:33:06   19                   THE COURT:     Please be seated.

01:33:10   20          All right.    Ladies and gentlemen, before we have the

01:33:14   21   final arguments of each of the defendants, I want to remind

01:33:19   22   you that it is up to you, the jury, to decide the

01:33:22   23   credibility of the witnesses you've observed at trial.

01:33:26   24   Counsel's views of their own witnesses, paid or unpaid, or

01:33:30   25   of the other side's witnesses, are not evidence.
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01:33:34    1           Okay.   Who would begin?

01:33:37    2           Okay.   Mr. Swanson, for Walgreens.

01:33:48    3              CLOSING ARGUMENT BY DEFENDANT WALGREENS

01:33:48    4                    MR. SWANSON:    Thank you, Your Honor.

01:33:49    5           May it please the Court.

01:33:52    6           Good afternoon, ladies and gentlemen of the jury.

01:33:57    7           I haven't been before you for a bit.        Again, my name's

01:34:01    8   Brian Swanson, and I want to begin by letting you know that

01:34:05    9   it's been a real privilege, along with my partners, Kate and

01:34:12   10   Kaspar, to present our case to you on behalf of Walgreens

01:34:16   11   and its pharmacists.

01:34:18   12           Seems like a long time ago that Kaspar stood up and

01:34:23   13   told you in opening statements what we thought the evidence

01:34:25   14   was going to show in this trial.        But since that day, your

01:34:29   15   attention to this case, your patience, your curiosity, your

01:34:36   16   engagement has really been remarkable.         And our system of

01:34:39   17   justice doesn't work without folks like you who are willing

01:34:44   18   to step away from your daily lives and your jobs and your

01:34:49   19   activities and commit yourselves to resolving disputes,

01:34:54   20   really serious disputes like the one we have here.

01:34:58   21           So I want to begin on behalf of myself, my team, and

01:35:06   22   all of Walgreens by thanking you for your dedication to this

01:35:11   23   case.

01:35:11   24           Now, we've been here for a bit more than 6 weeks, and

01:35:15   25   I have about an hour in summation so I'm going to try to be
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                                   Closing Argument - Swanson

01:35:18    1   as efficient as I can be and cover three main areas.

01:35:23    2          First thing I want to talk about is the issues that

01:35:26    3   you will decide in this case.       Then I want to talk a bit

01:35:30    4   about Walgreens, its conduct and some of the allegations

01:35:32    5   that have been made against us, and then finally, I want to

01:35:35    6   talk about plaintiffs' failure to prove.

01:35:46    7          So, for the first time this morning, with the Court's

01:35:49    8   instructions, you learned very specifically what issues

01:35:52    9   you're being asked to decide and what law will guide you in

01:35:55   10   making those decisions.      And you may have been surprised,

01:36:00   11   given the presentation that you've heard over the past

01:36:02   12   several weeks, that you're not going to be asked to decide

01:36:04   13   whether Walgreens' pharmacists always complied 100 percent

01:36:10   14   with our policies.     And you're not going to be asked to

01:36:13   15   decide whether Walgreens' pharmacists always followed best

01:36:18   16   practices, or whether any Walgreens' pharmacists ever acted

01:36:27   17   negligently in filling prescriptions.         You're not going to

01:36:30   18   be asked to decide whether chain pharmacies are part of the

01:36:32   19   problem, as Mr. Lanier stated in his closing arguments.

01:36:37   20          In deliberations you're going to be asked to decide

01:36:39   21   two very specific questions, and I want to talk to you about

01:36:42   22   those now.

01:36:44   23          This is the verdict form that you'll be given when you

01:36:48   24   go back to begin your deliberations.         And you'll be given

01:36:51   25   one for Lake County and one for Trumbull County, but they're
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01:36:54    1   going to have the same questions that you're going to be

01:36:56    2   asked to decide.

01:36:57    3          The first one is did Lake County or Trumbull County

01:37:01    4   prove, by the greater weight of the evidence, that

01:37:05    5   oversupply of legal prescription opioids and diversion of

01:37:08    6   those opioids into the illicit market outside of appropriate

01:37:13    7   medical channels is a public nuisance in Lake County?

01:37:18    8          You will be asked the same question for Trumbull

01:37:21    9   County.

01:37:21   10          So, in other words, the first question is whether

01:37:23   11   plaintiffs have proven that, one, there's an oversupply of

01:37:27   12   prescription opioids, that there's diversion of those same

01:37:32   13   opioids, and that -- and that that diversion constitutes a

01:37:37   14   public nuisance in the county today.

01:37:39   15          Now, only if you answer that question yes will you be

01:37:44   16   asked to answer the second question, did Lake County prove

01:37:47   17   by the greater weight of the evidence that any of the

01:37:50   18   following defendants -- so, Walgreens, Walmart, CVS --

01:37:53   19   engaged in intentional and/or illegal conduct which was a

01:37:58   20   substantial factor in producing the public nuisance that you

01:38:02   21   found exists in Question 1?

01:38:07   22          Now, you heard the jury instructions this morning, and

01:38:10   23   I want to focus on a couple that we believe are important

01:38:12   24   for you in evaluating these two questions.

01:38:19   25          The first you can see, you're going to be asked
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01:38:21    1   whether there was intentional conduct, and the Court has

01:38:25    2   defined intentional conduct for you, and Mr. Lanier

01:38:28    3   mentioned this in his closing as well.

01:38:31    4           Intentional conduct occurs when a person acts with the

01:38:34    5   purpose to produce a specific result.         And Mr. Lanier said,

01:38:40    6   well, that's easy, because clearly we intended to dispense

01:38:46    7   opioid medicines.     But that's not the question.        The

01:38:48    8   question is whether we intended to produce a specific

01:38:52    9   result.    The specific result is what they've alleged here,

01:38:56   10   the diversion of opioids, overdoses, deaths, abuse.             They

01:39:02   11   have to establish that we intended to produce those specific

01:39:05   12   results.

01:39:09   13           He talked about illegal or unlawful conduct, and we

01:39:13   14   also have the instruction on that.

01:39:16   15           A violation of the corresponding responsibility occurs

01:39:18   16   when a person knowingly fills or allows to be filled an

01:39:23   17   illegitimate prescription.       They have to show that we

01:39:29   18   knowingly dispensed opioids based on prescriptions that

01:39:31   19   didn't have a legitimate medical purpose.          Not simply that a

01:39:36   20   pharmacist dispensed a prescription that was not legitimate.

01:39:39   21   Okay?   They have to establish that we did that knowingly.

01:39:44   22           And, finally, even if you were to conclude that there

01:39:49   23   was a pharmacist who had knowingly dispensed an illegitimate

01:39:56   24   prescription, they'd have to prove -- we're not required to

01:40:03   25   perfect compliance, only substantial compliance is required.
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                                   Closing Argument - Swanson

01:40:06    1   So even if you were to conclude that somebody had done

01:40:08    2   something wrong, we're not required to be perfect.

01:40:13    3            Now, I'm going to talk a lot more about these issues

01:40:16    4   and this law as we proceed down the road, but to start off,

01:40:19    5   I want to take a step back and look at the big picture in

01:40:25    6   the context of those questions that you have to answer and

01:40:28    7   the instructions that will guide you.

01:40:31    8            So here's what the undisputed evidence showed at

01:40:34    9   trial:

01:40:35   10            First of all, as pharmacies, we dispense medicines,

01:40:39   11   including opioid medicines.       We all knew that.      Those

01:40:43   12   medicines are approved for use by the FDA.          Every different

01:40:46   13   medication that we dispensed, Vicodin, fentanyl patches,

01:40:50   14   OxyContin, okay, the FDA has concluded that they have a

01:40:54   15   legitimate medical use.      And every expert witness who came

01:40:58   16   in for both sides acknowledged that these drugs are vitally

01:41:07   17   important for patients who need them.

01:41:09   18            These opioids medications, obviously, they are

01:41:12   19   regulated by the DEA.      You heard this morning and you heard

01:41:15   20   during trial the DEA sets the annual production quota for

01:41:18   21   opioid medicines every year.       They control the volume.

01:41:21   22            But the DEA also regulates pharmacies, like the chain

01:41:24   23   pharmacies.    All right?    If we want to dispense Class II

01:41:29   24   medications, we have to be registered with the DEA.            And you

01:41:32   25   heard from Mr. Rannazzisi and Ms. Ashley and others on that.
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01:41:36    1            The Board of Pharmacy in Ohio, they separately

01:41:38    2   regulate the pharmacies here.       Right?    They license us.

01:41:42    3   They inspect us.     They work with us on investigations.

01:41:46    4            The opioid medicines that we dispense, they're all

01:41:51    5   prescribed by doctors who themselves are registered with the

01:41:54    6   DEA and licensed by the state board of medicine.           And you

01:41:58    7   heard throughout trial, again, Mr. Lanier mentioned this

01:42:01    8   morning, the vast, vast majority of those doctors are good

01:42:08    9   doctors.    They are trying to do right by their patients.

01:42:10   10            We also know -- we also know that Walgreens, Walmart,

01:42:13   11   and CVS pharmacies in Lake County and in Trumbull County

01:42:18   12   have not faced any enforcement actions from the FDA.            All

01:42:23   13   right?    Not once has the DEA suspended or revoked the

01:42:29   14   registration for any of our pharmacies in Lake County or

01:42:32   15   Trumbull County.     Not once.

01:42:35   16            Neither has state Board of Pharmacy.       Right?    They

01:42:38   17   license us.    Not once have any of our pharmacies in

01:42:43   18   Lake County or Trumbull County had our license suspended or

01:42:48   19   revoked by the state.

01:42:51   20            And it's not like our pharmacies fly under the radar

01:42:54   21   here.    Right?   We're the big chain pharmacies.        We interact

01:42:57   22   constantly with the Board of Pharmacy and with the DEA.

01:43:04   23   Now, nothing new here.      You've heard all of this.        None of

01:43:08   24   it's disputed.     Why does it matter?

01:43:10   25            It matters because as you now know from the
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                                   Closing Argument - Swanson

01:43:15    1   instructions that are going to govern your deliberations, in

01:43:17    2   order to prevail, the plaintiffs have to prove that our

01:43:21    3   dispensing conduct was so egregious that we intentionally

01:43:26    4   were illegally oversupplied enough opioid pills to harm

01:43:30    5   entire communities to cause a public nuisance, an opioid

01:43:39    6   epidemic, in Lake and Trumbull County.         That's what they

01:43:41    7   have to prove.

01:43:42    8            But if they were right, that chain pharmacies were

01:43:45    9   intentionally or illegally flooding these communities with

01:43:49   10   opioids that were being diverted, surely the DEA or the

01:43:55   11   Board of Pharmacy or local law enforcement would have

01:43:57   12   noticed.    They would have done something.        The DEA knows how

01:44:02   13   to act.

01:44:04   14            Mr. Lanier, this morning, said that their budget was

01:44:07   15   strained and they didn't have the resources to keep up with

01:44:10   16   what was going on in pharmacies.        Well, that's just not

01:44:12   17   right.

01:44:14   18            Mr. Rannazzisi, from the DEA, came in and testified.

01:44:18   19   He said the DEA had a budget of $400 million annually.            He

01:44:24   20   oversaw, personally, more than 300 people, and the DEA had

01:44:27   21   1,200 field personnel across the country who could inspect

01:44:32   22   pharmacies and who could -- who would know what was going

01:44:35   23   on.

01:44:36   24            We saw that the Board of Pharmacy and law enforcement,

01:44:39   25   we know what they do when they see suspicious activity
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01:44:44    1   coming out of a pharmacy, they shut them down, like they did

01:44:48    2   with Overholt's.     Nothing like that happened with any of our

01:44:51    3   pharmacies in Lake County or Trumbull County.

01:44:53    4          And here's the thing, the plaintiffs could have

01:44:55    5   brought in any law enforcement officer or any Board of

01:44:58    6   Pharmacy agent, any member of the sheriff's department, any

01:45:01    7   local DEA officer, any narcotics agent to come in and talk

01:45:05    8   about the conduct of our pharmacists and our pharmacies, if

01:45:10    9   it were true, that we were intentionally or illegally

01:45:15   10   oversupplying these markets, or could have had someone talk

01:45:19   11   about our conduct today or 5 years ago or 10 years ago.

01:45:23   12          If such a person existed, plaintiffs could have

01:45:26   13   brought someone in from the counties to testify under oath

01:45:28   14   that our pharmacies were even a small fraction of the

01:45:32   15   problem in either county.       They brought in one law

01:45:36   16   enforcement officer.      You recall, he came up this morning,

01:45:40   17   Captain Tony Villaneuva.      By all accounts, he's a terrific

01:45:40   18   officer.    Right?   And I was reminded he was also on opioid

01:45:49   19   task force.    He does great things for his community in

01:45:51   20   Trumbull County trying to fight drug abuse.

01:45:55   21   Captain Villanueva didn't have a thing to say, not a thing

01:45:58   22   to say about any wrongful conduct of our pharmacies.            But we

01:46:08   23   saw in his communications with one of his deputies what he

01:46:11   24   felt about the problem in his county.

01:46:14   25          You recall seeing this, the e-mail from
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01:46:18    1   Joseph Dragovich to Mr. Villanueva, Captain Villanueva back

01:46:22    2   in 2019.    He said, it looks like we're in trouble with the

01:46:25    3   big three, cocaine, heroin, and fentanyl.          We need to take

01:46:30    4   down a few big dealers.

01:46:33    5            Talking about in 2019 the problem they were seeing in

01:46:37    6   Trumbull County, opioids, was heroin and was fentanyl.

01:46:42    7            Now, it's kind of ironic that it's the pharmacies who

01:46:47    8   called in more law enforcement officers to testify than the

01:46:50    9   plaintiffs did, but we did.       We brought in the two agents

01:46:54   10   from the Board of Pharmacy, Agent Pavlich and Agent Edwards.

01:47:01   11            Now, Mr. Lanier tried in closing to sort of downplay

01:47:08   12   the Board of Pharmacy, at least through their interactions

01:47:11   13   that they might have with us.       He said, well they only

01:47:14   14   inspect them once a year, and that's not enough to sort of

01:47:17   15   detect what's going on.      But you heard from them.       That's

01:47:19   16   not all that the Board of Pharmacy does.         They also conduct

01:47:23   17   investigations.     They conduct investigations of suspected,

01:47:28   18   excuse me, doctor shoppers.       Right?    The criminals who try

01:47:32   19   to go out and get prescriptions from different doctors and

01:47:34   20   get them filled.

01:47:35   21            And during those investigations they're going through

01:47:37   22   the PDMP data, they're going through OARRS.          They're trying

01:47:42   23   to figure out where these folks are filling their pills.

01:47:45   24   Right?    They know what pharmacies are doing.        It's not

01:47:48   25   invisible to the BOP what Walgreens, Walmart, and CVS are
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01:47:51    1   doing and what's being filled.        If they had suspicions, they

01:47:55    2   could have acted on those.

01:47:57    3            But neither of those individuals suggested that we had

01:48:00    4   any role in contributing to the crisis today.          Just the

01:48:04    5   opposite.    They both testified that the chain pharmacies

01:48:07    6   were their allies in fighting diversion, that when we saw

01:48:13    7   suspicious activity, we'd call them up so they could begin

01:48:17    8   investigations.     They both testified that our pharmacies

01:48:20    9   complied with the law, not violated it.

01:48:24   10            As you saw in the instructions, as jurors, you bring

01:48:27   11   your common sense to bear on the questions that you need

01:48:30   12   to -- that you're being asked to resolve, and when you

01:48:32   13   compare these facts on the ground in time versus the

01:48:36   14   allegations and the arguments that get presented to you at

01:48:38   15   trial by lawyers and experts, I think it shows that

01:48:42   16   plaintiffs' theory of liability doesn't hold together when

01:48:44   17   you consider what it is that plaintiffs actually have to

01:48:47   18   prove.

01:48:48   19            If we were acting with the intent to cause an opioid

01:48:54   20   epidemic in Lake County or Trumbull County, if we were

01:48:57   21   violating the law, you would have seen evidence of that from

01:49:01   22   law enforcement, or from the state regulators, or the

01:49:04   23   federal regulators.      But you didn't.

01:49:07   24            Okay.   I want to switch topics now and talk a little

01:49:12   25   bit about Walgreens and our conduct and the allegations that
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01:49:18    1   have been made against us.

01:49:19    2           I know that you all knew Walgreens coming into this

01:49:22    3   case.   I'm sure some or all of you had shopped there.           You

01:49:26    4   understand that we're pharmacies.        We have front store

01:49:30    5   operations, shampoo, your school supplies, but you can also

01:49:35    6   get your prescriptions filled.        But I hope that through

01:49:38    7   meeting and hearing from some of our people at different

01:49:41    8   levels in the organization you have a little bit better

01:49:44    9   sense of who we are and what we do, and in particular, I

01:49:50   10   hope that through the testimony, you have a sense of how

01:49:53   11   seriously our employees take their commitments to their

01:49:57   12   community.    So I want to reintroduce a few of them to you

01:50:00   13   from this morning.

01:50:01   14           The first is Amy Stossel.      This is her work picture.

01:50:06   15   She pulled down the mask.       You'd probably recognize her

01:50:09   16   better.   She was the last witness to testify.         She's a

01:50:12   17   Walgreens' pharmacist in Willoughby, Ohio.          And Ms. Stossel

01:50:17   18   testified that pharmaceutical diversion is a real concern to

01:50:22   19   her.    Of course it's a concern to her.       As she said, she's

01:50:27   20   living and raising her teenage son and her teenage daughter

01:50:31   21   in the community.

01:50:33   22           She testified about how important it is to Walgreens'

01:50:38   23   pharmacists that they consult with their patients and really

01:50:40   24   make sure their patients understand the medicines they're

01:50:44   25   taking.   And she said she always tried to take time to get
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01:50:47    1   to know her patients and ensure that they understood the

01:50:50    2   medications that they were being prescribed.

01:50:53    3          She told you about Walgreens' pharmacists in the real

01:50:56    4   life process for evaluating a prescription and the steps

01:50:59    5   that they take in filling a prescription, the different

01:51:04    6   things that she might do to resolve red flags that presented

01:51:07    7   with prescriptions that she saw.        And as Mr. Lanier noted,

01:51:10    8   and she testified, red flags are something that she's been

01:51:13    9   familiar with since she was back in pharmacy school.

01:51:17   10          Now, during his closing this morning, I need to

01:51:21   11   correct something.     Mr. Lanier said that Ms. Stossel

01:51:25   12   admitted that she filled questionable prescriptions.            That's

01:51:30   13   what I wrote down.     And that's just false.       And if he had

01:51:34   14   evidence of that, he would have showed you the testimony,

01:51:36   15   but he didn't.

01:51:38   16          Ms. Stossel talked about her IntercomPlus dispensing

01:51:44   17   system and all the information that it contains to help

01:51:47   18   pharmacists exercise their corresponding responsibility.

01:51:49   19   And you might recall this slide from her testimony when she

01:51:53   20   was on the stand.     So you got to see, for example, you know,

01:51:58   21   how the prescription got scanned in, and if you can put on

01:52:03   22   the little Post-it note on the prescription, and you saw

01:52:05   23   that there was a spot for patients' comments and prescriber

01:52:09   24   comments where pharmacists could put in information that

01:52:12   25   they learned from the patient or the prescriber when they
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01:52:15    1   communicated with them.      And there were little yellow

01:52:21    2   notepads, so if a pharmacist was coming in, they would know

01:52:23    3   if there were existent notes that they should be looking

01:52:27    4   when they were making a decision whether or not to fill.

01:52:29    5          Ms. Stossel also talked about our drug take back

01:52:32    6   kiosks at her store and about the free disposal pouches that

01:52:38    7   Walgreens offered to its customers, the commitment to

01:52:41    8   getting unused drugs off the streets so they can't be used

01:52:44    9   for medicine cabinet diversion.

01:52:47   10          Ms. Stossel is not some rogue pharmacist who cares

01:52:51   11   more about filling scripts than she does about the community

01:52:54   12   where she's raising her kids.       If the plaintiffs thought

01:52:59   13   that Walgreens hired those types of pharmacists, they would

01:53:03   14   have brought one in to testify so they can cross-examine

01:53:06   15   him.   But they didn't.     We heard from Ms. Stossel.       And

01:53:09   16   Ms. Stossel's not unique.       She's a typical Walgreens

01:53:12   17   pharmacist.

01:53:13   18          You saw this morning and heard from early in the case

01:53:19   19   Mr. Brian Joyce.     He was called by plaintiffs.        He was a

01:53:23   20   former district manager in Trumbull County.          He's recently

01:53:30   21   retired.    You'll recall he was also a licensed pharmacist

01:53:32   22   and he served on the Ohio Board of Pharmacy for a period of

01:53:35   23   time elected by Governor Strickland.

01:53:38   24          Mr. Joyce testified about the pharmacies in his

01:53:41   25   county, his interactions with law enforcement and the Board
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01:53:45    1   of Pharmacy agents when he encountered suspicious activity.

01:53:49    2   He was challenged about why he didn't put blanket refusals

01:53:53    3   on some doctors.     Why didn't Walgreens put blanket refusals

01:53:58    4   on some doctors, referring specifically to Dr. Veres, I

01:54:02    5   believe.

01:54:03    6          This is what he said:      He said, I don't think it's

01:54:06    7   good policy to cut any one doctor off completely because,

01:54:10    8   like I said, good doctors have a couple bad patients, bad

01:54:14    9   doctors have some good patients.

01:54:15   10          So why should you punish the folks that have

01:54:18   11   legitimate medical need for opioids or blood pressure or

01:54:21   12   insulin by just cutting them all off?

01:54:25   13          We live in a poor community where some folks walk to

01:54:29   14   the drugstore or take the bus to the drugstore.           It's a

01:54:32   15   major inconvenience when you are just carte blanche cut a

01:54:35   16   doctor off for -- cut a doctor off.         No more prescriptions

01:54:39   17   from Dr. Jones.

01:54:40   18          His view is that a pharmacist needs to take each

01:54:45   19   prescription as it comes to him or her, is to evaluate using

01:54:51   20   Good Faith Dispensing and make a decision based on the

01:54:54   21   prescription, not on the name of the doctor.

01:54:55   22          You recall that Agent Pavlich from the Board of

01:54:59   23   Pharmacy, what he had to say about Mr. Joyce.          He said

01:55:01   24   Mr. Joyce was an excellent pharmacist.         Always compliant.

01:55:05   25   Called the Board of Pharmacy if he had issues or concerns.
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01:55:09    1          Now, despite that, you might recall that Mr. Joyce was

01:55:13    2   also accused by the plaintiffs of putting profits over

01:55:15    3   patient safety.     And I hope you remember his reaction to

01:55:19    4   that charge and how offended he was as a pharmacist and a

01:55:24    5   Walgreens employee to be accused of that.

01:55:28    6          Tasha Polster.     She is our divisional vice president,

01:55:37    7   pharmacy quality, compliance, and patient safety.           She was

01:55:39    8   on the stand for 3 days, and she took some pretty aggressive

01:55:43    9   questioning from Mr. Lanier.       But she said some things that

01:55:46   10   I want to remind you about.       She talked about our Good Faith

01:55:50   11   Dispensing and Target Drug Good Faith Dispensing policies.

01:55:54   12   All right?    The policies that were targeted at helping

01:55:58   13   pharmacists execute their corresponding responsibility when

01:56:01   14   they filled opioid prescriptions.

01:56:04   15          Here's our policy from 1998.       You can see that it says

01:56:09   16   it's revised, so that's not the earliest policy, but it's

01:56:13   17   the earliest policy that we have in this case.           It says, the

01:56:17   18   pharmacist must use the elements of Good Faith Dispensing in

01:56:19   19   conjunction with the state and federal laws when they

01:56:23   20   dispense controlled substances.

01:56:26   21          You saw through these Good Faith Dispensing policies

01:56:31   22   that we were alerting our pharmacists to look for red flags

01:56:38   23   when they encountered prescriptions for opioid medicines.

01:56:43   24   And some of these will look familiar.         You see there's one

01:56:46   25   in there, look for unusual geographical distances between
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01:56:50    1   patient, pharmacist, and prescriber, or look for numerous

01:56:54    2   controlled prescriptions being written by the same

01:56:58    3   prescriber or numerous prescribers.         All right?

01:57:01    4           Walgreens was identifying red flags for its

01:57:06    5   pharmacists to look out for diversion even before what

01:57:11    6   Mr. Lanier calls phase 1 of the opioid epidemic.           Remember,

01:57:17    7   he says phase 1 began in 1999.        This is our 1998 policy.

01:57:22    8   And what Mr. Lanier told you in opening was that his expert,

01:57:26    9   Mr. Catizone -- and this is a quote -- is going to say that

01:57:28   10   defendants should have had in place from the beginning, not

01:57:32   11   after they get sued, not after they get written up, but from

01:57:36   12   the very beginning, they're supposed to have red flag

01:57:39   13   policies, and they didn't.

01:57:41   14           Well, for Walgreens, at least, we know that's just not

01:57:45   15   true.

01:57:45   16           Now, we know that Walgreens -- and you've seen the

01:57:49   17   evidence through Ms. Polster -- they had these Good Faith

01:57:55   18   Dispensing policies all the way up through the current day.

01:57:56   19   And we continued to revise them and augment them.           We'd

01:58:01   20   introduce new red flags to be on the lookout for when we

01:58:04   21   learned of, you know, criminals becoming more sophisticated

01:58:07   22   in their efforts to divert pills.        I'm not going to spend a

01:58:11   23   lot of time on those policies here, because when you go back

01:58:13   24   to deliberate, you're going to have access to them and you

01:58:15   25   can look at them for yourselves.        And when you do, I hope
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01:58:18    1   you'll ask yourself whether those policies, whether they

01:58:21    2   reflect a company that's intentionally or illegally trying

01:58:25    3   to oversupply opioids into Lake County and Trumbull County.

01:58:30    4          Now, a few other things that we learned from

01:58:34    5   Ms. Polster's testimony and the documents.          You recall, she

01:58:40    6   showed you some -- showed you a document and testified that

01:58:43    7   the Walgreens stores in Lake County and in Trumbull County

01:58:46    8   dispensed generally between 10 and 20 percent controlled

01:58:49    9   substances versus non-controlled.        And as Mr. Lanier said

01:58:52   10   this morning, that's below the DEA guidelines that you heard

01:58:55   11   from Mr. Rannazzisi.

01:58:58   12          She said that the cash payments for opioid

01:59:01   13   prescriptions at our stores in Lake County and Trumbull

01:59:06   14   County were all under 10 percent.        Most of the time they

01:59:08   15   were much lower.

01:59:09   16          Do you recall from Mr. Catizone, that's consistent

01:59:12   17   with the national average, that about 10 percent of the

01:59:14   18   population doesn't have insured -- insurance, so you would

01:59:17   19   expect about 10 percent of your patients coming to your

01:59:24   20   pharmacy would be paying in cash.

01:59:25   21          She also told you that Walgreens isn't perfect, but

01:59:28   22   she strove to be.

01:59:32   23          I think you know pharmacists face a difficult task.

01:59:35   24   They need to dispense opioid medicines to patients who are

01:59:38   25   legitimate and need them, and they need to try to figure out
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01:59:43    1   who are the criminals who are trying get them but don't need

01:59:46    2   them.   We heard about those criminals through Agent Edwards

01:59:49    3   and Captain Villanueva.      And we weren't perfect.

01:59:52    4           But now you've heard the jury instructions that tell

01:59:54    5   you, the question isn't whether we were perfect; the

01:59:58    6   question is whether we were acting intentionally or

02:00:04    7   illegally, and none of the evidence supports that.

02:00:06    8           Now, along with the Walgreens' witnesses who came in,

02:00:08    9   you also learned a bit about Walgreens through the Board of

02:00:12   10   Pharmacy agents who came in and testified.          That's

02:00:16   11   Agent Edwards and Agent Pavlich.        Agent Edwards told you --

02:00:22   12   recall, Agent Edwards was also with the Lake County

02:00:25   13   Narcotics Agency and also with the Board of Pharmacy.            And

02:00:27   14   he told you that the pharmacists at Walgreens and the chain

02:00:29   15   pharmacies, they were always helpful.         They were always

02:00:32   16   helpful in providing leads for doctor shoppers or suspicious

02:00:37   17   doctors.    They were a real value to the Board of Pharmacy in

02:00:41   18   trying to thwart diversion.

02:00:42   19           Mr. Pavlich said that the pharmacists at Walgreens and

02:00:45   20   the other chain pharmacies, they always cooperated with him

02:00:49   21   and his investigations and his inspections.

02:00:53   22           At the end of the day, not a single person came into

02:00:56   23   court and identified a Walgreens pharmacist who failed to do

02:00:59   24   their job or fulfill their corresponding responsibility in

02:01:04   25   Lake County or Trumbull County.
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02:01:08    1          Millions of documents produced in this litigation.

02:01:10    2   You saw no evidence, none, of a Walgreens pharmacist in

02:01:13    3   Lake County or Trumbull County with a revoked or suspended

02:01:17    4   license.    No evidence of any disciplinary proceedings

02:01:22    5   against a Walgreens pharmacist in Lake or Trumbull County.

02:01:26    6   No evidence of a Walgreens pharmacy in Lake or Trumbull

02:01:30    7   County ever losing or having their license suspended.

02:01:33    8          Now, I want to take a minute to respond to a couple of

02:01:36    9   specific allegations that were lodged against us this

02:01:38   10   morning and really throughout the trial.         But before I do

02:01:42   11   that, I want to clear -- I want to clear something up.

02:01:46   12          If you recall in openings, and it came up again this

02:01:49   13   morning, Mr. Lanier said a couple things that I want to

02:01:52   14   remind you about.     One of the things he said in opening was

02:01:58   15   that Walgreens collected and sold patient data to a company

02:02:02   16   called IMS.    He said we collected and sold data, patient

02:02:08   17   data to IMS so that IMS could turn around and sell it to

02:02:11   18   drug manufacturers for use or marketing.         That's what he

02:02:14   19   told you.    There was actually an entire episode in one of

02:02:18   20   his early binge watching journey called where data makes

02:02:26   21   money, is what he called it.

02:02:27   22          And then he said Walgreens did studies to figure out

02:02:30   23   how long it should take for its pharmacists to fill a

02:02:32   24   prescription.    He said Walgreens wanted to make sure that

02:02:34   25   the patients had to wait long enough to go do some shopping,
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02:02:38    1   but no so long that they'd leave.        All right?    So we were

02:02:42    2   trying to stall patients so they'd buy from us while waiting

02:02:45    3   to get their prescription filled.        He said we did studies on

02:02:48    4   that.

02:02:49    5           Neither one of those things is true, and in 6 weeks of

02:02:54    6   testimony and evidence, Mr. Lanier showed you no evidence

02:02:58    7   about either one.     And he's not going to show you today a

02:03:02    8   contract between IMS and Walgreens where we're selling

02:03:05    9   patient data to IMS.      And he's not going to show you a study

02:03:09   10   about how long we want our customers to wait, we want them

02:03:15   11   to wait long enough that they'll buy things at our store.

02:03:19   12   No evidence supports those allegations.         And I'll leave it

02:03:21   13   up to you to decide why he would say those things that he

02:03:24   14   can't prove.

02:03:25   15           So now let's turn to a couple of the issues that he

02:03:31   16   did raise during the evidence, and he sort of touched on it

02:03:34   17   briefly, but I think they're worthy of response.

02:03:36   18           The first thing he said was we were too little too

02:03:40   19   late on our policies, and that was kind of a refrain that

02:03:42   20   you heard throughout trial.       And the second thing he talked

02:03:44   21   about that I want to touch on is our filling for so-called

02:03:48   22   bad doctors, because we heard a lot about that through the

02:03:51   23   evidence.

02:03:54   24           So, too little too late on our policies.         Well, you

02:03:59   25   saw just a couple moments ago that we had red flag policies
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02:04:03    1   at Walgreens all the way back to at least 1998, which,

02:04:06    2   again, is before phase 1 of the epidemic as plaintiffs'

02:04:11    3   experts have opined.      It's also well before the Florida

02:04:16    4   settlement that Mr. Lanier kept saying was what egged us on

02:04:21    5   to change our policies.

02:04:21    6          The IntercomPlus system that you saw, that's been in

02:04:24    7   place since 1997.

02:04:26    8          Now, sure, we made improvements over the years.

02:04:31    9   20-plus years, of course we made improvements.           I would hope

02:04:33   10   we did.   We tuned up our policies like Good Faith

02:04:38   11   Dispensing.    As an example, you might recall in 2012, we

02:04:41   12   made it a requirement that if your state had PDMPs, we had

02:04:44   13   to check those before you dispensed an opioid medicine.

02:04:47   14   Didn't matter if that was a state law or not, it was a

02:04:50   15   requirement of our pharmacists under our Good Faith

02:04:53   16   Dispensing Policy.

02:04:54   17          We improved our change.      We upgraded our computer

02:04:57   18   system.   We coached our pharmacists.        That's what companies

02:05:00   19   are supposed to do.      They're supposed to strive to improve.

02:05:09   20   None of it changes how our pharmacists have always worked

02:05:11   21   and the tools that they've had.        A company that continually

02:05:14   22   improves and updates its policies and practices is not a

02:05:18   23   company that's acting intentionally or illegally to cause an

02:05:26   24   opioid crisis.

02:05:27   25          There was a lot of talk -- it didn't come up much this
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02:05:30    1   morning, but you heard a lot about it through trials -- or

02:05:31    2   through the trial about these so-called bad doctors that

02:05:33    3   plaintiffs said we filled for.        The first one I think came

02:05:36    4   up the most.    His name is Dr. Demangone.       You recall his

02:05:41    5   name coming up through trial.

02:05:43    6          Dr. Demangone is the same doctor who's currently

02:05:51    7   licensed by the state medical board practicing in

02:05:55    8   Willoughby, Ohio, and doesn't have any board actions against

02:05:57    9   him.   And doesn't have any board actions against him today.

02:06:01   10   And the plaintiffs haven't shown any disciplinary actions

02:06:04   11   against him or his clinic all through trial.

02:06:06   12          He also works at a clinic, Cleveland's Medical

02:06:10   13   Institute.    All right?    His clinic is currently licensed by

02:06:14   14   the Board of Pharmacy.      And he's a pain management doctor.

02:06:17   15   So you might recall when Agent Edwards was testifying, the

02:06:20   16   pain management clinics, they get inspected more frequently

02:06:23   17   than other clinics, every 1 to 2 years they get extra

02:06:28   18   scrutiny from the Board of Pharmacy.         Dr. Demangone and his

02:06:31   19   clinic are both currently licensed.

02:06:34   20          Now, Walmart and CVS, you might hear, they made a

02:06:42   21   decision at some point that they weren't going to fill

02:06:44   22   anymore for Dr. Demangone.       And that's okay.     But that's not

02:06:49   23   Walgreens' policy, as you've heard.         Our policy is to

02:06:53   24   evaluate each prescription independently and follow Good

02:06:59   25   Faith Dispensing.
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                                                                                     7205
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02:06:59    1          What's important to remember here when they talk about

02:07:05    2   our filling for Dr. Demangone, plaintiffs haven't shown you

02:07:08    3   a single prescription that Walgreens filled for

02:07:13    4   Dr. Demangone that was written for an illegitimate medical

02:07:20    5   purpose.    They haven't shown you that.       They said we filled,

02:07:24    6   but they haven't shown you a prescription that they said was

02:07:26    7   for an illegitimate medical purpose.         They haven't showed

02:07:28    8   you a prescription that we filled for Dr. Demangone that

02:07:30    9   they claim was diverted.

02:07:31   10          Now, if plaintiffs wanted to, they could have sent a

02:07:34   11   subpoena out to Dr. Demangone, brought him in,

02:07:39   12   cross-examined him and let you evaluate for yourselves what

02:07:42   13   you thought about him and his practices.         They could have

02:07:46   14   brought in an expert who could have looked at the

02:07:49   15   prescriptions that we filled for Dr. Demangone and told you

02:07:51   16   if those prescriptions were good, bad, or otherwise.            They

02:07:54   17   didn't do either of those things.        What they want to do is

02:07:57   18   rely on innuendo and the characterization of him by the

02:08:02   19   plaintiffs' lawyers.      But what the plaintiffs' lawyers say

02:08:05   20   isn't evidence.     What I say isn't evidence.       What any of us

02:08:07   21   say isn't evidence.      It's testimony and documents and facts

02:08:11   22   that are evidence.

02:08:11   23          Dr. Veres.    We heard a lot about Dr. Veres.        What do

02:08:15   24   we know about him?

02:08:17   25          Well, we know that he's currently licensed by the
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02:08:20    1   state medical board in Ohio.       Ms. Harrington at CVS

02:08:25    2   testified to that.

02:08:26    3            We know that plaintiffs haven't shown us any evidence

02:08:29    4   that his license was ever suspended or revoked or that he

02:08:32    5   was ever subject to disciplinary proceedings by the state

02:08:36    6   board.

02:08:37    7            Now, we also know that Walgreens, and specifically

02:08:40    8   Mr. Joyce down in Trumbull County, he was aware of

02:08:44    9   Dr. Veres, and he specifically asked the folks at the state

02:08:47   10   Board of Pharmacy to check him out because we had seen a lot

02:08:51   11   of prescriptions from Dr. Veres.        This was Mr. Joyce's

02:08:55   12   testimony about Dr. Veres.

02:08:56   13            He wrote a lot of controlled substances prescriptions

02:09:00   14   and I -- I asked the state board guy about him.           I thought

02:09:02   15   he should look into this guy.       He did, and he got back to me

02:09:06   16   that Dr. Veres kept impeccable records.         He wasn't -- he

02:09:11   17   didn't give prescriptions early.        He wasn't giving crazy

02:09:14   18   high doses.    He maintained his staff in a good way.          The

02:09:18   19   guy -- the agent visited the office a couple times.

02:09:22   20            So he didn't think that Dr. Veres was a huge or

02:09:25   21   wasn't -- wasn't anything they could do anything about, but

02:09:28   22   he was one of those doctors that you definitely wanted to

02:09:31   23   take a -- wanted to look at his prescriptions carefully.

02:09:34   24            So that's what Walgreens did.      That's what it

02:09:37   25   continued to do.     They continued to be careful with
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02:09:42    1   Dr. Veres's prescriptions, look at them closely, check OARRS

02:09:46    2   and follow Good Faith Dispensing.

02:09:49    3          Mr. Joyce also testified that we refused plenty of

02:09:53    4   Dr. Veres's scripts even while we filled for others.            That's

02:09:57    5   not unlawful.    That's not intending to cause harm.

02:10:01    6          And as with Dr. Demangone, we know that plaintiffs

02:10:05    7   haven't identified a single prescription that we filled for

02:10:08    8   Dr. Veres that they claim was written for an illegitimate

02:10:10    9   medical purpose.

02:10:12   10          Last doctor I want to touch on real briefly is

02:10:16   11   Dr. Franklin.    You'll recall, he was the one who was

02:10:19   12   connected to Overholt's.      He was being investigated by the

02:10:22   13   Board of Pharmacy and he was murdered.         But he was under

02:10:27   14   investigation, intense investigation by the Board of

02:10:29   15   Pharmacy.    And when Mr. Pavlich and Mr. Edwards came in to

02:10:33   16   testify, we asked them about Dr. Franklin.          This is what

02:10:39   17   Mr. Edwards said.      I asked him this question when he was on

02:10:42   18   the stand:    As part of this investigation into Dr. Franklin,

02:10:46   19   did you come to the conclusion that every patient who was

02:10:48   20   going to see Dr. Franklin was a pill seeker?

02:10:52   21          Answer:   No.

02:10:52   22          Were some of the patients who went to see Dr. Franklin

02:10:56   23   legitimate patients with legitimate need?

02:10:57   24          I believe so.

02:10:59   25          And I raise that because that's an important point.
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02:11:06    1   Agents who came in here from the Board of Pharmacy, they're

02:11:09    2   the ones who are on the ground who actually know the doctors

02:11:12    3   in the community.     They're responsible for licensing the

02:11:15    4   pain doctors, or the clinics of the pain doctors.           And they

02:11:19    5   told you even some of these so-called bad doctors, the high

02:11:22    6   prescribers, the questionable doctors, they have good

02:11:25    7   patients who need care, who need to have their prescriptions

02:11:29    8   filled.

02:11:33    9          So at the end of the day, with Dr. Demangone and

02:11:36   10   Dr. Veres, all we know is that we filled prescriptions for

02:11:40   11   two doctors who are licensed by the state and registered

02:11:43   12   with the DEA.    That doesn't prove, I submit, anything.

02:11:47   13          Okay.    I want to turn now to some of the failures in

02:11:53   14   plaintiffs' case, particularly when it comes to causation.

02:11:59   15          You'll see that when they were trying to put together

02:12:02   16   their causation case, they leaned pretty heavily on the

02:12:06   17   analysis of doctor -- excuse me -- Mr. Catizone, and we

02:12:10   18   heard about him this morning.

02:12:11   19          I want to be clear, Mr. Catizone was the head of the

02:12:14   20   National Association of Board of Pharmacies.          That's a trade

02:12:19   21   organization.    Okay?    It's not the National Board of

02:12:23   22   Pharmacies.    It's the national -- it's -- the state boards

02:12:26   23   come together and it's a trade organization.          That's what he

02:12:30   24   was the head of.     He was he never a member of any Board of

02:12:33   25   Pharmacy.
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02:12:33    1           And he acknowledged that he hasn't dispensed a

02:12:36    2   medication in 20 years or so.

02:12:38    3           You'll recall his red flag analysis.        We spent a whole

02:12:41    4   lot of time, a lot of back and forth on his red flag

02:12:44    5   analysis.    Here's the shortcoming with that analysis.

02:12:49    6   Nobody disputes that red flags are important.          Right?    We

02:12:54    7   can quibble about some of his specific red flags, whether

02:12:58    8   25 miles to a doctor is a legitimate red flag or not.            But

02:13:02    9   every pharmacist who came in and testified for Walgreens and

02:13:04   10   the other pharmacies, they said they're familiar with red

02:13:11   11   flags, and that they evaluate these red flags, questions,

02:13:14   12   concerns, with every prescription.        Every pharmacy had

02:13:17   13   policies that included red flags.        You saw ours back to

02:13:22   14   1998.

02:13:23   15           The issue with Mr. Catizone's analysis is not that

02:13:26   16   what he calls red flags are never red flags.          That's not the

02:13:29   17   problem.    The problem is his insistence that they are always

02:13:33   18   red flags.    And what you've heard from the pharmacists who

02:13:39   19   come in and testify is that his red flags, yeah, some of

02:13:42   20   them, they might be red flags sometimes.         Paying cash, that

02:13:44   21   might be a red flag.      It might not be.     It depends on the

02:13:47   22   circumstances.     The distance you travel to see your doctor

02:13:50   23   or go to your pharmacy, that can be a red flag, but it might

02:13:54   24   not be.    It depends on too many circumstances that

02:13:57   25   Mr. Catizone couldn't capture by just applying an algorithm
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02:14:01    1   across data.

02:14:02    2          Now, Mr. Catizone did make two very important

02:14:05    3   concessions that are relevant to his analysis that I want to

02:14:08    4   remind you about.     He talked about his -- all the red flags

02:14:14    5   being applied, and he was asked by Mr. Fumerton:           You agree

02:14:18    6   that just because a prescription flags under one of your 16

02:14:21    7   red flags, that doesn't mean that it was written for an

02:14:24    8   illegitimate medical purpose; right?

02:14:26    9          He agreed, that's correct.

02:14:28   10          Would you also agree that it does not mean that the

02:14:31   11   medicine that was dispensed to fill that prescription was

02:14:33   12   diverted?

02:14:36   13          He said correct, I agree with that.

02:14:37   14          So just because a prescription flagged on his

02:14:41   15   methodology doesn't mean that it was written for an

02:14:44   16   illegitimate medical purpose, and obviously it doesn't mean

02:14:46   17   that it was diverted.      It just meant it was a question, like

02:14:49   18   everyone -- like every pharmacist testified to.           It was a

02:14:52   19   concern.    It was reason to follow up.

02:14:54   20          So for Mr. Catizone, the sole issue became whether he

02:14:58   21   saw sufficient documentation to convince himself that the

02:15:03   22   pharmacists looking at the prescription had resolved that

02:15:06   23   red flag to Mr. Catizone's satisfaction.

02:15:08   24          So we talked a lot, a lot about documentation.           And

02:15:12   25   there was some confusion there because at first, as you'll
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02:15:17    1   recall, Mr. Catizone said that the documentation was

02:15:20    2   required under the Controlled Substances Act.          But then we

02:15:25    3   heard from the DEA witnesses who came in, Ms. Ashley and

02:15:30    4   Mr. Rannazzisi.

02:15:33    5            Ms. Ashley was asked, there's no federal requirement

02:15:36    6   to document the resolution of red flags?         Is that what you

02:15:39    7   said.

02:15:40    8            Answer:   To document the resolution, not that I

02:15:42    9   recall, no.

02:15:42   10            Mr. Rannazzisi, are you aware of any steps or

02:15:45   11   regulation from your time at the DEA that states that a

02:15:48   12   pharmacist must document the resolution of red flags on

02:15:51   13   prescriptions?

02:15:51   14            Answer:   Again, during my time at the DEA, I don't

02:15:56   15   recall any -- any document that states that, no.

02:16:00   16            So then Mr. Catizone said, well, it's actually, it's a

02:16:03   17   state law.    It's a state law requirement.        But you'll

02:16:06   18   notice, he didn't show you any statutes or any regulations

02:16:09   19   from Ohio that talked about documenting resolution of red

02:16:13   20   flags.

02:16:14   21            And then we had two witnesses who had come in to

02:16:17   22   testify who could have testified about such a state law,

02:16:20   23   such a statute, such a regulation if it existed.           We had the

02:16:24   24   two guys from the Board of Pharmacy come in.          And it's their

02:16:28   25   job to enforce the pharmacy laws and regulations in the
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02:16:31    1   state.    If there was a state law that required

02:16:34    2   documentation, they would have been asked about it and you

02:16:36    3   would have been told about it.        But they didn't ask them

02:16:39    4   about that.

02:16:40    5            Nobody who came in and testified identified a specific

02:16:46    6   Ohio statute, law, regulation that requires documentation.

02:16:52    7   Okay.    You didn't see it.

02:16:54    8            This is what Mr. Edwards, from the Board of Pharmacy

02:16:58    9   said about it.      First of all, it's a good practice to write

02:17:04   10   down your work when you're resolving a red flag; right?

02:17:07   11            Yes, correct.

02:17:08   12            Now, there's no dispute about that.       As you heard this

02:17:11   13   morning, we have it in our policy to document the resolution

02:17:13   14   of red flags.

02:17:14   15            Not necessarily required by law.      Good practice.

02:17:17   16            Correct.

02:17:18   17            Okay.   Now, a pharmacist could do the hard work and

02:17:21   18   the careful work to resolve a red flag but not write down

02:17:24   19   what she or he did; right?

02:17:27   20            The answer:   Correct.

02:17:29   21            Now, that last line is important because in this case,

02:17:33   22   there's not evidence of inadequate due diligence or that no

02:17:38   23   due diligence was performed on the prescriptions that

02:17:42   24   Mr. Catizone looked at if there wasn't documentation.            His

02:17:46   25   only point is that he can't tell if there's no
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02:17:49    1   documentation.     But nobody can say whether due diligence was

02:17:52    2   performed on those prescriptions or not.

02:17:56    3            And this is important because the plaintiffs can't

02:17:59    4   claim that we're violating a law if that law doesn't exist.

02:18:05    5            Okay.   So let's look a bit more at -- a bit more

02:18:08    6   closely in a bit more detail into plaintiffs' causation case

02:18:13    7   and where it fails.

02:18:15    8            As you've heard from the jury instructions, and as I

02:18:18    9   mentioned a bit earlier, in order to prevail, plaintiffs

02:18:21   10   have to prove that Walgreens was a substantial, a

02:18:27   11   substantial factor in causing the opioid epidemic in

02:18:30   12   Lake County and in Trumbull County.         And Mr. Lanier talks a

02:18:34   13   lot about volume.     But volume doesn't really tell you all

02:18:38   14   that much as we'll see.

02:18:40   15            So let's talk about Mr. Catizone's and Dr. McCann's

02:18:46   16   analysis for a moment.      Touched on this -- Mr. Lanier

02:18:48   17   touched on this earlier.

02:18:50   18            What happened is we produced all of our dispensing

02:18:52   19   data for opioid medicines from 2006 to 2019.          So 14 years

02:19:00   20   worth of data.     And what they did with that is Mr. Catizone

02:19:05   21   gave his 16 red flags that he talks about, he gave those to

02:19:09   22   Dr. McCann and then Dr. McCann created algorithms so that he

02:19:13   23   could run through that data and try to catch these red

02:19:17   24   flags.    And you'll recall, you know, Dr. McCann, he had to

02:19:21   25   fill in some gaps, and he made up some numbers.           But at the
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02:19:24    1   end of the day his computer system spit out the results.

02:19:28    2   Right?

02:19:29    3            Dr. McCann said, okay, this is the percentage of

02:19:33    4   defendants' opioid prescriptions that hit on red flags.            And

02:19:38    5   it was a little curious, but when Dr. McCann was on the

02:19:40    6   stand, Mr. Lanier didn't ask him what that percentage was.

02:19:45    7   Right?    It was at cross-examination when Ms. Swift was

02:19:48    8   asking questions that she asked Dr. McCann, what is that

02:19:52    9   percentage from the defendants that hit on red flags?

02:19:58   10            Ms. Swift:   So you want to figure out the percentage

02:20:01   11   of opioid prescriptions flagged for all the defendants, and

02:20:04   12   then they talk about some math.        What do you get for the

02:20:07   13   percentage?

02:20:08   14            19.14 percent.

02:20:10   15            So roughly 20 percent of the prescriptions that the

02:20:14   16   defendants filled for opioid medicines hit on one of

02:20:18   17   Mr. Catizone's red flags.       And then they confirmed that in

02:20:22   18   one of the drawings that there's that 19.14, you see that?

02:20:27   19   That's a flag opioid prescriptions.

02:20:32   20            So what that means is even by Mr. Catizone's analysis

02:20:36   21   and Dr. McCann's analysis, 80 percent, 80 percent of the

02:20:42   22   opioid prescriptions that we dispense weren't red flags.

02:20:47   23   They weren't concerns under Mr. Catizone's analysis.            Not

02:20:52   24   even Mr. Catizone says that we should have blocked or

02:20:54   25   refused to fill that 80 percent.
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02:20:58    1            So when Mr. Lanier talks about volume, it's important

02:21:00    2   to remember that his own expert said that from our own data,

02:21:04    3   80 percent of what we dispensed was not problematic and not

02:21:07    4   a red flag.

02:21:12    5            So I put together a slide to show you how the

02:21:18    6   causation claim would work in this case using Mr. Catizone's

02:21:22    7   and Dr. McCann's analysis.

02:21:25    8            So you have on the top -- I've been linking it out to

02:21:29    9   what plaintiffs have to prove.        So you have our dispensing

02:21:32   10   data here at the top.      Right?   That then Dr. McCann and --

02:21:39   11   or Dr. McCann and Mr. Catizone then applied the red flags,

02:21:42   12   and so they could determine which of those prescriptions are

02:21:45   13   red flags and which are not red flags.         Right?

02:21:49   14            But then of the ones that are red flags, you have to

02:21:52   15   determine which of those are legitimate and which were not

02:21:57   16   legitimate.    Because as Mr. Catizone told you, just because

02:22:00   17   it's a red flag doesn't mean it's illegitimate.           You can

02:22:03   18   resolve a red flag.      So you have to put in the buckets which

02:22:08   19   of those flags are legitimate and which are not legitimate.

02:22:15   20   Right?    And then once you've determined which are not

02:22:17   21   legitimate, then they have to show -- if we dispense any

02:22:20   22   illegitimate prescriptions, did we do that knowingly or

02:22:24   23   intentionally.     They have to prove that.      And then they have

02:22:27   24   to show, for any of those flagged prescriptions that were

02:22:30   25   not legitimate that we knowingly dispensed, were they a
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02:22:34    1   substantial factor in the current crisis in Lake County or

02:22:42    2   Trumbull County.

02:22:42    3            Okay.   That's how the causation chain works.       That's

02:22:44    4   what they need to show.

02:22:45    5            So let's look at what plaintiffs actually proved.

02:22:48    6            Again, he took the dispensing data.       They did the red

02:22:55    7   flags.    Said 80 percent were flagged.       20 percent -- or

02:23:00    8   80 percent were not flagged and 20 percent were flagged by

02:23:04    9   Dr. McCann.

02:23:06   10            So what about this 20 percent of flagged

02:23:10   11   prescriptions?     There's no witness who said that any of

02:23:12   12   those were illegitimate, only that they hit on Dr. McCann's

02:23:18   13   algorithm.

02:23:20   14            As far as we know, those 20 percent of prescriptions,

02:23:23   15   they're all legitimate.      They were red flags that could have

02:23:25   16   been resolved.     Certainly Mr. Catizone never said that those

02:23:32   17   20 percent were all illegitimate.

02:23:37   18            He doesn't have any idea what percentage of that

02:23:39   19   20 percent was written for a legitimate medical purpose

02:23:43   20   versus an illegitimate medical purpose.         And it's

02:23:49   21   plaintiffs' burden here to prove that we knowingly dispensed

02:23:53   22   illegitimate medicines.      That's their burden.

02:23:57   23            And Mr. Catizone's analysis doesn't do that.        There's

02:24:00   24   not any evidence to show that some number of those were

02:24:05   25   legitimate, some number were not legitimate.          And there's no
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02:24:07    1   evidence to show that if any were illegitimate, that they

02:24:11    2   were a substantial factor of any crisis in the counties

02:24:15    3   today.

02:24:19    4            You've seen the instructions, right?       Plaintiffs have

02:24:23    5   to show that our conduct was a substantial factor in what's

02:24:27    6   going on in the counties today.        And there's a gap in the

02:24:31    7   evidence.    They can't show that we're a factor at all.

02:24:36    8            Okay.   The last thing I want to talk about is to again

02:24:39    9   take a step back and look at the true causes of the opioid

02:24:45   10   crisis in Lake County and in Trumbull County.

02:24:49   11            Remember Dr. Keyes?    We saw her picture earlier today.

02:24:52   12   She was the epidemiologist.       And she used the analogy of a

02:24:57   13   water tap and a spigot in her testimony.         You might remember

02:25:02   14   she was describing epidemiology, and she talked about that

02:25:05   15   well in London, remember, where people were contracting

02:25:10   16   cholera and the epidemiologists figured it out.

02:25:13   17            But then she came back to that analogy when she was

02:25:16   18   asked some questions by Mr. Lanier about how she said

02:25:21   19   pharmacies were the last line of defense, and then she

02:25:24   20   talked more about that spigot analogy.         She said that

02:25:28   21   pharmacies were the ones who can turn off that spigot.

02:25:32   22            So this is sort of the plaintiffs' view of the world

02:25:36   23   in this case, that you have a legal supply of opioids, and

02:25:40   24   pharmacies are down there responsible for controlling the

02:25:44   25   spigot and how much comes out.        But -- and, you know,
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02:25:49    1   Mr. Lanier acknowledged this earlier today, plaintiffs' own

02:25:53    2   experts and their witnesses and plaintiffs themselves, they

02:25:55    3   told you about the real causes of the opioid epidemic in

02:25:59    4   Lake County and in Trumbull County.         They've told you what

02:26:02    5   the substantial factors are in their view.

02:26:08    6          Start with manufacturers.       Dr. Lembke.    We talked

02:26:11    7   about her this morning.       She was one of the first witnesses.

02:26:14    8   She talked, you'll recall, about how companies like

02:26:18    9   Purdue Pharma had gone out and misled doctors about the

02:26:22   10   addictive nature of these medications.         She didn't blame

02:26:25   11   pharmacies for the opioid problem until she got hired by

02:26:28   12   plaintiffs in this case.      But she wrote a book, you saw this

02:26:31   13   morning, back in 2016, where she blamed the manufacturers,

02:26:34   14   drug dealer M.D.     Right?

02:26:36   15          Dr. Keyes, the epidemiologist, she also said that

02:26:40   16   manufacturers are at fault for the opioid crisis.

02:26:43   17          So did Dr. Alexander.      You saw him.     He testified to

02:26:48   18   Congress about the same thing.        He didn't blame the

02:26:50   19   pharmacies, he blamed the manufacturers.

02:26:52   20          So all those people claimed that the manufacturers

02:26:54   21   should have turned off or turned down that spigot years ago.

02:26:59   22          FDA.   They approved every opioid medicine that we

02:27:04   23   dispense.

02:27:04   24          Dr. Keyes testified that if the DEA -- excuse me, the

02:27:09   25   FDA -- I'm missing a letter in there -- had done its job and
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02:27:13    1   manufacturers had been more responsible, there wouldn't be

02:27:15    2   an opioid crisis today.

02:27:18    3          Dr. Lembke and Dr. Alexander, they agreed.          They

02:27:22    4   thought the FDA was too lax in approving these medications.

02:27:25    5   The FDA could have turned down this spigot by not approving

02:27:29    6   medicines or putting restrictions on their use.           Okay?

02:27:31    7          The DEA, we've heard a lot about them.         They set the

02:27:35    8   quotas for the volume of opioids that can be manufactured

02:27:38    9   every year.    They also register the doctors who can write

02:27:40   10   the prescriptions for opioids.        They have all this

02:27:44   11   interesting data in ARCOS that you heard about where they

02:27:47   12   can track where the pills are going and see if there's

02:27:49   13   suspicious activity.

02:27:51   14          Dr. Keyes faulted the DEA for the opioid epidemic.

02:27:56   15   Dr. Alexander told Congress that the DEA was at fault.            They

02:28:00   16   could have turned off or turned down the spigot at any time.

02:28:03   17   They could have reduced quotas.        They could have stopped

02:28:08   18   registering bad doctors.

02:28:09   19          Distributors.      You didn't hear a lot about them in

02:28:12   20   this case.    But the independent pharmacies like Overholt's

02:28:15   21   and the pill mills, if it ravaged these communities, they

02:28:19   22   need to get their supplies that comes through these

02:28:21   23   distributors.    Right?    Dr. Keyes said that these

02:28:23   24   distributors, they were a causal factor in the crisis in

02:28:26   25   Lake and Trumbull County.
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02:28:27    1            State Board of Pharmacy, we've talked about them.

02:28:29    2   They license doctors who write -- excuse me -- they license

02:28:32    3   the pharmacies and they police the conduct of the bad

02:28:36    4   pharmacies like Overholt's.       They can turn down that spigot,

02:28:40    5   right, by not approving pharmacies or by like sniffing out

02:28:44    6   the bad ones.

02:28:45    7            The state medical board, they license the doctors who

02:28:48    8   write the prescriptions.      Right?    They discipline the bad

02:28:52    9   ones.    They control that spigot.      They can take away

02:28:55   10   licenses from the bad prescribers.

02:28:58   11            Here's the big one, the prescribers themselves, right?

02:29:01   12   We all know that it's the prescribers who control the

02:29:07   13   demand.    Pharmacists don't create demand.        We fill

02:29:09   14   prescriptions that are written by prescribers, and we know

02:29:11   15   the vast majority of these prescribers are good doctors.

02:29:14   16   But even good doctors, they write a lot of prescriptions.

02:29:18   17   Right?    Dr. Lembke said that.     Dr. Alexander said that.

02:29:22   18   Dr. Keyes said that.

02:29:23   19            Dr. Keyes said the crisis never would have happened if

02:29:26   20   the doctors didn't prescribe the way that they did.

02:29:30   21            Prescribers, they have the greatest control over the

02:29:36   22   spigot.

02:29:36   23            All right.   Let's talk about pharmacies.       We'll get

02:29:38   24   there.    Talk about pharmacies.      Not just the chain

02:29:40   25   pharmacies, it's also the independents; right?           Pharmacies
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02:29:43    1   include the bad actors like Overholt's we heard about.

02:29:46    2   Nothing that Walgreens can do about Overholt's.           The Board

02:29:50    3   of Pharmacy can do something about them, the DEA can, but

02:29:53    4   Walgreens can't.

02:29:56    5          Right?   Those independent pharmacies, they have

02:29:59    6   control of that spigot.

02:30:00    7          But what we know is that the big problem in

02:30:03    8   Lake County and Trumbull County today is largely driven by

02:30:07    9   illegal and illicit drugs like heroin, like fentanyl, like

02:30:16   10   counterfeit pills.

02:30:19   11          Captain Villanueva, he spoke about all of these in his

02:30:22   12   testimony.

02:30:24   13          So when you look at all of this evidence and all of

02:30:27   14   these different actors, to claim that the chain pharmacies

02:30:31   15   control the spigot of all the opioids that are going down

02:30:34   16   into that basin is just not credible.

02:30:39   17          And when you think about Walgreens' role in all of

02:30:42   18   this, I want you to remember a couple of other things we

02:30:44   19   looked at.    Remember when Mr. Brunner came in and he showed

02:30:49   20   you some slides on market share.        Right?   So you go back.

02:30:55   21   Walgreens were just one of the many, many pharmacies in the

02:30:58   22   one -- in the one spigot, we have 14 and a half percent

02:31:05   23   market share combined in Lake County and in Trumbull County.

02:31:10   24          We're 13 out of 130 pharmacies in both of those

02:31:15   25   counties.
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02:31:18    1          It's true that there can be more than one cause of a

02:31:21    2   nuisance, but the plaintiffs have to prove that Walgreens

02:31:25    3   was a substantial factor, and against all of this evidence,

02:31:30    4   they can't do that.

02:31:33    5          All right?    So with that in mind, I want to conclude

02:31:36    6   by returning to the verdict form that I showed you at the

02:31:39    7   beginning, the two questions that you're going to answer

02:31:43    8   when you begin your deliberations.

02:31:44    9          The first one, again, did the counties prove, by the

02:31:48   10   greater weight of the evidence, that oversupply of legal

02:31:50   11   prescription opioids, and diversion of those opioids into

02:31:54   12   the illicit market outside of appropriate medical channels,

02:31:57   13   is a public nuisance in Lake County?

02:32:01   14          Okay.   Did they prove there's oversupply, diversion,

02:32:05   15   and that that diversion is a public nuisance today?

02:32:09   16          The answer to that question is no.

02:32:13   17          You've heard that the opioid problem in Lake County

02:32:16   18   and Trumbull County today is driven by heroin, it's driven

02:32:20   19   by fentanyl, it's driven by fraudulent pills.          But even if

02:32:28   20   you answer yes to that question, if you -- some of you think

02:32:31   21   the answer to that question is yes, you still have to answer

02:32:34   22   Question 2.

02:32:38   23          Did Lake County prove, or Trumbull County prove, by

02:32:41   24   the greater weight of the evidence, that any of the

02:32:44   25   following defendants -- Walgreens -- engaged in intentional
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02:32:47    1   and/or illegal conduct which was a substantial factor in

02:32:53    2   producing the public nuisance that you found exists in

02:32:56    3   Question 1?

02:32:59    4          Plaintiffs have not proved that our conduct was either

02:33:07    5   intentional or illegal as those terms have been defined for

02:33:10    6   you by the Court.     And as we just went through, plaintiffs

02:33:14    7   haven't proven causation.       They haven't proven that

02:33:18    8   Walgreens was a substantial factor contributing to that

02:33:21    9   nuisance, so the answer to that question also is no.

02:33:28   10          I want to thank you again for your attention, not just

02:33:31   11   today, but for the past 6 weeks, and I really do appreciate

02:33:37   12   your service on this jury.

02:33:37   13          Thank you all very much.

02:33:51   14                   THE COURT:     Thank you, Mr. Swanson.

02:33:53   15          We'll now have Mr. Delinsky for CVS.

02:34:18   16                   MR. DELINSKY:     If you all can just give me one

02:34:20   17   second to get situated.

02:34:51   18          May it please the Court, ladies and gentlemen of the

02:34:59   19   jury, did CVS and its pharmacists in Lake and Trumbull

02:35:14   20   County, by filling prescriptions written by doctors for

02:35:20   21   medicine approved by the US FDA, act so egregiously as to

02:35:33   22   harm entire communities and the public at large in the two

02:35:40   23   counties?    Because plaintiffs bring a public nuisance claim,

02:35:50   24   that's the question before us, and that's the question that

02:36:00   25   Judge Polster has instructed us on.
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02:36:01    1            I think I told you when I stood up for opening

02:36:04    2   statements that I'm really bad with technology, but it's

02:36:06    3   working, so bear with me.

02:36:09    4            Here's Judge Polster's instruction on public nuisance

02:36:13    5   to us.    A public nuisance is an unreasonable interference --

02:36:19    6   ongoing today -- with a right held by the public in common.

02:36:29    7            What does that mean?

02:36:30    8            Judge Polster tells us that too.

02:36:33    9            A right common to the general public is a right that

02:36:36   10   belongs to the community at large, the whole community.

02:36:40   11   It's a collective right.      It's more than an individual

02:36:44   12   right.    It's more than a collection of individual rights.

02:36:47   13   It's a right that runs to all of us, the whole community.

02:36:55   14            So let's return to the question:      Did CVS and its

02:37:02   15   pharmacies in Lake and Trumbull County, and its pharmacists

02:37:06   16   in Lake and Trumbull County, act so egregiously so as to

02:37:12   17   harm entire communities, so as to harm the public health of

02:37:18   18   the community at large?

02:37:25   19            No.   Absolutely not.

02:37:29   20            There are many reasons why.     Don't have a lot of time

02:37:34   21   today, but I'll walk through the main ones, hopefully.            But

02:37:37   22   let me start with where I'll -- where I'm going to end.            And

02:37:44   23   in candor, this may sound familiar.         It may sound familiar

02:37:49   24   because some points, some points require repeating.

02:37:57   25            It is the mission of the Ohio Board of Pharmacy and
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02:38:05    1   the US DEA to oversee pharmacies, to scrutinize them, and to

02:38:16    2   protect the public.      And no amount of lawyering changes the

02:38:21    3   fact, no amount of excellent lawyering, changes the fact

02:38:30    4   that the Ohio Board of Pharmacy has all the data, that the

02:38:36    5   Ohio Board of Pharmacy is in the communities, that the

02:38:38    6   agents, like Agent Pavlich and Agent Edwards, know the

02:38:47    7   pharmacies and the pharmacists.        It's much more than

02:38:49    8   biannual inspections.

02:38:50    9          And if we learned anything from the Holiday case

02:38:54   10   against my client, against two CVS pharmacies down in

02:38:59   11   Florida, it's that law enforcement sees issues, and when

02:39:05   12   they do it acts.     Law enforcement took no action here.         Not

02:39:16   13   against CVS, not against Walgreens, not against Walmart.

02:39:22   14          Armed with all the data, armed with its presence in

02:39:31   15   the community and its knowledge of the community, law

02:39:34   16   enforcement found no misconduct by any CVS Pharmacy or

02:39:39   17   pharmacist in Lake and Trumbull County.         It just cannot be

02:39:46   18   that these CVS pharmacies in the counties systemically broke

02:39:52   19   the law for decades, harmed entire communities, and law

02:40:00   20   enforcement didn't see it and didn't take action.           That's

02:40:06   21   just not possible.     It cannot be.

02:40:11   22          We're not talking about a speeding infraction.           That's

02:40:16   23   not the allegation here.      The allegation here is harm to

02:40:21   24   entire communities over decades.        It's not possible law

02:40:28   25   enforcement didn't see it and wouldn't have taken action if
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02:40:31    1   there was any action to take.

02:40:32    2          Faced with the impossible, did the plaintiffs bring to

02:40:46    3   court residents from the counties, witnesses from the

02:40:51    4   counties who said, hey, I was there, law enforcement got it

02:40:59    5   wrong, I saw CVS engaging in misconduct.         I saw, I witnessed

02:41:09    6   CVS feeding pills to people who shouldn't have gotten them.

02:41:16    7   We would expect to see residents come to court and saying

02:41:20    8   that, eyewitnesses, giving us the who, what, when, where of

02:41:25    9   what happened in these counties.        Did we get any of that?

02:41:27   10   We got none of it.     Not one witness on the ground came to

02:41:35   11   court and testified, I saw CVS, I saw Walmart, I saw

02:41:39   12   Walgreens engaging in misconduct in these counties.            Not

02:41:45   13   one.

02:41:49   14          Instead of building a case around eyewitnesses in the

02:41:55   15   county who interacted with CVS, experienced CVS, observed

02:42:02   16   the CVS pharmacies in Lake and Trumbull County, plaintiffs

02:42:11   17   built their case around expert witnesses, paid expert

02:42:18   18   witnesses.    In fairness, they have very long resumes.          But

02:42:28   19   they weren't here in the counties, and they weren't able to

02:42:30   20   talk about what happened here.

02:42:36   21          Plaintiffs have the burden of proof in this case.

02:42:38   22   They haven't proved their case.

02:42:41   23          Let me just take a pause.        I jumped into this a little

02:42:48   24   abruptly.    Thank you.    Thank you.    This was a very long

02:42:58   25   trial, and we -- none of us could have asked for a more
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02:43:06    1   attentive, for a harder working jury, and for a jury,

02:43:13    2   frankly, more patient with all the lawyering.          Our gratitude

02:43:21    3   for your service and your sacrifice runs very deep.            So

02:43:28    4   thank you.

02:43:34    5          I want to start in a similar place where I started in

02:43:40    6   my opening statement, with some framework, a framework that

02:43:48    7   I hope makes sense to you and that I hope you can use as you

02:43:52    8   filter the evidence once you begin your deliberations.

02:43:57    9          I want to be clear at the outside, this is framing.

02:44:01   10   It's not blank.     It's just a framework to consider.         And

02:44:07   11   let's start with the FDA.

02:44:11   12          Brian, Mr. Swanson said it.       All the medications we're

02:44:18   13   talking about here were approved by the U.S. Food and Drug

02:44:27   14   Administration.

02:44:27   15          We heard testimony from Theresa Toiga about this.              And

02:44:31   16   we know more today than we did in opening statements.            We

02:44:34   17   know that this approval was a decision made by a team of

02:44:43   18   medical officers, doctors -- let me look at my list --

02:44:48   19   chemists, biologists, pharmacologists, toxicologists,

02:44:52   20   statisticians, even lawyers at FDA.         They don't take their

02:44:57   21   approvals lightly.     That's what we learned from Ms. Toiga.

02:45:00   22          What else did we learn about FDA's approval, was that

02:45:04   23   FDA, in determining whether to approve opioid medications,

02:45:10   24   or any other medication, considered the risks.           Ms. Toiga

02:45:20   25   said the FDA considered the risks of addiction, the risks of
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02:45:24    1   overdose.    And the U.S. Government determined that the

02:45:27    2   medical benefits outweighed the risks and therefore approved

02:45:32    3   it.

02:45:34    4          There's more.     We learned more from Ms. Toiga.        We

02:45:38    5   learned that in 2013, FDA was asked to impose limits, limits

02:45:47    6   on the dose, the permissible dose of opioid medications.

02:45:53    7   Limits on the permissible duration, the length of time

02:45:57    8   people could go on opioid medications.         And we learned that

02:46:02    9   FDA determined that limits were not appropriate.

02:46:10   10          DEA authorized.

02:46:16   11          What do I mean by that?

02:46:19   12          DEA determined how much of these medications could be

02:46:24   13   manufactured and put into the market each year.           And these

02:46:32   14   are the amounts that the DEA approved.         And what I'd like to

02:46:37   15   focus your attention on is the travel.

02:46:41   16          Blue is hydrocodone, green is oxycodone.          And as you

02:46:46   17   can see, from 2003 all the way to 2013, DEA determined that

02:46:52   18   it was appropriate to increase the volume of opioid

02:47:00   19   medications that could be manufactured and put into the

02:47:02   20   market year after year after year all the way through 2013.

02:47:09   21   Then it plateaus and decreases.

02:47:14   22          We've heard a lot about volume in this case.          The

02:47:17   23   volume in the first instance is authorized by DEA itself.

02:47:23   24   And from Ms. Harper-Avilla we heard that in determining this

02:47:30   25   volume, DEA specifically considers the legitimate medical
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02:47:33    1   need of the medications.

02:47:39    2          Doctor-prescribed.

02:47:45    3          My word.    We can't get more basic than this, so cut me

02:47:49    4   a little slack here.      But it's so important.

02:47:52    5          Neither CVS nor any of the other pharmacies were just

02:47:56    6   handing -- handing pills out to patients.          In every single

02:48:02    7   instance they were filling a prescription written by a

02:48:07    8   licensed doctor.

02:48:10    9          We heard from Kerry Keyes.       Doctors write the

02:48:15   10   prescription.     Doctors determine the drug.       Doctors

02:48:19   11   determine the dose.      Doctors determine the duration.

02:48:26   12   Doctors write the prescription.

02:48:29   13          What else did we learn about the doctors?

02:48:32   14          We learned from DEA, year after year after year in

02:48:39   15   statements that they repeated, all the way through present,

02:48:42   16   that the vast, vast majority of doctors write prescriptions

02:48:46   17   legitimately.     This comes from a 2006 DEA statement devoted

02:48:51   18   to the subject of pain medication.        The agency recognizes

02:48:55   19   that nearly every prescription issued by a physician in the

02:48:59   20   United States is for a legitimate medical purpose in the

02:49:03   21   usual course of professional practice.         Nearly every

02:49:08   22   prescription issued by a physician in the U.S. is for a

02:49:11   23   legitimate medical purpose.

02:49:16   24          Last framing point.      Pharmacist's job.

02:49:26   25          When we go to a pharmacy with a prescription from our
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02:49:29    1   doctor, we expect to get it.       We expect the pharmacist to

02:49:38    2   fill it.    And I think we can all agree that the core job of

02:49:47    3   the pharmacist -- and we heard it from witnesses such as

02:49:49    4   Nicci Harrington from CVS -- the core job of the pharmacist

02:49:55    5   is to see to it that patients get the medicine that their

02:50:01    6   doctors say they need.      That's why we have pharmacists.

02:50:11    7          That's not to say there is another obligation as well.

02:50:14    8   There is another obligation as well, and we've learned a lot

02:50:17    9   about it.    The other obligation is the corresponding

02:50:19   10   responsibility to look for illegitimate prescriptions.            A

02:50:27   11   pharmacist is not only there to fill the prescriptions, the

02:50:30   12   pharmacist also has a responsibility to be on the lookout

02:50:33   13   for ones that might be illegitimate.         That's corresponding

02:50:35   14   responsibility, no doubt about it.        And that is a critical

02:50:40   15   responsibility.

02:50:49   16          But, again, nearly every prescription's legitimate.

02:50:52   17   Nearly every one is legitimate.        And a prescriptions that a

02:50:55   18   pharmacy/pharmacist may find to be illegitimate per DEA is

02:51:00   19   small, is small.

02:51:07   20          All right.    Now it's my turn to talk about CVS, and

02:51:14   21   you're going to see me tapping my phone, and I think you'll

02:51:19   22   probably all appreciate why.       We're on sharp time limits.

02:51:22   23   It's not that I'm checking texts.

02:51:25   24          I want to turn to CVS, and I want to turn to some

02:51:29   25   charts.    Okay?   And the charts teach us a lot about what the
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02:51:35    1   CVS pharmacies in Lake and Trumbull County are, and they

02:51:39    2   show -- they show us why these pharmacies are not what

02:51:44    3   plaintiffs say they are.      I'm going to move through these

02:51:46    4   pretty quick.     Okay?

02:51:48    5          The chart we're looking at now depicts, shows the

02:51:57    6   shared -- CVS's share of opioids dispensed in Trumbull

02:52:02    7   County using the ARCOS database.        Okay.   And this is

02:52:07    8   measured by MME.     I'm going to come back to that in one

02:52:10    9   second.   Okay?    But what this shows is CVS's -- the CVS's

02:52:16   10   percent of opioids dispensed in Trumbull County is less than

02:52:20   11   6 percent.     Of course meaning that more than 94 percent of

02:52:25   12   the opioids dispensed in Trumbull County come from other

02:52:28   13   pharmacies.

02:52:29   14          Okay.    Now, Mr. Lanier suggested using MME, which is

02:52:34   15   the measure of strength isn't honest.         He thinks we should

02:52:40   16   be using pills.     I think -- I think doing it by the number

02:52:46   17   of MMEs going to the community, equalizing it for strength,

02:52:51   18   a good way to do it.      He likes doing pills.      To be honest, I

02:52:55   19   don't care, okay?     And if you look at this document, it's

02:52:59   20   WMT-MDL-01541A, it has both.       And you can look at whether we

02:53:06   21   look at pills or dosage units, whether we look at MMEs, the

02:53:10   22   percentages go up, but not that much.         So whatever you think

02:53:13   23   is appropriate, I certainly don't mean to be cagey or

02:53:18   24   dishonest in any way.      It just doesn't matter that much.

02:53:23   25          Now we're moving to Lake County and CVS's share of the
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02:53:28    1   opioids dispensed there are less than 18 percent.           CVS has

02:53:30    2   greater presence in Lake County.        But still, more than

02:53:32    3   82 percent of the opioids dispensed in Lake County come from

02:53:35    4   other pharmacies.

02:53:36    5          And then if you look at the both of the pharmacies

02:53:39    6   together -- or both of the counties together, and we've put

02:53:42    7   two databases here because we have access to two that enable

02:53:45    8   us to conduct this kind of analysis, the OARRS database and

02:53:48    9   the ARCOS database, it hovers between 10.4 percent and 11.9

02:53:59   10   percent, depending on the database.         Let's just call it

02:54:00   11   11 percent.    89 percent of the opioids dispensed into Lake

02:54:04   12   and Trumbull County are coming from other pharmacies.            And

02:54:06   13   why is this important?      I think Mr. Swanson already told us

02:54:09   14   so.

02:54:09   15          In considering whether CVS is a substantial cause of

02:54:16   16   any community-wide harm, this is one piece.          And let's step

02:54:20   17   back and remember about all the testimony we heard mostly

02:54:26   18   from plaintiffs' own experts, like Caleb Alexander and

02:54:34   19   Kerry Keyes.    There are many, many, many actors who played a

02:54:37   20   role in the opioid crisis.       Manufacturers.     Government

02:54:44   21   agencies.    Doctors.    Drug cartels.    But when you look at all

02:54:51   22   the -- all those external factors that have nothing do with

02:54:56   23   pharmacists, and then you look at the fact that CVS is

02:55:01   24   responsible -- or other pharmacies are responsible for

02:55:04   25   about, what, what did we call it, 89 percent of the opioids
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02:55:08    1   coming to the counties, it just doesn't add up to

02:55:11    2   substantial cause.

02:55:13    3            And there's one other piece to this, which is

02:55:18    4   Carmen Catizone only challenged 20 percent of the

02:55:25    5   prescriptions filled by CVS.       So this number comes way down.

02:55:30    6   It's not an apples-to-apples fit because we're talking MMEs

02:55:35    7   here and he was talking numbers of prescriptions.           But this

02:55:38    8   number is even far less than that.

02:55:41    9            We also have to consider the trend over time of the

02:55:46   10   opioid prescriptions that CVS filled.

02:55:49   11            We've all heard about the increase, okay, the increase

02:55:53   12   that runs through 2012.      The increase that coincides with

02:55:58   13   DEA increasing the quota, the increase that coincides with

02:56:05   14   doctors writing more and more opioid prescriptions.            We

02:56:08   15   haven't talked so much about the decrease, but CVS's

02:56:14   16   opioid -- the opioid prescriptions decrease sharply starting

02:56:19   17   in 2012.    By 2019, they're lower than where they started.

02:56:28   18            Why is this important?

02:56:30   19            Judge Polster has instructed us that today, that

02:56:35   20   today, what's happening in the communities today is

02:56:37   21   important.    The public nuisance claim is grounded in the

02:56:43   22   today.    And at the same time that CVS prescriptions are

02:56:48   23   going down -- and we've already looked at this -- this is

02:56:53   24   that e-mail chain with Captain Villanueva, the big three,

02:56:57   25   cocaine, heroin, and fentanyl, are going up and are driving.
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02:57:07    1          And I don't think we have to take time to go through

02:57:09    2   more of these documents, but here's a similar one from the

02:57:12    3   Lake County ADAMHS Board that we looked at.

02:57:25    4          Mr. Lanier talked about heroin use, illegal opioids.

02:57:29    5   And some of his witnesses drew a connection between the use

02:57:33    6   of prescription opioids and the use of heroin.           This is a

02:57:40    7   place where I ask -- where I ask you to apply your common

02:57:45    8   sense and logic as you sift through the evidence.

02:57:49    9          CVS, nor any other pharmacy, is responsible for

02:57:56   10   illegal -- the use of illegal drugs, no matter how tragic

02:58:01   11   that may be.

02:58:02   12          And I'd like to remind you of testimony from

02:58:06   13   Kerry Keyes.    Professor Keyes testified that 3.5 percent of

02:58:17   14   the people who misuse prescription drugs, not who get them

02:58:23   15   from doctors and follow the instructions, people who misuse

02:58:28   16   or abuse prescription drugs, progress to heroin.

02:58:33   17   3.5 percent of people who misuse prescription drugs progress

02:58:39   18   to heroin.    The percentage of people who don't misuse it,

02:58:46   19   who don't abuse it and follow their doctor's instructions is

02:58:51   20   obviously a tiny fraction of that.

02:58:57   21          This case isn't about heroin.

02:59:01   22          All right.    Non-controlled medications.       Let me move

02:59:06   23   through this briefly.

02:59:09   24          We talked about this in opening statements, and I

02:59:14   25   think by now we all know what non-controlled medications
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02:59:16    1   are, the blood pressure, diabetes, antibiotics and the like.

02:59:23    2   And CVS's -- the CVS pharmacies in these two counties, its

02:59:27    3   volume of non-controlled medications dwarfs the volume of

02:59:35    4   medications it fills for the opioids.         It's 18 times larger.

02:59:38    5          And if you look at the trend, the volume of the

02:59:41    6   non-controlled prescriptions increase over time as well and

02:59:46    7   increases right up to 2018 before it dips.          So those are

02:59:49    8   going up as well.

02:59:55    9          We've talked about per capita computations.          The CVS

02:59:58   10   pharmacies in these two counties dispensed enough

03:00:02   11   non-controlled medicine to provide every man, woman, and

03:00:07   12   child with 132 pills.      It's a much larger volume.

03:00:15   13          Why is this important?      Why are we talking about

03:00:19   14   non-controlled medications in a case about opioid

03:00:21   15   medications?    Because this teaches us about the pharmacies.

03:00:25   16   This shows that these are everyday pharmacies trying to

03:00:32   17   serve the full needs of their patients, trying to fill all

03:00:38   18   the prescriptions no matter what type that their doctors say

03:00:43   19   they need.    And this is relevant to the case.

03:00:49   20          Judge Polster has instructed us that in considering

03:00:54   21   whether the burden on a right is significant or

03:01:01   22   unreasonable, the social value of defendants' conduct is an

03:01:07   23   appropriate consideration.

03:01:11   24          CVS was providing -- these CVS pharmacies were

03:01:16   25   providing social value by seeing to it that the patients in
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03:01:19    1   these communities got all the medication, no matter what

03:01:24    2   type that their doctor said that they needed.

03:01:26    3            Let's move to CVS witnesses.     I wish I had the time to

03:01:32    4   walk through in detail what each said.         I don't.    But

03:01:40    5   Tom Davis, Nicci Harrington, Ken Cook, they are who CVS is.

03:01:51    6   And I ask you to recall their testimony and think about it

03:01:56    7   as you sift through the issues.

03:01:58    8            Two things.    Nicci Harrington -- let me just point out

03:02:02    9   two quick things before I move on.        Nicci Harrington.

03:02:06   10   Ms. Harrington's the one who for 9 years has been devoted to

03:02:10   11   enhancing CVS's programs, working so hard to try to fight a

03:02:14   12   very difficult problem.      And, yes, her PowerPoint says we

03:02:23   13   need to do more.       I was naive to think we couldn't do more.

03:02:29   14   Isn't that exactly who we want in her position?           Isn't that

03:02:34   15   who we want?

03:02:36   16            And yes, Ken Cook freaked out when he came to the

03:02:41   17   pharmacy and there was a -- there was a pill -- there were

03:02:45   18   missing pills, a few hundred pills were missing.           He freaked

03:02:48   19   out.   And what did he do?      He called every law enforcement

03:02:51   20   agency he could think of.       He called the Board of Pharmacy.

03:02:54   21   He called Lake County Narcotics, he called DEA, and they all

03:02:58   22   descended on the pharmacy.       Isn't that exactly who we want

03:03:02   23   as a pharmacist, someone who takes things that seriously?

03:03:06   24            Again, I wish I could spend more time on them.          I

03:03:09   25   can't.    But I ask that do you consider their testimony.
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03:03:14    1          Now I want to move to the tools CVS used to put in

03:03:20    2   place to try to identify illegitimate prescriptions and to

03:03:26    3   monitor the dispensing of pain medications and the

03:03:32    4   controlled substances at the pharmacies.         And again, we're

03:03:33    5   going to move quick because we heard all about this from

03:03:36    6   Nicci Harrington.

03:03:38    7          Obviously, first are the pharmacists.         Pharmacists are

03:03:44    8   educated in pharmacy, licensed in pharmacy, required by law,

03:03:50    9   and trained to exercise corresponding responsibility.

03:03:58   10          They're guided by CVS supervisors and have been all

03:04:02   11   the way as far as back as Ms. Harrington could remember, and

03:04:06   12   she began in the '90s.      They're guided by CVS training, and

03:04:10   13   we've put in steps -- some of those trainings in evidence,

03:04:12   14   and they're guided by CVS policies, and we saw those

03:04:14   15   policies.    And plaintiffs may not like the wording of the

03:04:16   16   policies, but they made one thing clear, and they always

03:04:20   17   have, don't fill prescriptions if you think they may not be

03:04:24   18   legitimate.

03:04:26   19          Pharmacists are the number one tool.         They're the ones

03:04:29   20   not only with the professional judgment at the pharmacy

03:04:33   21   counter, but the ones who see the patient, talk to the

03:04:38   22   patient, and possess the human information that's necessary

03:04:42   23   to determine whether somebody should get the medicine that

03:04:46   24   their doctor says they need.       They're the number one tool.

03:04:48   25          Then we heard about RX Connect.        This is the computer
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03:04:54    1   system in the pharmacies that CVS pharmacists have to use to

03:04:57    2   fill prescriptions.      And as we learned, going back more than

03:05:02    3   two decades, RX Connect is populated with patient data.

03:05:10    4            What do we mean by that?     For every patient, when a

03:05:13    5   pharmacist is processing the prescription, they see two

03:05:16    6   years of all the prescriptions that any CVS around the

03:05:19    7   country has filled for that patient.         They see the drug, the

03:05:23    8   amount, the doctor.      They see the patient's address.        They

03:05:26    9   see the patient's method of patient.         What they see is all

03:05:31   10   the data they need to identify red flags.          Cash.   Distance.

03:05:35   11   Cocktails.    Overlapping prescriptions.       It's all there, and

03:05:38   12   it has been there for 20 years.

03:05:44   13            You may remember Ms. Harrington saying this version of

03:05:47   14   RX Connect is the best OARRS system that CVS could possibly

03:05:51   15   build with its own data, and they put it in place 6 years

03:06:00   16   before the State of Ohio put OARRS in place.          And then over

03:06:03   17   the years RX Connect evolved.       There are now alerts we heard

03:06:08   18   about.    Early fills.    High dose alerts.     Cocktail alerts.

03:06:14   19   Forgery alerts.     CVS is -- right now is piloting additional

03:06:21   20   alerts.

03:06:22   21            We asked Ken Cook, do you need any more alerts, and he

03:06:25   22   said no, I have enough alerts, but we're still piloting some

03:06:29   23   more.

03:06:30   24            And we also heard about NarxCare that's now integrated

03:06:34   25   into RX Connect so that CVS Pharmacy right on the screen can
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03:06:38    1   get the information from OARRS that's filtered through

03:06:42    2   NarxCare.

03:06:42    3            Next tool, prescriber validation.      Let's not lose time

03:06:50    4   here.    Long story short, we've heard about this.         If a

03:06:53    5   prescriber has lost his or her -- a doctor has lost his or

03:06:57    6   her license, it's been suspended, revoked, it's expired, the

03:07:01    7   prescription's blocked.      Pharmacist can't fill it.       Runs off

03:07:04    8   a database that CVS updates on a weekly, if not more common

03:07:10    9   basis.    Just doesn't let the pharmacist fill the

03:07:11   10   prescription.

03:07:12   11            Prescriber suspension.

03:07:15   12            This is the program Nicci Harrington's group operates.

03:07:20   13   Beginning in 2012, in the wake of the Holiday case, CVS

03:07:25   14   built a cutting edge, first-of-its-kind program to review

03:07:31   15   doctors running algorithms through all of CVS's data four

03:07:36   16   times a year through all the doctors to see if there's any

03:07:39   17   prescribing patterns that may be a cause for concern, and

03:07:44   18   then the team investigates them.        Maybe it interviews the

03:07:48   19   doctor, and it determines whether that doctor should be

03:07:51   20   suspending.    And 850 doctors by now have been suspended

03:07:59   21   under this program.      And once they're suspended, it's just

03:08:03   22   like prescriber validation, pharmacist goes to fill the

03:08:06   23   prescription, blocked.      They can't fill it.      These two

03:08:06   24   programs working in tandem are just shedding off

03:08:09   25   prescriptions that don't even reach the pharmacist.            The
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03:08:10    1   pharmacist can't fill it.       The most problematic ones.

03:08:13    2          Okay.    And remember, this is not a program without

03:08:16    3   controversy.    We talked about the Hansen case, and that's,

03:08:22    4   for those of you taking notes, CVS 04954.          This was the very

03:08:28    5   recent court case.     CVS had suspended an Ohio licensed pain

03:08:33    6   doctor practicing in Kentucky because his volume spiked and

03:08:37    7   CVS was uncomfortable with it.        The doctor sued CVS, and the

03:08:43    8   court said -- not this court, another court in Kentucky --

03:08:46    9   said, no, CVS, you went too far, you can't suspended this

03:08:49   10   doctor, you have to fill these prescriptions.          This is a

03:08:52   11   cutting edge program.      It's not without controversy.        But

03:08:56   12   it's another effort by CVS to assist its pharmacists in

03:09:00   13   trying to catch illegitimate prescriptions.

03:09:02   14          Store monitoring program.       Another program running off

03:09:05   15   algorithm.     Runs four times a year across the stores, all

03:09:13   16   CVS stores.    Is there anything aberrational?        And if there

03:09:16   17   is, if there's something that might be of concern that pops

03:09:19   18   in the algorithm, teams going to the store, interview the

03:09:22   19   pharmacists, look at the records, figure out if there is a

03:09:25   20   problem, or if there's an explanation, and if there's a

03:09:27   21   problem, they fix it.

03:09:28   22          Loss prevention monitoring.       A whole separate

03:09:33   23   algorithm run by a whole separate team, not under

03:09:36   24   Nicci Harrington, okay, that also runs an algorithm over

03:09:43   25   CVS's dispensing data, and if a concern pops, there's 200
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03:09:45    1   loss prevention investigators throughout the country, they

03:09:49    2   descend on the store to see if there's an issue.

03:09:52    3          Maximum allowable quantities, NAQ.         Those are the

03:09:56    4   limits CVS computes, again, with algorithms.          There's a lot

03:10:00    5   of technology here, folks.       Setting limits on how much

03:10:05    6   oxycodone, how much hydrocodone CVS pharmacies can order,

03:10:11    7   keep in inventory, and dispense each month.          And the

03:10:14    8   pharmacy bumps up against that limit, no more.           The limit

03:10:20    9   triggers.    They can't go beyond it.

03:10:21   10          So what do we see here?

03:10:25   11          We see more than one layer of protection.          We see more

03:10:31   12   than one screen.     We see more than one filter.        We see many

03:10:37   13   layers of protection.      We see many layers of protection each

03:10:45   14   attacking the problem in different ways, often with

03:10:48   15   different people.

03:10:50   16          Are any one of these programs tools, perfect?           No, of

03:10:56   17   course not.    It's not the standard.        And we've been very

03:10:58   18   candid about that.     Together, are they perfect?        I would

03:11:02   19   never say that.     There's -- perfect's impossible.

03:11:11   20   Extensive?    Absolutely.      Absolutely.

03:11:18   21          Does a company like this -- did a company like this

03:11:22   22   act so egregiously so as to -- so as to harm entire

03:11:29   23   communities, so as to harm the public health of the

03:11:33   24   community at large?      No.   Absolutely not.

03:11:40   25          Too little too late?       No.
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03:11:47    1          The bedrock of this system is the pharmacists and the

03:11:53    2   data component of RX Connect.       Been in place for more than

03:11:58    3   two decades.

03:12:00    4          Prescriber validation, prescriber suspension, store

03:12:04    5   monitoring, in place for 9 years.        9 years, two decades.

03:12:11    6          As Judge Polster has instructed us, the case is

03:12:14    7   grounded in today.     It's not too little too late.

03:12:26    8          All right.    I'm going to turn away from CVS and turn

03:12:28    9   to plaintiffs' case.      Plaintiffs' proof.     And I want to

03:12:36   10   start with what it's not.

03:12:39   11          And, ladies and gentlemen, if you take two things

03:12:45   12   away, two things away from my argument this afternoon, this

03:12:51   13   is one of them.     I'll come back to the second one.         This is

03:12:54   14   one of them.

03:12:57   15          What's -- let's start with what plaintiffs' proof is

03:13:06   16   not.   If CVS harmed the community, you would expect

03:13:14   17   residents to be coming to court, to testify about what they

03:13:18   18   saw CVS do, who they saw CVS give opioids to, and the harm

03:13:28   19   that ensued.    It's a court case.      That's what you'd expect

03:13:34   20   to see.   There's none of that evidence here.         None.

03:13:41   21   Absolutely none.

03:13:43   22          The closest we got was Captain Villaneuva.          And

03:13:52   23   captain talked about, what's his name, Doug Winland.             And we

03:13:58   24   saw a document that CVS -- that he had obtained

03:14:01   25   prescriptions from CVS, and then we learned that he was
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03:14:06    1   prosecuted and convicted for engaging in deception in the

03:14:12    2   course of getting prescriptions filled.         He was prosecuted

03:14:15    3   for deceiving CVS and the other pharmacists where he got his

03:14:21    4   prescriptions filled.      That's the closest we get to

03:14:24    5   eyewitness on the ground evidence here.

03:14:28    6          What plaintiffs -- what plaintiffs offer instead is

03:14:34    7   just that, it's something instead of proof of what actually

03:14:42    8   happened on the ground from the mouths of residents of the

03:14:47    9   communities that you might expect to see in a case.

03:14:54   10          Case in point, Carmen Catizone.        Carmen Catizone.

03:15:08   11   Plaintiffs' whole case boils down to computer code, computer

03:15:13   12   analysis run by Carmen Catizone.        And the computer analysis

03:15:23   13   just doesn't work.     It doesn't work.

03:15:27   14          And let's start with what Mr. Catizone himself

03:15:30   15   recognized.    I'm going to skip through stuff.        I told you I

03:15:40   16   was -- there we go.

03:15:40   17          You agree that just because a prescription flags under

03:15:44   18   one of your 16 red flags, that does not mean it was written

03:15:50   19   for an illegitimate medical purpose; correct?

03:15:54   20          Correct.

03:15:56   21          That's Mr. Catizone's testimony.        Mr. Catizone

03:16:00   22   acknowledges his analysis does not identify illegitimate

03:16:08   23   prescriptions.     It identifies prescriptions that may contain

03:16:16   24   red flags, but it does not identify illegitimate

03:16:21   25   prescriptions that can't be filled.         And that's just the
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03:16:25    1   beginning of the problem.

03:16:27    2          If we learned anything in this trial, it is that we

03:16:32    3   can't accurately identify a red flag.         We can't accurately

03:16:39    4   determine if a red flag exists on a prescription without the

03:16:46    5   information about a patient that is known to the pharmacist.

03:16:53    6   Is the patient a regular?       Is she a regular to the pharmacy?

03:16:59    7   Is she employed?     If so, what does she do?       What's her

03:17:03    8   injury?   What condition is she suffering from?          Why is she

03:17:08    9   traveling a distance to Cleveland to see a doctor?           This is

03:17:14   10   all information that a pharmacist would know, but it's not

03:17:21   11   information that can be captured by computer analysis.            And

03:17:26   12   it's information that's needed to determine if there's a

03:17:29   13   real red flag on a prescription or not.         If we don't have

03:17:33   14   that information, we can't accurately measure if there's a

03:17:39   15   red flag.

03:17:39   16          And this is what we get.       We get a situation, which is

03:17:43   17   what we have here -- and these are the prescriptions

03:17:49   18   flagged, the prescriptions filled by CVS flagged by

03:17:52   19   Mr. Catizone's analysis.      His analysis flags prescriptions

03:17:58   20   written by 37 percent of prescribers, of the prescribers of

03:18:06   21   opioids at a time when DEA and Joe Rannazzisi is saying be

03:18:13   22   on the lookout for about 1 percent of doctors who may -- who

03:18:19   23   may not be writing prescriptions legitimately.           It doesn't

03:18:23   24   add up.   His analysis just sweeps too far.

03:18:26   25          What else do we see?
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03:18:27    1          We see what Dr. Choi told us.        Dr. Choi explained that

03:18:34    2   70 percent of the CVS prescriptions flagged by Mr. Catizone

03:18:43    3   were of -- were below the lowest strength benchmark sent by

03:18:49    4   the -- set by the CDC.      Okay.   CDC has several benchmarks.

03:18:56    5   It has benchmarks that are higher than this lowest one that

03:19:02    6   are appropriate and permissible, but 70 percent of the CVS

03:19:05    7   prescriptions flagged by Mr. Catizone were below the lowest

03:19:09    8   strength benchmark.

03:19:14    9          70 percent flagged prescriptions are low strength.             It

03:19:25   10   just doesn't make sense.      The analysis just doesn't work to

03:19:30   11   identify actual red flags, and that's not the only flaw.

03:19:33   12          Documentation.     Documentation.     Documentation.

03:19:39   13          Mr. Catizone got that wrong too.        He just assumes that

03:19:45   14   if a pharmacist didn't write down a note about what she did

03:19:49   15   or he did to resolve a red flag, the pharmacist didn't

03:19:54   16   actually resolve the red flag, and that's not true.            It's

03:19:57   17   not accurate.     And we know this from Trey Edwards.        And this

03:20:01   18   is the same testimony that Mr. Swanson showed you.

03:20:04   19          A pharmacist could do the hard work and the careful

03:20:07   20   work to resolve a red flag but not write it -- write down

03:20:10   21   what he or she did; correct?

03:20:13   22          Correct.

03:20:14   23          That doesn't mean he or she didn't do it; correct?

03:20:18   24          Yes, correct.

03:20:19   25          It continuous.     This happens a lot with the old-timer
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03:20:25    1   pharmacists; right?

03:20:26    2          It happens with all of them.

03:20:33    3          All pharmacists can resolve a red flag and not

03:20:35    4   necessarily write it down.

03:20:38    5          At the bottom, those who aren't good at documenting,

03:20:43    6   it doesn't necessarily mean they aren't good at resolving

03:20:47    7   the red flag?

03:20:49    8          Correct.

03:20:50    9          Mr. Catizone's assumption that if you didn't write it

03:20:54   10   down, you didn't resolve the red flag is just wrong.

03:20:57   11          And if we go to the CVS -- his CVS numbers, his

03:21:04   12   analysis of CVS notes, we learn even more.          This was the --

03:21:12   13   what Mr. Lanier used in court to summarize Mr. Catizone's

03:21:15   14   findings about CVS's notes, and you can see they're all

03:21:18   15   phrased in terms of the number of prescriptions that don't

03:21:21   16   contain notes.

03:21:23   17          But if you flip it, 1,314 do contain notes, nearly

03:21:29   18   66 percent of the CVS sample contain notes.          That's a large

03:21:38   19   percentage given that Mr. Catizone flags prescriptions that

03:21:41   20   don't even contain red flags in the first place.           It's a

03:21:44   21   large percentage when you indicate that he's only looking at

03:21:47   22   what he deems to be the relevant common fields -- comment

03:21:51   23   fields, and he's cutting off a swatch that he chooses not to

03:21:58   24   look at.

03:21:59   25          You may recall my cross-examination, my questioning of
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03:22:02    1   Mr. Catizone.    We -- I picked two of those notes that

03:22:07    2   Mr. Lanier put up on the screen that were written by CVS

03:22:11    3   pharmacists and that Mr. Catizone labeled as the most

03:22:15    4   alarming.    And I went through with him the content of the

03:22:20    5   notes.    I reminded him of abbreviations, like ACME, which he

03:22:26    6   had forgotten.     I reminded him of what they meant.        We went

03:22:30    7   over how the notes reflect OARRS lookups.          We went over

03:22:39    8   information on the prescriptions.        And in both instances --

03:22:41    9   and I only had time for two -- he agreed that the notes

03:22:45   10   reflected good pharmacy work and the notes that's reflected

03:22:49   11   good documentation, and those were the only two notes we

03:22:53   12   could go through with him.

03:22:53   13            And let's end here with this.      This was one of the

03:22:56   14   prescriptions that we were talking about with him.           This was

03:23:00   15   one of the most alarming instances he went into the

03:23:04   16   examination, he was saying, because he didn't like the

03:23:07   17   caliber of the computer notes.        And what we learned was when

03:23:10   18   we actually looked at the prescription, we learned it was

03:23:12   19   written by an emergency room.       We learned that it was for

03:23:17   20   only 20 tablets or a 5-day supply.        And then what else did

03:23:22   21   we learn when we looked at the backside?         Is that the

03:23:26   22   pharmacist checked OARRS before electing to fill the

03:23:30   23   prescription from the emergency room for only 20 pills for

03:23:35   24   only a 5-day supply.

03:23:39   25            This isn't a red flag prescription, and the fact that
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03:23:42    1   this prescription was cut up in Mr. Catizone's analysis and

03:23:50    2   identified as one of the worst examples shows just how

03:23:55    3   broken his analysis is.      It shows just how broken his

03:24:02    4   analysis is.

03:24:07    5          Doctors.    Dr. Demangone.     Dr. Veres.    We've heard

03:24:17    6   those names.    And I have to speed up now unfortunately.

03:24:26    7          As you consider these doctors, as you consider what

03:24:30    8   Mr. Lanier argues about the doctors, as you consider what

03:24:35    9   documents say about the doctors and what people testified

03:24:38   10   about the doctor -- the doctors, ask these questions:

03:24:44   11          Were these doctors licensed by the State of Ohio?

03:24:56   12          Were they licensed or registered by the US DEA?

03:25:01   13          Had they ever been disciplined by either agency?

03:25:09   14          Did they hold positions in the community?

03:25:14   15          For instance, you may see in the documents that

03:25:17   16   Dr. Veres was the medical director of three nursing homes.

03:25:23   17          Were they board-certified?

03:25:29   18          Was CVS scrutinizing them and preparing documents

03:25:36   19   laying out what they were finding?

03:25:38   20          Was CVS struggling with the question about what to do,

03:25:41   21   whether to suspended?

03:25:44   22          And I would submit to you that if they were, that's a

03:25:47   23   good thing.

03:25:47   24          Did CVS ultimately stop filling their prescriptions?

03:25:57   25   And for both these doctors the answer is yes.          Maybe not as
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03:26:03    1   fast as plaintiffs would like, but they stopped.

03:26:05    2          And I would just like to remind you of what Ken Cook

03:26:12    3   showed us.    This is the sign posted in Dr. Demangone's

03:26:15    4   office (indicating).      Do not fills prescriptions at CVS

03:26:18    5   because CVS isn't filling.

03:26:20    6          Most importantly, when we talk about these doctors,

03:26:28    7   did plaintiffs identify a single illegitimate prescription

03:26:37    8   written by any of the doctors that CVS filled wrongfully?

03:26:44    9   Did they identify a single one?

03:26:47   10          You can't decide this case in the abstract.          Did they

03:26:52   11   identify with all the data a single, illegitimate

03:26:57   12   prescription written by either of these two doctors that CVS

03:27:00   13   wrongfully filled?     I'll give you a preview.       The answer is

03:27:03   14   no.

03:27:04   15          Finally, the Holiday case.       The Holiday case.      We've

03:27:19   16   heard so much throughout this trial against the Holiday

03:27:23   17   case -- about the Holiday case against two CVS pharmacies

03:27:28   18   down in Florida.     We've also heard about other settlements

03:27:34   19   in other states that CVS reached with DEA.          They were all

03:27:45   20   serious matters.     No doubt about it.      And we've heard

03:27:52   21   testimony from Tom Davis and from Nicci Harrington about

03:27:55   22   just how seriously CVS took them.        But there's a truth.

03:28:06   23   There's a truth here that needs to be recognized.

03:28:12   24          The Holiday case involved a microscopic percentage of

03:28:19   25   CVS pharmacies.     The settlements involved a tiny percentage
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03:28:25    1   of CVS pharmacies in only four other states.

03:28:31    2           Remember, Nicci Harrington told us there were 700 CVS

03:28:35    3   pharmacies in Florida alone at the time of the Holiday case.

03:28:39    4   The Holiday case was against only two of 700 in Florida.            It

03:28:45    5   did not involve 698 other CVS pharmacies in Florida.            When

03:28:51    6   you look nationwide at all 10,000 CVS pharmacies, the

03:28:54    7   Holiday case concerned less than one-tenth of one percent of

03:29:02    8   all CVS pharmacies.      And even more to the point, the Holiday

03:29:07    9   case and the settlements did not involve any CVS Pharmacy in

03:29:18   10   Lake or Trumbull County.      They did not involve any CVS

03:29:24   11   Pharmacy in the State of Ohio, and there's about 380 of

03:29:28   12   them.   It did not involve any CVS Pharmacy in the entire

03:29:34   13   midwest.

03:29:38   14           The Holiday case, the settlements have nothing to do

03:29:43   15   with whether the pharmacies, the CVS pharmacies in Lake and

03:29:50   16   Trumbull County, filled illegitimate prescriptions.            It just

03:29:52   17   has nothing do with it.

03:29:53   18           Now, plaintiffs say -- say the settlements show

03:30:00   19   national issues, national shortcomings.         They show notice of

03:30:05   20   that, even though they concern work of only a small number

03:30:09   21   of pharmacists in a small number of pharmacies in other

03:30:12   22   places.    But DEA didn't think they were illustrative of

03:30:17   23   national problems.     Otherwise, DEA would have taken national

03:30:21   24   action, here and elsewhere.       It didn't.

03:30:26   25           What the Holiday case does make clear is that when DEA
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03:30:33    1   sees issues, it takes action, and the fact that DEA took no

03:30:39    2   action here in these counties tells us everything we need to

03:30:43    3   know.

03:30:53    4           This brings us to where we began.       If CVS pharmacists

03:31:00    5   engaged in the egregious community harm and conduct that

03:31:09    6   plaintiffs say, law enforcement would have taken action.

03:31:17    7   And the fact that law enforcement didn't, supplies the

03:31:22    8   answer to the question before us.

03:31:24    9           Plaintiffs say, well, Board of Pharmacy only inspected

03:31:28   10   the pharmacies, only conducted routine inspections once

03:31:32   11   every 2 or 3 years, but that's not the whole story, and we

03:31:37   12   know it.

03:31:38   13           As Trey Edwards told us, both the Lake County

03:31:43   14   Narcotics and the Ohio Board of Pharmacy were in the

03:31:47   15   pharmacies constantly.      They were receiving leads,

03:31:50   16   collecting leads, pursuing leads, getting to know the

03:31:55   17   pharmacy, the pharmacists on a first-name basis.

03:31:59   18           And as we also learned about the Board of Pharmacy,

03:32:02   19   and as we also learned about DEA, each agency had extensive

03:32:09   20   data.   They ran analytics on the data to identify possible

03:32:14   21   wrongdoing.    If CVS pharmacists in Lake and Trumbull

03:32:20   22   County -- counties were acting so egregiously so as to harm

03:32:24   23   the public health of entire communities, over the course of

03:32:28   24   decades, local law enforcement would have taken action,

03:32:34   25   Board of Pharmacy would have taken action, DEA would have
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03:32:39    1   taken action, and no amount of paid expert testimony and no

03:32:45    2   amount of computer -- computer models can overcome the fact

03:32:50    3   that law enforcement didn't.

03:32:56    4          Now's the hardest point for the lawyer.         And

03:33:03    5   Mr. Lanier referred to this.       We hand the case to you.

03:33:08    6   There's no more advocating.       It's now in your hands.

03:33:13    7          It's even harder for me than him because he gets to go

03:33:18    8   up last, and we don't get the opportunity to respond to what

03:33:23    9   he says.    So if you see me jumping around, you'll know he

03:33:27   10   said something that I take issue with.

03:33:34   11          But the most important check here isn't any of us.

03:33:41   12   Frankly, we're unimportant now.        The important check is you

03:33:50   13   as you assess plaintiffs' argument, plaintiffs' arguments,

03:33:54   14   as you assess the expert testimony, all the documents, as

03:33:58   15   you assess what Mr. Lanier says when gets up last.

03:34:04   16          We ask you to challenge what plaintiffs say just as

03:34:09   17   you should challenge what we say.        We ask you to think about

03:34:15   18   how we might respond.      And we ask you to consider the

03:34:23   19   framework that I've tried to layout today from FDA's

03:34:30   20   approval of the medicine, to DEA's approval of the volume,

03:34:38   21   to the licensed doctors who wrote the prescriptions, the

03:34:43   22   vast, vast majority of whom were doing so legitimately, to

03:34:49   23   the layers of tools CVS uses to try and catch illegitimate

03:34:55   24   prescriptions, to the fact that law enforcement never found

03:35:07   25   grounds for any action against any CVS Pharmacy or
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03:35:12    1   pharmacist in Lake and Trumbull County.

03:35:17    2          Our final request to you is that you filter the

03:35:22    3   evidence, you filter the arguments through this framework

03:35:28    4   and through your recollection of the entirety of the

03:35:33    5   testimony and the entirety of the evidence.

03:35:38    6          Did CVS and its pharmacists in Lake and Trumbull

03:35:46    7   Counties act so egregiously so as to harm the public health

03:35:52    8   of entire communities?      Absolutely not.

03:35:59    9          Thank you.

03:36:09   10                   THE COURT:     All right.    Thank you,

03:36:11   11   Mr. Delinsky.

03:36:12   12          All right.    Ladies and gentlemen, we'll take our

03:36:15   13   mid-afternoon break.      15 minutes.    And then we will have

03:36:18   14   Walmart's closing.

03:36:52   15             (Jury excused from courtroom at 3:36 p.m.)

03:36:52   16                   MR. LANIER:     Your Honor, I have three matters

03:36:53   17   I need to put on the record.

03:36:54   18                   THE COURT:     Wait a minute.

03:36:54   19          Do we have the plaintiffs' exhibits or is it still --

03:36:59   20   all right.    This is a huge problem.       All right.    That's all

03:37:03   21   I can say.    It's a huge problem.

03:37:07   22                   MR. LANIER:     Thank you, Your Honor.

03:37:08   23          While on the subject of huge problems, I've three

03:37:12   24   things I need to say in response to the --

03:37:14   25                   THE COURT:     Okay.    Sit down for a minute.
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03:37:15    1                    MR. LANIER:    Thank you.

03:37:15    2           -- in response to the closing argument that was just

03:37:19    3   done.

03:37:20    4           I'll start light and then get the heavier.

03:37:26    5           Light.   I was chided in this trial for saying that I

03:37:30    6   was running out of time at various places.          Mr. Delinsky

03:37:35    7   stood up in closing argument and said he only looked at two

03:37:38    8   of the prescriptions of Mr. Catizone because that's all he

03:37:41    9   had time for, when the defendants had more time than they

03:37:45   10   used in this trial.      And that's just flat wrong.       I'd like

03:37:49   11   to make that note on the record.

03:37:51   12           Second point.    Five times he said that I had to prove

03:37:57   13   that the defendants acted egregiously, so egregiously,

03:38:01   14   egregiously, egregiously, egregiously.         That's not the law.

03:38:06   15   It's not even remotely the law.

03:38:08   16                    THE COURT:    Well, to be fair, you got to prove

03:38:12   17   intentionally or illegally.       Illegally may be worse than

03:38:15   18   egregiously.     So let's just move on.      All right?

03:38:17   19                    MR. LANIER:    And then the third -- with all

03:38:19   20   due respect, yes, I'll move on, but it's still a wrong

03:38:25   21   statement of the law.

03:38:25   22                    THE COURT:    Well, it --

03:38:27   23                    MR. LANIER:    And it's one that, frankly, I'll

03:38:29   24   deal with, but it's there, and I want it on the record.

03:38:32   25                    THE COURT:    As I said, egregiously may be a
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                                                                                     7255


03:38:35    1   lower standard than --

03:38:36    2                    MR. LANIER:    Intentionally?

03:38:37    3                    THE COURT:    -- than illegally.

03:38:38    4                    MR. LANIER:    Okay.    But not than

03:38:40    5   intentionally, which is one of my burdens.          That's okay.      I

03:38:42    6   understand, Judge.

03:38:42    7          The third is the most important because it's a, in my

03:38:45    8   opinion, could easily be a game changer in this case.             I

03:38:51    9   think the Court was sandbagged.         I know that we were

03:38:53   10   sandbagged.

03:38:54   11          When I had Villanueva on the stand to testify about

03:38:57   12   specific prescriptions, he was not allowed to.           It was

03:38:59   13   objected to.    And on October 19th, on Page 10 of 285 -- or

03:39:07   14   no, actually, it's Page 2710 of the manuscript, I was trying

03:39:11   15   to get into that.     You specifically would not allow me to.

03:39:15   16   You said I'm not admitting any of these -- quote, I'm not

03:39:17   17   admitting any of these documents.        We're not focusing on any

03:39:21   18   prescriptions.

03:39:22   19          And so with that understanding, I didn't get into

03:39:25   20   them, and I wasn't allowed to put them on, and now I have

03:39:28   21   Mr. Delinsky up here saying I've never focused on a

03:39:31   22   prescription, I've never shown the prescriptions, I've never

03:39:34   23   shown the prescriptions filled by anybody on a bad

03:39:38   24   situation, I haven't shown, I haven't shown, I haven't

03:39:40   25   shown, I haven't shown an investigation, which Villanueva
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03:39:43    1   was not allowed to go into in any depth either because of

03:39:47    2   the objection of the defendants.        And so I'm absolutely

03:39:51    3   hamstrung.

03:39:52    4          I believe the Court's been sandbagged.         We've

03:39:55    5   certainly be sandbagged.       And for that kind of an argument

03:39:58    6   to be made when I was specifically precluded from going into

03:40:02    7   that evidence is -- is -- I don't know how you even cure it,

03:40:06    8   but if there's a way to cure it, I'd like it cured.

03:40:09    9                    MR. DELINSKY:    Your Honor, I'd just note that

03:40:10   10   it did come into evidence.       There was -- the back page of

03:40:13   11   the OARRS report came in that showed who -- what pharmacies

03:40:18   12   filled prescriptions for Mr. Winland.

03:40:20   13                    MR. LANIER:    But it didn't show the

03:40:21   14   prescriptions.     The prescriptions were the three pages of

03:40:23   15   the OARRS sheet that didn't allow in that showed how many

03:40:26   16   times, what the prescriptions were, what the drugs were,

03:40:29   17   when they were being filled, the trinity cocktails, and all

03:40:32   18   the rest of that mess.

03:40:36   19                    MR. WEINBERGER:     That was the Winland

03:40:37   20   investigation that Mr. Delinsky just got up and talked

03:40:40   21   about, which came into evidence.        No, you prevented us from

03:40:46   22   showing what --

03:40:46   23                    THE COURT:    Mr. Delinsky, you created a

03:40:47   24   problem.    How do you want to fix it, or do you want me to

03:40:50   25   fix it?
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03:40:50    1                   MR. WEINBERGER:      Well, I mean, it's still

03:40:51    2   obvious --

03:40:52    3                   THE COURT:     I'll let him get up and fix it, or

03:40:54    4   I'll fix it for him.

03:40:55    5                   MR. DELINSKY:     Judge, I don't think I

03:40:57    6   understand what the problem is, so maybe you can define it.

03:41:00    7                   THE COURT:     I think you just heard the last

03:41:01    8   discussion.    You want to fix it, or I'll have to fix it for

03:41:04    9   you, sir?    So you got 15 minutes.      Okay?   We're going to

03:41:07   10   take a break.

03:41:08   11                   MR. DELINSKY:     But, Judge, I don't --

03:41:09   12                   THE COURT:     You fix it; I'll fix it for you if

03:41:11   13   you don't.    All right?

03:41:12   14                   MR. LANIER:     Thank you, Judge.

03:41:12   15                   THE COURT:     If I don't get a good suggestion

03:41:14   16   from you as to how you're going to fix it, I'll come out and

03:41:18   17   fix it.

03:41:19   18                   MR. LANIER:     Thank you, Judge.

03:41:19   19                   THE COURT:     We're in recess.

03:41:21   20         (Recess was taken from 3:41 p.m. till 3:57 p.m.)

03:57:27   21                   COURTROOM DEPUTY:      All rise.

03:57:28   22                   THE COURT:     All right.    Everyone can be seated

03:57:29   23   for a minute.

03:57:29   24          All right.    Mr. Delinsky, do you have a suggestion?

03:57:33   25                   MR. DELINSKY:     Your Honor, I would like to
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03:57:34    1   pass up two documents.

03:57:37    2                   THE COURT:     Just want to know, do you have a

03:57:39    3   suggestion as to what I should say; yes or no?

03:57:41    4                   MR. DELINSKY:     Judge, I don't know

03:57:42    5   understand --

03:57:42    6                   THE COURT:     All right.    Here's what I'm going

03:57:44    7   to say.   I gave you your chance.       This is what I propose to

03:57:47    8   instruct the jury:

03:57:48    9           The Court and the parties all agreed before this trial

03:57:51   10   that the plaintiffs' case would not be based on evidence of

03:57:55   11   individual prescriptions and that plaintiffs would not

03:57:59   12   introduce evidence of any individual prescription they

03:58:02   13   claimed was illegitimate.       The jury is therefore to

03:58:06   14   disregard what Mr. Delinsky said about the absence of

03:58:10   15   evidence of any illegitimate prescription.

03:58:13   16                   MR. DELINSKY:     Judge, that's just false.

03:58:14   17   We --

03:58:15   18                   THE COURT:     Fine.

03:58:15   19                   MR. DELINSKY:     We didn't agree to that.       We

03:58:17   20   sent our interrogatories for them asking that, and, judge,

03:58:20   21   we had argument with you after argument with you on our

03:58:24   22   telephonic status conferences where we said that's how we're

03:58:26   23   going to pursue our defense, and you said the defense can

03:58:29   24   try it any way they wanted to.         That's how plaintiffs

03:58:32   25   elected to prove this through aggregate proof.           We never
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03:58:35    1   agreed to that whatever.      We put an interrogatory to them,

03:58:37    2   Interrogatory Number 25, asking them to identify the

03:58:40    3   illegitimate prescriptions.       They chose not to identify

03:58:42    4   them.   That's just an incorrect statement.         If that's go in,

03:58:45    5   I ask for a mistrial.      It's just not right.      We didn't agree

03:58:49    6   to that, and I don't think any of the other defendants

03:58:51    7   agreed to that.

03:58:53    8                   MR. MAJORAS:     No.

03:58:53    9                   MR. STOFFELMAYR:       No, it's always been our

03:58:54   10   position that they were required to do that and it was a

03:58:57   11   fatal defect in their case that they elected not to.

03:59:02   12                   MR. MAJORAS:     Walmart agrees.     Walmart agrees.

03:59:02   13                   MR. LANIER:     The problem we've got with this,

03:59:05   14   Your Honor, is --

03:59:05   15                   THE COURT:     I don't know what to say then.

03:59:07   16                   MR. LANIER:     Yeah.   No, no, no.     Here's the

03:59:08   17   reason we've got a problem, though.         The reason we've got a

03:59:11   18   problem is because when I offered the evidence to counter

03:59:14   19   what the defendants were trying to defend the case, they put

03:59:17   20   up a roadblock, and they said -- that's why I say they

03:59:22   21   sandbagged the Court.      They sandbagged you, they sandbagged

03:59:25   22   up.   But they put up a roadblock and told you that you

03:59:28   23   shouldn't allow us to show any individual prescription data

03:59:30   24   when, if that's the defense they were going to raise, I

03:59:33   25   certainly was entitled to attack their defense, and I'd have
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03:59:36    1   been entitled to put it in in that way.         That's a classic

03:59:39    2   sandbag.

03:59:40    3          And then for Mr. Delinsky to stand up here and to make

03:59:42    4   that kind of an argument is just to rub salt into the wound

03:59:49    5   of the sandbag.     I mean, I -- I'm beside myself trying to

03:59:53    6   figure out why on earth that argument would be made.

03:59:55    7                   MR. DELINSKY:     And, Your Honor, I'm passing up

03:59:57    8   to you two things.     The first is the slide that Mr. Lanier

04:00:01    9   used this morning.

04:00:03   10                   THE COURT:     All right.

04:00:04   11                   MR. DELINSKY:     Which opened the door to this

04:00:06   12   very issue.    He talked about Mr. Winland and the

04:00:10   13   prescriptions filled by the pharmacies.

04:00:12   14          Then the next thing I'm handing up to you, Your Honor,

04:00:16   15   is a highlighted transcript of the page of the testimony

04:00:19   16   from Captain Villanueva whereby Captain Villanueva makes

04:00:23   17   crystal clear that he wasn't looking at the pharmacies.            He

04:00:27   18   has no opinion on whether the pharmacies did anything wrong.

04:00:31   19          We weren't precluding investigation of any

04:00:36   20   investigation of that for prescriptions that shouldn't have

04:00:38   21   been filled by the pharmacies.        He testified he had never

04:00:40   22   mentioned that.

04:00:41   23                   MR. LANIER:     That's flat wrong, Your Honor.

04:00:42   24   He's got that testimony that he's offering you right now.

04:00:44   25          The point that I was trying to get into through Dr. --
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04:00:47    1   or through Tony Villaneuva was the OARRS sheet that showed

04:00:50    2   the prescriptions.     I had other experts who would have

04:00:52    3   testified about the propriety of those prescriptions and

04:00:55    4   whether or not they were a problem, and that's what I was

04:00:57    5   never allowed to do.      I wasn't allowed to get in those

04:01:00    6   individual prescriptions that showed these stores filling

04:01:04    7   prescriptions that are blatantly wrong with blatant red

04:01:07    8   flags under the law.

04:01:08    9                   MR. DELINSKY:     And, Your Honor, every single

04:01:10   10   one of those prescriptions was in our data.          It was produced

04:01:12   11   and available to them, every single one of them.

04:01:17   12                   MR. WEINBERGER:      Your Honor --

04:01:18   13                   MR. DELINSKY:     And hundreds of thousands more.

04:01:21   14                   MR. WEINBERGER:      Your Honor, we didn't use the

04:01:22   15   slide that you just offered to the Court.

04:01:25   16                   THE COURT:     What?

04:01:26   17                   MR. WEINBERGER:      We did not use that slide.

04:01:28   18                   MR. DELINSKY:     Yes, you did.

04:01:29   19                   MR. WEINBERGER:      It was disclosed, but it was

04:01:30   20   never --

04:01:32   21                   MR. DELINSKY:     Mr. Lanier referred to it --

04:01:32   22                   MR. WEINBERGER:      It was never used -- it was

04:01:32   23   never used in his open and close.

04:01:36   24                   MS. FUMERTON:     Absolutely.     We discussed this

04:01:37   25   prior to -- Pete, prior to it going up, and he absolutely
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04:01:40    1   discussed it in his opening.

04:01:41    2                   MR. WEINBERGER:      You may have discussed it.

04:01:42    3   I'm saying in his presentation he never used the slide.

04:01:46    4                   MS. FUMERTON:     Absolutely.

04:01:47    5                   THE COURT:     I don't remember seeing the slide.

04:01:48    6                   MR. LANIER:     I did not use the slide.

04:01:49    7                   MR. DELINSKY:     It was discussed, Your Honor.

04:01:50    8                   MR. WEINBERGER:      It doesn't make any

04:01:51    9   difference.    It wasn't used.

04:01:54   10                   THE COURT:     It was discussed --

04:01:56   11                   MR. DELINSKY:     He discussed Winland in -- he

04:01:57   12   discussed Captain Villanueva's testimony on this.

04:01:59   13                   THE COURT:     Well, he said something about

04:02:00   14   Captain Villanueva.

04:02:01   15                   MR. WEINBERGER:      He never discussed that in

04:02:03   16   discussing Villanueva.

04:02:03   17                   MR. DELINSKY:     He mentioned the fact that

04:02:05   18   Walmart only filled lorazepam or Diazepam or one of the

04:02:10   19   muscle relaxants.     Absolutely.

04:02:11   20                   MR. WEINBERGER:      Not with respect to the

04:02:13   21   Winland investigation.

04:02:14   22                   MR. DELINSKY:     That was the only one.

04:02:19   23                   MR. MAJORAS:     It's that same document.

04:02:19   24                       (Simultaneous crosstalk.)

04:02:21   25                   MR. DELINSKY:     Your Honor, we have been clear
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04:02:22    1   from day one --

04:02:23    2                   THE COURT:     All right.    Well, Mr. Lanier, I'll

04:02:25    3   let you say whatever you want to say.

04:02:26    4                   MR. LANIER:     Okay.   Thank you, Judge.

04:02:28    5                   THE COURT:     All right?

04:02:28    6                   MR. WEINBERGER:      We have one other issue --

04:02:29    7   one other issue, Your Honor.

04:02:30    8                   THE COURT:     You can't say -- you can't put

04:02:32    9   anything -- you can't refer to evidence that doesn't exist.

04:02:35   10                   MR. LANIER:     And I won't do that.

04:02:36   11                   THE COURT:     All right?

04:02:38   12                   MR. LANIER:     I don't want him to put errors in

04:02:39   13   my case.    I don't want error in my case --

04:02:40   14                   THE COURT:     That's what I -- I didn't mean.        I

04:02:43   15   meant you can -- you can say --

04:02:43   16                       (Simultaneous crosstalk).

04:02:43   17                   MR. LANIER:     But I will.

04:02:44   18                   THE COURT:     -- whatever you want to say in

04:02:45   19   response to Mr. Delinsky --

04:02:45   20                   MR. LANIER:     I will.

04:02:46   21                   THE COURT:     -- but you cannot put into

04:02:48   22   evidence what's not in the trial.

04:02:50   23                   MR. LANIER:     I won't say something that's not

04:02:51   24   in evidence, but I will -- I will address it.

04:02:55   25                   MR. WEINBERGER:      Speaking of that, Your Honor,
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04:02:57    1   Mr. Swanson, during his closing on behalf of Walgreens, with

04:03:01    2   respect to whether or not Walgreens sold data, said that it

04:03:11    3   was not true that Walgreens sold patient data.           We know

04:03:18    4   that's an incorrect statement.         We know that's a

04:03:21    5   misrepresentation.

04:03:22    6           Now, it would be one thing for him to say there's no

04:03:25    7   proof that they did, but he said specifically, it is not

04:03:29    8   true.

04:03:30    9                    THE COURT:    Well, there's evidence, and you

04:03:31   10   can refer to the evidence -- what the evidence in the case

04:03:34   11   is about that.

04:03:35   12                    MR. WEINBERGER:     Okay.

04:03:35   13                    THE COURT:    All right?

04:03:37   14                    MR. SWANSON:    There's no evidence in the case,

04:03:38   15   Your Honor.

04:03:38   16                    MR. LANIER:    Yes, there is.

04:03:40   17                    THE COURT:    Well, I think there is, so,

04:03:41   18   Mr. Lanier -- f Mr. Lanier believes there's evidence, he can

04:03:43   19   recite it.

04:03:43   20                    MR. LANIER:    Yep.

04:03:45   21                    THE COURT:    All right?

04:03:45   22                    MR. SWANSON:    He's not our witness, Mark.

04:03:50   23                    THE COURT:    Whatever.

04:03:51   24           And I think, Mr. Swanson, you also were a little loose

04:03:54   25   with one of the instructions, all right, and if Mr. Lanier
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04:03:56    1   wants to point that out, of course, he can, but ultimately

04:03:59    2   I'm going to give the instructions.

04:04:02    3          All right.    Let's bring the jury in.

04:05:25    4                     (Jury returned to courtroom.)

04:05:35    5                    THE COURT:    Okay.   Please be seated, ladies

04:05:38    6   and gentlemen.

04:05:38    7          We will now have Walmart's closing by Mr. Majoras.

04:05:43    8                CLOSING ARGUMENT BY DEFENDANT WALMART

04:05:43    9                    MR. MAJORAS:    Thank you, Your Honor.

04:05:44   10          Good afternoon.     Let me get this adjusted so it's not

04:05:54   11   too loud.

04:05:54   12          Good afternoon.     On behalf of my colleagues, Tina and

04:06:00   13   Tara, who have tried this case with me, on behalf of my

04:06:02   14   client, Walmart, I want to thank all of you for your

04:06:04   15   attention that you've given to this case and the effort that

04:06:07   16   you so obviously put into it.

04:06:08   17          It's very important to all of us here to see that

04:06:12   18   attention and to understand that you are doing all you can

04:06:17   19   to understand the full extent of the evidence that's been

04:06:19   20   offered in this case.

04:06:21   21          I can't recall whether some of you may have served on

04:06:25   22   a jury before, but something that often surprises jurors the

04:06:31   23   first time they do it is we all rise when you come in.            When

04:06:34   24   the judge comes in, we all rise for the judge, but we do

04:06:35   25   that for the jury.     And we do that for two reasons:         One, we
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04:06:39    1   are honoring your service.       But importantly, we are

04:06:43    2   recognizing that you are the deciders of the facts here.

04:06:46    3   You are the decision makers here.        And so when you come into

04:06:49    4   the court, just like we do when -- we do rise for the

04:06:52    5   judge -- when you come into the court, we rise for that

04:06:54    6   reason.    And I want to thank you for that service.

04:06:57    7           In my discussion today, I want to do a number of

04:07:03    8   things.    I want to cover a number of areas, and I'm going to

04:07:07    9   try not to repeat too much because many of the things that

04:07:10   10   you heard from Mr. Delinsky and Mr. Swanson apply to Walmart

04:07:14   11   as well.    But there's something I want to talk about -- and

04:07:17   12   we've heard a lot of discussion about road maps in this

04:07:19   13   case.

04:07:19   14           I want to talk about something else that's on a map.

04:07:22   15   And it's something that every time we look out the windows

04:07:24   16   here it's so obvious to us, the importance of bridges.            We

04:07:28   17   see all the bridges that cross the Cuyahoga.          I think I

04:07:33   18   remember doing a boat tour of 21 bridges of Cuyahoga County

04:07:36   19   once -- of the Cuyahoga River once.

04:07:39   20           The significance is the plaintiffs, in their burden of

04:07:42   21   proof and what they have to demonstrate to you, is they've

04:07:45   22   got to bridge concepts.      They've got to be able to show that

04:07:48   23   there's conduct.     Then they've got to connect it to

04:07:50   24   causation.    They've got to connect a number of different

04:07:53   25   things here, and it's their burden of proof do that to prove
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04:07:56    1   their case.

04:07:58    2          And I want to talk about a couple bridges in

04:08:00    3   particular that they clearly have not met.          And I'll go

04:08:04    4   through that in some detail.

04:08:07    5          But first I want to think back a little bit to when I

04:08:09    6   first had a chance to address you at the start of this case.

04:08:12    7   One of the things I said to you, that you'll be doing as a

04:08:15    8   juror, you ought to do as a juror, and it's kind of odd

04:08:18    9   sounding, is listen for what you won't be hearing.

04:08:22   10          And in this case in particular, as we look at what the

04:08:26   11   plaintiffs have tried to demonstrate about the chain

04:08:29   12   pharmacies in this case, what we haven't heard is what has

04:08:34   13   actually happened in Trumbull and Lake counties,

04:08:39   14   specifically with what the plaintiff -- with what the chain

04:08:41   15   pharmacies have done.      What have they done in terms of the

04:08:45   16   prescriptions they have dispensed over time?          Where have

04:08:47   17   they gone?    Have they been shown to go into the illicit

04:08:51   18   market?   Have they been shown to be diverted?

04:08:54   19          And if you look at the list of witnesses that the

04:08:56   20   plaintiffs brought in, in particular their experts, we

04:09:00   21   shouldn't be surprised that we didn't hear any of that.

04:09:04   22   Because they didn't come in equipped do that analysis.

04:09:07   23          If we could go to slide 44, please.

04:09:17   24          So this is -- this is Dr. McCann, the math person that

04:09:22   25   the plaintiffs called.
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04:09:25    1          I said, you don't have any opinion that any of those

04:09:28    2   dosage units that are tallied up on this exhibit should not

04:09:30    3   have been dispensed in Lake and Trumbull County; correct,

04:09:34    4   sir?

04:09:34    5          He answered correct.

04:09:35    6          Let's go to our next slide.

04:09:37    7          This is Dr. Lembke.      And you can't identify any

04:09:41    8   specific prescription that was filled by any of the

04:09:43    9   defendant pharmacists in Lake and Trumbull County that was,

04:09:46   10   in fact, diverted, can you?

04:09:48   11          And she answered, again, I did not look at the data at

04:09:52   12   the county level specifically in Lake and Trumbull Counties.

04:09:55   13   I looked at it in the aggregate.

04:09:58   14          Our next slide.     She further testified.      Question:

04:10:03   15   But in terms of examining store by store how the pharmacists

04:10:06   16   behaved and whether or not it was proper, is that your area

04:10:10   17   of testimony?

04:10:11   18          Her answer:    On a store-by-store level?       That is for

04:10:14   19   the other experts.

04:10:16   20          Let's look at another expert.        Well, this is actually

04:10:21   21   Mr. Catizone -- or I'm sorry -- Mr. Rannazzisi.           I recognize

04:10:25   22   the picture, but I got the wrong name.

04:10:26   23          Mr. Rannazzisi was asked, if we focus again on Lake

04:10:30   24   and Trumbull Counties, it's true that you have no

04:10:32   25   information that any Walmart pharmacist ever knowingly
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04:10:35    1   filled a prescription for a pill mill in either county; is

04:10:39    2   that correct?

04:10:39    3          Answer:   No, I have never looked at any prescriptions

04:10:43    4   related to Lake and Trumbull County Walmart stores, no.

04:10:47    5          Next.    Mr. Rannazzisi again, this is when Mr. Lanier

04:10:54    6   was questioning him.      He said, do you know anything about --

04:10:57    7   I don't even know that you know the facts of our case.            Do

04:10:59    8   you know anything about that?

04:10:59    9          His answer, no, sir.

04:11:04   10          One more, please.

04:11:05   11          This is -- this is Dr. Alexander, another expert the

04:11:10   12   plaintiffs brought in.

04:11:11   13          Question:    Fair enough.    And, Dr. Alexander, you have

04:11:14   14   no evidence that any of these defendants filled any

04:11:16   15   prescription in Lake and Trumbull County that was not

04:11:19   16   legitimate?

04:11:20   17          Answer:   Well, I don't.     I wasn't asked to look at

04:11:23   18   that evidence.     It wasn't required for what I was asked do.

04:11:27   19   But I do not have that sort of evidence.

04:11:32   20          One more slide.

04:11:35   21          Dr. Alexander, question:       You also don't have any

04:11:38   22   evidence that any prescription filled by any of these

04:11:41   23   defendants in Lake and Trumbull County was diverted and

04:11:43   24   caused harm?

04:11:45   25          His answer, again, I do not.       That wasn't part of what
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04:11:48    1   I was asked to do and wasn't required for me to answer the

04:11:51    2   two questions that I was asked to answer, which were

04:11:55    3   presented earlier.

04:11:56    4          And our final slide.      Not final, just of this section.

04:12:01    5          This is Dr. Keyes.      And maybe you haven't said this

04:12:05    6   today -- it was a question -- maybe you haven't said this

04:12:07    7   today, or even last week, but my understanding is that in

04:12:09    8   this case you have opinions about pharmacies generally, but

04:12:12    9   not about any specific pharmacy chain or pharmacy location;

04:12:15   10   is that correct?

04:12:16   11          And her answer is, that's correct.

04:12:21   12          The plaintiffs came into this case, their experts came

04:12:23   13   into this case without knowing the information specifically

04:12:27   14   in Lake and Trumbull County.       And they want you to base your

04:12:31   15   evidence on some broader set of -- I'm sorry, they want you

04:12:35   16   to base your decision on some broader set of evidence.

04:12:39   17          And as you think about the evidence, and you think

04:12:41   18   about what the plaintiffs have proven or failed to prove,

04:12:44   19   keep that in mind.     They didn't come in even expecting to

04:12:48   20   offer that proof.

04:12:51   21          And I'll talk about Mr. Catizone in a moment.           But

04:12:53   22   first let me go back to some of the bridges that I want to

04:12:55   23   talk about.    In one of the -- the first bridges relates to

04:13:00   24   the question that you're going to have to answer on the

04:13:02   25   verdict farm.    This is Question No. 1.
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04:13:10    1          If you'll go to slide 1.

04:13:12    2          So this is, as we said, there's a question for both

04:13:15    3   Lake and Trumbull County, but they largely read the same.

04:13:18    4   And in answering this question, I want to focus on three key

04:13:21    5   words as you assess the evidence and make your decision.

04:13:26    6          Go to the next slide, please.

04:13:29    7          Did Lake and Trumbull County prove, by the greater

04:13:31    8   weight of the evidence, that oversupply of legal

04:13:35    9   prescription opioids and diversion of these opioids into the

04:13:39   10   illicit market outside of appropriate medical channels is a

04:13:45   11   public nuisance in Lake County?

04:13:49   12          So the first word I'd like to talk about is "is."

04:13:52   13   Simplest word on the screen.       And we -- you've heard some

04:13:56   14   discussion about it already.       Is means current.      And as

04:13:59   15   Judge Polster's already instructed, ongoing.          Is there an

04:14:02   16   ongoing public nuisance?

04:14:06   17          The second, "oversupply."

04:14:13   18          The public nuisance at issue here is -- that is on

04:14:16   19   your question is, is there currently an oversupply of

04:14:23   20   prescription opioids in these two counties that are being

04:14:25   21   diverted?    It's not a question of whether there are --

04:14:29   22   the -- what we've seen certainly, obviously, some of the

04:14:32   23   harms that drug use, both legal and otherwise, have caused

04:14:35   24   in these counties.     The question is, is there an oversupply

04:14:40   25   currently in these counties that the defendants are
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04:14:42    1   ultimately responsible for?

04:14:43    2          And then the final word is "diversion."         Is there

04:14:50    3   oversupply, and then is there diversion of that oversupply

04:14:53    4   currently ongoing in these counties?

04:14:55    5          And the evidence will demonstrate that the -- the

04:14:58    6   evidence will show that the plaintiffs have not demonstrated

04:15:01    7   that connection in this case.

04:15:05    8          At first when you read this instruction it seems like

04:15:09    9   there's a fairly obvious answer.        You've heard a lot about

04:15:12   10   the problems of addiction, problems of drug use in these

04:15:16   11   counties.    But it's not simply a question of is there a drug

04:15:22   12   problem in these counties.       It's a question of connecting.

04:15:25   13          Is there currently an oversupply in these counties of

04:15:28   14   prescription opioids that are being diverted today?

04:15:34   15          The testimony and evidence in this case cannot be

04:15:37   16   clearer, that the ongoing issues of concern in Lake and

04:15:42   17   Trumbull Counties revolve around the use of illicit drugs,

04:15:46   18   principally heroin and fentanyl, which is a particularly

04:15:50   19   lethal drug, especially when there is no way to know how

04:15:54   20   much might be present in the street dose.

04:15:58   21          Plaintiffs' witnesses told you, to the extent there is

04:16:00   22   a public nuisance today, it is a crisis of illicit fentanyl

04:16:04   23   imported into this country from China and Mexico and

04:16:07   24   supplied by illegal drugs and dealers on the street.

04:16:11   25          Go to slide 6, please.
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04:16:13    1          This is -- this is Captain Villanueva.         We heard a

04:16:21    2   little bit about illegal fentanyl.        That's a problem in

04:16:24    3   Trumbull County; right?

04:16:24    4          His answer, currently it is.

04:16:30    5          Next slide.

04:16:32    6          This is from Ms. Caraway in Trumbull County.

04:16:36    7          In 2019, did you have an understanding that illicit

04:16:39    8   fentanyl was a cause of many of the harms that you've

04:16:41    9   testified to today?

04:16:43   10          Her answer, yes.

04:16:45   11          Next slide.

04:16:46   12          This is, again, Dr. Alexander.

04:16:49   13          And then you go on to say that the impact of illicit

04:16:52   14   fentanyl has been especially severe in the communities

04:16:54   15   relative to other areas in the United States; right?

04:16:57   16          He says yes.

04:16:58   17          So the impact of illicit fentanyl in Lake and Trumbull

04:17:01   18   County, in your view, has been especially severe?

04:17:04   19          His answer, yes.

04:17:07   20          Next slide.

04:17:10   21          Dr. Keyes.    Question:    Fentanyl is a significant cause

04:17:13   22   of the overdose burden in those two counties?

04:17:16   23          Her answer, in recent years, yes.

04:17:22   24          And then we called Professor Murphy.         Professor Murphy

04:17:27   25   is the economist from the University of Chicago.           And the
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04:17:30    1   reason we called in Professor Murphy is he discussed with

04:17:34    2   you, is he was going to talk about oversupply.           You've got

04:17:36    3   to understand the reasons that that has come about.            It's

04:17:39    4   not simply a matter of the pills just show up, or the drugs

04:17:42    5   just show up out of nowhere.       There's cause -- I'm sorry,

04:17:46    6   there's a demand and supply element to that.          And Dr. Murphy

04:17:49    7   testified about that.      And he testified in particular.        We

04:17:52    8   go to our next slide.

04:17:53    9          He says that the increase in misuse of and mortality

04:17:57   10   from illegal opioids is particular, heroin and fentanyl,

04:18:00   11   which has really been a big part of the story of what we've

04:18:03   12   seen in Ohio and these counties in particular, but the

04:18:06   13   United States as a whole even more in the recent years.

04:18:11   14          This is a clear example of the difference between what

04:18:14   15   the counties are seeing in recent times compared to what

04:18:17   16   they may have seen more than a decade ago.

04:18:20   17          You've heard plaintiffs talk about the three phases of

04:18:23   18   the opioid crisis.     Here's a slide that you've seen in

04:18:28   19   different ways.

04:18:29   20          And it shows very clearly, in the early stages of the

04:18:35   21   time period they talk about, phase 1 and phase 2 that you've

04:18:38   22   heard from the plaintiffs, the issue in terms of

04:18:44   23   prescription opioids, but those level off.          And what

04:18:47   24   happens?    We see the jump in the synthetic opioids, the

04:18:51   25   heroin, the fentanyl.      That's the problem in the counties
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04:18:55    1   today.    And the plaintiffs need to bridge how you get to

04:18:59    2   those issues today as opposed to whether or not there's

04:19:03    3   actually an oversupply of prescription opioids.

04:19:07    4            Recognizing this reality, the plaintiffs strain to

04:19:16    5   imagine a bridge that connects prescription opioid use in

04:19:20    6   2010 to the illicit fentanyl overdoses in 2021.           It's

04:19:25    7   exceptionally long one and has no support.          If the cause of

04:19:29    8   the problem was, as plaintiffs say, an oversupply of

04:19:34    9   prescription opioids prior to 2010, they need to bridge the

04:19:39   10   earlier periods of the greatest supply to the ongoing

04:19:43   11   problems of today, the impact of the illegal drugs that have

04:19:46   12   hit the counties like a tsunami as Trumbull County's

04:19:52   13   Ms. Caraway testified.

04:19:53   14            Plaintiffs try to blame the pharmacies for the conduct

04:19:56   15   of drug dealers and other actors the pharmacies do not and

04:19:59   16   cannot control.     Ask yourself, is that reasonable?        It's

04:20:04   17   not.

04:20:05   18            The defendants, of course, have no role in those

04:20:08   19   illegal products, nor in the drug cartels that produce and

04:20:11   20   sell them.

04:20:13   21            Plaintiffs try to get around this with something that

04:20:15   22   has been described in a number of different ways during the

04:20:17   23   course of the trial, but seem to center on what has been

04:20:21   24   referred to as the gateway theory.        Most of this comes from

04:20:25   25   plaintiffs' epidemiologist, Dr. Keyes, and a bit from
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04:20:30    1   Dr. Lembke.

04:20:32    2          They reviewed literature and concluded that prior use

04:20:33    3   of prescription opioids is associated with later use of

04:20:36    4   heroin and fentanyl.      But going back to the so-called first

04:20:40    5   wave, we heard extensive evidence that it was doctors, not

04:20:44    6   pharmacists, that drove the increase in demand for

04:20:46    7   prescription opioids.      Remember, there is no suggestion that

04:20:51    8   any prescription for opioids started with the pharmacists.

04:20:57    9          Doctors, not pharmacists, are the ones who are

04:20:59   10   responsible for making treatment determinations for their

04:21:02   11   patients, deciding whether to prescribe medication,

04:21:04   12   including opioids, and setting the dose and duration of

04:21:08   13   prescription opioids that patients receive.          Dr. Lembke

04:21:12   14   herself told that you most doctors honestly believe that

04:21:19   15   they were writing legitimate prescriptions.

04:21:20   16          Slide 14, please.

04:21:22   17          Her testimony, in the first decade and a half of this

04:21:25   18   century, most of the doctors who were writing opioid

04:21:28   19   prescriptions thought they were writing for a legitimate

04:21:31   20   medical purpose.

04:21:35   21          Speaking of doctors, you heard a number of different

04:21:38   22   names of doctors, Drs. Demangone, Veres, and Levin.            All

04:21:46   23   these doctors were licensed to practice by the State of Ohio

04:21:49   24   and registered by the DEA to prescribe opioids.           The way

04:21:52   25   plaintiffs repeatedly referenced the same names suggests
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04:21:54    1   that plaintiffs believe that these were bad doctors who

04:21:57    2   wrote illegitimate prescriptions.        Despite that, they have

04:22:01    3   never brought you any evidence of any law enforcement or

04:22:04    4   regulatory actions against them.        And remember, you heard

04:22:07    5   about how Walmart stopped filling Drs. Demangone, Levin, and

04:22:14    6   Veres.

04:22:14    7            If plaintiffs believed that those doctors were the

04:22:17    8   worst of the worst, the 1 percent or the .1 percent,

04:22:20    9   whatever number you want to use, that Mr. Rannazzisi was

04:22:23   10   talking about, why didn't plaintiffs make them part of this

04:22:25   11   case rather than simply bring their names up from time to

04:22:29   12   time?

04:22:29   13            Despite all their own evidence that drug manufacturers

04:22:35   14   and doctors changed the practices of the entire health care

04:22:39   15   industry in the early phases, plaintiffs want you to blame

04:22:43   16   the pharmacists, not only for phase 1, but also for each of

04:22:47   17   the later phases, the ones involving illegal drugs like

04:22:50   18   heroin and fentanyl.      The plaintiffs ask you to do so based

04:22:53   19   on the alleged gateway theory, between prescription drug use

04:22:57   20   and heroin use, and then a third connection between heroin

04:23:00   21   use and illegal fentanyl use seen in Lake and Trumbull

04:23:03   22   Counties today.

04:23:04   23            To support this allegation, Dr. Keyes testified about

04:23:08   24   the prevalence of prior prescription opioid use among

04:23:12   25   today's heroin users.      But she didn't even compare that to
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04:23:16    1   the prevalence of prescription opioid use among people who

04:23:19    2   did not go on to use heroin.       We heard this statistic a

04:23:24    3   little earlier from Mr. Delinsky that -- now I'm going to

04:23:27    4   flip it.    She talked about there are 3.5 percent of people

04:23:32    5   who use a prescription opioid went on to try heroin.            That

04:23:37    6   means 96.5 percent did not.

04:23:41    7            Is that -- is that evidence?     Does that prove the

04:23:44    8   gateway that they're talking about that you can say that the

04:23:47    9   prescription opioids later led directly to the illegal use

04:23:52   10   of heroin and fentanyl that is plaguing these counties

04:23:58   11   today?    It's not.

04:23:59   12            And for that reason, in looking at Question No. 1, for

04:24:02   13   both counties, Lake and Trumbull County, the answer is no,

04:24:06   14   they have not proven that the oversupply of prescription

04:24:10   15   opioids is what's causing the current ongoing public

04:24:14   16   nuisance in these two counties.        If anything, what they

04:24:18   17   proved is that prescription opioids have gone down over

04:24:22   18   time.

04:24:22   19            We've seen the slides demonstrating that starting in

04:24:27   20   about 2012 the use of prescription opioids went down as

04:24:32   21   doctors became more aware of the issues, as law enforcement

04:24:35   22   was able to get better at cracking down on pill mills, as

04:24:40   23   legislation changed so that you couldn't have the internet

04:24:43   24   pharmacies over time.

04:24:45   25            So in looking at Question No. 2 -- No. 1, I'm sorry --
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04:24:48    1   looking at Question No. 1, look very closely at what you're

04:24:51    2   being asked to decide.      The question is whether there is an

04:24:55    3   oversupply of prescription opioids that is currently causing

04:24:58    4   the ongoing public nuisance in these two counties.           And it's

04:25:04    5   not.   The evidence is abundantly clear that the issues in

04:25:06    6   those counties are the illegal drugs that have led to the

04:25:10    7   spikes in overdose deaths and the problems of addiction that

04:25:13    8   those counties are -- these two counties are facing.

04:25:16    9          You heard from both sides that theories and

04:25:23   10   associations do not prove causation.         Even though they have

04:25:26   11   different backgrounds, Dr. Keyes the epidemiologist called

04:25:30   12   by the plaintiffs, and Professor Murphy, the economist,

04:25:34   13   agreed on this basic point.

04:25:36   14          Let's go to slide 17, please.

04:25:37   15          Dr. Keyes, question:      Everyone always says -- and it's

04:25:43   16   true, but maybe not that interesting -- association and

04:25:46   17   causation are not the same thing, obviously; correct?

04:25:49   18          She answered, causation is a subset of associations.

04:25:53   19          Question:    Some associations are causal and some are

04:25:57   20   not?

04:25:58   21          And she answered, that's right.

04:25:59   22          Then when Professor Murphy was on the stand, he was

04:26:03   23   questioned, when Dr. Keyes testified, and I believe she

04:26:05   24   wrote about in her opinion as well, she talked about

04:26:08   25   associations and causation.       How does that apply to your
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04:26:11    1   analysis?

04:26:12    2            His response, well, there's two issues.       One is many

04:26:16    3   of the studies she relies on are really just associations.

04:26:20    4   They look at people who abuse cocaine -- I mean, I'm

04:26:23    5   sorry -- abuse heroin and ask, what else have you done?

04:26:26    6            Well, that doesn't tell me that was a causal factor

04:26:30    7   because I have somebody who, you know, has a propensity to

04:26:34    8   abuse substances, they're going to abuse this substance and

04:26:38    9   other substances.     It's not -- that's a correlation, not a

04:26:41   10   causation.

04:26:43   11            That's very important as you look at whether the

04:26:47   12   plaintiffs have been able to connect and build that bridge

04:26:50   13   between issues in the early 2000s and prescription supply in

04:26:54   14   the early 2000s to what's happening in the two counties

04:26:57   15   today.

04:26:58   16            And we also had Dr. Murphy talk to you about a variety

04:27:03   17   of other issues that lead to the supply being what it is.

04:27:07   18   Now, plaintiffs -- Mr. Lanier said, the only thing

04:27:10   19   Dr. Murphy did was he come in -- he came in and said, it's

04:27:14   20   all because north -- people in Northeastern Ohio are

04:27:17   21   suffering and that's -- that's the whole issue that he has

04:27:20   22   raised.    That's not it.

04:27:23   23            Dr. Murphy looked at all of the potential issues as to

04:27:26   24   why there may be an increase in opioid use, and then

04:27:28   25   ultimately in the illicit drugs, the illegal drugs.            And he
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04:27:33    1   looked at things such as the Part D, the Medicare Part D,

04:27:37    2   which made the prescription drugs less expensive and more

04:27:40    3   attainable.    The surveys that encouraged doctors or clinics

04:27:46    4   to prescribe opioids because they wanted to avoid patients

04:27:49    5   saying that they were in pain after they were treated.            And

04:27:51    6   yes, he looked at the socioeconomic conditions that affect

04:27:54    7   Northeast Ohio.     And he certainly did talk about the fact

04:27:58    8   that that has an impact and it can't be ignored.

04:28:02    9            Northeast Ohioans are pretty tough.       If we can't take

04:28:06   10   an analysis of what may lead to whether it's illegal drug

04:28:11   11   use or anything else, then I suggest that -- I'm not even

04:28:18   12   real sure what I suggest.       I think living in Northeast Ohio

04:28:21   13   doesn't concern me that we're not going to be able to look

04:28:24   14   at that closely and not get offended because someone's

04:28:29   15   looking at those economic conditions that might have led to

04:28:31   16   the drug use that we see and our affecting the counties

04:28:34   17   today.

04:28:34   18            Dr. Murphy also looked at some age groups.

04:28:40   19            Let's go to slide 18, please.      You may remember these.

04:28:49   20   These were the side by side.

04:28:50   21            But what he looked at, he said, okay, well, who's

04:28:52   22   getting the prescription opioids?        Who are the prescription

04:28:54   23   opioids patients?     And then what are we seeing in terms of

04:28:56   24   the age groups, the demographics of those who are overdosing

04:29:01   25   on heroin, heroin mortality?       And we saw that the opioid
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04:29:06    1   prescriptions are largely going to an older demographic.

04:29:09    2   And in particular, women 51 and over were getting the opioid

04:29:13    3   prescriptions in the 2001 to 2010 period.

04:29:16    4            And then as you look later, where the plaintiffs were

04:29:18    5   saying you can bridge this gap, what we're really seeing,

04:29:22    6   what we're seeing is that the heroin mortality is far more

04:29:25    7   prevalent among more -- among younger men.

04:29:29    8            That's not any kind of a statement that younger men

04:29:33    9   somehow can't handle what's happening in any kind of

04:29:36   10   economic issue in this part of the country.          What it's

04:29:40   11   showing you is that if the plaintiffs are trying to connect

04:29:42   12   where the prescription opioids are going to where the deaths

04:29:47   13   we're seeing in these kind -- in the United States, it's not

04:29:52   14   correlating.    It's not showing that connection that the

04:29:55   15   plaintiffs have to make.

04:29:56   16            The gateway theory is not one that the plaintiffs can

04:29:59   17   prove.    It's not one that you should be relying upon to

04:30:02   18   establish the causation that the plaintiffs must show in

04:30:04   19   this case.

04:30:11   20            If you look at slide 19, please.

04:30:15   21            So this is what Professor Murphy said.       He said, so if

04:30:18   22   somebody is looking to abuse drugs, if prescription opioids

04:30:21   23   aren't available, I'll go in another direction.           And one of

04:30:24   24   the directions you may go in would be to initiate on illegal

04:30:27   25   opioids, like heroin or fentanyl.
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04:30:28    1          And so if your analysis is limited to a link between

04:30:31    2   prescription opioids and illegal opioids, and you ignore

04:30:34    3   that other pathway, then you may just initiate on heroin or

04:30:40    4   fentanyl -- that was my add -- you're missing a very

04:30:42    5   important part of the story.       You have to take that into

04:30:44    6   account to understand the overall impact.

04:30:46    7          If we go to the next slide.

04:30:49    8          This is what he ultimately showed in terms of a graph

04:30:54    9   that he presented to you where we see the increasing

04:30:58   10   mortality while the opioid shipments are going down.

04:31:05   11          This is current.     This is today.     We see this gap.     It

04:31:09   12   is an oversupply?     Have the plaintiffs demonstrated an

04:31:13   13   oversupply that is causing the issues that are being

04:31:15   14   experienced in Ohio and this these two counties?

04:31:20   15          This suggests otherwise.

04:31:23   16          Now, the second gap that the plaintiffs must bridge to

04:31:26   17   prove actual conduct by the -- the second gap plaintiffs

04:31:30   18   must bridge is to prove actual conduct by the defendants

04:31:33   19   that was either intended to cause a public nuisance or was

04:31:37   20   unlawful.    We heard some discussion about this earlier from

04:31:39   21   some of the others lawyers, so I'm not going to go into it

04:31:41   22   in great detail.

04:31:43   23          But pharmacists exercising their judgment in

04:31:46   24   dispensing prescriptions written by fully licensed and

04:31:48   25   registers doctors is obviously lawful conduct.           We need and
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04:31:52    1   we want professional pharmacists to carry out this critical

04:31:56    2   function in our health care system.         Without them, we would

04:31:59    3   not be able to obtain the medication that we need and that

04:32:03    4   our doctors, after carefully examining the patients, have

04:32:06    5   been able to prescribe, even if it does include opioids.

04:32:09    6          As Judge Polster instructed you this morning, conduct

04:32:15    7   fully authorized by statute, ordinance, or regulation cannot

04:32:18    8   create a public nuisance because it is lawful conduct.

04:32:22    9          The judge also made clear that the laws of regulation

04:32:29   10   apply to the dispensing of controlled substances require

04:32:32   11   substantial compliance.      That is not the same thing as

04:32:36   12   strict or perfect compliance.       Mistakes can be made.       That's

04:32:38   13   particularly important as we think about the judgments that

04:32:42   14   a pharmacist has to make.       Even Mr. Rannazzisi endorsed that

04:32:46   15   concept when he was working back at the DEA and was making

04:32:50   16   presentations to pharmacists.

04:32:51   17          Slide 23, please.

04:32:53   18          This was a slide that Mr. Rannazzisi used in his

04:32:58   19   presentations.     He says, you must use your professional --

04:33:02   20   and this is a presentation to pharmacists.          You must use

04:33:05   21   your professional judgment, training, and experience.            We

04:33:07   22   all make mistakes.

04:33:10   23          We talked about professional judgment -- or I talk

04:33:13   24   about professional judgment when I first had a chance to

04:33:15   25   address you at the start of this case.         And that ultimately
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04:33:18    1   is what this case is about and what our pharmacists have

04:33:20    2   been doing at Walmart and what the other pharmacists that

04:33:23    3   you've heard from of the chain pharmacies.          Exercising

04:33:27    4   professional judgment.      Understanding the patient who is in

04:33:30    5   front of them.     Understanding the community.       Understanding

04:33:33    6   the doctors.

04:33:35    7           Mr. Lanier talked about Lori Militello, the Walmart

04:33:40    8   pharmacist, and said she didn't know all of the doctors in

04:33:44    9   Lake County where her Eastlake store is, and she

04:33:47   10   acknowledged that.     I don't know all the doctors.        She also

04:33:49   11   acknowledged, I don't know every single patient either.

04:33:52   12           But compare that to Mr. Catizone, who is the one that

04:33:56   13   talks about the red flags.       These are red flags, these are a

04:33:59   14   problem.    How many doctors does doctor -- does Mr. Catizone

04:34:03   15   know in Lake or Trumbull County?        Zero?   How many patients

04:34:11   16   has he seen coming before in him Lake or Trumbull County?

04:34:15   17   Zero.

04:34:15   18           So when we look at what the pharmacists testified

04:34:18   19   about and how they used their professional judgment

04:34:21   20   collectively between the three pharmacists, Mr. Cook and

04:34:25   21   Ms. Militello and Ms. Stossel, 60 years of experience

04:34:29   22   between them, that they're applying on a day-to-day basis

04:34:34   23   with patients and doctors that they recognize and know, and

04:34:39   24   yet, Mr. Catizone, from his office in Chicago, is going to

04:34:42   25   come in and say, no, this is how the red flags ought to be
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04:34:46    1   resolved.

04:34:47    2          And on top of that, he designs a red flag system that

04:34:50    3   he doesn't apply, he doesn't take his red flags and say,

04:34:53    4   okay, I can see there's a problem here or a problem there.

04:34:56    5   He gives it to Dr. McCann, the math guy.         The math guy knows

04:35:03    6   zero doctors in any of these counties.         The math guy knows

04:35:07    7   zero patients in any of these counties.         And the math guy

04:35:10    8   doesn't know pharmacy.      He's not a pharmacist.       He can't

04:35:14    9   make any independent judgment about whether a red flag was

04:35:18   10   appropriately filled or not to fill.         And, in fact,

04:35:24   11   Mr. Catizone's system is designed, it's a mechanical system

04:35:27   12   designed so that essentially, I need someone who can count

04:35:30   13   things so I'm going to give it to Dr. McCann.          Dr. McCann

04:35:32   14   can count these things and he's going to say, this is where

04:35:35   15   we see a problem in these counties.

04:35:36   16          Well, let's look to some of the testimony from

04:35:40   17   Ms. Militello, the Walmart pharmacist, who was here.            And we

04:35:43   18   talked with her about a couple of prescriptions that were

04:35:47   19   identified as red flags, the ones that she had filled.

04:35:51   20   Remember the one about hospice care?         It had hospice right

04:35:54   21   at the top of it.     It was written by a prescriber working in

04:35:59   22   the hospice business.

04:36:01   23          And Ms. Militello said, I can tell right away, what we

04:36:05   24   have here is he's putting together, or this doctor is

04:36:08   25   putting together a kit for end-of-life care.          There's
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04:36:11    1   certain drugs that a patient typically needs in a hospice.

04:36:16    2   Some of those are opioids.       Some of those might be benzos to

04:36:20    3   relax and help that patient go through that time in their

04:36:23    4   life.

04:36:24    5           Ms. Militello knows that right off the bat.         She can

04:36:26    6   tell that's what's happening.       She can tell that by looking

04:36:28    7   at the prescription, seeing hospice on it and knowing who

04:36:31    8   the doctor is.     None of the experts that the plaintiffs

04:36:35    9   brought in in this case can make that kind of assessment

04:36:38   10   when they're telling you what's a red flag and what's not.

04:36:41   11   What's a resolvable red flag or not.         And they don't do

04:36:46   12   that.   And ultimately, Mr. Catizone has to acknowledge that

04:36:49   13   he can't tell you that any of the prescriptions that he

04:36:52   14   flagged or said should have been flagged ultimately were

04:36:55   15   diverted, or were -- I'm sorry -- were ultimately written

04:36:59   16   for something other than an appropriate medical purpose.

04:37:03   17           A couple of the other prescriptions you saw.         What

04:37:05   18   about the dentist?     Someone going in for dental surgery.

04:37:12   19   Written a -- something to help them relax prior to the

04:37:15   20   surgery and then a couple of additional opioids for pain

04:37:19   21   treatment afterward.      That's the kind of thing that these

04:37:22   22   pharmacists know and recognize immediately upon seeing these

04:37:27   23   prescriptions, can make the judgment that this isn't a red

04:37:31   24   flag.   Can be.    If I see certain prescriptions, it can be a

04:37:33   25   red flag to me.     If I see certain numbers that are written,
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04:37:37    1   it can be a red flag that I've got to investigate further.

04:37:41    2          But what Mr. Catizone does, and what he relies on

04:37:46    3   Dr. McCann to do, is simply say, these are red flags, and if

04:37:49    4   I don't see documentation telling me how they were resolved,

04:37:51    5   then that's a problem.      That's not a problem.      The problem

04:37:57    6   is if prescriptions are being filled that should not have

04:37:59    7   been filled.    And the way that the plaintiffs have analyzed

04:38:03    8   red flags and presented that to you doesn't answer that

04:38:05    9   question.

04:38:08   10          I want to talk to you about some of the additional

04:38:15   11   witnesses that you heard from Walmart and also from the

04:38:18   12   plaintiffs.

04:38:21   13          Ms. Militello was the pharmacist that you heard pretty

04:38:25   14   late in the trial, one of our last witnesses.          And she

04:38:29   15   talked about working at the Eastlake store and how she went

04:38:31   16   about her job, what she did.       Plaintiffs have tried to boil

04:38:36   17   that down into one or two things that she did, but she was

04:38:39   18   here explaining to you what it is and what it means to

04:38:41   19   exercise the professional judgment that a pharmacist has to

04:38:44   20   exercise.    And she put herself on the witness stand, even

04:38:50   21   knowing that she would get challenged on specific

04:38:52   22   prescriptions.     Why did you fill this?      What was your

04:38:54   23   thinking here?

04:38:57   24          And she responded.      There was a set of

04:39:01   25   prescriptions -- actually, there was one that was refused
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04:39:05    1   that Ms. Militello was asked about where an individual had

04:39:08    2   come back on a number of different occasions for multiple

04:39:13    3   drugs and those prescriptions, some of which she filled.

04:39:16    4   And she explained to you, I contacted the doctor's office on

04:39:19    5   a number of different times.       I ran the OARRS reports.       This

04:39:22    6   is what I did to investigate what needed to be done here.

04:39:26    7           Now, you've been at this for 6 weeks, 7 weeks.          You've

04:39:30    8   learned an awful lot.      You've learned enough to say, are you

04:39:33    9   sure?   Is that right?     Or are you positive that you handled

04:39:36   10   that correctly?

04:39:37   11           And Ms. Militello said, yes, my judgment in that

04:39:40   12   situation, knowing what the doctor told me about that

04:39:42   13   patient, knowing the risk that that patient might commit

04:39:46   14   suicide that I'm hearing from the doctor, then these are

04:39:49   15   prescriptions that I'm going to fill.

04:39:51   16           Was it right or wrong to fill those prescriptions?

04:39:54   17   More importantly, was it illegal to fill those

04:39:56   18   prescriptions?     These are judgments.      These are judgments

04:40:00   19   that Ms. Militello made.      They're judgments that pharmacists

04:40:03   20   have to make at any time, or any day as prescriptions come

04:40:06   21   in knowing the information they have and what's available to

04:40:09   22   them.   And it's her diligence, her thought in doing that,

04:40:13   23   her exercise of the judgment across all of the prescriptions

04:40:17   24   that she filled.     That is the behavior that we want out of

04:40:21   25   pharmacists, even if one could question a particular one of
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04:40:25    1   whether it was filled or not, or whether it should have been

04:40:27    2   filled or not.

04:40:28    3          Plaintiffs also talked to you about Mr. Nelson.

04:40:32    4   Mr. Lanier referred to Mr. Nelson as a devastating witness

04:40:35    5   for Walmart.    So let's think about what Mr. Nelson talked

04:40:40    6   about at great length.      And you heard the phrase cut and

04:40:44    7   paste today.    I think the phrase mantra was used pretty

04:40:48    8   frequently when the plaintiffs were examining Mr. Nelson.

04:40:51    9          And what was Mr. Nelson doing when he answered

04:40:54   10   questions from pharmacists in the field about how they

04:40:57   11   should go about performing their responsibilities and

04:41:00   12   whether or not there could be a blanket refusal to fill of a

04:41:04   13   particular doctor?

04:41:05   14          Our policy is, we don't have blanket refusals to fill.

04:41:08   15   What you should do is examine every prescription that comes

04:41:10   16   before you, use your professional judgment, use the policies

04:41:14   17   that we have in place at Walmart to assess that

04:41:17   18   prescription, and make a decision about whether it could be

04:41:20   19   filled.   If you don't fill it, we'll back you.          If you

04:41:24   20   decide that you don't want to fill a number of

04:41:26   21   prescriptions, we'll back you there too.

04:41:28   22          Is that so controversial that the advice given is take

04:41:33   23   every prescription and look at it and evaluate it and fill

04:41:36   24   it?

04:41:38   25          Let's do a comparison.      We heard Agent Edwards,
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04:41:41    1   Trey Edwards, the former Lake County Narcotics agent and the

04:41:45    2   Board of Pharmacy witness.       And he talked about as, of

04:41:49    3   today's date, how to go about evaluating prescriptions.

04:41:53    4          And if we go to slide 56, please.

04:41:56    5          So on one side of this slide is going to be

04:42:01    6   Agent Edwards' testimony, and the other side is going to be

04:42:02    7   the information that Mr. Nelson wrote in his responses to

04:42:07    8   the pharmacists.     On the left side, if they are still

04:42:11    9   licensed, you know, if they still carry a valid, state

04:42:14   10   medical board of Ohio license to practice and they still

04:42:16   11   have their DEA number, then you're still permitted to

04:42:19   12   practice.

04:42:21   13          What does Mr. Nelson say?

04:42:22   14          At this point, this prescriber still has all the

04:42:25   15   necessary credentials to practice medicine.

04:42:28   16          It sounds pretty similar.

04:42:30   17          Let's go to the next slide.

04:42:31   18          Advice of Mr. Edwards, use your -- Agent Edwards, use

04:42:36   19   your professional judgment.

04:42:37   20          The advice of -- and the direction from Mr. Nelson,

04:42:41   21   exercise their professional judgment, referring to the

04:42:45   22   specific policies that Walmart has in place to help guide

04:42:47   23   them in that.

04:42:48   24          Go to the next slide.

04:42:49   25          Agent Edwards, use your professional judgment on each
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                                   Closing Argument - Majoras

04:42:54    1   individual prescription that you receive.

04:42:56    2          Mr. Nelson, the pharmacist is still allowed to refuse

04:43:00    3   to fill a prescription on an individual prescription basis.

04:43:04    4          Let's go to the next slide.

04:43:06    5          But when you're hearing from Mr. Nelson and what he

04:43:13    6   wrote the pharmacists when they're looking for advice on how

04:43:15    7   they should go about their job is exactly what Agent Edwards

04:43:19    8   is saying in 2021.     Why is that so controversial?        Why is

04:43:25    9   that so devastating that Mr. Nelson would offer that advice

04:43:29   10   to the pharmacists?

04:43:32   11          One of the things that the plaintiffs have talked

04:43:34   12   about is whether prescriptions -- or the blanket refusals to

04:43:39   13   fill are allowed by the Boards of Pharmacy that Mr. Nelson

04:43:43   14   talks about.    And we've already heard, again, some

04:43:45   15   discussion earlier about information that a number of

04:43:49   16   Walmart witnesses had talked about in conversations they had

04:43:54   17   with Boards of Pharmacy.

04:43:58   18          And it's true that those conversations don't say

04:44:04   19   whether the Board of Pharmacy had a rule or not, but as

04:44:07   20   Judge Polster has instructed, take a look at whether that

04:44:10   21   was something when Walmart came to their policy, was that

04:44:14   22   something that guided them in their decision-making?            Did

04:44:18   23   that show their intent of why they are telling their

04:44:21   24   pharmacists about Boards of Pharmacy?

04:44:22   25          Now, we heard the testimony of Debbie Mack.          And we
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                                   Closing Argument - Majoras

04:44:27    1   heard the testimony of Susanne Hiland.         Ms. Hiland testified

04:44:36    2   about her personal conversations with the Board of Pharmacy

04:44:41    3   in Texas.    She also talked about the Wisconsin action which

04:44:44    4   was filed against Walmart for not filling prescriptions from

04:44:47    5   a clinic.

04:44:48    6          Mr. Nelson testified about conversations his superior,

04:44:52    7   Mr. Coke, had with the North Carolina and the South Carolina

04:44:59    8   Boards.

04:45:00    9          And then Ms. Mack, we saw her testimony as presented

04:45:03   10   by video.    Ms. Mack testified about her conversations with

04:45:05   11   the Boards of Pharmacy in Texas, Oregon, California, Idaho,

04:45:09   12   Nevada, Oklahoma, Kansas, New Mexico.

04:45:15   13          So why is Walmart's policy that there's concern about

04:45:18   14   Boards of Pharmacy and why is Walmart telling their

04:45:21   15   individual pharmacists at that point in time that we don't

04:45:24   16   have a blanket refusals to fill, because that is the

04:45:27   17   information they have.      And the -- and the ultimate advice

04:45:32   18   on what their pharmacists should be doing is the advice that

04:45:35   19   any pharmacist should be able to follow and that they've

04:45:37   20   known since they were in pharmacy school.          Use your

04:45:41   21   judgment.    Look at issues, considerations that may concern

04:45:46   22   you about the prescription or about how the prescription is

04:45:48   23   presented to you, and then use your judgment in making that

04:45:51   24   decision to fill, just as Agent Edwards testified.

04:46:05   25          We also know from the testimony particularly that
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04:46:09    1   Ms. Hiland offered is that Walmart has -- Walmart has not

04:46:14    2   only hired excellent pharmacists like Ms. Militello, but has

04:46:17    3   also undertaken efforts to support its pharmacies --

04:46:21    4   pharmacists in the exercise of their judgment.

04:46:24    5          On this front, Ms. Hiland, who is a former Walmart

04:46:28    6   pharmacist herself, testified about the extensive training

04:46:30    7   that Walmart provides its pharmacists to supplement the

04:46:36    8   education they received in pharmacy school.

04:46:38    9          We brought you Walmart's pharmacy policies.          And we

04:46:41   10   keep hearing about when the policies were adopted, when they

04:46:44   11   came into effect.     Well, look at those policies.        They're in

04:46:46   12   evidence.    You can look at the policy manuals that were

04:46:50   13   referenced during the course of the testimony here.

04:46:54   14          If we go to slide 75, please.

04:46:57   15          So we started with the Connexus, the computer system.

04:47:04   16   We had great deal of testimony about the computer system and

04:47:08   17   how it adapted over time and as more information became

04:47:11   18   available, whether it was the PMP reports, whether it was

04:47:15   19   other information that was shared, including the blanket

04:47:19   20   refusals to fill, once those were permitted at Walmart, are

04:47:24   21   all available at the touch of the pharmacist.

04:47:26   22          The next slide.

04:47:27   23          We have POM 912, which was issued in January of 2005.

04:47:33   24   It includes indicators based on DEA Pharmacist's Manual.

04:47:36   25          We heard from Mr. Rannazzisi, I believe, that the DEA
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                                   Closing Argument - Majoras

04:47:40    1   Pharmacist's Manual talks about indicators.          It doesn't use

04:47:44    2   red flags.    The same thing that Walmart had in its internal

04:47:47    3   policies.

04:47:47    4          Let's go to the next slide.

04:47:49    5          There were a number of portions of this particular

04:47:53    6   POM, this particular policy operating -- or pharmacy

04:47:57    7   operations manual that helped pharmacists looking at

04:47:59    8   indicators, what they should try to determine when there --

04:48:04    9   a prescription is presented to them.

04:48:05   10          Let's go to the next slide.

04:48:07   11          And it continues.     You may recall that as some point

04:48:10   12   Ms. Hiland was saying, I want to go to another page, let me

04:48:12   13   show you another page.      Well, it's all in there.

04:48:15   14          When allowed to look through it, you'll see the

04:48:18   15   materials that Walmart had in its policies available well

04:48:21   16   back to 2005, the systems available well before 2002.

04:48:25   17   Connexus was actually a second version of the computer

04:48:28   18   system that Walmart used.

04:48:30   19          Let's go to the next slide.

04:48:31   20          That in February of 2009, the POM 1311, which you

04:48:38   21   heard testimony about, expands the indicators that a

04:48:40   22   pharmacist should look at.       It explains the requirements for

04:48:43   23   proper patient-prescriber relationship.

04:48:45   24          We put these POMs into evidence so that you could see

04:48:48   25   them, not just simply hear about whether they were effective
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04:48:51    1   or not effective.

04:48:53    2           Take a look at them.     You'll be able to have them in

04:48:57    3   evidence when -- if your questioning what Walmart was doing

04:48:59    4   with its pharmacists and what information it was providing

04:49:03    5   to its pharmacists.      Information, by the way, that someone

04:49:09    6   like Ms. Militello says, I've known about that since I

04:49:11    7   started practicing pharmacy.       And you heard that from the

04:49:14    8   other pharmacists in this case.

04:49:15    9           So I want to turn now to the final bridge that the

04:49:22   10   plaintiffs have to do -- have to prove to you and have to

04:49:25   11   build, and that's causation.       And we've heard about that

04:49:28   12   already.    We've heard that in the second question that

04:49:33   13   you're going to be asked to answer when you go into the jury

04:49:36   14   room to deliberate is the question as to whether or not the

04:49:40   15   individual pharmacies in this case were substantial causes

04:49:43   16   of the public nuisance, if you find there is one.

04:49:47   17           And it's very important to keep in mind that it

04:49:50   18   relates to each individual defendant.         There's evidence

04:49:53   19   about -- that differs among the defendants.          There's

04:49:56   20   evidence that the different defendants have put into the

04:49:58   21   record that have been brought by the plaintiffs in this

04:50:00   22   case.   So look closely at whether or not each of these

04:50:04   23   counties has individually been able to demonstrate that

04:50:08   24   Walmart, or any of the chain pharmacies, is a substantial

04:50:12   25   cause of a public nuisance.
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04:50:15    1          And, yes, I want to talk about them.         Why wouldn't I?

04:50:23    2   It's important.

04:50:24    3          If we look at slide 82, please.

04:50:31    4          This is Mr. Glickman, who went through and did the

04:50:35    5   math, added up all of the information and the statistics and

04:50:38    6   presented them.     And he had concluded that Walmart's market

04:50:41    7   share of prescription opioids was 3.15 percent.           He was

04:50:46    8   asked, "Do you know if Mr. McCann -- Dr. McCann, agrees with

04:50:50    9   that calculation?"

04:50:51   10          "Yes, he does.     I mean, he said so in his deposition

04:50:54   11   testimony."

04:50:54   12          Let's go to the next slide.

04:50:55   13          And this is something I showed you -- well, it's a

04:50:59   14   little bit different because we have one less defendant now,

04:51:02   15   so we've changed some of the graphic.         But the importance

04:51:06   16   is -- it remains the same.

04:51:06   17          In this case, if you look at the -- Walmart's limited

04:51:10   18   presence in dispensing prescription opioids into Lake and

04:51:15   19   Trumbull County, because we've already said it's

04:51:17   20   3.15 percent, all of the defendants, together, are about

04:51:22   21   25 percent, which means about 72 percent aren't even in this

04:51:26   22   case in front of you.

04:51:27   23          Let's go to the next slide.

04:51:29   24          And then we get to a comparison to the independents.

04:51:33   25   And Mr. Lanier said, well, why are you comparing yourself to
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                                   Closing Argument - Majoras

04:51:36    1   independents?

04:51:36    2          I think it's very important to understand that the

04:51:39    3   reason to compare to independents is we know by looking at

04:51:43    4   this information where problems are.         We know who the bad

04:51:47    5   pharmacies are.     It's abundant in this slide where you see,

04:51:50    6   if you do a comparison of the three largest independents in

04:51:55    7   those two counties, just three stores, and you compare them

04:51:57    8   to all five Walmart stores, it's about five times as much

04:52:03    9   that they're selling in those stores.

04:52:06   10          And remember, pharmacies have an important role in

04:52:10   11   dispensing legal opioids written for an appropriate medical

04:52:13   12   purpose.    We need those pharmacies doing that.         The patients

04:52:16   13   who have been prescribed that treatment need pharmacies to

04:52:19   14   be able to do that.      So simply saying someone's a pharmacy

04:52:24   15   dispensing opioids doesn't answer the question.           The real

04:52:27   16   question when you look at oversupply is, who's putting out

04:52:30   17   so much that it's shocking?

04:52:32   18          Let's go to our next slide.

04:52:34   19          We looked at oxy 30, which we've heard in the

04:52:40   20   testimony is a particularly potent form of oxy and one that

04:52:44   21   is very popular, if that's the right word, in the illicit

04:52:48   22   markets.    And look again at the comparisons to the

04:52:50   23   independents, the three non-defendant independents, the ones

04:52:54   24   that aren't even in this case are showing 8.7, 9.8,

04:53:00   25   17.6 percent of all -- of the oxy 30 in these counties.
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04:53:04    1          Compare that to Walmart. .5 percent.         .2 percent.

04:53:08    2   .1 percent.    1 percent.    .1 percent.     Those are the five

04:53:11    3   Walmart stores in this case.

04:53:15    4          Now, Mr. Lanier said, watch, be careful if someone's

04:53:19    5   using MME.    Well, they should be using MME.        A -- a pill --

04:53:26    6   an opioid pill that does not have very much potency can't be

04:53:30    7   compared to an oxy 30 or an oxy 80, which is a huge pill.

04:53:37    8   An MME allows you to assess the amount -- not only the

04:53:40    9   numbers of pills that are being dispensed, but the potency

04:53:43   10   of those pills.     It's the appropriate measure, and that's

04:53:46   11   what we've shown you.

04:53:46   12          Let's go to the next slide.

04:53:48   13          So now the question is, given what Walmart has done

04:53:56   14   and given Walmart's limited presence, can it be a

04:54:00   15   substantial factor of any public nuisance that you might

04:54:05   16   find in Lake and Trumbull Counties.

04:54:07   17          Let's go to our next slide, please.

04:54:09   18          So, here, we've got two issues.        So if we started with

04:54:21   19   Walmart has 3.15 percent of the prescriptions and you go to

04:54:25   20   what Mr. Catizone and Dr. McCann identified, they said this

04:54:28   21   is the sliver, this is the narrow sliver that we have

04:54:35   22   determined raises questions of what Walmart has been

04:54:37   23   dispensing into those counties, so it's not all

04:54:41   24   3.15 percent.    If fact, what they determine, if you look at

04:54:43   25   the numbers, the math turns out that it's less than
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                                   Closing Argument - Majoras

04:54:46    1   1 percent that they even question.

04:54:49    2          So even taking them at full value, which we know that

04:54:52    3   can't be right because we saw those prescriptions, we saw

04:54:55    4   the hospice prescriptions, but even taking that at full

04:54:58    5   value, Walmart has .9 percent of the prescriptions dispensed

04:55:01    6   in these counties.     That is a significant concern, or a

04:55:07    7   significant issue that you ought to be thinking about

04:55:09    8   because the question is, are they a substantial factor.            And

04:55:13    9   this even understates it.       Because you have to look at all

04:55:16   10   the other factors that we've heard about during the course

04:55:19   11   of the testimony in this case.

04:55:23   12          The manufacturers, and what the manufacturers were

04:55:25   13   doing or saying and marketing about the product -- about

04:55:28   14   their products.     The question about rogue stores, like some

04:55:32   15   of the others that we saw that are just essentially look

04:55:35   16   like they're handing out a prescription opioids.           The

04:55:38   17   illegal cartels.     If you look at all of the issues, all of

04:55:44   18   the potential factors that may go into what the problems

04:55:48   19   that Trumbull and Lake County are seeing, you have to factor

04:55:54   20   all of those in.     It's not just the pharmacies; it's all of

04:55:57   21   these other factors.      And if you combine all that together,

04:56:00   22   that very small piece that the Walmart pharmacies have

04:56:02   23   responsibility for just among the pharmacies shrinks even

04:56:08   24   smaller.    It's minuscule.

04:56:10   25          You've heard the testimony.       You've seen the evidence.
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                                                                                     7301
                                   Closing Argument - Majoras

04:56:13    1   You know where the problems are with respect to the drug

04:56:16    2   issues in Lake and Trumbull Counties.         Walmart is not a

04:56:20    3   substantial factor.      It's not a substantial cause of any of

04:56:23    4   those issues.    It can't be.     And that's something that you

04:56:29    5   need to consider as you look to answer the second question

04:56:31    6   that you'll be asked on the juror -- on the jury verdict

04:56:34    7   form, which is if you found that there is a public nuisance

04:56:38    8   in Question 1, is Walmart, or all of these chain pharmacies,

04:56:44    9   a substantial cause, a substantial factor in causing that

04:56:49   10   public nuisance.     And the evidence in this case, and the

04:56:53   11   lack of evidence in this case, can point to only one

04:56:56   12   direction with respect to Walmart:        It is not.     It cannot be

04:57:00   13   a substantial factor in the issues that Lake and Trumbull

04:57:06   14   county are facing today.

04:57:08   15          Ladies and gentlemen, thank you.        I appreciate your

04:57:11   16   attention.    My client appreciates the attention you've given

04:57:14   17   throughout this case.

04:57:15   18          I will not be able to talk to you again.          Mr. Lanier

04:57:17   19   will be able to talk to you.       As I said, look at -- make

04:57:20   20   sure you see what the evidence is.        You'll be able to look

04:57:22   21   at the evidence when you're back in the jury room.           It's not

04:57:24   22   a matter of who's arguing the best or whose telling you what

04:57:27   23   happened.    Look at the evidence.      That's why there are a

04:57:31   24   number of folks on the jury so that collectively you can

04:57:33   25   look at the evidence and reach the conclusions based on the
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                                                                                     7302
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04:57:36    1   evidence in this case.    And the evidence in this case will

04:57:38    2   lead you to the conclusion that on Question No. 1 there is

04:57:42    3   not an oversupply of prescription opioids causing diversion

04:57:47    4   in Lake and Trumbull County currently, ongoing, but even if

04:57:50    5   you get there, Walmart cannot be a substantial factor in

04:57:54    6   causing the nuisance that those counties may be facing.

04:58:01    7         Thank you.

04:58:10    8                  MR. LANIER:    Your Honor, with your permission,

04:58:11    9   it will take me just a moment to move their stuff out of the

04:58:13   10   way and start mine.    If I could --

04:58:15   11                  THE COURT:    Okay.   Very well.

04:58:19   12         Thank you, Mr. Majoras.

04:58:21   13                  MR. MAJORAS:    Thank you.

04:58:22   14                  MR. LANIER:    Yeah, I'll need Mr. -- I'll need

04:58:24   15   them to bring in and you then I'll also -- I'll try and move

04:58:29   16   this and then we need the iTiVo set up.

04:58:42   17                   (Brief pause in proceedings).

05:00:22   18                  MR. LANIER:    Your Honor, I've got 30 minutes?

05:00:24   19                  THE COURT:    Very good, Mr. Lanier.

05:00:25   20          CLOSING ARGUMENT IN REBUTTAL BY THE PLAINTIFFS

05:00:25   21                  MR. LANIER:    If it please the Court, ladies

05:00:27   22   and gentlemen -- oh, I need a microphone.

05:00:30   23         May it please the Court, ladies and gentlemen, y'all

05:00:37   24   win the "Patience of the Year Award."       Thank you so much.

05:00:40   25   I'm sorry I've got 30 minutes to go.      I couldn't have asked
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05:00:43    1   Mr. Majoras to give me a better speech.         I've been waiting

05:00:45    2   to bring in my bridge.      And he challenged me to build a

05:00:49    3   bridge.   Oh, I got a bridge.      And he wants the bridge on

05:00:53    4   causation.    And he wants to stand up here and say, but we

05:00:57    5   did such a little bit in the county.         Of course, never mind

05:01:00    6   the fact that they had all those stores dotted right outside

05:01:03    7   the county that they're not counting.         But be that as it

05:01:07    8   may, this is my LEGO bridge.       And it's made up of hundreds

05:01:13    9   of LEGOs I suspect.      I haven't really counted.       Don't know

05:01:18   10   for sure.    But a lot.

05:01:19   11          Now, I built -- I had this bridge built by my guys

05:01:25   12   because when I walk out of the courthouse every day or walk

05:01:28   13   through the courthouse, I see this bridge right across there

05:01:31   14   or across the Cuyahoga River.       And I thought, boy, what a

05:01:39   15   splendid illustration for this case.         Because the defendants

05:01:42   16   are saying, especially Walmart, hey, we only put in, like,

05:01:46   17   6 percent, or 2 percent, or 5 percent, depends on what it is

05:01:51   18   of the opioids in the county.       How can we be a significant

05:01:54   19   part of the problem?

05:01:56   20          I thought, you know, that bridge has been built on

05:02:02   21   trestles.    And mercy, the entire community drives over it

05:02:06   22   all the time, or a portion of the community, just confident

05:02:12   23   that the people who made the steel trestles did so up to

05:02:17   24   code, up to snuff.

05:02:21   25          And you know, if they didn't, or let's say they did
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                           Closing in Rebuttal by Plaintiffs - Lanier

05:02:26    1   90 percent of them up to snuff, or 95 percent but two or

05:02:30    2   three of them are rotten.       If they're in the wrong place,

05:02:34    3   the community that's driving over that bridge, if you just

05:02:38    4   take out a couple (indicating), everything can fall.

05:02:46    5           You can't say just because you're only two of the

05:02:50    6   bricks -- and I nudged it a little bit.         I wanted to make

05:02:53    7   sure it fell for y'all.      I got to be honest here, right?        My

05:02:59    8   candor to the tribunal.      I didn't nudge it much, but I did

05:03:03    9   hit it with the top of my finger accidently on the top.

05:03:05   10   So -- so but as we were pulling those things out, you take

05:03:08   11   something out, and it's a question of whether or not it's

05:03:12   12   significant.

05:03:14   13           And so I listened to 3 hours, and I was very

05:03:18   14   frustrated because I have about -- Your Honor, about a

05:03:21   15   2-hour rebuttal here and you've given me 30 minutes and I've

05:03:24   16   spent 5 of it on the bridge, but I know that people know

05:03:32   17   this.   This is common sense.      You know, this is why, with

05:03:36   18   Murphy, their economist expert fellow, I used this study

05:03:41   19   with him.    And we did the math.      The study shows this is

05:03:47   20   implications of county-level variation in opioid

05:03:52   21   distribution and the adjusted models show a one-pill

05:03:57   22   increase in PC -- this is per capita pill volume -- a

05:04:06   23   one-pill increase was associated with a .2 percent increase

05:04:10   24   in ORDs -- ORDs are opioid related deaths -- per 100,000

05:04:22   25   population.
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05:04:22    1          So if you've got 400,000, 450,000 in these counties,

05:04:28    2   you've suddenly got, for each pill you're pumping in, an

05:04:32    3   extra death, or .eighths of an extra death per year.

05:04:37    4          So you can look at Walmart, who's pumping in multiple

05:04:40    5   pills per capita, you can look at Walgreens, who's pumping

05:04:45    6   in multiple pills per capita, you can look at CVS, who's

05:04:49    7   pumping in multiple pills per capita, and you can figure

05:04:53    8   that proportionally they're responsible for deaths.

05:04:57    9          Now, His Honor gave us options on how to pursue our

05:05:02   10   case, and we chose to pursue our case on an overall

05:05:09   11   oversupply of prescriptions.       But that doesn't mean that we

05:05:14   12   weren't able to nitpick and we weren't able to look at

05:05:17   13   prescriptions, because we did.        But you don't have to get to

05:05:22   14   the prescription level to figure out that oversupply equals

05:05:26   15   problems.

05:05:28   16          Here's your finale road map (indicating).          We got to

05:05:31   17   get down the road quick.      We started with the bridge.

05:05:34   18   Whoops.   There we go.

05:05:36   19          We started with the bridge.       I want to talk about some

05:05:39   20   Walmart arguments, some CVS arguments, and then some

05:05:43   21   Walgreens arrangements.      And you're just going to have to

05:05:45   22   bear with me.    I'm going to go very fast, but y'all have

05:05:48   23   been taking vicious notes, some of you.         Some of you don't

05:05:52   24   take any notes at all.      And I think some days I don't take

05:05:55   25   notes, but some days I take vicious notes.          Today I took
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                                                                                     7306
                           Closing in Rebuttal by Plaintiffs - Lanier

05:05:58    1   vicious notes so I'm going to give you what I got but I'm

05:06:02    2   going to need you to go back there with what you've got and

05:06:04    3   you got to help everybody remember the testimony.           Some

05:06:06    4   people do it better with notes, some people do it better

05:06:09    5   without notes.     But talking about Walmart, here we go.

05:06:11    6          Contrast to independent dispensing level.          Again, even

05:06:16    7   though I pointed this out to them in the trial, they ignored

05:06:19    8   everything I said about all of their other pharmacies that

05:06:22    9   surround these counties that pump into these counties and

05:06:27   10   they don't count any of those stores.         And that's just

05:06:32   11   elusive.    That's not fair to do.

05:06:34   12                    MR. MAJORAS:    Objection, Your Honor.

05:06:34   13                    MR. LANIER:    And no, MMEs is not the test.

05:06:39   14                    THE COURT:    Overruled.

05:06:39   15                    MR. LANIER:    I'm sorry, was something said?

05:06:40   16                    THE COURT:    I overruled the objection.

05:06:42   17                    MR. LANIER:    Oh, MMEs is not what they ought

05:06:44   18   to be looking at.     Look this doesn't say per MME.        This says

05:06:47   19   a one-pill increase in per capita.        That's what the academic

05:06:51   20   look is here in this article on drug and alcohol -- out of

05:06:54   21   drug and alcohol dependence on opioid distribution in county

05:06:58   22   levels.    And that's what they ought to be looking at, and

05:07:00   23   that's what we've given you.

05:07:01   24          An then, when he's talking about his bridge, he starts

05:07:05   25   playing hide-and-seek with you.        He says, look, do you
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                                                                                     7307
                           Closing in Rebuttal by Plaintiffs - Lanier

05:07:08    1   realize what happened here?       Here's some hide-and-seek.

05:07:11    2   Where was testimony about the county, McCann didn't talk

05:07:15    3   about county prescriptions.       Well, he can't.     He's not

05:07:18    4   qualified to.    He's a numbers geek.

05:07:21    5          Lembke didn't talk about them.        That's not her job

05:07:24    6   either.   We didn't hire her to do it.

05:07:26    7          Joe Rann, Alexander, Keyes, none of them talked about

05:07:31    8   it because it wasn't their job to.        That's hide-and-seek.

05:07:34    9          That's like in this trial, I didn't talk about

05:07:37   10   Johnson & Johnson's hip implants.        Okay.   Well, that's not

05:07:42   11   what I was hired to do here in this case.          I'm in here

05:07:46   12   representing these counties.

05:07:49   13          And then he said, now, they did have Carmen Catizone

05:07:54   14   look at it and we'll talk about that later, and that later

05:07:57   15   never really showed up about what the counties said.

05:08:01   16          So what do we have?      We have Carmen Catizone looking

05:08:05   17   at them and then, the next thing that I hear from him, from

05:08:10   18   Mr. Majoras, is a massive misstatement of the law.

05:08:15   19          So one of the greatest tools you've got when you go

05:08:17   20   back into the court -- into the deliberation, wherever you

05:08:21   21   will, is what the judge gives you.        Read the instructions.

05:08:25   22   He's a lawyer, but he's the only lawyer that's got full

05:08:28   23   credibility in this entire room.        And what he says is the

05:08:32   24   law.

05:08:36   25          And you read what he says because he doesn't say
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05:08:39    1   things like egregious.      I heard from Mr. Delinsky five

05:08:42    2   times, egregious, egregious, egregious.         Egregious ain't

05:08:46    3   anywhere in there.

05:08:48    4          Mr. Majoras said this -- this was a stunning new one

05:08:54    5   for me.   He said -- he put this up here, this part of the

05:08:58    6   charge on public nuisance.       And it says that -- "Let me

05:09:04    7   define for you the legal term 'public nuisance.'           A public

05:09:07    8   nuisance is an unreasonable interference with a right held

05:09:09    9   by the public in common that's ongoing today."           And

05:09:15   10   Mr. Majoras wants to try and turn this into a comment that

05:09:20   11   the interference is ongoing today.        But that's not what this

05:09:26   12   is talking about.     This is talking about a public nuisance

05:09:30   13   is an unreasonable interference with a right held by the

05:09:33   14   public in common that is ongoing today.         The public nuisance

05:09:37   15   has to be ongoing today.

05:09:39   16          In other words, if everything went wrong the way it

05:09:42   17   did in the first phase in 2000 to 2010, if that's resolved

05:09:48   18   itself and there's no longer a problem here today, God bless

05:09:51   19   America and Northeastern Ohio, we go home.          But if the

05:09:56   20   public nuisance was one that's still a problem today because

05:09:59   21   you're still having to deal with the children that were born

05:10:03   22   under those circumstances and the babies, and you've still

05:10:05   23   got to deal with the broken families, and you've still got

05:10:07   24   to deal with the people in jail, and you've still got to

05:10:10   25   deal with the crime, and you've still got to deal with the
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05:10:13    1   gateway effect, and you've still got to deal with all -- if

05:10:16    2   the nuisance is ongoing today, boom.         Yet for some reason he

05:10:22    3   misreads the law to you.      You can read that law when you get

05:10:25    4   back there.    You'll know what it says.

05:10:27    5          I don't have time to go through everything, but I will

05:10:32    6   add one more thing to what he said here.

05:10:34    7          I've used 10 minutes.      Okay.   Thank you, Rachel.

05:10:36    8          They talk about Edwards, Trey Edwards, the county --

05:10:42    9   the fellow with the Ohio board, and they don't show you this

05:10:46   10   part of his testimony.

05:10:47   11          "Isn't it true you regularly advise pharmacists if you

05:10:52   12   don't write it down, it didn't happen?"

05:10:55   13          Yep.   "That's common, yes."

05:10:59   14          Because what he said -- the question he played you, or

05:11:03   15   showed you was one that says just because they didn't write

05:11:06   16   it down doesn't mean they didn't do it; correct?           Well,

05:11:09   17   correct.    I mean, I'd say correct to that.        But it doesn't

05:11:12   18   mean they did do it.

05:11:16   19          They're not writing this stuff down and maybe they are

05:11:19   20   doing it, maybe they're not, but we know they're not doing

05:11:23   21   their job right because the standard of care for Ohio and

05:11:25   22   the standard of care within the companies is document.             And

05:11:30   23   if it's not documented, it didn't happen.

05:11:33   24          And as for his cut-and-paste with Trey Edwards, while

05:11:37   25   we're on the subject of Trey Edwards, he gave you this
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                           Closing in Rebuttal by Plaintiffs - Lanier

05:11:41    1   slide -- gave you this slide just now and said look how

05:11:44    2   close Brad Nelson is to Trey Edwards.

05:11:47    3           Oh, there's a huge difference.       You'll see Plaintiffs'

05:11:50    4   Exhibit 8068 when you go back there.         Here's the

05:11:53    5   cut-and-paste that Brad Nelson was fond of doing because

05:11:56    6   it's got the cut-and-paste on it.        Follows an e-mail like

05:11:59    7   this.   This is a topic -- this is the subject, "DEA and

05:12:07    8   Dr. Cocktails."

05:12:07    9           "This is a topic I think we need to start talking

05:12:10   10   about since it could result in hefty fines for our company

05:12:14   11   and for us personally.      I've heard, over the last few weeks,

05:12:19   12   that Kroger and Walgreens have started blocking doctors that

05:12:22   13   write excessively for certain meds, especially when

05:12:26   14   prescribed in conjunction with each other.          I spoke with a

05:12:29   15   Kroger pharmacist this morning and he mentioned that as of

05:12:32   16   October 1st the DEA was going after pharmacies and

05:12:35   17   pharmacists that continue to fill from these doctors that

05:12:38   18   prescribe them excessively.       What their definition of

05:12:42   19   excessive is, I'm not sure, but the Kroger pharmacist

05:12:46   20   mentioned that their home office determined who to block and

05:12:49   21   then blocked the pharmacies by installing a hard halt when

05:12:53   22   they tried to fill it.      This was in response to the DEA's

05:12:57   23   threatening" -- and we're not allowed to know what that

05:13:01   24   says -- "to their company if they continued.          So far they've

05:13:05   25   blocked four doctors in this area, Dr. Randall Wade being
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05:13:08    1   one of them, he mentioned two in the Denton area, I'm not

05:13:11    2   sure of the others.      We hear Dr. Wade's telling his patients

05:13:15    3   to go to Walmart because they'll still fill them, so he

05:13:18    4   knows about the block from the other stores.          My concern now

05:13:22    5   is that we as a company will start to accumulate this

05:13:25    6   suspect clientele and be in the same boat as Kroger and

05:13:30    7   Walgreens that are now trying to. . .

05:13:32    8          "As you know, some of these doctors have been around

05:13:35    9   for a long time.     It might be hard to dispute or prove

05:13:38   10   against the proper patient prescriber relationship, as

05:13:42   11   you'll always get a confirmation.        At this point, nothing

05:13:44   12   seems excessive or out of the ordinary, but I can see a

05:13:48   13   future on this one."      So do we or don't we?      And the answer,

05:13:52   14   cut-and-paste.     We are not allowed to corporate block.         We

05:13:57   15   tried to chase that down and it was hearsay.

05:14:00   16          Nothing in writing, and certainly nothing in Ohio.

05:14:03   17          And so you've got a situation with Walmart where I

05:14:07   18   trust you've got the timelines, I trust you can look at

05:14:10   19   these timelines and see what all was happening and when they

05:14:13   20   were a funnel, and when they had their agreements with the

05:14:16   21   DEA, and how long they lived up to those agreements with the

05:14:19   22   DEA, and how they made their changes and their adjustments,

05:14:23   23   and how it was too little too a little and how even

05:14:28   24   Susanne Hiland said on OARRS, in 2007, after OARRS has come

05:14:32   25   out, the next year -- it came out in 2006 -- "There are
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05:14:34    1   several states that allow access to the monitoring program.

05:14:38    2   We met with several operators, including Ron.          It was

05:14:45    3   decided we'd get a legal determination of whether or not to

05:14:46    4   provide or allow this access to our stores includes Ohio.

05:14:48    5   The opinion has been we will not grant access to these

05:14:52    6   databases."

05:14:53    7          Pharmacists aren't required to use it, why should we

05:14:56    8   give it to them?

05:14:57    9          And then once the requirement came in in 2011, they

05:15:01   10   changed.

05:15:02   11          I've got to move on.      Thank you, Rachel.

05:15:04   12          Let's move down the road -- thank you -- to CVS.

05:15:08   13          Now, Mr. Delinsky is generally a slow talker.            But he

05:15:17   14   covered a lot of ground today.        I want you to know that you

05:15:20   15   need to ignore what he said about the law and instead follow

05:15:25   16   what the judge said.      Mr. Delinsky said, did CVS and its

05:15:29   17   pharmacies in Lake and Trumbull County act so egregiously as

05:15:33   18   to harm entire communities?       That's not the judge's

05:15:35   19   instruction.

05:15:36   20          He said the Ohio Board of Pharmacy has all the data.

05:15:40   21          No, they don't.

05:15:42   22          He said there's never been any eyewitnesses to any

05:15:46   23   prescription problems or anything like that.          Where is a

05:15:50   24   local witness?

05:15:51   25          Captain Villanueva.
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05:15:54    1          Now, I wasn't able to show you the entire OARRS

05:15:56    2   report, but I was able to show you the synopsis of that

05:15:59    3   report for Doug Winland, who is convicted, not simply of

05:16:05    4   deceiving, but even beyond that.        But he's clearly a

05:16:09    5   diverter.    It was clear in the OARRS report, and he's

05:16:13    6   getting his prescriptions filled by CVS and Walgreens.

05:16:20    7          I mean, that's -- that's as direct as you're going to

05:16:23    8   get.

05:16:26    9          He said, no county investigation.

05:16:29   10          Well, first of all, ongoing investigations I don't

05:16:32   11   even know that I'd be allowed to get into.          But what we did

05:16:35   12   with our time that we had in this case is we drove home the

05:16:39   13   bigger picture.     And if we dealt with investigation by

05:16:43   14   investigation, I can guarantee you what they'd have done is

05:16:46   15   come in here and say, well, okay, that's five

05:16:49   16   investigations, that's seven suicides, so that's this, but

05:16:52   17   where's the bigger picture?       And so we opted to go with the

05:16:55   18   bigger picture in the time zone.        But you did see with

05:16:58   19   Doug Winland, one of the specific cases, one of the specific

05:17:01   20   investigations in this county.        You saw him having his

05:17:04   21   prescriptions filled at CVS.       You saw him at Franklin.       You

05:17:08   22   saw him at Overholt's.      You saw him at Rite Aid, and

05:17:12   23   Walgreens, Walgreens, Walgreens.        Walgreens.

05:17:17   24                   UNIDENTIFIED SPEAKER:       Walmart.

05:17:18   25                   MR. LANIER:     Walmart.    Last one's Walmart.
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05:17:18    1   Thank you.

05:17:19    2            You saw it.   The rest of the OARRS report had all of

05:17:24    3   the prescriptions and I didn't have that data to give you,

05:17:27    4   but I have this data to give you, the summation the judge

05:17:31    5   let us get into evidence and there it was.

05:17:33    6            So -- you know, and then the idea, well, but if there

05:17:40    7   was -- the company -- if the companies were doing something

05:17:43    8   wrong, surely the law enforcement would get them.           But even

05:17:48    9   Ms. Militello testified -- even Ms. Militello testified --

05:18:02   10   say it again, what?

05:18:04   11                    UNIDENTIFIED SPEAKER:      Turn it off and on.

05:18:06   12                    MR. LANIER:     Off and on.

05:18:09   13            Even -- look at that.    I'm telling you, Marines do it

05:18:14   14   right.

05:18:14   15            "How would you describe your interaction with law

05:18:18   16   enforcement officials in Lake County?"

05:18:19   17            "As far as Lake Narcotics, I thought it was great.         I

05:18:22   18   mean, we had a really good relation with them, we always

05:18:25   19   felt like, you know, they would address things pretty

05:18:28   20   promptly to the point, and then I think they got overrun."

05:18:32   21            They don't -- they don't investigate the pharmacies

05:18:36   22   unless they get a tip.

05:18:38   23            You had the guy with the shades, Pavlich, thank you,

05:18:42   24   you had Pavlich who was rightfully proud for shutting down

05:18:50   25   Overholt's, but he never picked up on Overholt's by doing
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05:18:53    1   his annual inspection.      It took a tip.

05:18:57    2          I would -- I would think that there's a good chance --

05:19:00    3   I don't know what the future holds.         That's not our

05:19:03    4   question.    Our question is simply this case right now.          And

05:19:07    5   so when you look at the blame game, don't look at -- yeah,

05:19:13    6   look all the over the place.       I have no trouble with that.

05:19:17    7   The question is, how can these pharmacies blame Overholt's

05:19:20    8   and how can they blame Franklin and take zero responsibility

05:19:25    9   themselves?    Zero.

05:19:28   10          How can they have policy -- oh, look, we had all of

05:19:31   11   those wonderful policies.       As Mr. Delinsky said, are we --

05:19:34   12   with all of these policies, are we the kind of company that

05:19:37   13   would ever do something so egregious?         And look, yes.

05:19:45   14          Holiday.    That was your company.

05:19:50   15          Maryland.    That was your company.

05:19:53   16          Walgreens in San Diego, that was your company.

05:19:56   17          Walmart, that was your company.

05:19:59   18          They've entered into settlement after settlement in

05:20:02   19   spite of all of these wonderful policies they tell you

05:20:06   20   they've got.    They still -- you know, you can take every one

05:20:10   21   of those wonderful screens -- Juan, this is because I

05:20:18   22   bragged on this iTiVo medicine.        We need a new one.

05:20:21   23          You can take all of these wonderful tools and it

05:20:25   24   didn't stop Holiday.      And it didn't stop the doctors in this

05:20:30   25   case that are bad-prescribing doctors.
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05:20:34    1          And they say, well, but Holiday didn't apply to us.

05:20:38    2          Oh, the Holiday settlement wasn't just two stores.

05:20:40    3   You'll see it as Plaintiffs' 8954.        But it's not just those

05:20:44    4   two stores.    It affected their policies, period.         This was

05:20:50    5   something where the company had to deal with it.           They

05:20:53    6   created a new job for it.

05:20:59    7          You know, I would -- I've got to move on.          I can't

05:21:04    8   move on.    I've used 20 minutes.      Okay.   I don't want to

05:21:07    9   shortchange Walgreens.       They get a full share.      But before I

05:21:12   10   leave Mr. Delinsky and CVS, I want to show you his hocus

05:21:16   11   pocus math.

05:21:19   12          Look at this.

05:21:20   13          He says we use MMEs.      Never mind that the data or the

05:21:27   14   article, for example, that shows the increased deaths that

05:21:29   15   happened based upon pills, never mind that.          We still want

05:21:34   16   to use MMEs.     And he says, but it really doesn't matter.

05:21:38   17   And I'm sitting -- he says, if you have any question, go

05:21:41   18   back and look at this chart, so Rachel grabbed the chart, or

05:21:46   19   Ms. Fitzpatrick did back there, grabbed the chart that he

05:21:49   20   said this is what it comes from.         He's showing MMEs so he

05:21:53   21   can get that 10.4 percent on the chart.

05:21:59   22          Whoops.    Hold on.    Hold on.    Hold on.

05:22:01   23          That 10.4 percent.      He's not showing you dosage units

05:22:06   24   where, all of a sudden, it's 40 percent more.          It's

05:22:13   25   14 percent.    That's 40 percent more than 10 percent.
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                           Closing in Rebuttal by Plaintiffs - Lanier

05:22:19    1           But he doesn't want to show that because you increase

05:22:23    2   that and all of a sudden it looks worse.

05:22:25    3           You know, look at this.     He put this one up there

05:22:28    4   (indicating).

05:22:30    5           Flagged prescribers, 37 percent.       He says there must

05:22:34    6   be a problem there because 99 percent of the doctors are

05:22:36    7   perfect.

05:22:36    8           There's not a problem.     The red flags happen

05:22:41    9   37 percent of the time, so you resolve them.

05:22:44   10           This is the metal detector analogy I gave you from

05:22:49   11   downstairs.    Maybe 37 percent of the people trip the metal

05:22:52   12   detector.    That does not mean 37 percent are trying to get a

05:22:56   13   knife in here because they're upset with the way the judge

05:22:59   14   sentenced their cousin.

05:23:02   15           Maybe 1 percent is.     Maybe .1 percent is.      I don't

05:23:06   16   know.   But I sure hope those CSOs downstairs are checking

05:23:10   17   everybody that goes through and if the 37 percent trip it,

05:23:13   18   they say, it might be your shoes, ma'am, it might be your

05:23:16   19   belt buckle, sir.     Do you have your cell phone in your

05:23:18   20   pocket?    Can you take your watch off and run back through?

05:23:25   21   That's just -- I mean, that's common sense.

05:23:29   22           Let's look at Walgreens.      Last stop.

05:23:34   23           Walgreens talked to you about a lot of different

05:23:40   24   stuff, the causation, things like that, and I don't have a

05:23:42   25   lot of time to get into it but I've covered it with the
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                           Closing in Rebuttal by Plaintiffs - Lanier

05:23:44    1   others, but there are a couple of things I want to add.

05:23:46    2           They said there's no problem filling with Dr. Veres.

05:23:49    3   We filled for Dr. Veres even though others didn't, even

05:23:52    4   though others quit because he had a license.          Well, pooey on

05:23:56    5   that.

05:23:57    6           Look at the background work CVS did on Dr. Veres and

05:24:02    7   ask yourself if maybe Walgreens should have done some of

05:24:05    8   this background work.

05:24:07    9           This is Plaintiffs' 8494.      And it looks at the Google

05:24:11   10   reviews.    And this is what the Google reviews said.

05:24:14   11           Now, may be true, may not be true.        But at least

05:24:17   12   they'd have been on notice if they'd have looked and they

05:24:22   13   could have investigated to see if it's true.          I've learned

05:24:25   14   Google reviews are not always true.

05:24:26   15           Here it is.    January 25th, 2016.     "My mother's a

05:24:30   16   patient of his and she literally walks around like a zombie.

05:24:35   17   She's been hospitalized multiple times with falls and for

05:24:37   18   being over-medicated.      So instead of lowering her dosages,

05:24:42   19   he doubled them.      There's no way he could actually be her

05:24:45   20   doctor and not realize what's going on.         Everybody in town

05:24:48   21   who's hooked on pain and anxiety meds are his patients.            So

05:24:52   22   if you want to become a full-blown drug addict, he's the man

05:24:54   23   to see."

05:24:56   24           I mean, do they check this stuff?       No.    Their answer

05:25:01   25   to you is, hey, he had a valid DEA license.           We'll be the
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                           Closing in Rebuttal by Plaintiffs - Lanier

05:25:08    1   gumball machines, spit it out.        We're not going to do any

05:25:13    2   work.    And that's absolutely horrible.

05:25:14    3            Look at the red flags that are here according to CVS's

05:25:17    4   investigation.     CVS investigates and says, hydrocodone, he's

05:25:22    5   volume 99.    He's in the top 99 percentile.        His share is 98.

05:25:28    6   Average red flags, he's in the 97th percentile.           Cocktails,

05:25:33    7   the 95th percentile.      26 percent with any benzo, and then he

05:25:39    8   prefers Valium.

05:25:40    9            Now, there's no board action on file, but come on.

05:25:48   10   But Walgreens' attitude was, hey, he's got a valid license,

05:25:52   11   we'll just fill those, we're not too worried about it.

05:25:55   12            You look at Joyce, even Joyce admitted, question by

05:26:00   13   Mr. Weinberger:     "You remember Dr. Veres, don't you?"

05:26:03   14            "Very well."

05:26:04   15            "What do you remember about him?"

05:26:06   16            "Dr. Veres has been a problem in the valley for a long

05:26:12   17   time."

05:26:12   18            That's Dr. Veres.

05:26:14   19            Rachel, how much time do I have?

05:26:19   20                    MS. LANIER:    5 minutes.

05:26:20   21                    MR. LANIER:    5 minutes.

05:26:21   22            He said there's no evidence that the Walgreens'

05:26:24   23   pharmacists failed do their job.        Sitting their thinking,

05:26:27   24   were you gone whether Carmen Catizone put the prescriptions

05:26:30   25   up there?    Did you not see 508 days of oxy?        And this is one
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05:26:38    1   that was filled.     This note was entered and then the

05:26:43    2   pharmacist filled it.      Did you not see how many were blank,

05:26:48    3   the relevant note fields?       Did you not see the other

05:26:52    4   prescriptions that were especially bad?         Did you not see

05:26:57    5   what Tasha Polster had to say?        This on the question of

05:27:02    6   intent.    Someone says, well, intent is something you've got

05:27:05    7   to show.    Yeah, the way the judge specifies it.         And so you

05:27:09    8   look at that charge, and you look at things that include

05:27:13    9   stuff like Page 19 down at the bottom.         Page 19 down at the

05:27:19   10   bottom says something significant.

05:27:22   11          If you will find it for me, please, Peter.

05:27:25   12          Meanwhile, I will tell you that these are the

05:27:29   13   people -- uh, 19.     He's fast, man.     It's his birthday.

05:27:33   14          Don't let anybody say someone 71 can't move quick,

05:27:36   15   Your Honor.

05:27:36   16          If a person learns that circumstances resulting from

05:27:39   17   their conduct interfere with public health or safety and the

05:27:43   18   person continues that conduct, the subsequent conduct is

05:27:47   19   intentional.    These companies knew what they were doing.

05:27:50   20   Florida put them on notice.       Holiday put them on notice.

05:27:52   21   Maryland put them on notice.       They knew their systems

05:27:55   22   weren't working, and yet they just kept with it.           They just

05:27:59   23   kept with them.     They'd make adjustments years later, but

05:28:03   24   they just kept with them.

05:28:04   25          You've got the documents from people like
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05:28:07    1   Tasha Polster who recognized that there's a problem with

05:28:10    2   training, and she recognizes periodic training for all

05:28:14    3   retail employees for dispensing.        No such training exists

05:28:18    4   today.    This is 2010.

05:28:21    5            They recognized that, you know, they say, well, you

05:28:24    6   know, we had Good Faith Dispensing.         No, that's something

05:28:27    7   you relaunched in 2013, in June.        We relaunched our Good

05:28:34    8   Faith Dispensing Policy across the chain.

05:28:35    9            And then they monitored to see how it was doing, and

05:28:39   10   their per store random check was going south.          Results were

05:28:44   11   unfavorable because they weren't doing a good job.

05:28:48   12            So you get the jury instructions.      You get the verdict

05:28:53   13   forms.    And this is what they look like when the judge gives

05:28:56   14   them to you (indicating).

05:29:00   15            Did Lake County prove, by the greater weight of the

05:29:03   16   evidence, that oversupply of legal prescription opioids --

05:29:06   17   see, it's not a prescription-by-prescription analysis.            This

05:29:11   18   is oversupply -- and diversion of those opioids into the

05:29:15   19   illicit market outside of appropriate medical channels, is a

05:29:18   20   public nuisance?

05:29:19   21            They can trash the gateway theory all they want to,

05:29:22   22   but they didn't bring one single doctor or scientist to

05:29:26   23   address it.    Not one.

05:29:31   24            I think your answer to this should be yes, and I hope

05:29:39   25   that you see it the same way and those who -- if there's
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05:29:43    1   some that don't see it that way, please, those of you who

05:29:47    2   do, I want you to not beat them up, but really go after

05:29:51    3   them.   No, I'm joking.

05:29:52    4           You've got to debate this, though.        You've got to come

05:29:55    5   up with the right answer, and it takes all of you to do it.

05:29:58    6   And if you don't agree with me on this stuff, that's fine,

05:30:00    7   you voice your opinion and y'all will figure it out.            But

05:30:02    8   this is extremely serious.       And if you answer no, then

05:30:06    9   you've got to look at it for Trumbull County, it's the same

05:30:08   10   question, if you answer no to both, then the case is over.

05:30:12   11           But if you answer yes, then you've got to answer a

05:30:14   12   second question for each county, and that is, did we prove

05:30:18   13   that any of the following defendants engaged in intentional

05:30:21   14   and/or illegal conduct?      Read the charge.      It's your anchor

05:30:26   15   on what intentional is and what illegal is.

05:30:29   16           Remember the standard of care they have to live up to,

05:30:33   17   which was a substantial factor.        I'm telling you, if they

05:30:37   18   put out an extra pill, that's one-fifth of a person dead if

05:30:41   19   it's a per capita pill.      It's got to be per capita for the

05:30:45   20   whole county -- in producing the nuisance.          And I hope that

05:30:49   21   you will see to answer yes on that for each of the

05:30:52   22   defendants.

05:30:53   23           This is almost like the Target Drug Good Faith

05:30:59   24   Dispensing checklist.      You just need to say, yes, yes, yes,

05:31:01   25   yes, yes, if that's indeed the way you see the evidence, and
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05:31:04    1   I hope it is.

05:31:04    2           So, I'm done.    My job was to give you evidence and get

05:31:08    3   to the truth.

05:31:12    4           My job was to do it within the rules and to do it

05:31:15    5   fairly and try to keep you from getting too bored along the

05:31:24    6   way.    And I don't know if I've done anything that's

05:31:26    7   offensive, just set that aside because this is about

05:31:29    8   something much bigger than me.        This is about something much

05:31:31    9   bigger.

05:31:32   10           And so I just hope and pray that this is something

05:31:34   11   where you're comfortable going back and doing what you need

05:31:37   12   do to figure this out, because the burden is now off of us

05:31:42   13   and it's entirely on y'all.       But we got all the faith and

05:31:46   14   confidence in the world in you, what you will and can do.

05:31:49   15           So I want to look each of you in the eye and say thank

05:31:54   16   you.    Thank you, thank you, thank you, thank you, thank

05:31:58   17   you -- still can't believe you ran so much faster than me,

05:32:04   18   it's not even funny -- thank you, thank you.          We had

05:32:08   19   Veterans Day while you were here.        Thank you for that as

05:32:10   20   well.   Thank you, thank you, thank you, and thank you very,

05:32:14   21   very much.

05:32:15   22           You guys have been outstanding, and I think I'm saying

05:32:18   23   that on behalf of all of the lawyers in here and all of the

05:32:20   24   clients in here.

05:32:22   25           So God bless you all.
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05:32:25    1           Thank you, Your Honor.

05:32:29    2                   CONCLUSION OF CHARGE TO THE JURY

05:32:29    3                   THE COURT:     All right.    Thank you, Mr. Lanier.

05:32:30    4           So, ladies and gentlemen, I just have a few minutes

05:32:32    5   left.   Those of you who were following along, I'm going to

05:32:37    6   pick up reading my final instructions on Page 28.

05:32:44    7           That concludes the part of my instructions explaining

05:32:49    8   the rules --

05:32:50    9                   MR. STOFFELMAYR:      I'm sorry.    There's

05:32:50   10   something on the -- oh, it's gone now.         I apologize.     There

05:32:53   11   was something on the screen.

05:32:54   12                   THE COURT:     All right.    Now let me finish up

05:32:56   13   by explaining some things about your deliberations in the

05:32:58   14   jury room:    The first thing that you should do in the jury

05:33:03   15   room is choose someone to be your foreperson.          This person

05:33:05   16   will help to guide your discussions and will be your

05:33:08   17   spokesperson for you here in court.

05:33:11   18           Once you are start deliberating, do not talk to the

05:33:14   19   courtroom deputy or to me or to anyone else about the case.

05:33:18   20   We must communicate in writing.        Write down your message,

05:33:21   21   have the foreperson sign it, and then give it to the

05:33:23   22   courtroom deputy.     He will give it to me, and I will respond

05:33:26   23   as soon as I can.     I may have to talk to the lawyers about

05:33:29   24   what you've asked, so it may take me some time to get back

05:33:32   25   to you.
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05:33:33    1           One more thing about messages.       Do not ever write down

05:33:36    2   or tell anyone how you stand on your votes.          For example, do

05:33:39    3   not write down or tell anyone that you are split 6-6, or

05:33:44    4   8-4, or whatever your vote happens to be.          That should

05:33:47    5   remain secret until you are finished.

05:33:51    6           Juror notes.

05:33:52    7           Remember that if you elected to take notes during the

05:33:54    8   trial -- and I know many of you did -- your notes should be

05:33:57    9   used only as memory aids.       You should not give your notes

05:34:00   10   greater weight than your independent recollection of the

05:34:02   11   evidence.    You should rely upon your own independent

05:34:05   12   recollection of the evidence, or lack of evidence, and you

05:34:09   13   should not be unduly influenced by the notes of other

05:34:12   14   jurors.   Notes are not entitled to any more weight than the

05:34:16   15   memory or impression of each juror.

05:34:18   16           Whether you took notes or not, each of you must form

05:34:21   17   and express your own opinion as to the facts of the case.

05:34:25   18           Remember that you must make your decision based only

05:34:33   19   on the evidence that you saw and heard here in court.

05:34:36   20           During your deliberations, as I've instructed you for

05:34:38   21   the last 6, 7 weeks, you must not communicate with or

05:34:41   22   provide any information to anyone by any means about the

05:34:45   23   case.   You may not use any electronic device or media, such

05:34:49   24   as a telephone, cell phone, smartphone, iPhone, BlackBerry,

05:34:55   25   or computer, the internet, any internet service, or any text
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05:34:58    1   or instant messaging service, any internet chatroom, blog,

05:35:01    2   or website such as Facebook, Instagram, LinkedIn, YouTube,

05:35:08    3   or Twitter to communicate to anyone any information about

05:35:11    4   this case or to conduct any research about this case until I

05:35:15    5   accept your verdict.

05:35:17    6          In other words, you cannot talk to anyone on the

05:35:19    7   phone, correspond with anyone, or electronically communicate

05:35:22    8   with anyone about this case.       You can only discuss the case

05:35:26    9   in the jury room with your fellow jurors during

05:35:29   10   deliberations.     I expect you will inform me as soon as you

05:35:33   11   become aware of another juror's violation of these

05:35:36   12   instructions.

05:35:36   13          You may not use these electronic means to investigate

05:35:41   14   or communicate about the case because it is important -- it

05:35:46   15   is essential -- that you decide this case based solely on

05:35:48   16   the evidence presented in this courtroom.          Information on

05:35:52   17   the internet or available through social media might be

05:35:55   18   wrong, incomplete, or inaccurate.        You are only permitted to

05:35:59   19   discuss the case with your fellow jurors during

05:36:02   20   deliberations because they've seen and heard the same

05:36:05   21   evidence that you have.

05:36:07   22          In our judicial system, it is important that you are

05:36:10   23   not influenced by anyone or anyone outside of this

05:36:15   24   courtroom -- anything or anyone outside of this courtroom.

05:36:17   25   Otherwise, your decision may be based on information known
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05:36:20    1   only by you and not your fellow jurors or the parties in the

05:36:24    2   case.   This would unfairly and adversely impact the judicial

05:36:28    3   process.

05:36:28    4           You should know that if this admonition is violated,

05:36:33    5   there could be a mistrial.       A mistrial means that the case

05:36:36    6   is stopped before it is finished and must be retried at a

05:36:40    7   later date.    This can lead to a great deal of expense for

05:36:44    8   the parties and the Court.       No one wants to see money

05:36:47    9   wasted.    If a mistrial were to be declared based on a

05:36:51   10   violation of this admonition, the juror responsible could be

05:36:54   11   required to pay the cost of the first trial and could also

05:36:57   12   be punished for contempt of court.

05:37:00   13           In summary, make your decision based only on the

05:37:02   14   evidence that you saw and heard here in court.

05:37:10   15           Unanimous verdict.

05:37:10   16           Your verdict, whether it be for a plaintiff or a

05:37:13   17   defendant, must be unanimous.       This means that for you to

05:37:17   18   find for a specific plaintiff and against a specific

05:37:20   19   defendant, every one of you must agree that that specific

05:37:24   20   plaintiff has proved all the elements of its claim against

05:37:28   21   that specific defendant by a preponderance of the evidence.

05:37:31   22           Similarly, for you to find for a specific defendant

05:37:35   23   and against a specific plaintiff, every one of you must

05:37:39   24   agree that that specific plaintiff has failed to prove all

05:37:42   25   the elements of its claim against that specific defendant by
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05:37:45    1   a preponderance of the evidence.

05:37:47    2           Either way, your verdict must be unanimous.

05:37:49    3           When you enter the jury room following the arguments,

05:37:55    4   you are free to talk about the case.         In fact, it is now

05:37:58    5   your duty to talk with each other about the evidence and to

05:38:00    6   make every reasonable effort you can to reach unanimous

05:38:04    7   agreement.    Talk with each other, listen carefully and

05:38:07    8   respectfully to each other's views, and keep an open mind as

05:38:12    9   you listen to what your fellow jurors have to say.           Try your

05:38:15   10   best to work out your differences.        Do not hesitate to

05:38:18   11   change your mind if you are convinced that other jurors are

05:38:21   12   right and you are wrong.

05:38:22   13           But do not ever change your mind just because other

05:38:25   14   jurors see things differently, or just to get the case over

05:38:29   15   with.   In the end, your vote must be exactly that, your own

05:38:34   16   vote.   It is important for you to reach unanimous agreement,

05:38:37   17   but only if you can do so honestly and in good conscience.

05:38:41   18           No one will be allowed to hear your discussions in the

05:38:44   19   jury room, and no record will be made of what you say.            So

05:38:49   20   you should all feel free to speak your minds.

05:38:51   21           Listen carefully to what everyone else has to say, and

05:38:54   22   then decide for yourself if the plaintiffs have proved its

05:38:59   23   claims or their claims by a preponderance of the evidence.

05:39:01   24   Your sole interest is to seek the truth from the evidence in

05:39:04   25   the case.
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05:39:05    1          Now, the lawyers have talked about the verdict forms.

05:39:09    2   Mr. Pitts will give them to you.        They're very simple.

05:39:14    3   They're identical forms, one for Lake County and one for

05:39:16    4   Trumbull County.     And you've got the same questions for each

05:39:22    5   county.

05:39:23    6          Did Lake County prove, by the greater weight of the

05:39:25    7   evidence, that oversupply of legal prescription opioids and

05:39:29    8   diversion of these -- those opioids into the illicit market

05:39:33    9   outside of appropriate medical channels is a public nuisance

05:39:38   10   in Lake County?

05:39:39   11          You circle yes or no, and then everyone signs.

05:39:43   12          If you answer yes to Question 1, then you go to

05:39:47   13   Question 2, and then you have to decide if Lake County

05:39:51   14   proved, by the greater weight of the evidence, that any of

05:39:54   15   the following defendants engaged in intentional and/or

05:39:58   16   illegal conduct which was a substantial factor in producing

05:40:01   17   the public nuisance that you found exists in Question 1.

05:40:05   18          And then there is simply yes or no for each of the

05:40:09   19   three defendants.     You -- as I've instructed you, you must

05:40:12   20   consider the evidence against each different separately, and

05:40:14   21   then you vote separately on each defendant, CVS, Walgreens,

05:40:19   22   and Walmart, and each of you sign.

05:40:22   23          And then there are exactly identical forms for

05:40:27   24   Trumbull County.

05:40:28   25          Of course, if you answer no to Question No. 1, you're
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                               Conclusion of Charge to the Jury

05:40:32    1   done as to Lake County and you go to question -- to the

05:40:36    2   verdict forms for Trumbull County and do the same thing.

05:40:41    3          So you will take the verdict forms to the jury room,

05:40:44    4   and when you have reached unanimous agreement as to your

05:40:46    5   verdict, you will have your foreperson fill in each answer,

05:40:51    6   sign his or her name, date the form in the bottom right-hand

05:40:54    7   corner, and then the rest of you all sign.

05:40:58    8          Please complete these documents in ink.

05:41:05    9          Unless all of you agree, you may not return an answer

05:41:05   10   to any question.     After you have all signed the appropriate

05:41:08   11   documents, ring the jury buzzer -- or actually you -- here,

05:41:11   12   there may be a phone number you give because, again,

05:41:15   13   Judge Gwin has graciously allowed you to use -- all of us it

05:41:19   14   use his courtroom.     So when you notify us, we'll reconvene

05:41:24   15   the parties and counsel.

05:41:25   16          All right.    Each of you has a copy of these

05:41:32   17   instructions with you in the jury room for your assistance

05:41:34   18   during your deliberations, and these instructions should

05:41:37   19   answer any question that you have.        However, if during your

05:41:39   20   deliberations you should desire to communicate with the

05:41:41   21   Court, please reduce your message or question in writing,

05:41:46   22   signed by your foreperson, and pass the note to the

05:41:49   23   courtroom deputy, or one of my staff, who will bring it to

05:41:52   24   my attention.    I will then respond as promptly as possible,

05:41:56   25   either in writing or by having you return to the courtroom
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05:41:59    1   so that I can address you orally.

05:42:01    2          Remember at all times, you are not partisans.           You are

05:42:06    3   judges - judges of the facts.       Your sole interest is to seek

05:42:09    4   the truth from the evidence in the case.

05:42:13    5          Let me finish up by repeating something that I said to

05:42:19    6   you earlier.    Nothing that I have said or done during this

05:42:21    7   trial was meant to influence your decision in any way.

05:42:24    8   Nothing said in these instructions is meant to suggest or

05:42:28    9   convey in any way what verdict I think you should find.

05:42:32   10   What the verdict shall be is the sole and exclusive duty and

05:42:37   11   responsibility of the jury.       You shall decide for yourselves

05:42:40   12   if either plaintiff has proved by a preponderance of the

05:42:44   13   evidence its claim against each of the defendants.

05:42:50   14          And now I have to do something somewhat unpleasant.

05:42:54   15   The rules of court require that a civil jury cannot be more

05:42:58   16   than 12 people.     You recall, we started with 14.        It's my

05:43:05   17   experience -- I don't think I've ever had a trial of this

05:43:07   18   length where we didn't lose one, two, or more jurors because

05:43:12   19   of illness, family emergencies, whatever.          We lost one juror

05:43:21   20   for something unfortunate, but not for illness.           The rest of

05:43:25   21   you, the 13 of you, have been here every single day no

05:43:28   22   matter what was happening in your lives, and you have our

05:43:30   23   utmost thanks and respect.       But there are 13 of you.       So

05:43:33   24   what I must need do now is excuse Juror 13.

05:43:38   25          Yes, sir, and I -- now, if I could rewrite the rules
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05:43:41    1   and say it's juries of 13, I would, but I don't write those

05:43:45    2   rules, Congress does.      So you are excused with my -- our

05:43:50    3   thanks.

05:43:51    4           One thing, I would request that you continue to follow

05:43:55    5   the admonition until we notify you that the jury has reached

05:43:59    6   a verdict.    So that means you're not do any research or

05:44:04    7   Googling or checking, and you're not to talk to anyone else

05:44:07    8   about the trial.     We will notify you when the jury reaches a

05:44:10    9   verdict.

05:44:10   10           So, sir, thank you, you may be excused now.

05:44:15   11           All right.   At this point, I'm going to ask Mr. Pitts

05:44:20   12   to take the jurors over to Judge Gwin's courtroom and he'll

05:44:28   13   show you how you get in and out because from now on, that's

05:44:32   14   where you'll go.     And Mr. Pitts also will give you the jury

05:44:37   15   verdict forms and shortly will give you, I think there are

05:44:42   16   two jump drives, one with the plaintiffs' exhibits, one with

05:44:46   17   the defendants' exhibits, and he'll show you how to access

05:44:49   18   them.

05:44:49   19           Now, up to now, I've set the schedule.        I've told you

05:44:55   20   when to show up.     It's generally been 9:00 a.m.        I've ended

05:44:59   21   the day when I said we're done.        At this point, you all set

05:45:03   22   the schedule.    There's really only one rule.        That means you

05:45:07   23   all follow the same schedule.       So if you decide we're done

05:45:11   24   for the evening, we're done.       If you say, we're going to

05:45:13   25   start tomorrow at 9 o'clock, you wait till all 12 of you are
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05:45:18    1   there and then you start.

05:45:21    2           So I don't know, if you want to start deliberating

05:45:23    3   today, that's fine.      If you want to break for the day,

05:45:26    4   that's fine.    If you want to think about it and go over into

05:45:31    5   Judge Gwin's courtroom and think about it a little, that's

05:45:35    6   fine.

05:45:36    7           I always excuse the jury personally at the end of the

05:45:40    8   day.    That's just my experience, and remind you of the

05:45:43    9   admonition.     I don't need to bring you in in the morning to

05:45:49   10   do that.

05:45:49   11           So. . . I guess, Mr. Pitts, if you want to take the

05:45:52   12   jury to Judge Gwin's courtroom, make sure you have

05:45:56   13   everything you need.

05:45:57   14           Thank you.

05:46:03   15     (Jury retired to the jury room to begin its deliberations

05:46:35   16     at 5:46 p.m.)

05:46:35   17                    THE COURT:    If someone could close the

05:46:36   18   backdoor, please.

05:46:47   19           Okay.   It would not surprise me if the jury wants to

05:46:52   20   go home soon, but, again, they may not.         So. . . I guess I'd

05:47:00   21   appreciate it if everyone just stick around for a little

05:47:02   22   bit.    If they decide they want to leave, I'll bring them

05:47:05   23   back and excuse them for the evening.         If they decide they

05:47:08   24   want to deliberate for a long time, everyone doesn't have to

05:47:10   25   stay in the courtroom.      And -- or everyone, you can leave,
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05:47:16    1   because actually, I don't need all the lawyers here when I

05:47:19    2   excuse them at the end of the day.        I bring them in.      So no

05:47:22    3   one has to stick around.      If you want to, you may, but you

05:47:26    4   don't have to.     Because I don't require all the lawyers to

05:47:29    5   be here at the end of the day to bring them in and I give

05:47:32    6   them the admonition.

05:47:36    7                    MR. DELINSKY:    Judge. . .

05:47:37    8                    THE COURT:    Yes.

05:47:37    9                    MR. DELINSKY:    Judge, do you have all our

05:47:40   10   contact information?      I know Special Master Cohen collected

05:47:42   11   it at the beginning of the case, but I don't want to leave

05:47:44   12   the courtroom --

05:47:45   13                    THE COURT:    I've got a sheet, which I don't

05:47:47   14   think anyone's cell phones have changed.

05:47:49   15                    MR. DELINSKY:    Okay.   Just want to

05:47:50   16   double-check, Your Honor.

05:47:51   17                    THE COURT:    I see we've got it.      David has it.

05:47:54   18   Mr. Pitts has it.     So yes, I've got it, and, obviously, if

05:47:58   19   there are questions, I assemble everyone quickly.           I don't

05:48:03   20   do that without consulting everyone.         And obviously a

05:48:08   21   verdict.

05:48:11   22          Okay.   Well, have a good evening, everyone.

05:48:18   23                    (Recess was taken at 5:48 p.m.)

05:57:20   24                    THE CSO:   Could you all rise for the jury?

05:57:22   25              (Jury returned to courtroom at 5:57 p.m.)
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05:57:29    1                   THE COURT:     All right.    Please be seated.

05:57:31    2           Please be seated, ladies and gentlemen.

05:57:33    3           I understood mistakenly a number have left.

05:57:38    4           So you want to break for the evening; is that

05:57:40    5   correct?

05:57:40    6                   THE JURY:    Yes.

05:57:40    7                   THE COURT:     And what time are you convening

05:57:42    8   tomorrow?

05:57:44    9                   THE JURY:    9:30.

05:57:45   10                   THE COURT:     9:30.   Okay.

05:57:47   11           All right.   It's very important that you follow all of

05:57:50   12   my admonitions.

05:57:52   13           Do not discuss this case with anyone.

05:57:54   14           Do not encounter anything in the media, print,

05:57:58   15   electronic, whatever, or anything remotely close to the

05:58:01   16   case.

05:58:02   17           Make sure you don't begin deliberating tomorrow until

05:58:07   18   everyone's present.      If everyone's there a few minutes

05:58:09   19   before, you can start, but out of respect, don't start till

05:58:13   20   all 12 are there.

05:58:14   21           And, Mr. Pitts, if you would call the others and tell

05:58:17   22   them that.

05:58:18   23                   COURTROOM DEPUTY:      Yeah.   We've already talked

05:58:20   24   about that.

05:58:20   25                   THE COURT:     Okay.   Thanks, and have a good
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05:58:22    1   evening.

05:58:26    2                 (Proceedings adjourned at 5:58 p.m.)

            3

            4                          C E R T I F I C A T E

            5         I certify that the foregoing is a correct transcript
                of the record of proceedings in the above-entitled matter
            6   prepared from my stenotype notes.

            7                /s/ Heather K. Newman                        11-15-2021
                             HEATHER K. NEWMAN, RMR, CRR                     DATE
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